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              EXHIBIT
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF GEORGIA
                                 ATLANTA DIVISION




IN RE GEORGIA SENATE BILL 202                        MASTER CASE NO.
                                                     1:12-MI-55555-JPB
GEORGIA STATE CONFERENCE OF THE
NAACP, et al.,

        Plaintiffs,
                                                     Case No. 1:21-CV-01259-JPB
v.

BRAD RAFFENSPERGER, in his official
capacity as the Secretary of the State for the
State of Georgia, et al.,

        Defendants.

SIXTH DISTRICT OF THE AFRICAN
METHODIST EPISCOPAL CHURCH, et al.,

        Plaintiffs,
v.
                                                     Case No. 1:21-CV-01284-JPB
BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, et al.,

        Defendants.




                                                 1
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ASIAN AMERICANS ADVANCING
JUSTICE-ATLANTA, et al.,

       Plaintiff,
                                                        Case No. 1:21-CV-01333-JPB
v.

BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State, et
al.,

       Defendants.

THE CONCERNED BLACK CLERGY OF
METROPOLITAN ATLANTA, INC., et al.,

       Plaintiffs,
                                                        Case No. 1:21-CV-01728-JPB
v.

BRAD RAFFENSPERGER, in his official
capacity as the Georgia Secretary of State, et
al.,

       Defendants.


                               Expert Report of Dr. Carol Anderson
                                     Dr. Carol Anderson
                            Department of African American Studies
                                    207 Candler Library,
                             550 Asbury Circle, Emory University
                                     Atlanta, GA 30322

                     On behalf of Plaintiffs in the four above captioned cases.




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 1 I.           Statement of Purpose

 2              Plaintiffs asked me to examine whether, and to what extent, there is evidence that certain

 3       provisions in SB 202 were adopted with a racially discriminatory purpose and/or have an effect

 4       of harming racial minority voters.

 5 II.          Methodology

 6              In marshalling evidence and forming my opinions on these questions, I relied on my

 7       professional and academic experience as a historian. I also relied on my review of documents

 8       made available to me by counsel for Plaintiffs or that I or others working under my direction

 9       obtained from public sources. The documents that I considered encompass sources standard in

10       historical analysis, including: archival sources, scholarly books, peer-reviewed articles and

11       reports; newspaper and other journalistic articles; demographic information; election returns;

12       court opinions, briefs, and expert reports; government documents; legislative transcripts; letters;

13       and social science surveys.

14              In assessing intentional racial discrimination, this report incorporates the methodological

15       guidelines set forth in the U.S. Supreme Court’s opinion in Village of Arlington Heights v.

16       Metropolitan Housing Development Corp., 429 U.S. 252 (1977), which are similar to procedures

17       followed by historians in making such assessments. In Arlington Heights, in addition to direct

18       evidence, the Court focused on five distinct factors that are relevant to ascertaining

19       circumstantial evidence of intentional discrimination: (1) discriminatory impact; (2) historical

20       background of discrimination; (3) the sequence of events leading up to the decision, including

21       the foreseeability of any impact and legislators’ awareness of any alleged foreseeable impact; (4)

22       procedural or substantive deviations from the normal decision-making process; and (5)

23       contemporaneous viewpoints expressed by the decision-makers, including whether the evidence
                                                          5
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24   suggests they are pretextual. As a historian, under this framework, I analyzed evidence of four of

25   those factors: the historical background of discrimination against Black voters; the sequence of

26   events leading up to SB 202’s enactment; procedural or substantive deviations from the normal

27   decision-making process; and contemporaneous viewpoints expressed by the decision-makers

28   during the relevant legislative history. The report uses these factors methodologically only to

29   assess whether there may be evidence to support an inference of intentional discrimination in

30   Georgia officials’ decision to adopt SB 202, not to reach any final or legal conclusions, which is

31   for the court to do.

32             Regarding Section 2’s results test, this report considers, as part of the “totality of

33   circumstances,” certain Senate factors, as discussed in Thornburg v. Gingles, 478 U.S. 30 (1986).

34   Again, as a historian using this framework, I analyzed evidence of the following factors: record

35   of voting discrimination against African Americans 1 in Georgia (Senate factor 1), which

36   overlaps with an Arlington Heights factor above (i.e., historical discrimination); existence of

37   racially polarized voting (Senate Factor 2); and whether the rationales advanced by Georgia

38   officials for its adoption of SB 202 are tenuous (Senate factor 9), which also overlaps with an

39   Arlington Heights factor above (i.e., pretext). I also understand that the U.S. Supreme Court’s

40   decision in Brnovich v. Democratic National Committee, 141 S. Ct. 2321 (2021) outlined some

41   additional guideposts that may be relevant to a Section 2 results test. Based on the factors I

42   focused on for this report, the state interest factor in the Brnovich decision may overlap with

43   considerations related to Senate factor 9 about state interests, which I address.

44             I have been assisted in my review by a research assistant, billed at an hourly rate. My



     1
         African American and Black are used interchangeably herein.
                                                          6
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45        current hourly rate is $300.00, in addition to reasonable expenses for my services. My

46        compensation is not contingent on the analysis and opinions offered or on the outcome of this

47        litigation.

48 III.       Qualifications

49                I am currently the Charles Howard Candler Professor of African American Studies at

50        Emory University. I am a historian and human rights scholar, who has authored numerous books

51        and articles. My research examines the ways that public policy impacts the basic rights of

52        African Americans/Black citizens, as well as other racial/ethnic minorities. I was also a member

53        of the U.S. State Department’s Historical Advisory Committee from 2005-2010.

54                I have authored five books: Eyes off the Prize: The United Nations and the African-

55        American Struggle for Human Rights, 1944-1955 (Cambridge University Press, 2003), winner of

56        the Myrna Bernath and Gustavus Myers book prizes; Bourgeois Radicals: The NAACP and the

57        Struggle for Colonial Liberation, 1941-1960 (Cambridge University Press, 2014); White Rage:

58        The Unspoken Truth of our Racial Divide (Bloomsbury, 2016), winner of the National Book

59        Critics Circle Award and a New York Times Bestseller; One Person, No Vote: How Voter

60        Suppression is Destroying our Democracy (Bloomsbury, 2018), finalist for the PEN/Galbraith

61        Book Award in Non-fiction, and Longlisted in Non-fiction for the National Book Award; and

62        The Second: Race and Guns in a Fatally Unequal America (Bloomsbury, 2021), a New York

63        Times Editor’s Pick, and Georgia Writers, finalist, Best History Book.

64                In addition to numerous teaching awards, my research has garnered fellowships from the

65        American Council of Learned Societies, the Ford Foundation, National Humanities Center,

66        Harvard University’s Charles Warren Center, and the John Simon Guggenheim Foundation.

67        Additional honors include being named the Gladstein Visiting Professor in Human Rights at the
                                                          7
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68       University of Connecticut (2013), the Pozen Visiting Professor in Human Rights at the

69       University of Chicago (2018), the James C. Pennington Award recipient at Heidelberg

70       University (Germany) and the Joseph and Toby Gittler Prize winner from Brandeis University;

71       both in 2022. In 2020, I was elected into the Society of American Historians and in 2021, I was

72       elected into both the American Academy of Political and Social Sciences, and the American

73       Academy of Arts & Sciences.

74               I am a regular contributor to The Guardian. My op-eds have also been published in the

75       New York Times, the Washington Post, the Boston Globe, Time, Foreign Policy, and the Los

76       Angeles Times.

77              I served as an expert witness in the North Carolina voter ID case, Holmes. v. Moore, No.

78       18 CVS 15292 (N.C. Sup. Ct.).

79              I testified before the U.S. Senate Judiciary Committee on voting rights and voter

80       suppression for the April 20, 2021 hearing on “Jim Crow 2021.”

81              I earned my B.A. from Miami University (Oxford, Ohio) in History and Political Science

82       (cum laude, Phi Beta Kappa), my M.A. in Political Science/International Relations from Miami,

83       and my Ph.D. in History from The Ohio State University.

84              Attached as Appendix A is a copy of my curriculum vitae, which provides more detail

85       about my background and qualifications.

86 IV.          Summary of Opinions

87              SB 202 was passed in March 2021 by the political party that dominates the Georgia

88       legislature, which at the time of passage and today is the Republican party. The passage of SB

89       202 is consistent with the modern-day history of efforts by major political parties and their

90       elected representatives, such as governors and legislators, that lack a sizeable constituency of
                                                          8
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 91   African American voters and other voters of color like Latinos, Asian American, and Native

 92   American voters, to craft laws and procedures that curtail age-eligible Black and other

 93   racial/ethnic minority adults’ access to the ballot box in order to secure and maintain the

 94   dominant party’s political advantage. However, because of the normative and legal changes in

 95   American society about overt racism, this discrimination is often couched in the language of

 96   protecting democracy.

97    Based on the evidence I reviewed, below is an overview of my major findings.

 98      1. Sections V(A)-(K) discuss the deep historical interconnectedness between political party

 99          affiliation on the one hand, and disfranchisement and harassment of Black voters on the

100          other. This theme, which will carry throughout the report, from the 19th century through

101          the 21st century, is joined with two other themes: fear of a Black electorate that is large

102          enough on its own (or in combination with other voters, including voters of color, who

103          share their candidate preferences) to decide elections; and invocation of voter fraud

104          allegedly committed by African Americans (and other voters of color) as an excuse to

105          revise the election laws and allay the concerns of the majority/dominant party that has a

106          predominately white constituency.

107      2. Sections V(A)-(C) set forth the factual foundation with a history of racial

108          disfranchisement during the rise of Jim Crow. Legislators in Southern states used the

109          dearth of financial and educational resources in the Black community caused by state

110          policies to disfranchise African American voters. Knowing that the Fourteenth and

111          Fifteenth Amendments prohibited them from being explicit about their aim to

112          disfranchise African Americans, white Democrats instead justified revising the state’s

113          voting laws by citing the need to clean up corruption in elections (voter fraud). They then
                                                       9
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114      wrongly identified the source of that electoral debasement as African Americans instead

115      of white politicians, who were in fact the group responsible for stuffing the ballot box,

116      and inciting (and then ignoring) domestic terrorism designed to intimidate Black voters.

117      This pattern of public policy constitutes a “history of official discrimination in the state

118      . . . that touched the right of the members of the minority group to register, to vote, or

119      otherwise to participate in the democratic process” (historical discrimination under

120      Arlington Heights and Senate Factor 1).

121   3. Section V(C) discusses Georgia specifically and how Georgia politicians in the early

122      1900s crafted new laws that were race-neutral on the surface but increased the number of

123      barriers to the ballot box and did so in ways that masked the targeting of Black voters.

124      The result on African American voter registration was devastating, plummeting from

125      more than 25% in 1904 to barely above 4% just a few years later. This is part of the

126      historical record of discrimination (under Arlington Heights and Senate Factor 1).

127   4. Sections V(C)-(H) describe how essential the fight for civil rights and the issue of race

128      was to the realignment of the two major political parties. Originally, the racial alignments

129      of the parties were rooted in the Civil War. The party of slavery, the Democrats, were

130      juxtaposed with the Party of Lincoln, which was anti-slavery. In the mid-to-late 20th

131      century, however, the Republicans ignored or jettisoned their traditional, long-standing

132      Black constituency and instead advocated stances deliberately designed to attract the

133      white, anti-civil rights constituent bloc that had been the lifeblood of the Democratic

134      party. One Republican noted that unlike in apartheid South Africa, there were so many




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135          more white people in the United States than African Americans. 2 The GOP strategy,

136          mandated by demographics, was to “go hunting where the ducks are.”3 Georgia

137          politicians such as Eugene Talmadge and Herman Talmadge were instrumental in

138          fighting African Americans’ access to the ballot box. Their political campaigns warned

139          Black people to “stay away from white folks’ ballot boxes,” 4 encouraged the

140          implementation of laws to keep African Americans from voting or having their votes

141          count equally, and disparaged Atlanta as a “gangster-ridden city” where Black people

142          who voted in a “bloc” were corruptible and a threat to the white Southern way of life and

143          maintenance of political control.5 The more Georgia and other Southern states pushed,

144          however, the more African Americans pushed back, through protests, through the courts,

145          and through leveraging their political power in the Electoral College-rich states in the

146          North. And the more Black people demanded their rights and pressured Democrats like

147          Harry Truman, John Kennedy, and Lyndon Johnson to respond, the more disaffected

148          white Southern Democrats, who were committed to Jim Crow, proved willing to vote

149          Republican. The Republican National Committee aided and abetted this move by going

150          after supposed voter fraud in African American and Latino communities in cities,

151          including Atlanta. The passage of the Voting Rights Act (1965) only accelerated the

152          transformation of the parties, as more and more white people, who believed that the civil



      2
        Eric Schickler, Racial Realignment: The Transformation of American Liberalism, 1932-1965 (Princeton,
          NJ: Princeton University Press, 2016), 261.
      3
        Stuart Stevens, It Was All a Lie: How the Republican Party Became Donald Trump (New York: Alfred
          A. Knopf, 2020), 13.
      4
        Joseph L. Bernd, “White Supremacy and the Disfranchisement of Blacks in Georgia, 1946,” The Georgia
          Historical Quarterly 66, no. 4 (Winter 1982), 494.
      5
        Herman Talmadge, “Georgia’s County Unit System, Fountainhead of Democratic Government,” The
          Georgia Review 5, no. 4 (Winter 1951), 417, 421.
                                                       11
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153            rights movement was moving too fast, abandoned the Democratic party. These sections

154            of the report, therefore, illuminate the centrality of race to party affiliation and explains

155            that Democrats in the 21st century are not the Democrats of Jim Crow. Similarly, the

156            Southern Strategy explains why the Party of Lincoln, which came into being to oppose

157            slavery and then passed bills during Reconstruction to create a legal structure of

158            citizenship for four million freed people and Free Blacks, became in the 20th century, the

159            “White Man’s Party.”6 These sections of the report, therefore, also explain the historical

160            voting discrimination and the racial underpinnings of “racially polarized” voting (under

161            Arlington Heights and Senate Factor 2).

162         5. Sections V(I)-(K) describe the ways in which Georgia’s white conservative (initially

163            Democratic but later Republican) politicians fought the advance of African Americans’

164            and other racial minorities’ voting rights. The state legislature refused to seat African

165            American civil rights activist, Julian Bond, despite his winning elections several times.

166            The governor came out against the 1970 reauthorization of the VRA. And the state had

167            numerous voting laws that the U.S. Department of Justice refused to pre-clear because of

168            the harmful impact on minority voters. There were political hazards, of course, for white

169            Republicans in Georgia, whose policies (described throughout this report) curried favor

170            with the white anti-civil rights constituency that Republicans wooed with the Southern

171            Strategy. That white voter base was shrinking and the odiousness of the Republicans’




      6
          Ian Haney-López, “How the GOP became the ‘White Man’s Party’: From Nixon to Rand, Republicans
            have banked on the unerring support of Southern white men. Here’s how it came to be,” Salon,
            December                                       22,                                     2013,
            https://www.salon.com/2013/12/22/how_the_gop_became_the_white_mans_party/, accessed January
            5, 2023.
                                                         12
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172      policies denying African Americans, Latinos, and Asian Americans basic rights meant

173      that the growing share of Georgia’s diverse non-white population would not gravitate to

174      the GOP in sizeable enough numbers to offset that decline. Also clear was that, as the

175      legislature passed these types of laws under the guise of preventing voter fraud, African

176      Americans, Latinos, and Asian Americans, both in the legislature and in the public at

177      large, who raised serious concerns about the impact of these bills on voters of color were

178      ignored. These sections on Georgia’s response to the VRA and the changing racial

179      demographics in the state demonstrate a “history of official discrimination in the state . . .

180      that touched the right of the members of the minority group to register, to vote, or

181      otherwise to participate in the democratic process.” (historical discrimination under

182      Arlington Heights and Senate Factor 1). In addition, it provides the underpinnings of a

183      showing that “voting in the elections of the state . . . is racially polarized” (under

184      Arlington Heights and Senate Factor 2).

185   6. Sections V(L)-(R) discuss aspects of the foreseeability of the impact of the policies

186      challenged in this case on minority voters and how those policies would, then, play out

187      following the pandemic-wracked 2020 presidential election. In the lead up to SB 202 and

188      during the bill’s consideration, there was nearly an all-white GOP supermajority in the

189      state legislature, and an executive branch leadership team – e.g., Governor, Lt. Governor,

190      Secretary of State, Attorney General – that was also all white in a state where white

191      people comprise a bare-majority (i.e., 51% of the population). The 2018 gubernatorial

192      election, where Democrat and African American Stacey Abrams came within 55,000

193      votes of winning the gubernatorial election, foretold the possibilities of statewide

194      electoral victory for a candidate preferred by Black voters (overwhelmingly) and other
                                                   13
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195    voters of color. The competitiveness of the race was due to the extensive multi-racial,

196    multi-ethnic, multi-lingual organizing efforts at the grassroots level to register African

197    Americans, Latinos, Asian American and Pacific Islanders (AAPI), and Native

198    Americans. Indeed, as reported, 58% of the growth in the registered voter rolls came

199    from those racial and ethnic minorities. As the 2020 presidential election unfolded in the

200    midst of a deadly pandemic, the question became how to hold an election when a disease

201    was ravaging the nation. The state and local election officials’ answers created

202    consternation in a number of white Republican legislators. These legislators opposed the

203    election officials’ efforts to, for example: send all active voters an absentee ballot

204    application during the primary; make available a number of drop boxes to provide a

205    reliable way to deposit absentee ballots as the effectiveness of the U.S. Postal Service

206    declined; buy mobile voting units to compensate for massive poll closures in Fulton

207    County; and engage the signature verification process developed in a settlement

208    agreement after the 2018 election. The white Republican legislators’ opposition to these

209    measures was well-founded since the measures led to a record turnout, the defeat of

210    Donald Trump, and runoff elections with the possibility for voters to elect Georgia’s first

211    African American and Jewish U.S. Senators. While only 30% of white voters in Georgia

212    cast their ballot for Joseph Biden, 90% of African American, 69% of Latino, and more

213    than 60% of Asian American votes were for Biden. Key in this landmark victory were

214    absentee ballots, with nearly twice as many cast for Biden as for Trump, as reported.

215    These sections of the report, thus, lay out the foreseeability of the impact of the

216    challenged provisions on voters of color (under Arlington Heights) and “the extent to

217    which voting in the elections of the state . . . is racially polarized.” (Senate Factor 2)
                                                 14
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218   7. Sections V(S)–(V) focus on the efforts to overturn the election and the implications for

219      the series of bills that would eventually merge into SB 202. White presidential

220      incumbent, Trump, who lost in Georgia by 11,779 votes, had already sown enormous

221      doubt about the validity of the outcome of the election by spending months disparaging

222      absentee ballots and drop boxes as vehicles for massive fraud, and he had called himself

223      the victor in Georgia well before all of the ballots had been counted. After the official

224      count showed that Joe Biden had actually won the state, Trump’s supporters in the

225      Georgia legislature ignored the numerous audits, investigations, and lost court cases.

226      Instead, the legislators played into the racialized narratives of a stolen election. Trump

227      and his supporters focused in on Atlanta, in general, and Fulton County, in particular,

228      where the majority of the population is African American, Asian American, and Latino,

229      as the source of the fraud. The Georgia legislature, in fact, held three special hearings

230      where Rudy Giuliani singled out Fulton County and African Americans, specifically, as

231      criminals who stole the election with suitcases of ballots. He and his entourage regaled

232      the legislators with easily (and previously) debunked data about all the ineligible and

233      illegal votes cast in Georgia. None of the white Republicans publicly pushed back to

234      refute the allegations while Black, white, and Asian American Democrats did. White

235      Republicans in the Georgia state legislature not only lent institutional legitimacy to a

236      fraudulent enterprise (one that has temporarily cost Giuliani his ability to practice law in

237      New York and Washington, D.C.), but several also joined an amicus curiae brief that

238      sought to nullify the votes for Biden, the candidate for whom the vast majority of African

239      American, Asian American, and Hispanic American voters had cast their ballot (as

240      compared to only 30% of white voters). The legislators also plotted amongst themselves,
                                                  15
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241            sending to Washington, D.C. their own slate of electors purportedly certifying the state’s

242            16 Electoral College voters for Trump. The slate was fake, but, if the ploy had worked, it

243            would have erased 90% of African American, 69% of Latino, and more than 60% of

244            Asian American votes for president in Georgia. Many of the white Republican legislators

245            who undertook these efforts then co-sponsored multiple bills – under the guise of election

246            integrity (although the 2020 presidential election was “the most secure [election] in

247            American history” 7) – to erect barriers to the ballot box for African Americans, Hispanic

248            Americans, Asian Americans, and Native Americans. These bills would eventually

249            morph into SB 202. These sections, therefore, lay out the sequence of events leading up

250            to the adoption of the challenged law at issue in this case, the pretextual and tenuous

251            reasons offered in support of certain SB 202 provisions (under Arlington Heights and/or

252            Senator Factor 9) and “the extent to which voting in the elections of the state…is racially

253            polarized” (Senate Factor 2).

254         8. Sections V(W)-(Z) detail how some of the major election bills that became SB 202

255            served to constrict or make more cumbersome the methods that African Americans,

256            Native Americans, Asian Americans, and Hispanic American voters had used to vote and

257            elect their preferred candidates. The pathways that facilitated the enormous turnout in

258            2020 and the runoff on January 5, 2021, which resulted in the election of the first African




      7
          Joint Statement from Elections Infrastructure Government Coordinating Council & The Election
            Infrastructure Sector Coordinating Executive Committees, press release, November 12, 2020,
            https://www.cisa.gov/news/2020/11/12/joint-statement-elections-infrastructure-government-
            coordinating-council-election, accessed November 27, 2021.
                                                        16
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259      American and Jewish U.S. Senators from Georgia, were all in the white Republicans’

260      legislative crosshairs.

261   9. Sections V(W)-(Z) also lay out the sequence of events leading up to the adoption of the

262      challenged law at issue in this case and the pretextual and tenuous reasons offered in

263      support of certain SB 202 provisions (under Arlington Heights and/or Senator Factor 9).

264      Sections V(Y)-(GG) cover the chaotic legislative hearings that led to the provisions in SB

265      202—some of which are challenged by Plaintiffs in this case:

266          •   Adding new identification requirements and timing parameters for requesting an

267              absentee ballot and casting an absentee ballot.

268          •   Requiring counties to establish at least one drop box as a means for absentee

269              voting, but including restrictions on availability of drop boxes, the location of

270              drop boxes, and the hours and days drop boxes are available, as well as imposing

271              new in-person security requirements.

272          •   Reducing both the timeframe for when a runoff election is held and the available

273              number of early voting days during a runoff election.

274          •   Limiting the use of mobile voting units to situations where an emergency is

275              declared by the Governor.

276          •   Restricting voters, people, and non-partisan groups from providing free food and

277              water to voters standing in long lines at polling locations.

278          •   Prohibiting election officials from counting provisional ballots cast by Georgia

279              voters before 5:00 p.m. on Election Day, if the voter casts his or her ballot in a

280              different precinct than the one assigned to him or her, even if the precinct is in the

281              same county where the voter is registered.
                                                 17
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282      For each of these measures, I detail white Republicans’ rationale for the proposed

283      legislation, and show that the racialized Big Lie about who supposedly stole the election,

284      and who was behind it. I also observe that arguments made by Asian American, African

285      American, Hispanic American, and white Democratic legislators, as well as by the

286      leadership of multiple NGOs detailing the negative impact of the proposed legislation on

287      voters of color were ignored. Adding to the contempt shown to Asian American, Latino,

288      Native American, and African American voters, as well as to Democrats, and NGO

289      leaders, the white Republicans released revised versions of the bills with little or no time

290      for legislative or public review, thereby springing changes on those concerned about the

291      harmful impact of the bill. This chaotic process, tied to the Big Lie of racial minorities

292      engaging in massive voter fraud to steal an election, was the unsavory foundation for SB

293      202, passed on a strictly racialized and partisan basis and signed the same day by

294      Governor Brian Kemp. These sections, therefore, also continue to explain the sequence of

295      events leading up to the adoption of the challenged law at issue in this case, including the

296      foreseeability of impact on racial minority voters, the procedural and substantive

297      deviations from legislative norms, and the tenuous and pretextual reasons for SB 202

298      (under Arlington Heights and Senate Factor 9).

299   10. Finally, Section V(HH) explores the historical patterns between SB 202 and previous

300      methods of disfranchisement of minority citizens through pretextual and tenuous

301      rationales for voting laws offered by majority white (or super-majority white) dominant

302      actors, as described earlier. Specifically, this section notes the similarities between SB

303      202 and historical efforts at disfranchising minority citizens in terms of the following:



                                                  18
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304                     ●Demographic changes in the electorate, where the share of racial and ethnic

305                     minority voters grows and/or voter turnout nearly equals or surpasses that of

306                     white voters, serving as a catalyst for disfranchising legislation.

307                     ●Politicians using the claim of voter fraud leveled against minorities, like African

308                     Americans, who are supposedly “purchaseable” or live in “gangster-ridden

309                     cities,” to justify laws or policies that disfranchise or make it more difficult to

310                     vote.

311                     ●State legislatures countering federal laws and court decisions that increased

312                     access to the ballot box for African Americans, Asian Americans, Native

313                     Americans, and Latinos, in an effort to evade the Fifteenth Amendment.

314             Thus, this section explores the historical background of SB 202, and the pretextual and

315             tenuous reasons offered in support of SB 202’s provisions (under Arlington Heights

316             and/or Senator Factors 1 and 9).

317 V.          History

318             A.      Rise of Jim Crow

319             Initially, during the era of Jim Crow from 1890–1965, the Democrats were the primary

320      architects of Black disfranchisement. This animus had two major pillars. One was African

321      Americans’ allegiance to the Party of Lincoln, the Republicans, because of the president’s role in

322      ending the enslavement of Black people coupled with the Radical Republicans’ successful efforts

323      to pass the Thirteenth (abolition of slavery), Fourteenth (birthright citizenship, equal protection,

324      and due process) and Fifteenth (right to vote) Amendments to the Constitution, as well as the

325      Enforcement Act (federal authority to prosecute white domestic terrorists such as the Ku Klux

326      Klan), and the Force Acts of 1870–75 (federal power to enforce the Fourteenth and Fifteenth
                                                          19
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327   amendments), all of which dealt with providing a legal structure of citizenship for the formerly

328   enslaved people.

329          The second pillar of animus against Black people was sheer racism: the view, borne out

330   of the rationale for slavery, was that African Americans were debased, criminalized, violent,

331   ignorant, and inferior to white people, and, thus, unworthy of the vote. 8 A secessionist from

332   Mississippi explained to his Georgian counterpart that “by electing Republicans, the North had

333   declared its commitment to ‘equality between the white and negro races, [and] . . . now

334   demand[s] . . . equality in the right to suffrage, equality in the honors and emoluments of office,

335   equality in the social circle, equality in the right of matrimony.’”9 Having “loose among us

336   4,000,000 of freed blacks” could only mean a “‘saturnalia of blood,’ ‘a war of extermination’

337   that would lead to the destruction of the white people by ‘assassinations’ and ‘amalgamation,’ or

338   rape.” 10 In short, in this depiction, a Republican party with a sizeable Black membership was a

339   party that was a threat to white people.

340          As Republican party strategist Kevin Phillips noted, looking back nearly 100 years,

341   “White political Negrophobia in the post-bellum South was premised on fear of Negro voting

342   power . . . On a statewide basis,” he continued, “Negroes constituted a majority of the post-Civil

343   War populations in Mississippi, Louisiana, South Carolina and more than 40% of the populations

344   of Alabama and Georgia.” 11 Because of the Fifteenth Amendment’s ban on using “race, color, or




      8
        Peter H. Wood, Strange New Land: Africans in Colonial America (New York: Oxford University Press,
          2003), 38-39.
      9
        Edward E. Baptist, The Half Has Never Been Told: Slavery and the Making of American Capitalism (New
          York: Basic Books, 2014), 390.
      10
         Baptist, The Half Has Never Been Told, 391.
      11
         Kevin Phillips, The Emerging Republican Majority, with a new preface by the author, new foreword by
          Sean Wilentz (Princeton, NJ: Princeton University Press, 1969, 2015), 235.
                                                       20
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345   previous condition of servitude” to disfranchise, the Democrats’ blueprint for disfranchisement

346   was to target Black voters through new voting laws ostensibly needed to protect democracy and

347   reinstall confidence in the election system that had been shaken by alleged widespread voter

348   fraud. Then Democrats in state legislatures throughout the South crafted laws that were race

349   neutral, on the surface, such as the poll tax and the literacy test, but were actually targeted at

350   removing African American voters’ access to the ballot box. This race-neutral-yet-racially-

351   targeted method successfully circumvented the Fifteenth Amendment’s ban on using “race, color

352   or previous condition of servitude” to deny African Americans their right to vote for more than

353   70 years.

354           The quintessential example of this was in 1890, when Mississippi lawmakers, panicked

355   by the growing political power of a coalition of African Americans and poor whites, raised the

356   false flag about voter fraud as the reason to redraft the state’s constitution to disfranchise as

357   many Black voters as possible. The Fifteenth Amendment made the traditional race-specified

358   methods of disfranchisement unconstitutional. Southern Democrats openly and mightily resented

359   this addition to the Bill of Rights. Indeed, one Alabama newspaper called it “‘a monstrous

360   crime,’ rife with ‘evils.’”12 Another Southern newspaper wrote that the Fifteenth Amendment

361   “may stand forever; but we intend . . . to make [it a] dead letter . . . on the statute-book.” 13 The

362   Southern states, therefore, soon figured out how to maneuver around their constitutional enemy.

363   Masking racially-targeted policies behind race-neutral language and covering that with a state’s




      12
         R. Volney Riser, “Disfranchisement, the U.S. Constitution, and the Federal Courts: Alabama’s 1901
          Constitutional Convention Debates the Grandfather Clause,” The American Journal of Legal History,
          48, no. 3 (July 2006), 244.
      13
         Eric Foner, Reconstruction: America’s Unfinished Revolution, 1863-1877, updated edition, (New York:
          Harper Perennial, 2014), 590.
                                                        21
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364   interest in ensuring free and fair elections became a masterful disguise to rob Black people of

365   their voting rights.

366           Specifically, while Mississippi lawmakers said they were concerned about corruption at

367   the ballot box, Judge J.J. Chrisman, a delegate at the state’s constitutional convention, admitted

368   that it was not Black men who had committed fraud, rather the Democrats, then the party of

369   white supremacy, who had rigged every election in Mississippi since 1875. 14 Chrisman stated:

370   “It is no secret that there has not been a full vote and a fair count in Mississippi since 1875—that

371   we have been preserving the ascendancy of the white people by revolutionary methods. In plain

372   words we have been stuffing the ballot boxes, committing perjury, and . . . carrying the elections

373   by fraud and violence until the whole machinery was about to rot down. No man can be in favor

374   of the election methods which have prevailed . . . who is not a moral idiot.”15

375           The red herring often dragged before the electorate was voter fraud, where individuals

376   impersonated someone else to cast a ballot. The real villain attacking democracy, however, was

377   much more systemic and systematic—extensive election fraud, which was organized by political

378   leaders, usually against African Americans, to alter the outcome of elections and weaken Black

379   electoral power, especially in counties and states where they were a sizeable portion of the

380   population.16



      14
         William Alexander Mabry, “Disfranchisement of the Negro in Mississippi,” Journal of Southern History
          4, no. 3 (August 1938), 319.
      15
         U.S. Commission on Civil Rights, “Racial and Ethnic Tensions in American Communities: Poverty,
          Inequality, and Discrimination—Volume VII: The Mississippi Delta Report: Chapter 3, Voting Rights
          and Political Representation in the Mississippi Delta,” https://www.usccr.gov/pubs/msdelta/ch3.htm,
          accessed November 27, 2020.
      16
         Gael Graham, “‘The Lexington of White Supremacy’: School and Local Politics in Late-Nineteenth
          Century Laurinburg, North Carolina,” The North Carolina Historical Review, 89, no. 1 (January 2012),


                                                        22
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381           Thus, while framing the problem so starkly in terms of the corrosive effect of election

382   fraud (organized by a candidate or political apparatus), Judge Chrisman and his colleagues

383   argued that salvation would come by treating voter fraud (individuals violating election laws) as

384   the real menace. Chrisman contended that it was the very presence of Black voters and their

385   threat to the old Antebellum order that had forced white voters to commit fraud at the ballot box.

386   Remove African Americans from the electorate, Chrisman asserted, and it would eliminate the

387   need to rig elections. When black voters were banished, white voters would be able to conduct

388   free and fair elections.17

389           This quest to dilute Black political power in the Magnolia State was borne of

390   demographics and the threat it posed to white supremacy. 18 In Mississippi in 1890, for example,

391   the “state’s voting-age population . . . was 271,080: 150,469 blacks and 120,611 whites.” 19 The

392   chair of the state’s constitutional convention, Judge Solomon Calhoon’s opening salvo, therefore,

393   made clear that a multiracial democracy was not only undesirable but also unacceptable. Instead,

394   he offered, it was time for white people to write a constitution of “self-protection.”20 They set out




          28; George E. Cunningham, “Constitutional Disenfranchisement of the Negro in Louisiana, 1898,”
          Negro History Bulletin, 29, no. 7 (April 1966): 147-148; Dorothy Granberry, “When the Rabbit Foot
          Was Worked and Republican Votes Became Democratic Votes: Black Disfranchisement in Haywood
          County, Tennessee,” Tennessee Historical Quarterly, 63, no. 1(Spring 2004), 35; Chris M. Branam,
          “Another Look at Disfranchisement in Arkansas, 1888-1894,” The Arkansas Historical Quarterly, 69,
          no. 3 (Autumn 2010), 247-250; John W. Wertheimer, Law and Society in the South: A History of North
          Carolina Court Cases (Lexington: University of Kentucky Press, 2009), 139-140.
      17
         Michael Fellman, In the Name of God and Country: Reconsidering Terrorism in American History (New
          Haven, CT: Yale University Press, 2010), 139.
      18
         Lawrence B. Glickman, “Three Tropes of White Victimhood,” The Atlantic, July 20, 2021,
         https://www.theatlantic.com/ideas/archive/2021/07/three-tropes-white-victimhood/619463/, accessed
         July 21, 2021.
      19
         Gordon A. Martin, Jr., Count Them One by One: Black Mississippians Fighting for the Right to Vote
         (Jackson: University of Press of Mississippi, 2010), 7.
      20
         Mabry, “Disfranchisement of the Negro in Mississippi,” 324.
                                                       23
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395   to “accomplish by indirect means what the Federal Constitution forbade doing directly. The

396   predominance of power in the legislature [through gerrymandering and reapportionment] was

397   given to the white counties because white control of the state could be assured thereby. Payment

398   of a poll tax was made a prerequisite of voting largely because it was believed that the white man

399   was more apt to pay it than the Negro. A literacy test was imposed because the rate of illiteracy

400   was higher among Negroes than among whites. Then too, registration officials were given wide

401   discretionary powers in determining one’s ability to read or understand a section of the

402   constitution . . . In short, the convention evolved a constitution which discriminated not against

403   the Negro but against his characteristics and limitations.” 21

404          B.      Rise of Jim Crow Disfranchisement in Georgia

405          Georgia followed suit. As early as 1877, the state had established a cumulative poll tax,

406   an annual fee to vote in an election, which could accumulate indefinitely if not paid. As J.

407   Morgan Kousser reported, “One knowledgeable observer termed Georgia’s cumulative poll tax

408   ‘the most effective bar to Negro suffrage ever devised.’” 22 A Mississippi Senator admired that

409   “Georgia law calls for the payment of ALL BACK TAXES. The Georgia law, therefore,

410   furnishes a greater measure of protection than is furnished by the Mississippi law, but in

411   Mississippi the requirement of but two years taxes KEEPS THE NEGROES OUT.” 23




      21
         Mabry, “Disfranchisement of the Negro in Mississippi,” 333.
      22
         J. Morgan Kousser, “Poll Tax (For Congressional Quarterly, Inc., The International Encyclopedia of
           Elections),” http://www.its.caltech.edu/~kousser/dictionary%20entries/poll%20tax.pdf, accessed
           November 28, 2020.
      23
         Jos: Ohl., “Educational Test Has Failed to Bar Mississippi Negroes; Poll Tax Disfranchises Them:
           Georgia Plan Much Better, Says Money, Senator Frankly Admits Failure of the Educational Test in
           Mississippi,” The Atlanta Constitution (1881-1945); Atlanta, Ga., CMG Corporate Services, Inc. on
           behalf of itself and the Newspapers, December 24, 1905, pp. 1-2.
                                                       24
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412           Yet, that was not enough. Georgia lawmakers recognized that although the cumulative

413   poll tax had led to “relatively few blacks registered to vote, they [African Americans] were still a

414   very substantial proportion of the population of Georgia (47%) in 1890.”24 Like Mississippi’s

415   multi-pronged attack on Black voters’ access to the ballot box, and what would occur in 2021

416   with SB 202, discussed below, Georgia was determined to erect more seemingly race-neutral, but

417   actually racially-targeted disfranchisement policies to achieve that end. The concerted attack on

418   African Americans’ right to vote was amplified by white mob violence against African

419   Americans in Atlanta in 1906, which was stoked by incendiary and overwhelmingly false news

420   reports of Black men attacking white women,25 editorials linking African Americans’ quest for

421   voting rights to their “foul dreams of a [sexual] mixture of races,” 26 and a gubernatorial

422   campaign where the candidates, “Clark Howell and Hoke Smith vied before the white-primaried,

423   poll-taxed electorate for the title of the most rabid racist.” 27

424           Hoke Smith’s campaign for governor in 1905–06 focused on white supremacy issues,

425   including holding a constitutional convention, similar to Mississippi’s, to rewrite the state’s

426   constitution to disfranchise Black voters and cast this as a necessary reform. While campaigning,

427   Smith explained that: “I favor a constitutional amendment which will insure a continuation of

428   white supremacy . . . “[and] the protection of the white primaries from fraud and the prevention




      24
          Laughlin McDonald, A Voting Rights Odyssey: Black Enfranchisement in Georgia (New York:
           Cambridge University Press, 2003), 38.
      25
         David Fort Godshalk, Veiled Visions: The 1906 Atlanta Race Riot and the Reshaping of American Race
           Relations (Chapel Hill: University of North Carolina Press, 2005), 39.
      26
          Dewey W. Grantham Jr., “Georgia Politics and the Disfranchisement of the Negro,” The Georgia
           Historical Quarterly 32, no. 1 (March 1948), 13.
      27
         J. Morgan Kousser, The Shaping of Southern Politics: Suffrage Restriction and the Establishment of the
           One-Party South 1880–1910 (New Haven, CT: Yale University Press, 1974), 219.
                                                          25
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429   of the use of money to debauch the voters in our primaries.” 28 “Smith . . . made the total

430   elimination of blacks from state government a major issue in his campaign. He supported the use

431   of educational qualifications for voting because, he said, ‘[t]he negro is inferior mentally to the

432   white man. He cannot, as a rule, fit himself by education for the tests put upon him.’ The Atlanta

433   Journal, which was a strong supporter of Smith, ridiculed his opponent, Clark Howell, because

434   he ‘appears to be unable to understand why it is that we wish the legal disfranchisement of the

435   223,000 male negroes of voting age in Georgia….Because we are the superior race and do not

436   intend to be ruled by our semi-barbaric inferiors.’”29 Hoke Smith thought that the existing

437   disfranchisement methods of the poll tax and the white primary, where only whites could vote in

438   the Democratic party’s primary, and, because of the one-party system, determine who would win

439   the general election, were simply not enough. Smith “insisted that the existing safeguards of

440   white supremacy were proving inadequate, and quoted from a state report that 110,000 more

441   Negroes paid their taxes in Georgia in 190, while more Negroes paid poll taxes in thirty-three

442   counties than whites. He warned that these counties might elect Negro officers . . . It was his

443   opinion that ‘we SHOULD KEEP ALL THE SAFEGUARDS WE HAVE and ADD OTHERS

444   WHICH EXPERIENCE HAS SHOWN ARE HELPFUL.’” 30

445           Howell, who staunchly supported the white primary and the poll tax, “said that he

446   opposed the proposed disfranchisement amendment because the ‘Negro vote in Georgia is

447   already disfranchised by the only legal system that can be enforced, and without robbing a single

448   Democrat of the right of suffrage.’ He predicted that the Grandfather Clause, (which provided a




      28
         Grantham, “Georgia Politics and the Disfranchisement of the Negro,” 5.
      29
         McDonald, A Voting Rights Odyssey, 40.
      30
         Grantham, “Georgia Politics and the Disfranchisement of the Negro,” 7-8.
                                                        26
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449   way for poor whites to vote who couldn’t pay the poll tax or pass the proposed literacy test to

450   rely upon the legacy of their grandfathers who were able to cast a ballot prior to 1867 [that is

451   before Black men in the South could vote]), would be thrown out by the Supreme Court; and

452   ‘Everybody knows it is a legislative fraud on the face of it, . . . ’ Besides, it [a literacy test] would

453   disfranchise the poor whites and enfranchise the college Negro . . .”31

454             Despite Howell’s misgivings, the Georgia Democratic Party’s platform in September

455   1906 championed disfranchisement because Black voters were supposedly the source of

456   corruption and voter fraud. One of the platform’s planks stated: “The white primary,” where only

457   white people could vote in the all-important Democratic primary, “is a marvelous triumph of self

458   government and should always be retained and strengthened.” It was a powerful method, the

459   platform continued, to stop white voters in the different political parties, such as the third-party

460   Populists, who had caused the Democrats so much trouble in recent elections, from using the

461   “corrupt and venal negro vote, [to] retain balance of power.” In addition, the Democrats stated

462   that “We favor the adoption of an education qualification for voting along the lines followed by

463   our sister states of Virginia, North Carolina, South Carolina, Alabama, Mississippi and

464   Louisiana. The amendment ought to be so drafted as to exclude the largest possible percentage of

465   the ignorant and purchaseable negro vote under the limitations imposed by the federal

466   constitution.” 32 Congressmen Thomas W. Hardwick emphasized this point at the Democratic

467   convention asserting that “The white people of Georgia . . . have signified that they desire and

468   are determined to have additional and effectual protection against the black cloud of ignorant and




      31
           Grantham, “Georgia Politics and the Disfranchisement of the Negro,” 6-7.
      32
           “Text of the Platform Adopted by the Democratic Convention,” The Atlanta Constitution, September 5,
            1906, p. 6.
                                                          27
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469   purchasable negroes with which they are surrounded and enveloped.” 33

470           The then-dominant party in Georgia, the Democrats, thus, set out to craft laws to navigate

471   around the Fifteenth Amendment while disfranchising Black voters, whom they defined as a

472   source of corruption. This led to legislation to revise the state’s Constitution in 1908 “to ensure

473   ‘that the Negro shall not be left around the corner, awaiting the awakening hand of the

474   corruptionist whenever division shall again break the white ranks and discord lift its threatening

475   hand.’” 34 The procedures of ayes and nays, the use of committees to vet the bills, the formality of

476   the votes, and the sanitized language all gave the aura of legitimacy for a law that attacked the

477   voting rights of American citizens simply because they were Black. For example:

478           “Section I: Elections by the people shall be by ballot and only those persons shall be

479           allowed to vote who have been first registered in accordance with the requirements of

480           law. . . Par.3. To entitle a person to register and vote at any election by the people he shall

481           have resided in the State one year next preceding the election, and in the county in which

482           he offers to vote six months next preceding the election, and shall have paid all taxes,

483           which may have been required of him since the adoption of the Constitution of Georgia

484           of 1877 [the cumulative poll tax] . . . Such payment must have been made at least six

485           months prior to the election at which he offers to vote, except, when such elections are

486           held within six months from the expiration of the time fixed by law for the payment of

487           such taxes.” 35



      33
         “Hon. Thomas W. Hardwick Addresses Convention,” The Atlanta Constitution, September 5, 1906, p. 2.
      34
         Kousser, The Shaping of Southern Politics, 221.
      35
         “An Act to amend the Constitution of the State of Georgia by repealing Section I of Article 2, and
          inserting in lieu thereof a new section prescribing the qualification of voters” in State of Georgia at the
          Regular Session of the General Assembly at Atlanta, Wednesday June 26, 1907 (Atlanta, Georgia: The
          Franklin-Turner Company, 1907), 296-297.
                                                            28
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488   The cumulative poll tax, which was re-emphasized in this bill, required payment when one-third

489   of the Black population were sharecroppers and would not have access to cash until well after the

490   state’s due date. Indeed, in one study, by 1905 all landowners surveyed had abandoned cash

491   payments to the sharecroppers.36 The state had, therefore, set up a requirement to vote that a

492   sizeable swath of Black citizens could not meet.

493           Also, the new bill continued to target Black voters with non-racial language and

494   requirements by creating a carve out that allowed white voters to not pay the poll tax while

495   making that option nearly impossible for African Americans:

496           “All persons who have honorably served in the land or naval forces of the United States

497           [in all America’s wars except the Civil War] . . . or who honorably served in the land or

498           naval forces of the Confederate States or of the State of Georgia in the war between the

499           States.” 37

500   The exclusion is subtle but important. Given that the average life expectancy for white

501   men in 1900 was less than 47 years old (and Black men only 33 years old), the nation’s last war

502   listed in the acceptable list for veterans already results in racial disfranchisement. 38 Thus, by the

503   early 1900s, based on Black men’s short life span, they would have died before they could take

504   advantage of these exceptions for war participation. Further, as historian Kevin M. Levin has




      36
         W. Fitzhugh Brundage, “A Portrait of Southern Sharecropping: The 1911-1912 Georgia Plantation
          Survey of Robert Preston Brooks,” The Georgia Historical Quarterly, 77, no. 2 (Summer 1993), 371.
      37
         “An Act to amend the Constitution of the State of Georgia by repealing Section I of Article 2, and
          inserting in lieu thereof a new section prescribing the qualification of voters,” 297-298.
      38
         Centers for Disease Control, “Table 15. Life expectancy at birth, at age 65, and at age 75, by sex, race,
          and        Hispanic        origin:     United        States,       selected      years     1900–2016,”
          https://www.cdc.gov/nchs/data/hus/2017/015.pdf, accessed October 1, 2021.
                                                          29
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505   ably demonstrated, there were no African American soldiers in the Confederate Army. 39 Tying

506   voting eligibility to serving the Confederacy instead of in the United States military, sent

507   multiple signals about the undesirability of Black men as voters.

508           The legislation continues with a literacy test requirement:

509                   “4.     All persons who can correctly read in the English language any paragraph

510              of the Constitution of the United States or of this State and correctly write the same in

511              the English language when read to them by any one of the registrars, and all persons

512              who solely because of physical disability are unable to comply with the above

513              requirements but who can understand and give a reasonable interpretation of any

514              paragraph of the Constitution of the United States or this State, that may be read to

515              them by any one of the registrars.”40

516           Although only 0.6% of Georgia’s population were immigrants in 1900, this provision

517   reflected the literacy test requirements from around the nation, which were designed to prevent

518   the foreign-born from being able to vote.41 In 1900, with 52% of Black Georgians illiterate42

519   compared to only 11.9% of Southern white adults, 43 the target of literacy test requirements was

520   clear despite being cloaked in the language of an electoral improvement. As scholar, Bruce Fort



      39
         Kevin M. Levin, Searching for Black Confederates: The Civil War’s Most Persistent Myth (Chapel Hill:
           The University of North Carolina Press, 2019).
      40
          “An Act to amend the Constitution of the State of Georgia by repealing Section I of Article 2, and
           inserting in lieu thereof a new section prescribing the qualification of voters,” 298.
      41
         Henry Gannett, “Map of the Foreign-Born Population of the United States, 1900: A Spotlight on a Primary
           Source,”        https://www.gilderlehrman.org/history-resources/spotlight-primary-source/map-foreign-
           born-population-united states-1900, accessed March 26, 2022; Arthur W. Bromage, “Literacy and the
           Electorate,” The American Political Science Review, 24, no. 4 (November 1930), 947, 953.
      42
         Bruce Fort, “The Politics and Culture of Literacy in Georgia, 1800-1920,” Ph.D., diss., University of
           Virginia, 1999, 262, fn. 46.
      43
          Robert A. Margo, Race and Schooling in the South, 1880-1950: An Economic History (Chicago, IL:
           University of Chicago Press, 1990), 7.
                                                         30
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521   wrote, “The belief that education heightened moral sensibilities, and therefore fitted a person to

522   bear the responsibilities of self-government, made literacy tests appear on the surface as a

523   reasonable and fair-minded means of limiting political rights.” As a result, “[t]he claim that

524   democracy could be protected and even enhanced by eliminating ‘unqualified’ voters gave

525   disfranchisement laws a veneer of prudent reform, even as democracy was extinguished in the

526   region.” 44

527             The 1907 legislation also set another racially-discriminatory but seemingly race-neutral

528   requirement to vote, this time property ownership:

529                     “5.     Any person who is the owner in good faith in his own right of at least forty

530             acres of land situated in this State upon which he resides, or is the owner in good faith in

531             his own right of property situated in this State and expressed for taxation at the value of

532             five hundred dollars.”45

533   Underlying this seemingly innocuous property requirement was the vast disparity in

534   property ownership between African Americans and white people in Georgia. As an example,

535   historian John Dittmer wrote, “Dougherty County in southwest Georgia exemplified the

536   problems facing black belt farmers. Outnumbering whites five to one in 1900, blacks held only 5

537   percent of the county’s acreage and aggregate property. White farmer F.F. Putney, with his 60

538   farms and 13,000 acres, owned 20 percent more land than all of Dougherty’s 11,000 blacks! An

539   1898 study showed that only 81 black families owned any farmland at all, while the

540   overwhelming majority of black men and women barely survived as farm laborers and




      44
           Fort, “The Politics and Culture of Literacy in Georgia, 1800-1920,” 274.
      45
           “An Act to amend the Constitution of the State of Georgia by repealing Section I and inserting in lieu
            thereof a new section prescribing the qualification of voters,” 299.
                                                           31
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541   sharecroppers.” 46

542          As Georgia moved forward with this law that required payment of a poll tax, literacy

543   tests, and property requirements to vote, but provided a loophole for white Georgians through

544   service in the Confederate Army or through the Grandfather Clause, the result was devastating.

545   Scholar J. Morgan Kousser noted, “Negro registration [in Georgia] dropped from 28.3 percent in

546   1904 to 4.3 percent in 1910.” 47 The Atlanta Journal praised this comprehensive disfranchisement

547   law, which was replete with multiple obstacles to the ballot box. Georgia, the paper noted, had

548   now “taken her place among the enlightened and progressive states which have announced that

549   the white man will rule.” 48 This type of disfranchisement was, thus, billed as a “Progressive

550   reform” that, just like the subsequent claims for SB 202, discussed in detail below, would clean

551   up corruption at the ballot box, ensure election integrity, and heighten confidence in good

552   government by using multiple barriers to access the ballot box.49 One historian laid out the

553   impact of Georgia’s 1908 disfranchising constitution along with those of other Southern states:

554   “the political equality of the Negro is becoming as extinct in law as it has long been in fact, and

555   the undoing of reconstruction is nearing completion.” 50

556          C.      Race, Civil Rights and the Cracking of the Solid Democratic South

557          While the Democrats were instrumental in the Jim Crow era in marshaling the forces of

558   disfranchisement, the Republicans would become the chief culprits in the post-Jim Crow era.

559   The decades-long transformation of the Democratic and Republican parties was directly tied to



      46
         John Dittmer, Black Georgia in the Progressive Era 1900-1920 (Urbana: University of Illinois Press,
          1977), 24.
      47
         Kousser, The Shaping of Southern Politics, 223.
      48
         Fort, “The Politics and Culture of Literacy in Georgia, 1800-1920,” 278.
      49
         Kousser, The Shaping of Southern Politics, 260, 262-263.
      50
         Grantham, “Georgia Politics and the Disfranchisement of the Negro,”, 1.
                                                       32
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560   African Americans’ voting rights and civil rights. Black political agency was the key to the

561   backlash and the ensuing transformation and re-orientation of the Republican and Democratic

562   parties.

563              From 1915-1940, the migration of more than one million African Americans out of the

564   South and into the large Electoral College-rich states of Pennsylvania, Ohio, Michigan, Illinois,

565   and New York (known as the Great Migration) began to change the political calculus of the

566   Democratic Party.51 Whereas before the Great Migration, 90 percent of African Americans lived

567   in the South, subjected to the terror of lynching and mass disfranchisement, the movement to the

568   North and the Midwest, where they had voting power meant that their concern for civil rights

569   now had to be factored in to the political ambitions of politicians above the Mason-Dixon Line. 52

570              That exodus from the South alone would not have been enough to change the political

571   calculus. African Americans were traditionally aligned with the Republicans (the Party of

572   Lincoln) because of the history of Emancipation and Reconstruction when the GOP had

573   supported Black people’s civil rights. That is to say, once they moved out of the South, African

574   Americans could have remained Republicans. Yet, the other important factor that was

575   instrumental in weakening Black voters’ allegiance to the Party of Lincoln was the advent of

576   President Franklin Delano Roosevelt’s New Deal programs, which, although riven with racial

577   discrimination, still provided more sustenance for African Americans than had the policies of




      51
         Nancy J. Weiss, Farewell to the Party of Lincoln: Black Politics in the Age of FDR (Princeton, NJ:
          Princeton University Press, 1983), 180, 182-183; Keneshia N. Grant, The Great Migration and the
          Democratic Party (Temple University Press, 2020), Kindle, 157.
      52
         Harvard Sitkoff, A New Deal for Blacks: The Emergence of Civil Rights as a National Issue, Vol I: the
          Depression Decade (New York: Oxford University Press, 1978, 2009), 6-7, 75-76.
                                                        33
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578   Republican Herbert Hoover.53 During the onset and early years of the Great Depression (1929-

579   1932) President Hoover’s administration had offered Black people struggling under the weight of

580   a 50% unemployment rate, no more than the old GOP “platitudes of Abraham Lincoln, Charles

581   Sumner, and Thaddeus Stevens.”54 That lack of empathy and virtually non-existent policy

582   support for a people in crisis was crucial for the movement of Black voters to the Democratic

583   party. 55 Roosevelt’s policies, along with the advent of the Black Cabinet, a group of African

584   Americans who were a conduit between federal agencies and the civil rights leadership, seemed

585   to signal some recognition of African Americans as American citizens 56 and, therefore,

586   continued to loosen Black people’s traditional loyalty to the Party of Lincoln. The 1936

587   presidential election, therefore, signaled the first significant vote by African Americans for a

588   Democrat, Franklin Delano Roosevelt. Indeed, 71 percent of Black voters cast their ballot for

589   Roosevelt. 57

590          The convergence of these forces – a sizeable contingent of African Americans in big

591   Electoral College states voting for Democratic Party candidates, crashing into the intransigence

592   of the Solid Democratic South that was committed to Black disfranchisement and violation of

593   civil rights – threatened to rip the Democratic Party asunder. The Charleston News and Observer

594   complained, “the Northern Democrats and President Roosevelt . . .are sacrificing the South for

595   the votes of negroes in a dozen Northern cities.” 58 Roosevelt, however, had the ideological



      53
         Robert S. McElvaine, The Great Depression: America, 1929-1941 (New York: Times Books, 1984), 188-
           190.
      54
         McElvaine, The Great Depression: America, 1929-1941, 188.
      55
         Weiss, Farewell to the Party of Lincoln, 197-200.
      56
         Sitkoff, A New Deal for Blacks, 58-61.
      57
         Leah Wright Rigueur, The Loneliness of the Black Republican: Pragmatic Politics and the Pursuit of
           Power (Princeton, NJ: Princeton University Press, 2015), 13.
      58
         Weiss, Farewell to the Party of Lincoln, 187.
                                                       34
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596   malleability to keep these diametrically opposed factions together.59 His successor, Harry

597   Truman, did not. 60 Moreover, the dynamics of World War II – a war against the Nazis and Aryan

598   Supremacy, a war for the Atlantic Charter and human rights – had created a rights insurgency in

599   the African American community. Philleo Nash, an aide in the Office of War Information,

600   informed his supervisor that “Negroes are in a militant and demanding mood.”61

601           The response from entrenched Southern Democrats was to increase the barriers to

602   citizenship and voting rights. Herman Talmadge, who would eventually become governor of

603   Georgia and then a U.S. Senator, credited U.S. Senator Richard Russell (D-GA) with being a

604   “master at parliamentary procedure” because he had “organized all the filibusters” and was

605   “opposed to all of the forced legislation that the people outside the South tried to bring upon the

606   South.”62 For example, in 1935, Russell “held a six-day filibuster to oppose [the Wagner-

607   Costigan Anti-Lynching bill]. During the proceedings Russell said that he was ‘willing to go as

608   far and make as great a sacrifice to preserve and insure white supremacy in the social, economic,

609   and political life of our state as any man who lives within her borders.’”63 During the war,

610   Southern Democrats, had filibustered or killed three anti-poll tax bills. 64 Senator Russell had




      59
         Weiss, Farewell to the Party of Lincoln, 250-251.
      60
         Alonzo L. Hamby, Man of the People: A Life of Harry S. Truman (New York: Oxford University Press,
           1995), 434.
      61
         Carol Anderson, Eyes off the Prize: The United Nations and the African American Struggle for Human
           Rights, 1944-1955 (New York: Cambridge University Press, 2003), 10, 17.
      62
         Oral history interview with Herman Talmadge, March 14, 1986, Digital Library of Georgia, University
           of     West     Georgia.     Georgia     Political   Papers    and      Oral      History    Program,
           https://ohms.libs.uga.edu/viewer.php?cachefile=dlg/phc/talmadge2.xml, accessed October 20, 2021,
           3:38-4:00.
      63
          Benjamin Barber, “Confronting the anti-civil rights filibuster,” Facing South, March 24, 2021,
           https://www.facingsouth.org/2021/03/confronting-anti-civil-rights-filibuster, accessed April 9, 2022.
      64
         Janice E. Christensen, “The Constitutionality of National Anti-Poll Tax Bills,” Minnesota Law Review
           33, no. 3 (February 1949): 219-220.
                                                         35
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611   “reacted angrily to the bill’s supporters: If you expect ‘to force social equality and commingling

612   of the races in the South, I can tell you now that you are doomed to failure.’”65

613          D.      Georgia and the 1946 Gubernatorial Election

614          In Georgia, a gubernatorial campaign was underway in 1946. Herman Talmadge’s father,

615   candidate and former governor Eugene Talmadge, had made central to his campaign “pledges to

616   maintain ‘white supremacy’ and to restore the ‘white primary,’” which the U.S. Supreme Court

617   had ruled unconstitutional in Smith v. Allwright (1944).66 The white primary established that

618   only white voters could cast a ballot in the Democratic primary. Given that the South was a one-

619   party system, whoever won the Democratic primary would win the general election. 67 The

620   court’s removal of this voting barrier in 1944 had led to increased Black voter registration in the

621   state. 68 Historian Stephen Tuck noted, in “the three months before the gubernatorial primary in

622   June 1946, state black registration had increased from less than 30,000 to approximately

623   125,000, representing over one-fifth of the total state electorate.” 69 That increase in Georgia was

624   due not only to the end of the white primary but also laws that revoked the poll tax and lowered

625   the voting age (because of World War II) to 18.70 Civil rights groups, such as the NAACP, which

626   had 13,000 Georgians as members, 71 and the All Citizens Registration Committee of Atlanta,




      65
         W. Matthew Dodge, “Opinion: Russell’s name should not be on halls of justice,” Atlanta Journal-
          Constitution, September 7, 2018, https://www.ajc.com/news/opinion/opinion-russell-name-should-
          not-halls-justice/rXec8GMYfFbj6z44k523lJ/, accessed April 9, 2022.
      66
         Bernd, “White Supremacy and the Disfranchisement of Blacks in Georgia,” 494.
      67
         Robert Mickey, Paths Out of Dixie: The Democratization of Authoritarian Enclaves in America’s Deep
          South, 1944-1972 (Princeton, NJ: Princeton University Press, 2015).
      68
         Bernd, “White Supremacy and the Disfranchisement of Blacks in Georgia,” 496.
      69
         Stephen G.N. Tuck, Beyond Atlanta: The Struggle for Racial Equality in Georgia, 1940-1980 (Athens:
          University of Georgia Press, 2001), 66.
      70
         Bernd, “White Supremacy and the Disfranchisement pf Blacks in Georgia,” 492.
      71
         Numan V. Bartley, The Creation of Modern Georgia (Athens: University of Georgia Press, 1983), 187.
                                                       36
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627   used the new laws to register African Americans to vote. 72 Talmadge was clear about what

628   needed to be done in response. The point was, he asserted, for African Americans to “stay away

629   from the white folks’ ballot boxes . . . [and] stay in the definite place we have provided for

630   them.” 73

631          Talmadge pointed his constituency to existing Georgia laws that allowed voter roll purges

632   and challenges to voters. He wrote, “If the white citizens of the State of Georgia will wake up,

633   they can disqualify and mark off the voters’ list three-fourths of the Negro vote in this state.

634   Read the following sections of the Code of Georgia,” he said.74 One statute that he pointed to

635   outlined the array of chokepoints to block African Americans’ access to the polls. Talmadge

636   identified the various processes that could purge Black voters en route to the ballot box and, thus,

637   dilute African Americans’ electoral strength via county tax collectors, the transmission of the

638   voter lists to the registrars, the requirement to notify those whose right to vote was questioned,

639   and the ability to set the time and place where those who were to be removed from the voter rolls

640   were to appear. Each of those chokepoints provided an opportunity to wipe out the efforts of the

641   NAACP and other groups to register successfully African Americans to vote. Talmadge “stated

642   that any citizen might challenge the voting right of a registrant thought to be improperly

643   qualified.”75 The criteria, while seemingly race-neutral and about literacy and civics, in reality

644   and overwhelmingly were about race. Indeed, “some challengers were quoted as saying that they




      72
          McDonald, A Voting Rights Odyssey, 49; “Clarence A. Bacote,” New Georgia Encyclopedia,
          https://www.georgiaencyclopedia.org/exhibition/black-leaders-of-the-civil-rights-movement/m-1905/,
          accessed April 9, 2022.
      73
         Bernd, “White Supremacy and the Disfranchisement of Blacks in Georgia,” 496.
      74
         Bernd, “White Supremacy and the Disfranchisement of Blacks in Georgia,” 494.
      75
         Bernd, “White Supremacy and the Disfranchisement of Blacks in Georgia,” 494-495.
                                                       37
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645   didn’t think ‘any nigger was qualified to vote.’”76 There were counties with sizeable Black

646   populations where no or only a handful of African Americans were able to cast a ballot.

647           Eugene Talmadge’s deployment of voter roll purges and voter challenge laws led

648   thousands upon thousands of African Americans in Georgia to be denied the right to vote. 77 C.A.

649   Scott, who edited the Black newspaper, the Atlanta Daily World, “estimated that over twenty

650   thousand voters were challenged in thirty-one Georgia counties. FBI Records suggest that in

651   approximately fifty counties where blacks were not permitted to vote, the racial purge decided

652   the result.”78

653           In addition to purges, restricting access to polling stations, akin to SB 202’s limiting

654   access to absentee ballots and drop boxes, proved very effective. 79 Tuck wrote, “In Savannah,

655   political boss Johnny Bouhan brought voting to a standstill by minimizing the number of polling

656   booths. Consequently, thousands of black Savannahians were unable to vote, even though they

657   had stood in line at the polls since dawn.” 80

658           The other electoral policy that aided Talmadge in this campaign was the County Unit

659   System, which allocated points for counties of various sizes and required a certain total number

660   of those points, 206, to win statewide election. “In this system each of the 121 least populous

661   counties of Georgia had two unit votes: the 30 next in population each had four unit votes; the 6

662   most populous each had six county unit votes. The system discriminated severely against the



      76
         Bernd, “White Supremacy and the Disfranchisement of Blacks in Georgia,” 495, 498, 500.
      77
         Bernd, “White Supremacy and the Disfranchisement of Blacks in Georgia,” 500, 503-505.
      78
         Tuck, Beyond Atlanta, 67.
      79
         Stephen Fowler, Sam Gringlas, and Huo Jingnan, “A new Georgia voting law reduced ballot drop box
          access     in     places   that     used    them      most,”     NPR,       July     27,  2022,
          https://www.npr.org/2022/07/27/1112487312/georgia-voting-law-ballot-drop-box-access?s=03,
          accessed July 27, 2022.
      80
         Tuck, Beyond Atlanta, 67.
                                                       38
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663   most populous counties (Fulton County, containing most of Atlanta’s half million population,

664   had only six unit votes, equal in population to 50 counties each, with less than ten thousand

665   population, which had 100 unit votes).”81 Thus, it was possible to lose the popular vote and still

666   win a statewide election by gaining the majority of the sparsely populated counties. This system

667   gave disproportionate power to the rural counties, which overwhelmingly, because of

668   disfranchisement of Black voters, privileged white Georgians. As civil rights attorney Laughlin

669   McDonald noted, in the 1920s – 1930s “black registration in the rural areas remained

670   negligible.” 82 And, this pattern continued for decades. For example, “Although Terrell County

671   was 64% black, only 48 blacks – compared to 2810 whites – were registered to vote in 1958. As

672   late as 1964, only 2.4% of age-eligible blacks were registered. Baker County was majority-black,

673   but no blacks were allowed to register or vote there.” 83 By 1965, “only 45 blacks (3% of the

674   black voting-age population) were registered to vote in Bleckley County. In majority-black

675   Randolph County, blacks were only 17% of registered voters in 1952.…black voter registration

676   in Randolph County actually declined from approximately 750 in 1952 to 423 in 1964....

677   Although Peach County was majority-black, in 1954, only 18% of its registered voters were

678   black.” 84 The County Unit System, thus, rewarded both the disfranchisement of African

679   American voters in the rural counties and the simultaneous diminution and dilution of their votes

680   in the larger, urban-based counties.




      81
         Bernd, “White Supremacy and the Disfranchisement of Blacks in Georgia,” 509.
      82
         McDonald, A Voting Rights Odyssey, 45.
      83
         McDonald, A Voting Rights Odyssey, 46.
      84
         McDonald, A Voting Rights Odyssey, 56-57.
                                                       39
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681           Herman Talmadge, Eugene’s son, saw the electoral scheme as equitable, however, and

682   defined the County Unit System as the “best” way to short-circuit the ability of Atlanta to

683   “absolutely control the results of a state-wide race.” 85 It was a system of “checks and

684   balances.” 86 His father’s triumph in the Democratic primary for governor was a perfect example.

685   Eugene Talmadge’s opponent actually won the popular vote, the son contended, but only

686   because of a “bloc of 100,000 negro voters concentrated heavily in the urban areas,” yet, he

687   continued, his father “won the white popular vote by almost 100,000 majority” and, because of

688   the County Unit System, ultimately the race for governor. 87 In this elegy to the County Unit

689   System, Herman Talmadge consistently portrayed those in the less populous counties as citizens,

690   voters, Georgians worthy of democratic protection. Atlantans, however, were seen as a threat to

691   the state’s way of life.

692           Atlantans were a “bloc”—synonymous with Black people, who were easily corruptible

693   and controlled. Those fighting to “overturn our traditional pattern of segregation,” Talmadge

694   wrote, are “foreign agitators, the National Association for the Advancement of Colored People,

695   the Communist Party, the race-mixing Southern Regional Council, and various interracial

696   committees.” 88 Worse, yet, he warned, “Bloc voters of high school age are being loaded into

697   school buses and herded into offices of the registrars for registration to vote.” He, thus,

698   encouraged “every white school boy and girl; and every other white person who will be over

699   eighteen years of age . . . [to] make sure that his or her name is on the registration list to vote in




      85
         Talmadge, “Georgia’s County Unit System,” 420.
      86
         Talmadge, “Georgia’s County Unit System,” 420.
      87
         Talmadge, “Georgia’s County Unit System,” 415.
      88
         Talmadge, “Georgia’s County Unit System,” 417.
                                                        40
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700   his county. This may be our last chance to insure that Georgia will not be dominated by gangster-

701   ridden city political machine operating from Atlanta.” 89 U.S. Senator Walter F. George (D-GA),

702   who surveyed the mechanisms Georgia had in place, “boasted of how disfranchisement

703   functioned behind the façade of nominal equality: ‘Why apologize or evade,’ he asked ‘We have

704   been very careful to obey the letter of the Federal Constitution—but we have been very diligent

705   in violating the spirit of such amendments and such statutes as would have a Negro to believe

706   himself the equal of a white man.’” 90

707           E.      The Dixiecrat Revolt in the Presidential Election of 1948

708           The pushback against Black Americans’ rights in Georgia had an impact on national

709   politics and laid more of the groundwork for the transformation of the Democratic and

710   Republican parties between the pre- and post-Jim Crow era. Racial violence accompanied the

711   1946 gubernatorial campaign. The killing of an African American veteran, Macio Snipes, for

712   daring to vote in Taylor County, Georgia and the horrific quadruple lynching in Monroe,

713   Georgia, among other post-World War II killings, led President Truman to create the President’s

714   Commission on Civil Rights, whose report, To Secure These Rights pilloried, among other

715   abuses, discriminatory and debilitating voting regulations, such as the poll tax and literacy test. 91

716           Truman followed with a 1947 speech at the NAACP National Convention92 where he

717   pledged the Government would protect rights, including the right to vote, i.e., “the right to an




      89
         Talmadge, “Georgia’s County Unit System, 421.
      90
          William Wiecek, “Emancipation and Civic Status: The American Experience, 1865–1915,” in The
          Promises of Liberty: The History and Contemporary Relevance of the Thirteenth Amendment, ed.
          Alexander Tsesis (New York: Columbia University Press, 2010), 89-90.
      91
         President’s Committee on Civil Rights, To Secure These Rights https://www.trumanlibrary.gov/library/to-
           secure-these-rights#114, accessed October 4, 2021, 35-40.
      92
         Hamby, Man of the People, 433.
                                                         41
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718   equal share in the making of public decisions through the ballot.” 93 Given the importance of the

719   Black vote that was ensconced in the North and Midwest to the upcoming presidential election,

720   he also proposed, in early 1948, executive orders desegregating the military and forbidding

721   discrimination in the federal government, as well as, anti-lynching and anti-poll tax legislation. 94

722   His administration had also filed an amicus curiae brief in the landmark Shelley v. Kraemer case,

723   which found government-backed racially-restrictive covenants unconstitutional. 95

724           In this crucial presidential election year of 1948, Truman’s strong nods to civil rights

725   enraged many white residents in the South. 96 Truman acknowledged as much when he said that

726   he had “stirred up a hornets’ nest” of trouble. “Southerners were furious because it looked like

727   ‘the nigras’ had successfully seduced him into destroying Jim Crow.” 97 Senator Richard Russell

728   of Georgia, who had “risen to prominence” for his effective filibustering against antilynching

729   and other civil rights bills,98 accused Truman of “planning an American-style ‘Gestapo’ to

730   eradicate segregation in the South. The potential revolt of the South, Russell said, ‘is more

731   serious than any I have seen in my lifetime.’”99

732           The 1948 Democratic National Convention in July signaled this revolt, sparked by

733   Northern Democrats’ determination to craft a platform that demonstrated that the party “stood




      93
         “President      Truman’s       Address      Before      the     NAACP,”        June      29,      1947,
           https://www.trumanlibraryinstitute.org/historic-speeches-naacp/, accessed October 6, 2021.
      94
          Anderson, Eyes off the Prize, 116-117.
      95
          Philip Elman and Norman Silber, “The Solicitor General’s Office, Justice Frankfurter, and Civil Rights
           Litigation, 1946-1960: An Oral History,” Harvard Law Review 100, no. 4 (February 1987): 817-820.
      96
          Anderson, Eyes off the Prize, 118.
      97
          Anderson, Eyes off the Prize, 118-119.
      98
          Nadine Cohodas, Strom Thurmond and the Politics of Change (New York, Simon & Schuster, 1993),
           168.
      99
          Cohodas, Strom Thurmond, 131.
                                                         42
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734   for civil rights.”100 In fact, Minneapolis Mayor Hubert Humphrey made a rousing speech

735   demanding that it was time to “get out of the shadow of states’ rights and walk forthrightly into

736   the bright sunshine of human rights,”101 for which he received thunderous applause. 102 Alabama

737   delegate, Handy Ellis, in turn, “announced that Alabama’s electors were instructed ‘never to cast

738   their vote for a Republican, never to cast their vote for Harry Truman, and never to cast their

739   vote for any candidate with a civil rights program such as adopted by the convention.’”103

740   Because of those orders and clear irreconcilable hostility to civil rights, “‘We bid you good-bye,’

741   declared an Alabama delegate just before he marched out of the hall with half of his state’s

742   representatives and the entire Mississippi contingent. Most of those who remained did so only to

743   vote against Truman’s nomination. The final result, 947.5 votes for Truman and 263 votes for

744   Senator Richard Russell of Georgia, would demonstrate graphically how the South had moved

745   from being a dominating force to a marginal minority at Democratic presidential

746   conventions.” 104 One Southern Democrat, referring to the atmosphere at the convention, said

747   “[i]t was clear that at the family reunion we were as welcome as children whose parentage was

748   never established.” 105 The Atlanta Constitution editor Ralph McGill, analyzing what had

749   happened at the 1948 Democratic National Convention, wrote “It is important that the South

750   know it had no friends here [at the convention]. It is important for the South to realize that the

751   thinking of the Nation differs from their thinking . . . It will be a great mistake,” he warned, “if



      100
          Hamby, Man of the People, 448. Emphasis in original.
      101
           Humphrey 1948 Democratic National Convention Speech, https://www.youtube.com/watch?v=-
           xQZX5ZvcnY, accessed October 9, 2021.
      102
          Kari Frederickson, The Dixiecrat Revolt and the End of the Solid South, 1932-1968 (Chapel Hill:
           University of North Carolina Press, 2001), 119.
      103
          Frederickson, The Dixiecrat Revolt, 130.
      104
          Hamby, Man of the People, 448.
      105
          Frederickson, The Dixiecrat Revolt, 118.
                                                        43
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752   our writers and our politicians do not let the people know it, and more important, know it for

753   their own thinking and speaking and planning for the South. Opposition is not enough.”106

754           Georgia’s response in 1949 was to pass a bill that would require every voter on the rolls

755   to re-register.107 This legislation was the result of Governor Herman Talmadge’s vow to make

756   the Democratic primary “as white as possible.” 108 As Morris Abrams described it: “Herman

757   Talmadge had pushed through the legislature a complete wiping off of the slate of all the

758   registered voters so as to get rid of the black voters, and then caused a re-registration to be

759   accomplished quickly, under very strict standards which would be applied strictly to blacks but

760   not to whites.”109 The Georgia Supreme Court upheld the law because although there were very

761   real fears that wiping out the registration of more than 100,000 African Americans and that

762   forcing them to re-register would subject them to the arbitrary and discriminatory whims of

763   registrars, there were no cases of that actually happening. 110 But a few years later, the U.S.

764   District Court for the Middle District of Georgia detailed case after case after case where those




      106
          Cohodas, Strom Thurmond, 169.
      107
          Voter Registration Act, No. 297, Acts and Resolutions of the General Assembly of the State of Georgia
           Regular            Session,           1949,           http://neptune3.galib.uga.edu/ssp/cgi-bin/legis-
           idx.pl?sessionid=7f000001&type=law&byte=199640948, accessed October 16, 2021.
      108
          Harold P. Henderson, Ernest Vandiver, Governor of Georgia (Athens: University of Georgia Press,
           2000), 28.
      109
          Transcript, Morris Abram Oral History Interview I, 3/20/84, by Michael L. Gillette, Internet Copy, LBJ
           Library,
           http://www.lbjlibrary.net/assets/documents/archives/oral_histories/abram_m/ABRAM01.PDF,
           accessed October 11, 2021, 3.
      110
            “Georgia Court Backs Anti-Negro Vote Law,” New York Times, September 17, 1949,
           https://timesmachine.nytimes.com/timesmachine/1949/09/17/85654687.pdf?pdf_redirect=true&ip=0,
           accessed October 11, 2021.
                                                          44
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765   fears of discrimination were realized. Race-neutral language had covered racially-targeted

766   election laws. 111

767           Just as civil rights and African American citizenship policies had begun to drive Black

768   people toward the Democrats, those same policies had also begun to drive white Southern

769   Democrats out of the party. The question was where they would go. One of the first indications

770   happened shortly after the 1948 Democratic National Convention, when some Southerners

771   formed the States’ Rights Democratic Party, soon to be known as the Dixiecrats, with South

772   Carolinian Strom Thurmond as the presidential candidate and Fielding Wright of Mississippi as

773   his running mate.112 Creating a third party, however, did not have the effect its proponents had

774   hoped, which was to drain enough Electoral College votes from Truman and Republican Thomas

775   Dewey to throw the election into the House of Representatives, “where the South possessed 11

776   of the 48 votes” 113 and, could, once again, flex the South’s power. 114

777           F.      Roots of the Southern Strategy: The Political Realignment of Southern
778                   Democrats
779
780           Between the 1948 presidential election and the next in 1952, an idea that had been

781   germinating since 1937 began to take root: “an explicit alliance between conservative

782   Republicans and southern segregationists . . . disenchanted with the incorporation of African

783   Americans and industrial labor into the New Deal coalition [the Democratic Party’s Big Tent

784   constituencies]. In a November 1937 letter to Carter Glass (D-VA), former senator and (arch-




      111
          United States v. Raines, 189 F. Supp. 121 (M.D. Ga, 1960), https://law.justia.com/cases/federal/district-
           courts/FSupp/189/121/1424456/, accessed October 11, 2021.
      112
          Frederickson, The Dixiecrat Revolt, 119.
      113
          Frederickson, The Dixiecrat Revolt, 140.
      114
          Hamby, Man of the People, 465.
                                                           45
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785   conservative) George Moses (R-NH) wrote, ‘You and I have discussed realignment but you have

786   always raised the color question. This condition no longer exists . . . the Roosevelt largess have

787   made the colored vote in the North impregnably Democratic. Therefore, with the color line

788   obliterated, why cannot those of us who are free, white, and twenty-one get together and do a job

789   as effective as Mussolini did when he made his march upon Rome?” 115

790          Those first halting steps were taken in the next presidential election in 1952. Some

791   prominent Southern Democrats, such as South Carolina Governor James F. Byrnes, were

792   determined to throw their support behind a party that would not make African Americans’ civil

793   rights a key component of its policy. Republican nominee, Dwight Eisenhower, seemed to be the

794   answer. He “was full of sympathy for the white southerners’ point of view.” 116 The turmoil and

795   the source of the governor’s and Eisenhower’s concern was that the NAACP had scored one

796   Supreme Court decision after the next to whittle away at the doctrine of “separate but equal,”

797   which had legitimized Jim Crow in the Plessy v. Ferguson (1896) ruling. The South Carolina

798   governor had warned Eisenhower that if, when elected as president, he “supported a

799   desegregation decision, ‘that would forever defeat any possibility of developing a real

800   Republican Party in the South.’”117

801          Eisenhower’s assurances helped ease the governor’s concerns. He repeatedly conveyed to

802   Byrnes that he was decidedly leery of federal law being deployed to dismantle racial segregation.

803   If desegregation and civil rights were to happen, it was up to Georgia, Mississippi, South

804   Carolina, and the rest of the old Confederate states to implement. Eisenhower, a firm believer in




      115
          Schickler, Racial Realignment, 246-247.
      116
          Stephen E. Ambrose, Eisenhower: The President, Vol. II, (New York: Simon & Schuster, 1984), 142.
      117
          Ambrose, Eisenhower, 2385.
                                                       46
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805   states’ rights, was only willing to move on the issue of civil rights in areas that he considered

806   solely in the domain of the federal government, such as Washington, D.C., military bases, and

807   federal government contracts. 118 The Republican presidential nominee’s entire “program for the

808   16 million Negro Americans who were outside the federal establishment was to appeal to the

809   southern governors for some sign of progress. Since every one of those governors had been

810   elected by a virtually all-white electorate [because of the massive disfranchisement of Black

811   voters], and since every one of them was thoroughly committed to segregation as a way of life,

812   as were the vast majority of their white constituents, the President could not have anticipated

813   rapid or dramatic progress.” 119 Byrnes, therefore, campaigned for him. At a meeting in

814   Mississippi, Byrnes, charging that big-city “organized minority groups” had pressured and

815   influenced Truman’s White House in ways that undercut the South’s “way of life,” asserted that

816   “during the past four years the national Democratic administration has been more antagonistic

817   toward the South than any Republican administration since the Reconstruction Period.” 120

818           Eisenhower ended up carrying four states of the Old Confederacy – Texas, Florida,

819   Tennessee, and Virginia, while running strong in “three die-hard Dixiecrat states – 49% in South

820   Carolina, 47% in Louisiana, and 40% in Mississippi” and made a beach head in “Alabama (35%)

821   and Georgia (30%).”121 Race and civil rights were shaking the Southern Democrats from their

822   traditional political home.



      118
          “The Age of Eisenhower: The Struggle for Civil Rights,” University of Virginia, Miller Center for the
           Study of the Presidency, https://millercenter.org/the-presidency/educational-resources/age-of-
           eisenhower/struggle-civil-rights, accessed December 12, 2022.
      119
          Ambrose, Eisenhower, 127.
      120
            John N. Popham, “Byrnes Asks Bloc of South’s Whites,” New York Times, May 16,
           1952,https://timesmachine.nytimes.com/timesmachine/1952/05/16/84257946.pdf?pdf_redirect=true&
           ip=0, accessed October 11, 2021.
      121
          Phillips, The Emerging Republican Majority, 216-217.
                                                         47
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823          G.      Increased Laws and Tactics to Counter the Civil Rights Movement’s Gains

824          As the Civil Rights Movement gained momentum, especially after the Brown v. Topeka

825   Board of Education Supreme Court decision and the 1957 Civil Rights Act, state legislatures and

826   governors in Mississippi, Alabama, and Georgia spent the mid-1950s and early 1960s

827   implementing or enforcing new laws to hold back the tide of Black people who sought to vote.

828   As a result of re-registration, heightened literacy tests, and, of course, violence, only 19.3% of

829   age-eligible African Americans were registered to vote in Alabama in 1964, just 27.4% in

830   Georgia, and a mere 6.7% in Mississippi. 122

831          In 1958, for example, Georgia passed a new law that increased both the difficulty and

832   number of questions a registrant needed to answer correctly to become a voter.123 While on the

833   surface this may have seemed a push to ensure civic knowledge for those casting a ballot, 124 the

834   discussion in the state legislature made clear that this was for “counties of Georgia that have a

835   problem with Negro registration.”125No Another representative argued that the state had to

836   “tighten voter qualifications . . . [and] give local registrars the ‘weapon’ they need to combat

837   ‘insidious organizations’ such as the NAACP by keeping off the registration rolls those ‘who

838   ought not to be there.’” Rep. William M. Campbell of Walker County, asserted that “We haven’t

839   got the Negro problem in our county that some of you have . . .We control them and we don’t




      122
          U.S. Commission on Civil Rights, “Racial and Ethnic Tensions in American Communities: Poverty,
           Inequality, and Discrimination,” Volume II: The Mississippi Delta Report, Chapter 3: Voting Rights
           and      Political    Representation    in     the    Mississippi      Delta,   24,     fn.    67,
           https://www.usccr.gov/files/pubs/msdelta/ch3.htm, accessed October 16, 2021.
      123
          Bruce Galphin, “Vandiver’s Voter Bill is Approved: Health Plan is Voted in Lively Day Registration
           Curb Wins by 37-2,” The Atlanta Constitution, February 22, 1958, 1, 3.
      124
          Lassiter v. Northampton County Bd. of Elections, 360 U.S. 45 (1959).
      125
          William M. Bates, “Vandiver’s Curbs on Voters Approved 134-40 by House; Griffin to Block Pay
           Raises: $1 Poll Tax Amendment Is Defeated,” The Atlanta Constitution, February 20, 1958, 1, 8.
                                                        48
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840   have to come to the Legislature and ask for help to do it.” 126 In the early 1960s in Georgia, the

841   state ostensibly banned the literacy test, but mandated that those who could not read, would not

842   receive any help with navigating the ballot. In other words, “the ballot itself becomes his literacy

843   test.” 127

844            In 1956, the Association of Citizens Councils in Louisiana issued a pamphlet entitled,

845   “Voter Qualification Laws in Louisiana: The Key To Victory In The Segregation Struggle,”

846   which outlined that there are “great numbers of unqualified voters who have been illegally

847   registered . . . and invariably vote in blocs and constitute a serious menace to the community.”

848   The Citizens’ Council urged civic clubs to “purify the registration rolls in their respective

849   parishes.” 128 “The whole purpose of our registration laws,” the Citizens’ Council contended, “is

850   to prevent the registration of ignorant ‘bloc’ voters, who would become the tools and pawns of

851   scheming adventurers.” 129

852            The Republican National Committee (RNC) was determined to help that along. The RNC

853   recognized that there were many, many votes to be gained in the politics of white resentment. 130

854   That was one consideration, but there was another. It was also clear that during the 1960

855   elections, the Republicans had not fared well in major metropolitan areas.131 The combination of

856   those two points dictated the strategy of making the myth of massive, rampant voter fraud, where



      126
          Bates, “Vandiver’s Curbs on Voters Approved 134-40,” 1, 8.
      127
          Eugene Patterson, “A New Kind of Literacy Test.” The Atlanta Constitution, October 17, 1963, 4.
      128
          The Association of Citizens Councils of Louisiana, Inc., “Voter Qualification Laws in Louisiana: The
           Key To Victory In The Segregation Struggle,” (1956), p. 6, Box 41, File 8, Herman E. Talmadge
           Collection, Subgroup C, Series I, Early Senate Office, Richard B. Russell Library for Political Research
           and Studies, University of Georgia, Athens, Georgia.
      129
          The Association of Citizens Councils of Louisiana, Inc., “Voter Qualification Laws in Louisiana,” 8.
      130
          Phillips, The Emerging Republican Majority.
      131
          John R. Williams, “Aspects of the American Presidential Election of 1960,” The Australian Quarterly
           33, no. 1 (March 1961), 29-36.
                                                           49
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857   individuals impersonate someone else to vote, or cast more than one ballot, seem real. It had to

858   be focused on minorities to continue to stoke the narrative that they were stealing something

859   from honest, hardworking white Americans and, due to the migration patterns precipitated by

860   racial violence and economic exploitation, this danger was located in the cities and had to be

861   suppressed.

862           Therefore, in 1964, the RNC, while shrinking its Minorities Division to a “skeleton

863   operation,” launched a massive, almost 100,000-member voter intimidation program called

864   Operation Eagle Eye.132 It was an expansion of the scheme that future Chief Justice of the

865   Supreme Court William Rehnquist had allegedly led in Phoenix a few years earlier. 133 As the

866   New York Times reported, “Republicans say that in the 1960, 1962 and 1964 campaigns, he

867   [Rehnquist] helped plan and direct a poll-watching program that was intended to block what

868   Republicans called illegal attempts by Democrats to win elections by bringing large numbers of

869   unqualified black and Hispanic residents to the polls shortly before they closed.”134 Casting the

870   aspersion of fraud and hiding behind the cloak of partisanship to cover racial discrimination in

871   voting, Rehnquist said that his program “was not devoted to minority group areas as such; it was

872   devoted again to areas in which heavy Democratic pluralities were voting together [i.e.,

873   Talmadge’s “bloc voters”], with some reason to believe that tombstones were being voted at the

874   same time.” 135



      132
          Timothy Thurber, Republicans and Race (University of Kansas Press), 176, 200-201.
      133
          Carol Anderson, White Rage: The Unspoken Truth of our Racial Divide (New York: Bloomsbury, 2016),
           143.
      134
          Robert Lindsay, “Rehnquist in Arizona: A Militant Conservative in 60s Politics,” New York Times,
           August      4,     1986,      https://www.nytimes.com/1986/08/04/us/rehnquist-in-arizona-a-militant-
           conservative-in-60-s-politics.html, accessed October 17, 2021.
      135
          Tova Wang and Janice Nittoli, The Politics of Voter Suppression: Defending and Expanding Americans’
           Right to Vote (Ithaca, NY: Cornell University Press, 2012), 48.
                                                         50
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875           The RNC’s new project for 1964 was also camouflaged as protecting democracy by

876   ferreting out supposed voter fraud in 35 selected cities. “The Republicans scoured voter

877   registration lists and compared them to postcards the RNC had mailed with ‘do not

878   forward/return to sender’ instructions. In a process called ‘caging,’ the GOP used the names on

879   the undeliverable mail in an attempt ‘to discover “tombstone” and “vacant lot” voters – those

880   carried on the election rolls although they have died, moved, or given false addresses.’ After

881   compiling the list, the next step was to flood minority precincts on election day with uniformed

882   off-duty police officers, sometimes carrying weapons; a squad of nearly 100,000 armbanded

883   ‘Ballot Security’ forces,; and printed signs plastered near polling places warning of impending

884   arrests if residents voted and had traffic tickets, hadn’t paid child support, or were wanted for

885   questioning by the police. The goal of this plan was to challenge 1.25 million voters and cause a

886   visible percentage to never show up or leave the polling place.”136 “A Republican memo,

887   obtained by the Democratic National Committee (DNC) in 1964, outlined plans for challenging

888   voters at the polls and described the tactics as including encouraging stalling on lines in

889   Democratic districts, equipping poll watchers with cameras to ‘frighten off . . . Democratic

890   wrong-doers,’ enlisting the help of local police sympathetic to the [Republican presidential

891   nominee Barry] Goldwater campaign, and charging that ineligible Democratic voters were on the

892   registration rolls.”137




      136
          “Democrats Charge G.O.P. Poll Watch Today Will Harass the Negroes and the Poor; Republicans say
           Honesty is Goal; Assert 100,000 Sentinels in 35 Cities Will Seek Only to Avert Voting Fraud,” New
           York Times, November 3, 1964, https://www.nytimes.com/1964/11/03/archives/democrats-charge-
           gop-poll-watch-today-will-harass-the-negroes-and.html, accessed May 23, 2021. Excerpt from Carol
           Anderson, “Voter Fraud,” in Myth America: Historians Take on the Biggest Lies and Legends About
           Our Past, ed., Kevin Kruse and Julian Zelizer (New York: Basic Books, 2022), 304.
      137
          Wang, The Politics of Voter Suppression, 45.
                                                       51
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893          One Republican admitted that “Republican poll watchers would keep an eye out for

894   ‘people who . . . are not the kind of people who would register and vote.’”138 Who those people

895   would be was, at its core, a stereotypical racialized definition of who was not an American;

896   whose vote was not supposed to count. “In Atlanta, the Republicans used these letters to

897   challenge 2,000 voters . . . [in Miami] ‘voters by the hundreds, perplexed and downright scared,

898   were snarled yesterday in partisan poll-watching. Over-zealousness and challenges to Negroes

899   dissuaded voters from entering booths, delayed their vote and otherwise, disrupted normal

900   procedure.’”139 Democratic Vice-Presidential candidate Hubert Humphrey was furious. This was

901   no Operation Eagle Eye, “It should be called Operation Evil Eye,” he declared. 140

902          While Republicans were vying for the anti-civil rights vote by removing Black voters

903   from the rolls, Southern Democrats in Georgia were equally determined. A 1963 U.S. Supreme

904   Court decision ruled the County Unit System unconstitutional. 141 Just as the Court’s earlier

905   ruling on the white primary led Herman Talmadge to devise a new way, via re-registration, to

906   keep African Americans from the ballot box, the Gray v. Sanders (1963) decision led Georgia

907   politicians to develop another method to dilute the power of the Black vote: the runoff election.

908   Representative Denmark Groover from Macon was the key architect of this legislation, which he

909   acknowledged had a racially discriminatory intent. Years later, Groover said, “‘I was a

910   segregationist. I was a county unit man. But if you want to establish if I was racially prejudiced, I




      138
          “Democrats Charge G.O.P. Poll Watch Today Will Harass the Negroes and the Poor; Republicans say
           Honesty is Goal; Assert 100,000 Sentinels in 35 Cities Will Seek Only to Avert Voting Fraud.”
      139
          Wang, The Politics of Voter Suppression, 51.
      140
          “Democrats Charge G.O.P. Poll Watch Today Will Harass the Negroes and the Poor; Republicans say
           Honesty is Goal; Assert 100,000 Sentinels in 35 Cities Will Seek Only to Avert Voting Fraud.”
      141
          Gray v. Sanders 372 US 368 (1963), https://supreme.justia.com/cases/federal/us/372/368/, accessed
           October 29, 2021.
                                                       52
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911   was. If you want to establish that some of my political activity was racially motivated, it

912   was.’” 142 As historian Jason Ward noted, “In Georgia, where white Democrats had used the

913   specter of the ‘Negro bloc vote’ to mobilize white opposition for two decades, the legislature

914   passed a 1964 bill that required candidates to win primary elections by a majority vote. Reeling

915   from the elimination of the county-unit system and an upsurge in Black voter registration,

916   Georgia conservatives hoped the majority-vote measure would dilute ‘bloc’ power. If an African

917   American candidate received a plurality of votes in a crowded field, white voters would have the

918   opportunity to rally behind the remaining white opponent in the mandatory run-off.”143

919           H.      The Southern Strategy

920           By the time of the 1964 presidential campaign, when the activism of the Civil Rights

921   Movement had forced the Democrats in the Kennedy and Johnson administrations to weigh in on

922   the side of African Americans’ civil and voting rights, the Republicans, through Barry

923   Goldwater’s candidacy, were ready to crack the Solid Democratic South. As historian Heather

924   Cox Richardson writes, “Goldwater’s candidacy cut the Deep South away from the Democrats.

925   Goldwater carried six states: South Carolina, Georgia, Alabama, Mississippi, Louisiana, and his

926   home state of Arizona. White southerners liked Goldwater’s defense of states’ rights, dismissal

927   of Brown v. Board of Education as unconstitutional, and disapproval of the government’s use of

928   federal troops to enforce desegregation. They abandoned the Democrats, who had shown a




      142
           “Georgia’s runoff elections have segregationist roots,” PBS NewsHour, December 3, 2022,
           https://www.pbs.org/newshour/politics/the-racist-history-behind-georgias-runoff-elections, accessed
           December 21, 2022.
      143
          Jason Morgan Ward, Defending White Democracy: The Making of a Segregationist Movement and the
           Remaking of Racial Politics, 1936-1965 (Chapel Hill: University of North Carolina Press, 2011), 179.
                                                         53
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929   distressing tendency to enforce civil rights, and found a new home with the Republicans. Party

930   leaders did not miss the possibilities of this new constituency.” 144

931             That enforcement of civil rights was concretized with the passage in August 1965 of the

932   Voting Rights Act (VRA), which created a number of provisions to protect the right to vote from

933   racial discrimination. Given the consistent assault on voting rights, the framework the law used

934   to determine which states or jurisdictions warranted this protection for its citizens was clear.

935   States and jurisdictions that had fewer than 50% of age-eligible adults registered to vote by

936   November 1, 1964, or fewer than 50% of age-eligible adults that had actually voted in the

937   presidential election of November 1964 and that used a test or device, such as the literacy test,

938   would come under the pre-clearance provision of the VRA. Pre-clearance required those states

939   and jurisdictions to submit any proposed changes to their voting laws to the U.S. Department of

940   Justice or the District Court in Washington, D.C. before the law could be implemented. Initially,

941   “[t]his resulted in the following states becoming, in their entirety, ‘covered jurisdictions’:

942   Alabama, Alaska, Georgia, Louisiana, Mississippi, South Carolina, and Virginia,” as well as 40

943   counties in North Carolina.145

944             The white backlash to the federal government’s intent to enforce the right to vote

945   reinforced a burgeoning strategic political re-alignment. Indeed, President Lyndon Johnson, after

946   signing the bill, is alleged to have said “we [the Democrats] have lost the South for a

947   generation.” 146 Scholar Eric Schickler notes, “Amid the increased racial tensions unleashed by



      144
            Heather Cox Richardson, To Make Men Free: A History of the Republican Party (New York: Basic
            Books, 2014), 275.
      145
            U.S. Department of Justice, “Section 4 of the Voting Rights Act,” https://www.justice.gov/crt/section-
             4-voting-rights-act, accessed April 5, 2022.
      146
            Ian Haney López, Dog Whistle Politics: How Coded Racial Appeals Have Reinvented Racism and
             Wrecked the Middle Class (New York: Oxford University Press, 2014), 211, fn. 1.
                                                            54
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948   the civil rights movement, ‘a good many, perhaps a majority of the [Republican] party’s leaders,

949   envisioned substantial political gold to be mined in the racial crisis by becoming in fact, though

950   not in name, the White Man’s Party.’ [Journalist Robert] Novak quotes ‘an astute party worker’s’

951   ominous comment over the breakfast table: ‘Remember,’ the worker noted, ‘this isn’t South

952   Africa. The white man outnumbers the Negro 9 to 1 in this country.’” 147

953          The result was the Southern Strategy, where Republicans made the decision to go

954   “hunting where the ducks are,” 148 i.e., bring into the GOP white voters, who were convinced that

955   the Democrats were moving too fast on civil rights. In fact, polls showed that “with each forward

956   step by Negroes, white discomfort and unease mount[ed].” By 1966, 85% of whites were certain

957   that “the pace of civil rights progress was too fast.” 149 As a result, the Republican Party “had

958   decided to . . . make an ideological bid for the anti-civil rights South.”150 GOP political strategist

959   Kevin Phillips explained in a New York Times interview: “the Republicans are never going to get

960   more than 10 to 20 per cent of the Negro vote and they don’t need any more than that . . . but

961   Republicans would be shortsighted if they weakened enforcement of the Voting Rights Act. The

962   more Negroes who register as Democrats in the South, the sooner the Negrophobe whites will

963   quit the Democrats and become Republicans. That’s where the votes are. Without that prodding

964   from the blacks, the whites will backslide into their old comfortable arrangement with the local

965   Democrats.” 151



      147
          Schickler, Racial Realignment, 261.
      148
          Stevens, It Was All a Lie, 13.
      149
          William Brink and Louis Harris, Black and White: A Study of U.S. Racial Attitudes Today (New York:
           Simon and Schuster, 1966), 100, 120.
      150
          Phillips, The Emerging Republican Majority, 9.
      151
            James Boyd, “Nixon’s Southern Strategy,” New York Times, May 17, 1970,
           https://www.nytimes.com/1970/05/17/archives/nixons-southern-strategy-its-all-in-the-charts.html,
           accessed November 28, 2021.
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966          Richard Nixon’s 1968 presidential campaign mined this sentiment so effectively that

967   Hubert Humphrey, the Democratic nominee, lost every state in the old Confederacy. He garnered

968   only 33% of the vote in Virginia, 29% in North Carolina, 28% in Tennessee, 31% in Florida,

969   41% in Texas, 30% in Arkansas, 30% in South Carolina, 27% in Georgia, 28% in Louisiana,

970   19% in Alabama, and 23% in Mississippi. 152 Granted, Alabama Governor George Wallace was a

971   third-party candidate, but so was Strom Thurmond in 1948, and he did not make similar inroads

972   into a major party candidate’s share of votes.

973          The linguistic key to turning the Solid Democratic South into a Republican bastion was to

974   evolve from the blatant anti-Black stance of the 1950s to the equally racist but more subtle and

975   palatable language of post-Civil Rights America. 153 Lee Atwater, a Republican campaign

976   strategist, explained, “You start out in 1954 by saying, ‘Nigger, nigger, nigger.’ By 1968 you

977   can’t say ‘nigger’ — that hurts you. Backfires. So you say stuff like forced busing, states’ rights

978   and all that stuff. You’re getting so abstract now [that] you’re talking about cutting taxes, and all

979   these things you’re talking about are totally economic things and a byproduct of them is [that]

980   blacks get hurt worse than whites. And subconsciously maybe that is part of it. I’m not saying

981   that. But I’m saying that if it is getting that abstract, and that coded, that we are doing away with

982   the racial problem one way or the other. You follow me—because obviously sitting around

983   saying, ‘We want to cut this,’ is much more abstract than the busing thing, and a hell of a lot

984   more abstract than ‘Nigger, nigger.’”154




      152
          Phillips, The Emerging Republican Majority, 229.
      153
          Haney López, Dog Whistle Politics, 16.
      154
            Bob Herbert, “Impossible, Ridiculous, Repugnant,” New York Times, October 6, 2005,
           https://www.nytimes.com/2005/10/06/opinion/impossible-ridiculous-repugnant.html, accessed
           January 10, 2022.
                                                       56
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 985          I.      Challenges to the Voting Rights Act of 1965

 986          The Voting Rights Act is one of the crown jewels of the civil rights legislation. It was

 987   enacted to eliminate voter discrimination, as well as to address new methods of

 988   disenfranchisement that may be devised in the future. And Georgia’s inclusion under the VRA’s

 989   preclearance requirement also offered leverage for Black Georgians and other racial minorities

 990   who had been historically excluded from voting in the state to have a political voice.

 991          But states like Georgia challenged the VRA and resisted adhering to its commands and

 992   implementation. Almost immediately after the passage of the VRA, South Carolina sued, arguing

 993   that the VRA was unconstitutional because it violated states’ rights. Georgia joined the

 994   lawsuit. 155 “In South Carolina v. Katzenbach (1966), the justices, in an 8-1 decision, reaffirmed

 995   both the constitutionality and the need for the legislation. ‘The Voting Rights Act was designed

 996   by Congress to banish the blight of racial discrimination in voting, which has infected the

 997   electoral process in parts of our country for nearly a century. Congress felt itself confronted by

 998   an insidious and pervasive evil which had been perpetuated in certain parts of our country

 999   through unremitting and ingenious defiance of the Constitution.’” 156

1000          After South Carolina and Georgia’s failure to overturn the VRA, Mississippi and Virginia

1001   followed with their own challenge to the VRA. Each had changed their voting laws in ways that

1002   were on their face race-neutral but still racially targeted and billed as simply “minor changes to

1003   aid the efficiency of elections.”157 Despite the disguise, those changes were, in fact, as one




       155
           McDonald, A Voting Rights Odyssey, 13.
       156
           Anderson, One Person, No Vote: How Voter Suppression Is Destroying Our Democracy (New York:
            Bloomsbury, 2018), 23; South Carolina v. Katzenbach, 383 U.S. 301 (1966),
            https://supreme.justia.com/cases/federal/us/383/301/, accessed April 5, 2022.
       157
           Anderson, One Person, No Vote, 23.
                                                        57
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1004   Mississippi legislator admitted, designed to “preserve our way of doing business.” 158 In a 7-2

1005   decision, the Supreme Court saw through the subterfuge and ruled that the VRA includes “all

1006   action necessary to make a vote effective.” The law “was aimed at the subtle, as well as the

1007   obvious, state regulations which have the effect of denying citizens their right to vote because of

1008   race.” 159

1009           Georgia’s resistance to the VRA lasted for decades. Shortly before the passage of the

1010   VRA, “fewer than a third of eligible blacks in Georgia were registered to vote. The disparities

1011   were even greater in the state’s 23 counties with black voting-age majorities, where an average

1012   of 89 percent of whites, but only 16 percent of blacks, were registered, despite the fact that

1013   blacks were 34 percent of the voting-age population, there were only three black elected officials

1014   in the entire state, and they had been elected only in the preceding three years.”160 The

1015   impact/threat of increased African Americans voting because of the VRA sent tremors through

1016   the state legislature. While the VRA was being debated in Congress, a June 1965 election in

1017   Georgia led to Julian Bond, an African American in Atlanta, winning a seat in the state

1018   legislature, representing a district where 6,000 of the 6,500 voters were African American. In

1019   January 1966, however, instead of swearing him in, the state legislature refused to seat Bond,

1020   using the pretext that he had come out against the Vietnam War. A subsequent special election,

1021   to fill his now open seat, led to another Bond victory with the same result. The state legislature




       158
           Anderson, One Person, No Vote, 25.
       159
           Allen      v.     State     Bd.      of      Elections,       393      U.S.   544,     565      (1969),
            https://supreme.justia.com/cases/federal/us/393/544/, accessed April 5, 2022.
       160
            Robert A. Kengle, “Voting Rights in Georgia, 1982-2006,” Southern California Review of Law and
            Social          Justice,        17,           no.          2         (Spring       2008),         367,
            https://gould.usc.edu/students/journals/rlsj/issues/assets/docs/issue_17/03_Georgia_Macro.pdf,
            accessed April 5, 2022.
                                                           58
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1022   intervened and refused to honor the votes of African Americans. Bond then ran for the same

1023   office in the General Election in November and won again. And, still, the Georgia legislature

1024   would not allow Bond to take the oath of office and be seated. He sued and his case made it to

1025   the U.S. Supreme Court, which ruled in Bond v. Floyd (1966) that the Georgia legislature had

1026   wrongly banned Bond from taking his duly-elected seat in the Georgia House of

1027   Representatives. 161 By February 1966, “Bond, who has been voted on five times since last

1028   summer and hasn’t taken office yet,” was scheduled for another election that month. 162 The more

1029   than 6,000 voters in his district could only cast their ballot at one polling place – the Courthouse

1030   downtown – which was out of their precinct and not within walking distance. And, the voters

1031   bristled. They knew that it was designed to lower voter turnout, as was labeling Bond a

1032   Communist. Bond “said his constituents have told him: ‘First they make us vote downtown. Now

1033   they’re calling you a Communist.’” But he was willing to set up a caravan of cars to drive his

1034   constituents to and from the polls.163

1035          By mid-1966, despite the VRA, “Federal examiners still had not been dispatched to

1036   Georgia, which lagged behind its neighbors in black enrollment.”164 The 30 counties in Georgia

1037   that had fewer than 10 percent of their Black population registered to vote in 1962, had shown

1038   minor improvement by 1967 given that some counties, such as Miller, Seminole, Webster, and

1039   Glascock, prior to the VRA, had fewer than one percent of age-eligible African Americans




       161
           Bond v. Floyd, 385 U.S. 116 (1966), https://www.law.cornell.edu/supremecourt/text/385/116, accessed
            April 5, 2022.
       162
           Bill Shipp, “Julian Bond Faces Voters Again Today,” The Atlanta Constitution, February 23, 1966, 1.
       163
           Shipp, “Julian Bond Faces Voters Again Today,” 10.
       164
           Steven F. Lawson, In Pursuit of Power: Southern Blacks & Electoral Politics, 1965-1982 (New York:
            Columbia University Press, 1985), 35-36.
                                                         59
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1040   registered to vote. 165 From that dismal starting point, two years after the passage of the VRA, the

1041   “median level of non-white registration in 1967 was 28.25%, as compared to 5.6% in 1962,

1042   indicating that while some progress had been made, much remained to be done to extend the

1043   suffrage to Georgia’s African-American population. Notably, in 1967, the median figure for

1044   white registration [in those thirty counties] exceeded one hundred percent of the voting age

1045   population.” 166

1046          The VRA was up for reauthorization in 1970, five years after its initial passage. “Lester

1047   Maddox, who was then the governor of Georgia, . . . testified before the Senate in 1969 and

1048   railed against the Voting Rights Act, saying it ‘is illegal, unconstitutional and ungodly and un-

1049   American and wrong against the good people in this country . . . And phooey on anything that

1050   says otherwise.’ After listening to Maddox, Congress concluded that extension was ‘essential . . .

1051   in order to safeguard the gains in Negro voter registration thus far achieved, and to prevent future

1052   infringements of voting rights based on race or color.’”167

1053          Maddox’s tirade plus the state’s track record was key to that decision. In 1968, the Civil

1054   Rights Division of the U.S. Department of Justice blocked attempts by Georgia to implement a

1055   backdoor literacy test that reduced assistance to those who needed help reading the election

1056   materials. 168 In fact, between 1968 and 1975, Georgia and its counties and municipalities had



       165
            Charles S. Bullock III and Ronald Keith Gaddie, “Voting Rights Progress in Georgia,” New York
             University Journal of Legislation and Public Policy, 10, no. 1 (2006-2007), 8-9.
       166
           Bullock and Gaddie, “Voting Rights Progress in Georgia,” 7.
       167
            Laughlin McDonald, “The Bull Connor Is Dead Myth: Or Why We Need Strong, Effectively Enforced
             Voting Rights Laws,” in ed., Daniel McCool, The Most Fundamental Right: Contrasting Perspectives
             on the Voting Rights Act (Bloomington: Indiana University Press, 2012), 128.
       168
           Stephen       J.      Pollak       to        Arthur       K.      Bolton,     June     19,    1968,
             https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/GA-1000.pdf, accessed April 10,


                                                         60
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1057   numerous laws disallowed by the Department of Justice because of the proposed legislation’s

1058   discriminatory impact that looked very much, given the state’s history, like discriminatory

1059   intent.169

1060           The 1975 reauthorization of the VRA added Section 203, which went after the use of

1061   English-only elections that discriminated against American citizens who were proficient in a

1062   foreign language but not in English and who lived in jurisdictions where they comprised a

1063   sizeable share of the population. The precursor to Section 203 was Section 4(e) of the VRA

1064   (1965), which focused on the discrimination that Puerto Ricans in New York faced when trying

1065   to vote, especially English-only registration instructions and ballots. Lawsuits launched in the

1066   early 1970s by the Mexican American Legal Defense and Education Fund (MALDEF) in Texas,

1067   to protect the voting rights of language minorities, such as Mexican Americans, were the other

1068   catalyst to expand the VRA’s coverage. 170 “Section 203 of the [Voting Rights] Act . . . contains

1069   the Act’s bilingual assistance provisions which apply only to citizens of Spanish, Native

1070   American, Asian, and Alaskan heritage and is also of limited geographic scope.”171 Initially,

1071   Georgia did not meet the population criteria to have its Latino and Asian American citizens come

1072   under the language protection provision. In the 21st century, though, that would change.172




             2022;     Stephen       J.     Pollak      to      Arthur    K.    Bolton,    July     11,     1968,
             https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/GA-1010.pdf, accessed April 10,
             2022.
       169
            U.S. Department of Justice, Voting Determination Letters: Georgia, https://www.justice.gov/crt/voting-
             determination-letters-georgia, accessed April 10, 2022.
       170
            Juan Cartagena, “Latinos and Section 5 of the Voting Rights Act: Beyond Black and White,” National
             Black Law Journal, 18, no 2 (2005), 202-215.
       171
           Juan Cartagena, “Latinos and Section 5 of the Voting Rights Act: Beyond Black and White,” 201.
       172
            Alvaro Bedoya, “The Unforeseen Effects of Georgia v. Ashcroft on the Latino Community,” 115 Yale
             Law Journal 2112 (2006), 2112-2129.
                                                           61
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1073              By the time Congress considered reauthorization of the VRA in 1982, the Department of

1074   Justice had blocked “a total of 104 voting changes in Georgia, of which sixty-three (60.6%)

1075   represented attempts to change the jurisdictions’ methods of election to include such

1076   discriminatory features as at-large elections, numbered posts, staggered terms and majority vote

1077   requirements.” 173 There were additional DOJ interventions to prevent poll closures and

1078   relocations, noting the confusion, difficulties, and inconvenience to voters that implementing

1079   those changes would cause and raising alarms that the racially inhospitable proposed sites, such

1080   as the white-only American Legion posts, would drive down Black voter turnout.174 Georgia

1081   officials’ ongoing efforts resulted in an endemic, lasting, and defining opposition to voters of

1082   color (primarily Black voters initially and later all voters of color).

1083              Georgia state and local officials’ extensive resistance to complying with the VRA

1084   provides another illuminating example of the persistence of racial voter suppression. It also

1085   contextualizes Georgia’s common response to increased access to the ballot box by voters of

1086   color. Following passage of the VRA, Georgia responded to increased ballot access for Black




       173
             Kengle, “Voting Rights in Georgia,” 369-370.
       174
                  Stephen        J.     Pollak       to        Jesse      Bowles,      December       12,     1968,
              https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/GA-1030.pdf, accessed April 10,
              2022;     David       L.   Norman        to      James     V.    Davis,     November     16,    1971,
              https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/GA-1090.pdf, accessed April 10,
              2022;     David       L.  Norman        to     John    E.     Dougherty,     November    27,    1972,
              https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/GA-1200.pdf, accessed April 10,
              2022;     J.    Stanley    Pottinger      to     George     E.   Crawford,      August   12,    1974,
              https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/GA-1380.pdf, accessed April 10,
              2022;     Drew       S.   Days      III      to     David     M.    Proctor,     August   4,    1978,
              https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/GA-1710.pdf, accessed April 10,
              2022;       John       R.    Dunne         to      Charlotte     Beall,      October    28,     1992,
              https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/GA-2400.pdf, accessed April 10,
              2022;     Deval       L.   Patrick     to      William     E.    Woodrum,       March    20,    1995,
              https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/GA-2610.pdf, accessed April0, 2022.
                                                             62
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1087   voters and other racial minorities with illegal and unconstitutional voter suppression efforts. So

1088   too with SB 202. Georgia responded to record turnout by Black voters and other voters of color,

1089   in the backdrop of every-growing political participation by Black voters and voters of color, with

1090   provisions intended to harm Black voters and other voters of color.

1091          J.      The Southern Strategy Takes Hold

1092          The formula that Lee Atwater laid out worked for years. Nixon said he spoke for the

1093   “silent majority” 175 who, in the midst of the uprisings against racism and the Vietnam War,

1094   demanded that this nation must have “law and order.” 176 In 1972, he garnered 60.2% of the

1095   popular vote. 177 Ronald Reagan opened his general election campaign in 1980 at the Neshoba

1096   (Mississippi) County Fair proclaiming his commitment to “states’ rights” near the area where

1097   three civil rights workers’ murders led to the passage of the Civil Rights Act (1964). He also

1098   alluded to the criminality of Black people by invoking the story of a “Chicago welfare queen”

1099   with “eighty names, thirty addresses, [and] twelve Social Security cards [who] is collecting

1100   veteran’s benefits on four non-existing deceased husbands. She’s got Medicaid, getting food

1101   stamps, and she is collecting welfare under each of her names. Her tax-free cash income is over

1102   $150,000.”178 He garnered 50.5% of the popular vote in 1980 and 58.8% in 1984. 179 Even more

1103   telling, “22 percent of all Democrats defected from the party to vote for Reagan” and “the

1104   defection rate shot up to 34 percent among those Democrats who believed civil rights leaders



       175
           Robyn Price Pierre, “How a Conservative Wins the Presidency in a Liberal Decade,” The Atlantic, July
            9, 2016, https://www.theatlantic.com/politics/archive/2016/07/fear-and-voting-in-america/490631/,
            accessed October 23, 2021.
       176
           Haney López, Dog Whistle Politics, 23.
       177
            Roper Center, “United States Elections: Popular Votes 1940-2016, Candidates for President,”
            https://ropercenter.cornell.edu/presidential-elections/popular-votes, accessed October 23, 2021.
       178
           Haney López, Dog Whistle Politics, 58.
       179
           Roper Center, “United States Elections: Popular Votes 1940-2016, Candidates for President.”
                                                         63
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1105   were pushing too fast.” 180

1106          In the 1988 presidential campaign, George H.W. Bush ran an ad, crafted by Lee Atwater,

1107   that featured the crimes of a Black man, Willie Horton, who, while out on prison furlough

1108   assaulted a white couple, raping the woman. The explicit message was that Bush’s opponent,

1109   Michael Dukakis was “soft on crime.”181 Bill Keller, editor-in-chief of The Marshall Project,

1110   said Horton “was a convenient tool in a kind of politics that at the very least was fear mongering

1111   and I think fair to say race baiting.” “I think it had echoes of the earlier southern strategy of

1112   Republicans, which was to play on white anxiety.”182 Bush gained 53.4% of the popular vote. 183

1113          K.      The Demographic Dangers/Limits of the Southern Strategy: 1992 - 2020

1114           The early 1990s onward, however, began to tell a different story. Starting in 1992,

1115   Republicans have won the popular vote only once in eight presidential elections. 184 The long-

1116   term demographic and political consequences of the Republicans’ decision to choose the

1117   Southern Strategy and depend heavily on an ever-shrinking base for the GOP’s viability185 has,

1118   in the words of Republican Georgia Lt. Governor Geoff Duncan, ended up “threatening the




       180
           Haney López, Dog Whistle Politics, 59.
       181
           Haney López, Dog Whistle Politics, 105-107.
       182
            “The Campaign Ad That Re-Shaped Criminal Justice,” The Takeaway, May 18, 2015,
            https://www.wnycstudios.org/podcasts/takeaway/segments/crime-reshaped-criminal-justice, accessed
            April 11, 2022.
       183
           Roper Center, “United States Elections: Popular Votes 1940-2016, Candidates for President.”
       184
           Roper Center, “United States Elections: Popular Votes 1940-2016, Candidates for President”; David
            Wasserman, Sophie Andrews, Leo Saenger, Lev Cohen, Ally Flinn, and Griff Tatarsky, “2020 National
            Popular Vote Tracker, The Cook Political Report, https://cookpolitical.com/2020-national-popular-
            vote-tracker, accessed October 24, 2021.
       185
           Jeffrey M. Jones, “Quarterly Gap in Party Affiliation Largest Since 2012,” Gallup, April 7, 2021,
            https://news.gallup.com/poll/343976/quarterly-gap-party-affiliation-largest-2012.aspx,     accessed
            October 24, 2021.
                                                         64
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1119   party.” 186 This demographic threat was acknowledged in the 2013 Republican National

1120   Committee report, “Growth and Opportunity Project.” The analysts noted, “The nation’s

1121   demographic changes add to the urgency of recognizing how precarious our position has

1122   become.” 187 White people, as a share of the electorate, have declined – from 85% in 1996 to 69%

1123   in 2019 nationwide and in Georgia from 68% in 2000 to 58% in 2018.188 Meanwhile, the

1124   demographic composition of the Republican Party is overwhelmingly white voters (81%) as

1125   opposed to the Democratic Party (59%). 189

1126           In Georgia, members of the state GOP have recently voiced concerns that the state’s

1127   changing demographics could spell the end of the party’s electoral dominance in the state. 190

1128   “Republicans had shut out Democrats in every presidential election in Georgia since 1996 and

1129   hadn’t lost a statewide seat since 2006.”191 Then-Georgia Secretary of State Brian Kemp, in July

1130   2014, said to a group in Gwinnett County, sounding eerily like Herman Talmadge complaining

1131   about busloads of African Americans registering to vote, “You know the Democrats are working

1132   hard, and all these stories about them, you know, registering all these minority voters that are out




       186
           Geoff Duncan, GOP 2.0: How the 2020 Election Can Lead to a Better Way Forward for America’s
            Conservative Party (Brentwood, TN: Forefront Books, 2021), 138.
       187
           Henry Barbour, Sally Bradshaw, Ari Fleischer, Zori Fonalledas, and Glenn McCall, “Growth and
            Opportunity          Project,”        Republican           National           Committee,           2013,
            https://www.wsj.com/public/resources/documents/RNCreport03182013.pdf, accessed January 10,
            2023, 7.
       188
           John Gramlich, “What the 2020 electorate looks like by party, race and ethnicity, age, education and
            religion,” Pew Research Center, October 26, 2020, https://www.pewresearch.org/fact-
            tank/2020/10/26/what-the-2020-electorate-looks-like-by-party-race-and-ethnicity-age-education-and-
            religion/, accessed September 19, 2021.
       189
           Gramlich, “What the 2020 electorate looks like by party, race and ethnicity, age, education and religion.”
       190
           Emma Hurt, “Georgia GOP Fears Changing Demographics Could End Party’s Long Dominance,”
            WABE, June 7, 2020, https://www.knau.org/elections-2012/2020-06-07/georgia-gop-fears-changing-
            demographics-could-end-partys-long-dominance, accessed January 10, 2023.
       191
           Greg Bluestein, Flipped: How Georgia Turned Purple and Broke the Monopoly on Republican Power
            (New York: Viking, 2022), 1.
                                                            65
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1133   there and others that are sitting on the sidelines, if they can do that they win this November. But

1134   we’ve got to do the exact same thing,” he said, by registering more Republicans, who, in Kemp’s

1135   framing, clearly are not minority voters.192 In other words, the Republicans are relying

1136   increasingly upon a smaller and smaller share of the electorate for electoral victory and that

1137   shrinking share is comprised of white voters.

1138          Moreover, the courting of white Southern Democrats into the GOP helped push the party

1139   further to the ideological right, especially in terms of race, religion, and patriarchy, and made the

1140   policies that emanated from those stances unattractive to the growing diversity and liberalism of

1141   the American electorate. 193 In fact, the share of voters who identify as Republican continues to

1142   shrink. 194 The Republicans are, therefore, caught between Scylla and Charybdis. On one hand,

1143   the party’s policy platforms were unable to attract the majority of voters. 195 Indeed, in 2012, Mitt

1144   Romney’s staff estimated that he would need to win 61% of the white vote to ascend to the

1145   presidency and South Carolina Senator Lindsey Graham admitted, “We’re not generating enough




       192
           “Georgia Gov. Brian Kemp ordered to answer questions in election lawsuit,” NBC News, December 10,
            2019,           https://www.nbcnews.com/politics/elections/georgia-gov-brian-kemp-ordered-answer-
            questions-election-lawsuit-n1099166, accessed September 11, 2021.
       193
             Jennifer Rubin, “GOP autopsy report goes bold,” Washington Post, March 18, 2013,
            https://www.washingtonpost.com/blogs/right-turn/wp/2013/03/18/gop-autopsy-report-goes-bold/,
            accessed September 25, 2021; Geoffrey Kabaservice, Rule and Ruin: The Downfall of Moderation and
            the Destruction of the Republican Party, From Eisenhower to the Tea Party (New York: Oxford
            University Press, 2012), xvi-xvii; xix; Angie Maxwell and Todd Shields, The Long Southern Strategy:
            How Chasing White Voters in the South Changed American Politics (New York: Oxford University
            Press, 2019); Thomas E. Mann and Norman J. Ornstein, It’s Even Worse than it Looks: How the
            American Constitutional System Collided with the New Politics of Extremism (New York: Basic Books,
            2012).
       194
           Ed Kilgore, “A Dwindling Republican Party May Be Doomed to Shrink More,” New York Magazine,
            April 8, 2021, https://nymag.com/intelligencer/2021/04/fewer-americans-identify-as-republican-in-
            2021-gallup.html, accessed October 24, 2021.
       195
           Rubin, “GOP autopsy report goes bold.”
                                                         66
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1146   angry white guys to stay in business for the long term.”196 On the other, trapped by the intensity

1147   of the xenophobia197 and anti-civil rights198 of the party’s base, the GOP has been unwilling and

1148   unable to broaden its policy positions despite an “autopsy” authored in 2013 that laid out the

1149   need to do so.199 The only option, besides oblivion, is to cull the electorate. In other words,

1150   remove voters – African Americans, Asian Americans, Hispanic Americans, Native Americans,

1151   the young, and the poor – who would typically not vote the Republican ticket and to criminalize

1152   and cast those voters as the source of voter fraud and a threat to democracy and, therefore, depict

1153   voter suppression as legitimate governmental function. Indeed, the Republican National

1154   Chairman in 1981, Richard Richards, deploying a false binary, asserted, “Anyone opposed to

1155   ballot security obviously must be supportive of . . . [voter] fraud.”200 In other words, those who

1156   deny access to the ballot box to African Americans, Asian Americans, and Latinos are patriotic

1157   and law-abiding while those who protect the right to vote are un-American lawbreakers. One

1158   Republican opined, “I knew—I knew—that the Dems would use any crooked tool in the box to




       196
           Diane Roberts, “No country for angry old white men: The GOP’s diminishing demographic,” The
            Guardian, September 10, 2012, https://www.theguardian.com/commentisfree/2012/sep/10/no-
            country-for-angry-old-white-men, accessed October 24, 2021.
       197
           Jim Tankersley and Scott Clement, “It’s not just Donald Trump: Half of Republicans share his views on
            immigrants        and   refugees,”     The      Washington    Post,     November       24,     2015,
            https://www.washingtonpost.com/news/wonk/wp/2015/11/24/its-not-just-donald-trump-half-of-
            republicans-shares-his-views-on-immigrants-and-refugees/, accessed October 24, 2021.
       198
           “The Partisan Divide on Political Values Grows Even Wider,” Pew Research Center, October 5, 2017,
            https://www.pewresearch.org/politics/2017/10/05/the-partisan-divide-on-political-values-grows-even-
            wider/, accessed October 24, 2021.
       199
            Niall Stanage, “GOP front-runners defy ‘autopsy’ of party defeats,” The Hill, January 14, 2016,
            https://thehill.com/homenews/campaign/265835-gop-front-runners-defy-autopsy-of-party-defeats,
            accessed October 24, 2021.
       200
           Robert Joffee, “Democrats Accuse GOP of Intimidating Minorities in N.J. Voting,” Washington Post,
            November 8, 1981, https://www.washingtonpost.com/archive/politics/1981/11/08/democrats-accuse-
            gop-of-intimidating-minorities-in-nj-voting/9cfb873d-7c3e-44ea-beb9-4c9b5d9ab5a1/, accessed May
            23, 2021.
                                                          67
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1159   steal elections. Therefore America needed cleaner elections, and cleaner elections meant voter ID

1160   laws.” 201

1161           L.     Georgia and the Racialized Lie of Rampant Voter Fraud

1162           The Georgia of Democrats Eugene and Herman Tallmadge, Richard Russell, Walter

1163   George, and Lester Maddox had become, because of the Southern Strategy, a Republican

1164   stronghold. But the changing racial and ethnic demographics in the state – sizeable increases in

1165   the numbers of Hispanics, Asian Americans, and African Americans 202 – meant that that

1166   dominance was in danger. Similar to Mississippi in 1890, the Georgia legislature and state

1167   officials deployed the rationale of stopping voter fraud to justify the laws, policies, and wielding

1168   of the criminal justice system to neutralize the votes of African Americans, Hispanics, and Asian

1169   Americans.

1170           In 2005, for example, the Georgia legislature passed HB 244, which truncated the

1171   acceptable forms of voter IDs from seventeen listed in the federal Help America Vote Act to six

1172   types of government-issued photo IDs to vote. The genesis of this bill, despite the lack of

1173   indictments or convictions, was the steady drumbeat of voter fraud, echoing in the media and the

1174   Georgia State Election Board. “Senator Cecil Staton of the 18th district was flabbergasted at all

1175   things [used] for identification in the state of Georgia. In response, he, along with other senators,

1176   introduced [the companion legislation] Senate Bill 84 to prevent the problem of voter fraud in




       201
           Jeremiah Goulka, “Are Voter ID Laws a Form of Racism? A former Republican tells it like it is: voter
            ID laws unfairly burden minorities,” Mother Jones, October 15, 2012.
       202
            U.S. Census, “State Intercensal Tables: 2000-2010,” https://www.census.gov/data/tables/time-
            series/demo/popest/intercensal-2000-2010-state.html, accessed January 10, 2023. From April 2000 to
            July 2010, the number of Hispanics increased by 424,668; African Americans by 588,609, Asian
            Americans by 143,189, and white Georgians by 288,414.
                                                         68
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1177   Georgia.” SB 84 was subsequently merged into HB 244 as Section 59. 203 “Black and Hispanic

1178   lawmakers, it became clear, were ignored as white Republicans steamrolled this legislation, HB

1179   244, through the statehouse. African Americans had, to no avail, raised concerns about the need

1180   for voter education on the new requirements, the maldistribution of the state’s driver’s license

1181   bureaus, and the difficulty for those not born in hospitals to get a birth certificate that would

1182   allow them to get a license.” 204 As a result, the “deliberations regarding this legislation were

1183   extraordinarily contentious; the Georgia Black Legislative Caucus was nearly unanimous in

1184   opposing the legislation.”205 “Indeed, despite Georgia’s Section 5 status, the state was beyond

1185   cavalier in considering the racial implications of the change in Voter ID requirements. The Chief

1186   Policy Advisor to the Georgia House of Representatives admitted that the legislature ‘did not

1187   conduct any statistical analysis of the effect of the photo ID requirement on minority voters.’ In

1188   fact, when asked about the need for this law, Representative Sue Burmeister from Augusta,

1189   explained that it was to prevent fraud and if that meant ‘there are fewer black voters because of

1190   the voter ID law it will be because there is less opportunity for fraud.’ She then clarified: ‘when




       196
           Myung-Hee Han, “ELECTIONS and Primaries Generally: Authorize State Election Board to Conduct
            Certain Educational Programs; Change Provisions Relating to Required Presentation of Identification
            by Voters; Specify Types of Identification Which May be Used; Provide for Georgia Voter Identification
            Cards To Be Issued by Each County Board of Registrars to Registered Electors Who do not Have a
            Valid Driver’s License or Identification Card Issued by the Department of Driver Services; Provide for
            the Contents and Appearance of Such Cards; Provide for Applications and Supporting Documentation;
            Provide for the Supply of Equipment and the Adoption of Rules and Regulations by the State Election
            Board; Change Provisions Relating to Issuance of Free Identification Card by the Department of
            Driver Services to Registered Electors; Provide for Other Related Matters; Provide an Effective Date;
            Repeal Conflicting Laws; and for Other Purposes,” Georgia State University Law Review 23 (2012):
            147, https://readingroom.law.gsu.edu/gsulr/vol23/iss1/15, accessed April 12, 2022; Eric Lipton and Ian
            Urbina, “In 5-Year Effort, Scant Evidence of Voter Fraud,” New York Times, April 12, 2007,
            https://www.nytimes.com/2007/04/12/washington/12fraud.html, accessed April 13, 2022.
       204
           Anderson, One Person, No Vote, 60.
       205
           Kengle, “Voting Rights in Georgia,” 405.
                                                           69
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1191   black voters in her black precincts are not paid to vote, they do not go to the polls.’” 206

1192             Because Georgia was still required to preclear its voting changes under Section 5 of the

1193   Voting Rights Act, the Civil Rights Division of the U.S. Department of Justice reviewed the

1194   proposed law.

1195             “The Civil Rights Division’s staff attorneys . . . rejected H.B. 244 because of its disparate

1196             impact on Black voters. Their investigation found that only one-third of the state’s

1197             counties actually had a Department of Drivers Services (DDS) and, there was not a single

1198             driver’s license bureau in the entire city of Atlanta. Moreover, of the 56 DDS locations

1199             throughout the state, only five were ‘accessible via public transportation.’ In short, H.B.

1200             244 was effectively requiring a personal motor vehicle and a license to be able to get to

1201             the DDS. As the attorneys dug deeper into the data, they uncovered that 17.7 percent of

1202             Black households did not have access to a vehicle, while only 4.4 percent of white

1203             households had no motorized form of personal transportation. And, even more troubling,

1204             in the two counties that Atlanta spread across, almost three-fourths of those without a

1205             vehicle in Fulton County were African American and in DeKalb, 63.5 percent. When the

1206             attorneys then overlaid the map of where the DDS offices were located with the

1207             information on lack of personal vehicles, it soon became clear that racial disparity and

1208             disparate impact were embedded in H.B. 244. Indeed, ‘Census data show that five times

1209             more black households in counties without DDS offices lack access to a motor vehicle




       206
             Anderson, One Person, No Vote, 60; Section 5 Recommendation Memorandum: Factual Investigation
             and Legal Review, August 25, 2005, https://www.brennancenter.org/sites/default/files/analysis/08-25-
             05%20Georgia%20ID%20Preclearance%20Memo%20-%20DOJ%20Staff.pdf, accessed September
             30, 2017.
                                                            70
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1210           compared to white households.’ Similar analysis on poverty rates, access to birth

1211           certificates, unemployment rates (given that government work ID’s were acceptable),

1212           resulted in the same pattern of racial inequality that would easily eddy out into the ability

1213           to vote.”207

1214   The DOJ staff attorneys, based on their analysis of the disparate racial impact of HB 244,

1215   rejected Georgia’s voter ID law. 208 The very next day, however, John Tanner, the Chief of the

1216   Voting Section of the Civil Rights Division who had been appointed by then-President George

1217   W. Bush, overruled the staff attorneys and approved one of the “strictest” voter ID laws in the

1218   United States. 209 A federal court ultimately concluded that the law was racially discriminatory,

1219   which led the legislature to tweak it to remove the Jim Crow-like “poll tax” 210 element of paying

1220   for the ID without coming to grips with the fundamental flaw in the rationale for the law: there

1221   was no evidence of massive, rampant voter fraud.

1222           In 2008, then-Secretary of State Brian Kemp launched the Exact Match program.

1223   Premised on “fighting to protect the integrity of our elections and ensure that only legal citizens




       207
           Anderson, One Person, No Vote, 61.
       208
           Section 5 Recommendation Memorandum: Factual Investigation and Legal Review, August 25, 2005.
       209
              John Tanner to Thurbert Baker and Dennis R. Dunn, August 26, 2005,
            https://www.brennancenter.org/sites/default/files/analysis/08-26-
            05%20Georgia%20ID%20Preclearance%20Letter%20-%20Tanner.pdf, accessed September 30, 2017;
            Suevon Lee and Sarah Smith, “Everything You Ever Wanted to Know About Voter ID laws,” Pro
            Publica, March 9, 2016, https://www.propublica.org/article/everything-youve-ever-wanted-to-know-
            about-voter-id-laws, accessed March 12, 2017.
       210
           ACLU, “Voting Rights Advocates Challenge Georgia Photo ID Law in Federal Court: New Law Decried
            as Unconstitutional ‘Poll Tax’ for Elderly, Minority and Low-Income Voters,” press release, September
            19, 2005, https://www.aclu.org/press-releases/voting-rights-advocates-challenge-georgia-photo-id-
            law-federal-court, accessed April 28, 2022; David H. Harris Jr., “Georgia Photo ID Requirement: Proof
            Positive of the Need to Extend Section 5,” North Carolina Central Law Review, 28, no. 2 (2006): 172-
            176.
                                                          71
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1224   can cast a ballot,”211 the program required exact correlation between information on the voter

1225   registration form and that in the DDS or Social Security Administration files. If there was a

1226   discrepancy, say Tom for Thomas, the voter would have his registration suspended until the issue

1227   was resolved. While appearing race neutral, the program was inherently biased against non-

1228   Anglicized names. An errant accent over the “e” in Renee, no hyphen between Lopez-Garcia,

1229   inverted letters so that Nguyen became Nugyen meant that typographical errors sent voters into

1230   electoral limbo as did transcribed numbers on driver’s licenses. The U.S. Department of Justice,

1231   under Section 5 of the VRA, reviewed Exact Match and rejected it noting the “flawed system

1232   frequently subjects a disproportionate number of African American, Asian, and/or Hispanic

1233   voters to additional and, more importantly, erroneous burdens on the right to register to vote.” 212

1234             As proof, the DOJ noted that Georgia had implemented Exact Match without getting the

1235   legally-required pre-clearance authorization. Therefore, the impact was not hypothetical. They

1236   had the data. The process to determine, for example, if immigrants were registered to vote was

1237   “error-laden . . . increasing the potential for unreliable results.” The DOJ conveyed that “of the

1238   7,007 individuals who have been flagged . . . as potential non-citizens, more than half were in

1239   fact citizens. Perhaps the most telling statistic concerns the effect of the verification process on

1240   native-born citizens. Of those persons erroneously identified as non-citizens, 14.9 percent, more

1241   than one in seven, established eligibility with a birth certificate, showing they were born in this




       211
             Ben Nadler, “Voting rights become a flashpoint in Georgia governor’s race,” AP, October 9, 2018,
             https://apnews.com/article/race-and-ethnicity-elections-voting-voting-rights-atlanta-
             fb011f39af3b40518b572c8cce6e906c, accessed April 15, 2022.
       212
             Brentin Mock, “How Dismantling the Voting Rights Act Allowed Georgia to Discriminate Again,”
             Bloomberg, October 15, 2018, https://www.bloomberg.com/news/articles/2018-10-15/how-georgia-s-
             exact-match-program-was-made-possible, accessed April 13, 2022.
                                                          72
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1242   country. Another 45.7 percent provided proof that they were naturalized citizens, suggesting that

1243   the driver’s license data base is not current for recently naturalized citizens.”213

1244           “The impact of these errors falls disproportionately on minority voters . . . applicants who

1245   are Hispanic, Asian, or African American are more likely than white applicants to statistically

1246   significant degrees, to be flagged for additional scrutiny. African Americans,” the DOJ review

1247   letter continued, “comprise a majority of the registrants flagged . . . Although African American

1248   and white voters represent approximately equal shares of the new voter registrants between May

1249   2008 and March 2009, more than sixty percent more African American voters who registered

1250   during this period are currently flagged than are whites . . . Similar disproportion arises with

1251   regard to flagged Asians and Hispanics . . . [who] are more than twice as likely to appear on the

1252   list as are white applicants. Each of the differences is statistically significant.”214

1253           The DOJ identified another flaw in Georgia’s Exact Match program. In order to establish

1254   their voting eligibility, the “non-matched registrants” were to be notified by local election

1255   officials “to appear at the county courthouse or office building, not at the voter’s convenience,

1256   but rather on a week day, during normal business hours, and pursuant to state law, with only

1257   three days notice.” 215 The disproportionate impact on minority registrants and the extra effort

1258   they had to exert to get on the voter rolls meant that “these burdens are real, are substantial, and

1259   are retrogressive for minority voting rights.” 216



       213
           Loretta         King         to          Thurbert          Baker,        May        29,       2009,
            https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/l_090529.pdf, accessed April 13,
            2022, 4.
       214
           Loretta King to Thurbert Baker, 3.
       215
           Loretta King to Thurbert Baker, 4.
       216
                   Loretta       King         to         Thurbert        Baker,      May        29,      2009,
            https://www.justice.gov/sites/default/files/crt/legacy/2014/05/30/l_090529.pdf, accessed April 13,
            2022.
                                                            73
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1260           In 2010, Kemp responded by tweaking the program and promising to install safeguards.

1261   The DOJ then approved it; but once the revised Exact Match was implemented, the original

1262   concerns became reality. Kemp’s “administration rejected nearly 35,000 voter registrations

1263   between July 2013 and July 2015—76.3 percent of which were for black, Asian, and Latino

1264   voters.” 217 “Civil rights organizations sued and Kemp agreed to suspend the program as part of

1265   the settlement of that suit.”218

1266           That should have been the end of Exact Match; but it was not. Exact Match had an

1267   established track record as a racially discriminatory policy. Consistently, over the life of the

1268   program, it was documented that Asian Americans, Latinos, and African Americans were

1269   disproportionately and negatively impacted. Moreover, the Secretary of State’s rationale that

1270   Exact Match would ensure “election integrity” did not align with the fact that the supposed voter

1271   fraud was virtually non-existent. From 2012 – 2016, the attorney general of Georgia did not

1272   prosecute anyone for voter impersonation fraud. 219 Nonetheless, in 2017, despite the track record

1273   and no legitimate justification, the Georgia legislature, led by state Representative Barry

1274   Fleming, 220 who would later be one of the architects of SB 202, as discussed below, turned the

1275   discredited and unwarranted Exact Match program into a law with HB 268.221 The Atlanta




       217
            Mock, “How Dismantling the Voting Rights Act Allowed Georgia to Discriminate Again.”
       218
            Mock, “How Dismantling the Voting Rights Act Allowed Georgia to Discriminate Again.”
        219
            Sami Edge and Sean Holstege, “No, voter fraud actually isn’t a persistent problem,” Washington Post,
              September 1, 2016, https://www.washingtonpost.com/news/post-nation/wp/2016/09/01/voter-fraud-is-
              not-a-persistent-problem/, accessed April 13, 2022.
       220
            Timothy Pratt, “The Lawyer Behind Georgia’s New Anti-Voting Law: Representative Barry Fleming,
             chairman of the Georgia legislature’s Special Committee on Election Integrity, has a history of
             restricting     voting     across     the      state,”    The     Nation,      April     8,     2021,
             https://www.thenation.com/article/politics/georgia-voting-law-barry-fleming/, accessed June 24, 2022.
        221
            Nadler, “Voting rights become a flashpoint in Georgia governor’s race.”

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1276   Journal-Constitution analyzed the route and the machinations behind this transition from policy

1277   to legislation:

1278           “Less than a week [after Kemp opted to settle the lawsuits filed by civil rights

1279           organizations in the federal court] . . . House Bill 268 began moving through the

1280           Legislature. Once signed by Gov. Nathan Deal, it would reinstate ‘exact match.’

1281           A House vote on Feb. 23 approved the bill along strict party lines. State Rep. Mary

1282           Margaret Oliver, D-Decatur, one of the chamber’s top legal experts, warned against

1283           parachuting ‘into ongoing litigation between parties in order to change the direction of a

1284           lawsuit.’

1285

1286           Republicans pointed out that Exact Match 2.0 extended the period of time that

1287           prospective voters could fix problematic registrations from 30 days to 26 months. House

1288           Minority Leader Stacey Abrams, already making a name for herself as the leader of a

1289           Democratic-inspired voter registration movement, was unimpressed — given that

1290           discrepancies could be data input errors.

1291

1292           ‘How can you cure a problem that you don’t know about. How can you cure a problem

1293           that you have no control over?’ Abrams asked.

1294

1295           At the time, some Republican lawmakers denied they were acting at Kemp’s behest. State

1296           Rep. Earl Ehrhart, R-Powder Springs, wasn’t one of them. ‘The underpinning for his

1297           settlement was that [Kemp] didn’t have the statutory authority,’ Ehrhart said during

1298           debate. HB 268 would fix that . . .
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1299

1300    Republicans in the state Capitol have put themselves in a bit of a box. In 2017, in order to

1301    build what they believed to be a more secure voting system, they reaffirmed a voter

1302    registration policy that could require tens of thousands of Georgians, most of them people

1303    of color, to jump through extra hoops in order to cast a ballot.

1304
1305    There are only two ways of justifying that decision. First, there is the argument that the

1306    collateral damage is worth the price.

1307

1308    You can see this in the Kemp campaign’s argument that Abrams’ own voter registration

1309    effort, the New Georgia Project, has itself contributed to the problem by submitting

1310    improperly filled out forms that fail to match up with government info. The problem is

1311    that this line of logic also requires a highly non-Republican view that government

1312    databases are practically perfect in every way.

1313

1314    But that argument is better than the alternative explanation, which is that a holding pen of

1315    tens of thousands of voter registrations isn’t a bug of the system, but a feature.

1316

1317    In that case, ‘exact match’ would be a cousin to the computer-enhanced gerrymandering

1318    that dominates our political system. But rather than using the advantages of technology,




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1319          ‘exact match’ harnesses its flaws to produce what in sporting circles might be called a

1320          point-shaving system. And that would be wrong.”222

1321

1322          The results of deploying the Exact Match law during the 2018 election followed the

1323   racially disparate patterns revealed in the DOJ’s evaluation in 2008-2009 and the civil rights

1324   organizations’ lawsuit in 2016. In October 2018, on the last day of voter registration, then-

1325   Secretary of State and Republican gubernatorial candidate Brian Kemp placed 53,000 voter

1326   registrations in limbo. Nearly 80 percent of “applicants put on pending status [were] African-

1327   Americans, Latinos and Asian-Americans, according to a federal lawsuit filed Thursday

1328   [October 11, 2018] by civil rights groups.”223 Kemp claimed that Exact Match was necessary to

1329   keep “illegals,” 224 the epithet used to describe undocumented immigrants from Mexico and

1330   Central America,225 from voting. In 2019, Governor Brian Kemp signed HB 316, amending the




       222
           Jim Galloway, “How Exact Match 2.0 happened – but the real question is why,” Atlanta Journal-
            Constitution, October 16, 2018, https://www.ajc.com/blog/politics/exact-match-becomes-part-highly-
            litigious-election-season/RgSoVk5q3hTlbKhDrixA0I/, accessed July 30, 2022.
       223
           Mark Niesse, “What you need to know about Georgia’s 53,000 pending voters,” Atlanta Journal-
            Constitution, October 15, 2018, https://www.ajc.com/news/state--regional-govt--politics/what-you-
            need-know-about-georgia-000-pending-voters/0aulxJgIulIpKgMmpexBmK/, accessed April 5, 2022.
       224
           Kaitlyn Schallhorn, “Georgia Dem gubernatorial nominee says ‘blue wave’ will include undocumented
            immigrants,” Fox News, October 15, 2018, https://www.foxnews.com/politics/georgia-dem-
            gubernatorial-nominee-says-blue-wave-will-include-undocumented-immigrants, accessed July 30,
            2022.
       225
           Angelica Rubio, “Undocumented, Not Illegal: Beyond the Rhetoric of Immigration Coverage,” NACLA,
            December 12, 2011, https://nacla.org/article/undocumented-not-illegal-beyond-rhetoric-immigration-
            coverage, accessed July 30, 2022.
                                                         77
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1331   Exact Match program to allow that “slight discrepancies [between the state and federal databases

1332   and the voter registration forms] will no longer prevent voter eligibility.”226

1333           Exact Match was just one of the hurdles in Georgia that African Americans, Hispanics,

1334   and Asian Americans had to overcome to gain access to the ballot box in the twenty-first

1335   century. The “U.S. Commission on Civil Rights says no state has done more than Georgia in

1336   recent years to make voting more difficult, especially for minorities.” 227 As journalist Sue

1337   Halpern reported in The New Yorker, “During Kemp’s term as secretary of state, starting in 2010,

1338   a million and a half voters—more than ten percent of the registered electorate—were removed

1339   from the rolls.”228 “Analyzing all the Georgians purged in 2017, APM Reports found that in six

1340   of every 10 counties across Georgia, black voters were canceled at a higher rate than their white

1341   peers for inactivity. And in more than a quarter of those counties black voters were removed at a

1342   rate 1.25 times their white peers.”229 The Atlanta Journal-Constitution reported that “More than

1343   130,000 of those purged last year [2017] had registered to vote in 2008, the year of Barack

1344   Obama’s historic presidential candidacy. Nearly half [of those removed from the rolls] were




       226
           Stanley Augustin, “Georgia Largely Abandons Its Broken Voter Registration Process,” press release,
            Lawyers’      Committee       for   Civil    Rights    Under      the    Law,    April     5,   2019,
            https://www.lawyerscommittee.org/georgia-largely-abandons-its-broken-exact-match-voter-
            registration-process/, accessed April 17, 2022; Beth K. Boatright and Andrew Smith, “HB 316 Voting
            System,” Georgia State University Law Review 36, no. 1 (Fall 2019): 93.
       227
           Alan Judd, “Georgia’s strict laws lead to large purge of voters,” Atlanta Journal-Constitution, October
            27, 2018, https://www.ajc.com/news/state--regional-govt--politics/voter-purge-begs-question-what-
            the-matter-with-georgia/YAFvuk3Bu95kJIMaDiDFqJ/, accessed August 2, 2022.
       228
           Sue Halpern, “Georgia Voters Get Another Reason to be Worried,” The New Yorker, September 11,
            2020,      https://www.newyorker.com/news/daily-comment/georgia-voters-get-another-reason-to-be-
            worried, accessed July 30, 2022.
       229
           Angela Caputo, Geoff Hing, and Johnny Kauffman, “They Didn’t Vote . . . Now They Can’t: Georgia
            purged an estimated 107,000 people largely for not voting, an APM Reports investigation shows,” APM
            Reports, October 19, 2018, https://www.apmreports.org/story/2018/10/19/georgia-voter-purge,
            accessed August 2, 2022.
                                                           78
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1345   minorities.” 230 The Brennan Center noted that “Over the past two years [2016-2018], the state

1346   has purged 10.6 percent of voters. Nonwhite voters were slightly overrepresented among those

1347   purged when compared to the total population breakdown.” 231

1348          “According to a memorandum to the House Oversight Committee, from February of this

1349   year [2020], in 2018, behind the scene, Kemp’s office also advised counties on closing or

1350   consolidating polling places. . . [B]etween 2012 and 2018 the state closed more than two hundred

1351   precincts, many of them in counties with significant numbers of African-American and low-

1352   income residents.” 232

1353          M.      Racial Disparity in the Rejection of Absentee Ballots

1354          Another issue arose during the 2018 election in Gwinnett County, Georgia, which was

1355   “the state’s second-largest county, . . . [that had also] undergone a demographic transformation in

1356   recent years, moving from 67 percent white in 2000 to 62 percent nonwhite last year [2017].”233

1357   There was a vast racial disparity in the percentage of absentee ballots rejected by election

1358   officials. Reportedly, for white voters, 2.5% of their absentee ballots were rejected. The rejection

1359   rate for Hispanics was 4.3%. For African Americans, it was 8%. Even worse, Asian Americans




       230
           Judd, “Georgia’s strict laws lead to large purge of voters.”
       231
           Kevin Morris and Myrna Pérez, “Florida, Georgia, North Carolina Still Purging Voters at High Rates,”
            Brennan Center for Justice, October 1, 2018, https://www.brennancenter.org/our-work/analysis-
            opinion/florida-georgia-north-carolina-still-purging-voters-high-rates, accessed August 2, 2022.
       232
           Halpern, “Georgia Voters Get Another Reason to be Worried.”
       233
           Amy Gardner, “Rejection of hundreds of absentee ballots in suburban Atlanta county draws legal
            challenges,” Washington Post, October 16, 2018, https://www.washingtonpost.com/politics/rejection-
            of-hundreds-of-absentee-ballots-in-suburban-atlanta-county-draws-legal-
            challenges/2018/10/16/dafce19a-d177-11e8-b2d2-f397227b43f0_story.html, accessed April 17, 2022.
            That demographic change, in 2016, brought the county under Section 203 of the Voting Rights Act.
                                                         79
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1360   had 14.8% of their absentee ballots rejected. 234 The disparity is more prominent because

1361   Gwinnett County, the most diverse county in Georgia, 235 had only six percent of the state’s

1362   absentee ballots but accounted for more than a third of those rejected in Georgia. 236 Election

1363   officials tossed ballots because signatures ostensibly did not match or there was missing

1364   information, such as a birthdate or address. Lawsuits followed 237 as did a subsequent agreement

1365   with the Secretary of State’s office to develop a protocol to notify those whose ballots were

1366   rejected and give them the opportunity to “cure”, that is, correct the error. 238

1367           N.      The 2020 Election, the “Big Lie” of “Election Integrity”

1368           The presidential election of 2020 was shaped by a global pandemic, COVID-19, 239




       234
           Pema Levy, “Georgia County and Secretary of State Sued for Rejecting Minority Absentee Ballots at
            High           Rates,”            Mother           Jones,          October         16,          2018,
            https://www.motherjones.com/politics/2018/10/georgia-county-and-secretary-of-state-sued-for-
            rejecting-minority-absentee-ballots-at-high-rates/, accessed April 18, 2022.
       235
           Matt Vasilogambros and National Journal, “The Most Diverse County in the Southeast Is Run Almost
            Entirely      by       White        Politicians,”      The     Atlantic,     April     2,       2015,
            https://www.theatlantic.com/politics/archive/2015/04/the-most-diverse-county-in-the-southeast-is-
            run-almost-entirely-by-white-politicians/431922/, accessed April 17, 2022.
       236
           Curt Devine and Drew Griffin, “Georgia county tosses out hundreds of minority absentee ballots,” CNN,
            October       21,      2018,       https://www.cnn.com/2018/10/20/politics/gwinnett-county-absentee-
            ballots/index.html, accessed April 17, 2022.
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1369   nationwide protests for racial justice in the wake of the killing of George Floyd, 240 the sense that

1370   American democracy was hanging in the balance, 241 and persistent charges by President Trump

1371   of massive, widespread voter fraud set to undermine his re-election. 242 Those elements created

1372   the pretext for Republicans to propose new laws and procedures to ostensibly keep communities

1373   of color from stealing democracy away from the party’s overwhelmingly white constituency. 243

1374   The aftermath of the 2020 election was similar to the calls for disfranchisement under the guise

1375   of election integrity (as discussed above) in 1890 Mississippi; Georgia during the 1906 Atlanta

1376   Massacre that led to a new constitution with a series of disfranchising devices, such as the

1377   literacy test; Eugene Tallmadge promising in the 1946 gubernatorial campaign to reinstate the

1378   unconstitutional white primary; Governor Herman Talmadge advocating for the 1949 re-

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1380   of the Gray v. Sanders decision, sponsoring the runoff bill to dilute the political strength of the

1381   Black vote; Rep. Sue Burmeister pushing for a voter ID law in 2005 that the DOJ initially

1382   objected to as racially discriminatory; and then-Secretary of State Brian Kemp implementing an

1383   Exact Match law that in its first decade of operation was repeatedly found to be racially

1384   discriminatory against Asian Americans, Latinos, and African Americans.

1385           Then, as now, race played a key role in those policy decisions as the political party with

1386   an overwhelmingly homogenously white constituency set out to block access to the ballot box

1387   for racial and ethnic minorities. Nationally, in 2020, more than 80% of Republicans identified as

1388   white people; 244 in Georgia, the figure is 84%. 245 Meanwhile, nearly 100% of the Republican

1389   state representatives and state senators in the Georgia General Assembly are white legislators. 246

1390   Members of the executive branch of Georgia’s political leadership – the governor, the lieutenant

1391   governor, the secretary of state, the attorney general, the state school superintendent, the

1392   commissioner of agriculture, the commissioner of labor, and the public service commissioners –

1393   are all white people and Republicans. 247 That predominately white political leadership sits on top



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            https://ballotpedia.org/Brad_Raffensperger, accessed December 21, 2022;               Richard Woods,
            https://ballotpedia.org/Richard_Woods_(Georgia), accessed December 21, 2022; Gary Black,
            https://ballotpedia.org/Gary_Black,     accessed     December        21,     2022;      Mark      Butler,


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1394   and governs a state that is increasingly diverse and where the share of the white population is

1395   decreasing. In 2010, white people were 55.9% of Georgia’s population, by 2021, they were 51%.

1396   In short, a nearly 5% decline. Meanwhile, the share of the population that is Asian American

1397   grew from 3.3% to 4.5% during the same time period. African Americans went from 30.2% in

1398   2010 to 32% in 2021. Latinos expanded from 8.8% of Georgia’s population to 10.2%. 248 That

1399   changing demographic, coupled with a Republican president who had an 85% unfavorability

1400   rating among African Americans, 249 constitutes the racial and political context within which to

1401   assess and understand what unfolded in the state and led to the enactment of SB 202.

1402             O.      COVID-19’s Impact on the 2020 Election

1403             A raging pandemic in a key election year wreaked havoc. How the disease was spread

1404   wasn’t initially clear. Was it on surfaces? Airborne? Did one contract COVID-19 by being in

1405   close proximity to other people? What was clear, however, was that Latinos and African

1406   Americans had disproportionately higher contraction and death rates from COVID-19 than white

1407   Americans. 250 Those issues translated into the difficulties of holding elections. How safe are the




              https://ballotpedia.org/Mark_Butler_(Georgia), accessed December 21, 2022; Tricia Pridemore,
              https://ballotpedia.org/Tricia_Pridemore, accessed December 21, 2022; Bubba McDonald,
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             Latoya Hill and Samantha Artiga, “COVID-19 Cases and Deaths by Race/Ethnicity: Current Data and
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1408   polling stations? Standing in line close to each other? Touching voting machines? The pandemic

1409   forced Americans to make a possible life-or-death choice between protecting their health or

1410   exercising their right to vote. And the racial disparity in catching and dying from COVID-19

1411   amplified that concern.

1412          The chaotic primary in Milwaukee, Wisconsin made that clear. Thousands of poll

1413   workers, fearful of contracting COVID-19, had quit before the primary election scheduled for

1414   April 7, 2020 and the majority of those resignations were in the state’s two largest cities,

1415   Madison and Milwaukee. As a result, “[w]hile Madison reduced its polling places from 92 to 66,

1416   Milwaukee reduced its polling places from 180 to just five.”251 How citizens were supposed to

1417   cast their votes was not only complicated by the lack of viable polling places but also by the

1418   inability of the state to deliver thousands of requested absentee ballots in time to be counted.252

1419   Forced to either have their electoral voices silenced or brave in-person voting, many chose the

1420   latter and stood in lines that stretched for hours. 253 One study indicates that for counties that

1421   overwhelmingly used in-person voting, there was a spike in COVID-19 cases. 254




            brief/covid-19-cases-and-deaths-by-race-ethnicity-current-data-and-changes-over-
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1422          P.      The Georgia Primary Elections

1423          The chaos in Wisconsin, the continued unchecked rise in the numbers infected or killed

1424   by COVID-19, President Donald Trump declaring a national emergency, and Governor Kemp

1425   calling a “state of emergency” led Georgia to re-schedule its primaries from March 24, 2020 to

1426   May 19, 2020 (then moved to June 9, 2020). “A Georgia government official told CNN that they

1427   began getting calls from poll workers, some of whom are elderly, concerned about their health

1428   on Election Day. ‘It’s almost literally a life and death decision for these poll workers. And if we

1429   use rookies to do the job, the election could be a mess,’ the official said.”255 Secretary of State

1430   Brad Raffensperger not only postponed the primary, but sent out applications for absentee ballots

1431   to all 6.9 million active voters in Georgia, as a way to “encourage voting by mail during the

1432   coronavirus pandemic, . . . to allow Georgians to decide on their choices for president and other

1433   elected offices from home, without having to visit in-person voting locations where the

1434   coronavirus could more easily spread.” 256

1435          Raffensperger’s attempt to ease the perils of voting during a pandemic was not welcomed

1436   by a key Georgian Republican, then-Speaker of the House David Ralston, a white lawmaker,

1437   who not only was echoing concerns voiced by President Trump but channeling a mantra of

1438   Heritage Foundation co-founder Paul Weyrich. In 1980, Weyrich, during a speech, chastised his

1439   audience for believing in “Good Government” where they wanted “everybody to vote.” “I




       255
           Kelly Mena and Dianne Gallagher, “Georgia postpones presidential primary due to coronavirus,” CNN,
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            17, 2022.
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1440   don’t,” he said, because “our leverage in the elections, quite candidly, goes up as the voting

1441   populace goes down.” Culling the electorate and severely restricting it was the game plan

1442   because, Weyrich concluded, “elections are not won by a majority of people; they never have

1443   been from the beginning of our country and they are not now.”257

1444             In late March 2020, Trump similarly railed against more accessible voting. He denounced

1445   the Congressional Democrats’ proposals to expand vote-by-mail opportunities, offer same day

1446   voter registration, and provide sizeable federal funding to the states wrestling with the

1447   conundrum of safely holding an election during a pandemic. Trump said during an appearance

1448   on Fox & Friends, “The things they had in there [the COVID relief bill] were crazy. They had

1449   things, levels of voting that if you’d ever agreed to it, you’d never have a Republican elected in

1450   this country again.”258

1451              Ralston, for his part, treated Raffensperger’s plan as just as toxic as Trump had the

1452   Democrats’ proposal. In an interview, the Georgia Speaker of the House said:

1453             “The president said it best. This will be extremely devastating to Republicans and

1454             conservatives in Georgia. This will be the first time we’ve had this, and it’s going to be

1455             every registered voter in Georgia. Let me say that again. Every registered voter is going

1456             to get one of these [applications for an absentee ballot]. Now, I ask you, because I know

1457             you keep up with this, what was the turnout in the primary back in 2018? 2016? Was it




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               Paul Weyrich, “I Don’t Want Everybody to Vote” (Goo Goo),” YouTube,
              www.youtube.com/watch?v=8GBAsFwPglw, accessed April 4, 2022.
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             Sam Levine, “Trump says Republicans would ‘never’ be elected again if it was easier to vote,” The
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              party-voting-reform-coronavirus, accessed April 17, 2022.
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1458             100%? No. It’s way way way lower, and so you know this is going to, this will certainly

1459             drive up turnout.”259

1460   In short, for Weyrich, for Trump, for Ralston: driving up voter turnout “will be extremely

1461   devastating to Republicans and conservatives in Georgia.” Raffensperger even acknowledged

1462   that Ralston’s ire at the secretary of state’s plan was “that that would actually encourage more

1463   people to vote.”260

1464             The delay in holding the primary until June 2020 did not mean a smooth, well-run

1465   election. 261 There was a poll worker shortage; the state had purchased new voting machines but

1466   because of the pandemic, many of the available poll workers had missed at least one of the

1467   training sessions; the number of available polling places contracted; and there were thousands

1468   who did not receive their requested absentee ballots. The result was long, long lines, especially in

1469   minority precincts. As NPR reported:

1470             “Since the U.S. Supreme Court's Shelby v. Holder decision in 2013 eliminated key

1471             federal oversight of election decisions in states with histories of discrimination, Georgia’s

1472             voter rolls have grown by nearly 2 million people, yet polling locations have been cut




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             Mark Niesse, “Ralston says his concern that mail vote hurts GOP is about fraud,” Atlanta Journal-
             Constitution, April 20, 2020, https://www.ajc.com/news/state--regional-govt--politics/ralston-says-his-
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             TRANSCRIPT-CTRL0000034622.pdf, accessed January 7, 2023.
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             Amy Gardner, Michelle Ye Hee Lee and Shawn Boburg, “Voting Debacle in Georgia Came After
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             https://www.washingtonpost.com/politics/voting-debacle-in-georgia-came-after-months-of-warnings-
             went-unaddressed/2020/06/10/1ab97ade-ab27-11ea-94d2-d7bc43b26bf9_story.html, accessed April
             17, 2022.
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1473           statewide by nearly 10%, according to an analysis of state and local records by Georgia

1474           Public Broadcasting and ProPublica. Much of the growth has been fueled by younger,

1475           nonwhite voters, especially in nine metro Atlanta counties, where four out of five new

1476           voters were nonwhite, according to the Georgia secretary of state’s office. The metro

1477           Atlanta area has been hit particularly hard. The nine counties — Fulton, Gwinnett,

1478           Forsyth, DeKalb, Cobb, Hall, Cherokee, Henry and Clayton — have nearly half of the

1479           state’s active voters but only 38% of the polling places, according to the analysis.”262

1480           In those nine counties, African Americans range from 4.9% – 73.4% of the population;

1481   Asian Americans comprise from 2.3% – 18% of the population; and Hispanics range from 7.3%

1482   – 29.5% of the population.263 In short, where the growth has been in voter registration, where the

1483   growing diversity of the state is located, the resources to access the ballot box have been

1484   diminished.

1485           The June 9, 2020 Georgia primary election showed the negative impact on Black voters.

1486   As NPR explained, “The growth in registered voters has outstripped the number of available

1487   polling places in both predominantly white and Black neighborhoods. But the lines to vote have

1488   been longer in areas resided in by Black voters, because, prior to the pandemic, Black voters had




       262
           Stephen Fowler, “Why Do Nonwhite Georgia Voters Have To Wait In Line For Hours? Too Few Polling
            Places,” NPR, October 17, 2020, https://www.npr.org/2020/10/17/924527679/why-do-nonwhite-
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           U.S. Census, “Clayton County Georgia, Henry County Georgia, Cherokee County Georgia, Hall County
            Georgia,        DeKalb         County          Georgia,       Fulton        County         Georgia,”
            https://www.census.gov/quickfacts/fact/table/claytoncountygeorgia,henrycountygeorgia,cherokeecou
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            31, 2022; U.S. Census, “Cobb County Georgia, Forsyth County Georgia, Gwinnett County Georgia
            DeKalb            County             Georgia,           Fulton            County           Georgia,”
            https://www.census.gov/quickfacts/fact/table/cobbcountygeorgia,forsythcountygeorgia,gwinnettcount
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1489   been more likely than white voters to cast their ballots in person on Election Day and had been

1490   more reluctant to vote by mail, according to U.S. census data and recent studies. Georgia Public

1491   Broadcasting/ProPublica found that about two-thirds of the polling places that had to stay open

1492   late for the June primary to accommodate waiting voters were in majority-Black neighborhoods,

1493   even though they made up only about one-third of the state’s polling places.” 264

1494           Q.      General Election

1495           Since April 2020, the major polls had shown Donald Trump losing the election to

1496   Democratic front-runner and then nominee for president, Joseph Biden. By June 2020, Biden’s

1497   lead had grown to double digits in several polls. 265 Trump’s campaign strategist pointed to

1498   trouble in key states, including Georgia, which he had won in 2016 by more than 200,000

1499   votes, 266 but which were now in play and could easily be lost. Trump took several steps that he

1500   believed would put Georgia solidly back in his win column.267 One of Trump’s first moves was

1501   to malign absentee ballots as a source of massive, rampant voter fraud. On April 8, 2020, Trump

1502   tweeted that “mail-in voting has ‘tremendous potential for voter fraud, and for whatever reason,

1503   doesn’t work out well for Republicans.’”268 This was not accurate. As law professor Richard L.

1504   Hasen noted after going through the data, “Trump is simply wrong about mail-in balloting




       264
            Fowler, “Why Do Nonwhite Georgia Voters Have To Wait In Line For Hours?”
       265
            Carol Leonnig and Philip Rucker, I Alone Can Fix It: Donald J. Trump’s Catastrophic Final Year (New
             York: Penguin Press, 2021), 209.
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           “2016       Georgia        Results,”      New       York       Times,       August        1,     2017,
             https://www.nytimes.com/elections/2016/results/georgia, accessed April 18, 2022.
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           Richard L. Hasen, “Trump’s bogus attacks on mail-in voting could hurt his supporters, too,” Washington
             Post, May 20, 2020, https://www.washingtonpost.com/outlook/2020/05/20/trump-mail-vote-fraud/,
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            Chris Shenton, “Timeline: The Trump Administration and the U.S. Postal Service,” August 24, 2020,
             https://www.justsecurity.org/72132/the-trump-administration-and-the-u-s-postal-service-a-timeline/,
             accessed April 18, 2022.
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1505   raising a ‘tremendous’ potential for fraud. (He’s also likely wrong about which voters use

1506   absentee balloting, which appears about evenly split between Democrats and Republicans.)” 269

1507   Because COVID-19 had made absentee ballots more important than in the previous election, and

1508   because he was behind in the polls, Trump was setting the groundwork to discourage this method

1509   of voting, to cast mail-in ballots in 2020 as the source of something nefarious and a threat to

1510   election integrity. If, as he feared, he lost in November, he was gearing up to claim the election

1511   was stolen. He threatened Michigan and its “rogue Secretary of State” who planned to send

1512   absentee ballot applications, like Brad Raffensperger, to all active voters. He also vowed to cut

1513   off funding to Nevada that, because of the pandemic, was switching to an all mail-in-ballot

1514   primary. Trump claimed that absentee ballots were the way to “go down this Voter fraud path!”

1515   and to create a “great Voter fraud scenario for the State and the U.S.”270

1516          This narrative played right into the laws in Pennsylvania, Wisconsin, and New

1517   Hampshire that forbid the processing (opening the envelopes, verifying identity) and counting of

1518   mail-in-ballots until Election Day in November 2020. Seventeen other states, including Georgia,

1519   allowed the processing but not the counting until Election Day.271 The ramifications of this

1520   would feed into the tale of fraud and a stolen election. Trump’s campaign anticipated that the

1521   majority of Republican voters, who believed the threat of the coronavirus was “overblown,” 272



       269
           Richard L. Hasen, “Opinion: Trump is wrong about the dangers of absentee ballots,”Washington Post,
            April 9, 2020, https://www.washingtonpost.com/opinions/2020/04/09/trump-is-wrong-about-dangers-
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            Ballotpedia, “When states can begin processing and counting absentee/mail-in ballots, 2020,”
            https://ballotpedia.org/When_states_can_begin_processing_and_counting_absentee/mail-
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           Joe Walsh, “Poll: Most Republicans Say COVID Threat Overblown, U.S. Handled Outbreak Well,”
            Forbes, October 19, 2020, https://www.forbes.com/sites/joewalsh/2020/10/19/poll-most-republicans-
            say-covid-threat-overblown-us-handled-outbreak-well/?sh=3525f26849d4, accessed April 19, 2022.
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1522   would vote in-person on Election Day. Meaning those votes would be counted quickly and that

1523   at the end of the day on November 3, Trump would have a sizeable lead in the tally.273

1524   Meanwhile, Democratic voters, comprised of a large percentage of African Americans, Asian

1525   Americans, and Latinos, would disproportionately use absentee ballots and counting those would

1526   take considerably longer, even delivering them to the election office would take longer, giving

1527   Trump the aura of having won on Election Day, although there were millions of legitimately cast

1528   votes yet to be counted. Indeed, during the first presidential debate Trump said that counting

1529   ballots that arrive after Election Day is evidence of a “rigged” system. 274

1530           Absentee ballots faced another challenge, the U.S. Postal Service. Trump “frankly

1531   acknowledged that he’s starving the U.S. Postal Service of money to make it harder to process an

1532   expected surge of mail-in ballots, which he worries could cost him reelection.” 275 In a discussion

1533   with Fox Business’s Maria Bartiromo about a possible funding bill for the Postal Service, Trump

1534   said, “They need that money in order to have the post office work so it can take all of these

1535   millions and millions of ballots . . . If they don’t get those two items, that means you can’t have

1536   universal mail-in voting because they’re not equipped to have it.” 276 (The issue was not universal

1537   mail-in voting, which states like Utah, Oregon, and Washington have. The issue was absentee

1538   ballots, where the states still offer in-person voting as a full option.)



       273
           Leonnig and Rucker, I Alone Can Fix It, 336.
       274
           Mary Alice Parks and Kendall Karson, “A step-by-step look at Trump’s falsehoods on mail-in voting:
            Analysis,” ABC News, October 1, 2020, https://abcnews.go.com/Politics/step-step-trumps-falsehoods-
            mail-voting-analysis/story?id=73354979, accessed April 17, 2022.
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           Associated Press, “Trump Admits He’s Blocking Postal Funding to Stop Mail-in Votes,” Tampa Bay
            Times, August 14, 2020, https://www.tampabay.com/florida-politics/buzz/2020/08/14/trump-admits-
            hes-blocking-postal-funding-to-stop-mail-in-votes/, accessed April 18, 2022.
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           Sam Levine, “Trump admits he is undermining USPS to make it harder to vote by mail,” The Guardian,
            August 13, 2020, https://www.theguardian.com/us-news/2020/aug/13/donald-trump-usps-post-office-
            election-funding, accessed April 19, 2022.
                                                          91
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1539           The subsequent delays in mail delivery were visible and documented. So much so that the

1540   Postal Service issued a directive to states warning that the delivery of absentee ballots in time to

1541   be counted could not be guaranteed unless the absentee ballot requests were mailed weeks before

1542   Election Day and the completed ballots were mailed in at least seven days in advance of the due

1543   date. 277 The consternation in the electorate, dealing with COVID-19 and trying to figure out how

1544   to vote and not risk their health, was palpable.278

1545           States, like Georgia, had already begun to address this rising concern about the reliability

1546   of the Postal Service and the deadliness of COVID-19 with the approval of secure drop boxes,

1547   many placed outside for accessibility but under 24/7 video surveillance, and emptied every night

1548   for security. 279 Trump, however, warned that “submitting ballots via drop box – is a security risk

1549   that presents a risk of fraud . . . ‘So now the Democrats are using Mail Drop Boxes, which are a

1550   voter security disaster,’ Trump tweeted . . . ‘Among other things, they make it possible for a

1551   person to vote multiple times. Also, who controls them, are they placed in Republican or

1552   Democrat areas? They are not Covid sanitized. A big fraud!”280 Trump singling out Democrats,




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              Thomas J. Marshall, memo, May 29, 2020, https://about.usps.com/newsroom/national-
            releases/2020/2020-05-29-marshall-to-election-officials-re-election-mail.pdf, accessed January 7,
            2023; Caroline Linton, “U.S. Postal Service warns states that mail-in ballots may not be counted in
            time,” CBS News, August 14, 2020, https://www.cbsnews.com/news/postal-service-election-ballots-
            states-letter/, accessed January 7, 2023.
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           Chris Shenton, “Timeline: The Trump Administration and the U.S. Postal Service”; “On Behalf of
            NAACP, Public Citizen and LDF Settle Lawsuit Against U.S. Postal Service to Ensure Timely Delivery
            of Mailed Ballots,” press release, December 17, 2021, https://www.naacpldf.org/wp-
            content/uploads/NAACP-v-USPS-press-release-2021.12.17.pdf, accessed July 31, 2022.
       279
           Mark Niesse, “Ballot Drop Boxes Approved for Georgia Voters During Coronavirus,” Atlanta Journal-
            Constitution, April 15, 2020, https://www.ajc.com/news/state--regional-govt--politics/ballot-drop-
            boxes-approved-for-georgia-voters-during-coronavirus/4Bir3Ymx1zL0ZOGsXMazEO/, April 18,
            2022.
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           Ronn Blitzer, “Trump: Ballot drop boxes are ‘security disaster’: The president claims drop boxes could
            present a fraud risk,” Fox News, August 23, 2020, https://www.foxnews.com/politics/trump-ballot-
            drop-boxes-are-security-disaster, accessed July 31, 2022.
                                                          92
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1553   whose constituency is nearly 40% people of color (as opposed to Republicans, whose party

1554   members are comprised of more than 80% white people), 281 and intimating that drop boxes in

1555   Democratic areas would lead to “big fraud,” helped sow the seed of distrust about the legitimacy

1556   of this voting method.

1557           Yet, the use of drop boxes for absentee ballots became hugely popular, effective, and,

1558   despite Trump’s predictions, produced no documented evidence of fraud. 282 As the Atlanta

1559   Journal-Constitution reported, “About 56% of absentee voters in Cobb, DeKalb, Fulton and

1560   Gwinnett counties returned their ballots in drop boxes before November’s election, according to

1561   ballot transfer forms.”283 Indeed, “More than half of the roughly 550,000 voters who cast their

1562   ballot using a drop box in the state’s 2020 general election lived in four metro Atlanta counties –

1563   Cobb, DeKalb, Fulton and Gwinnett – where about 50% of the voters are people of color.”284

1564           R.      Election Night and the Aftermath

1565           As predicted, by the end of Election Day in November 2020, Donald Trump was in the

1566   lead, but then the tallying of the absentee ballots began in earnest. Because Biden’s “supporters

1567   were more likely to rely on absentee ballots because of the coronavirus pandemic and because




       281
           Andrew Prokop, “A new report complicates simplistic narratives about race and the 2020 election,” Vox,
            May 10, 2021, https://www.vox.com/2021/5/10/22425178/catalist-report-2020-election-biden-trump-
            demographics, accessed July 31, 2022.
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           Anthony Izaguirre and Christina A. Cassidy, “No major problems with ballot drop boxes in 2020, AP
            finds,” AP News, July 17, 2022, https://apnews.com/article/voting-rights-2022-midterm-elections-
            covid-health-wisconsin-c61fa93a12a1a51d6d9f4e0a21fa3b75?s=03, accessed July 25, 2022.
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           Mark Niesse, Stephen Fowler, Sarah Kallis, and Isaiah Portiz, “Drop box use heavy in Democratic areas
            before    Georgia      voting    law,    Atlanta      Journal-Constitution,    July     12,    2021,
            https://www.ajc.com/politics/drop-box-use-soared-in-democratic-areas-before-georgia-voting-
            law/N4ZTGHLWD5BRBOUKBHTUCFVOEU/, accessed April 19, 2022.
       284
           Fowler, Gringlas, and Jingnan, “A new Georgia voting law reduced ballot drop box access in places that
            used them most.”
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1568   the party’s strength is in metro areas where counts often take longer,” 285 Trump tried to mount a

1569   pre-emptive strike. He insisted “We want all voting to stop. We don’t want them to find any

1570   ballots at four o’clock in the morning and add them to the list, okay?” 286 Therefore, for Georgia,

1571   “At about 2:30 a.m., Trump declare[d] victory but claim[ed] Democrats [were] trying to steal the

1572   election. The claim was months in the making. By one count, Trump expressed concern about

1573   voting fraud and absentee ballots more than 150 times between April and Election Day 2020.”287

1574   As Trump’s electoral victory slipped away, Rudy Giuliani, the president’s personal attorney,

1575   “cite[d] the late swing of votes to Biden as evidence of fraud.”288 The ground was tilled for a

1576   full-fledged campaign predicated on uncovering the supposed massive, rampant voter fraud that

1577   stole the president’s victory and, then, using that “evidence” to overturn the official election

1578   results.

1579              The lie, based on more than a century of lies about minorities’ propensity for corruption

1580   at the ballot box—discussed in detail above—would serve as an excuse for a new wave of voter

1581   suppression legislation that would wrongly target African Americans, Asian Americans,

1582   Hispanics, and Native Americans as the source of voter fraud. 289 But Trump’s claims that



       285
           David Wickert, Isaac Sabetai, Mark Niesse, Tia Mitchell, Maya T. Prabhu, and Greg Bluestein, “How
            the campaign to undermine Georgia’s election unfolded,” Atlanta Journal-Constitution,
            https://www.ajc.com/politics/election/georgia-2020-election-timeline/?s=03, accessed January 3,
            2022.
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           Leonnig and Rucker, I Alone Can Fix It, 347.
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           Wickert, Sabetai, Niesse, Mitchell, Prabhu, and Bluestein, “How the campaign to undermine Georgia’s
            election unfolded.”
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           Wickert, Sabetai, Niesse, Mitchell, Prabhu, and Bluestein, “How the campaign to undermine Georgia’s
            election unfolded.”
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           Katie Benner and Adam Goldman, “Federal Prosecutors Push Back on Barr Memo on Voter Fraud
            Claims,” New York Times, November 13, 2020, updated September 21, 2021,
            https://www.nytimes.com/2020/11/13/us/politics/justice-department-voter-


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1583   rampant voter fraud had stolen his electoral victory were, as one judge noted, based on “levels of

1584   hearsay” so “speculative” as to be “fantastical.” 290 U.S. Attorney General William Barr, after

1585   feeding the allegations for months, was eventually more direct as he concluded that the charge of

1586   widespread, multi-state voter fraud “was all bullshit.” 291

1587             Indeed, as the report by a group of high-profile conservatives noted “Biden was the first

1588   Democratic presidential candidate to win Georgia since 1992. Biden capitalized on grassroots

1589   organizing, a rapidly diversifying electorate, significantly increased turnout, and suburbs

1590   growing in population and becoming inhospitable to 2020 Republican candidates. Democrats

1591   have made slow and steady gains in Georgia, with candidates focusing on bringing out




             fraud.html?searchResultPosition=2, accessed July 10, 2021; Ed Pilkington, “DOJ officials condemn
             Barr’s approval of voter fraud inquiries without evidence,” The Guardian, November 10, 2020,
             https://www.theguardian.com/us-news/2020/nov/10/william-barr-voter-fraud-inquiries-justice-
             department, accessed July 10, 2021; Caitlin Huey-Burns and Adam Brewster, “Trump and Barr say
             mail-in voting will lead to fraud. Experts say that’s not true,” CBS News, June 24, 2020,
             https://www.cbsnews.com/news/mail-in-voting-ballot-election-fraud-claims/, accessed June 27, 2021;
             Katie Benner, “Meadows Pressed Justice Dept. to Investigate Election Fraud Claims,” New York Times,
             June 5, 2021, https://www.nytimes.com/2021/06/05/us/politics/mark-meadows-justice-department-
             election.html, accessed June 5, 2021; Katie Benner, “Trump Pressed Official to Wield Justice Dept. to
             Back       Election       Claims,”       New        York      Times,       June      15,       2021,
             https://www.nytimes.com/2021/06/15/us/politics/trump-justice-department-election.html,      accessed
             June 15, 2021. Also see, Anderson, “Voter Fraud,” 299-311.
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             Alison Durkee, “‘Kraken’ Sanctions Hearing: Lin Wood Blames Sidney Powell In Attempt To Evade
             Punishment       As     Judge      Expresses     Skepticism,”     Forbes,      July    12,     2021,
             https://www.forbes.com/sites/alisondurkee/2021/07/12/kraken-sanctions-hearing-lin-wood-blames-
             sidney-powell-in-attempt-to-evade-punishment-as-judge-expresses-skepticism/?sh=2d6d9553194a,
             accessed July 12, 2021. The judge’s assessment of the voter fraud claims deals with Michigan. For
             Georgia see, Stephen Fowler, “Fact Check: Fulton County Is Not Missing Ballots or Hundreds of Drop
             Box Custody Forms,” GPB, June 17, 2021, https://www.gpb.org/news/2021/06/17/fact-check-fulton-
             county-not-missing-ballots-or-hundreds-of-drop-box-custody-forms, accessed June 18, 2021.
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             Jonathan D. Karl, “Inside William Barr’s Breakup with Trump,” The Atlantic, June 27, 2021,
             https://www.theatlantic.com/politics/archive/2021-06/william-barrs-trump-administration-attorney-
             general/619298/, accessed June 27, 2021. For details on some of what Barr assessed in Michigan see,
             David Von Drehle, “No, the election wasn’t stolen in Antrim County, Mich., either,” Washington Post,
             June 25, 2021, https://www.washingtonpost.com/opinions/2021/06/25/antrim-county-michigan-vote-
             recount-heroes/, accessed June 26, 2021.
                                                            95
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1592   Democratic voters who did not vote in previous election cycles, thus closing the gap with

1593   Republicans in recent elections.” 292 Indeed, between October 2016 and October 2020, African

1594   Americans, Latinos, Asian Americans, and Native Americans accounted for 58% of new voter

1595   registrations in the state.293 That was the demographic upsurge that the lie of a stolen election

1596   sought to discredit.

1597           Overwhelmingly, despite no significant victories in more than 60 Trump-driven lawsuits

1598   alleging electoral malfeasance, the GOP adopted and embraced the narrative of massive, rampant

1599   voter fraud.294 Those who did, in the words of Georgia Lt. Governor Geoff Duncan, a white

1600   Republican, were “[p]olitical arsonists” who “started false rumors that spread like wildfire.”

1601   And, he concluded, “Just like wildfire leaves a scorched trail, lies that get into the public mind

1602   become hard to erase.” 295 GOP stalwarts, such as former Speaker of the House and Georgia



       292
           Senator John Danforth, Benjamin Ginsberg, The Honorable Thomas B. Griffith, David Hoppe, The
            Honorable J. Michael Luttig, The Honorable Michael W. McConnell, The Honorable Theodore B.
            Olson, and Senator Gordon H. Smith, “Lost, Not Stolen: The Conservative Case that Trump Lost and
            Biden Won the 2020 Presidential Election,” July 2022, 27-28.
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           Luis Noe-Bustamante and Abby Budiman, “Black, Latino and Asian Americans have been key to
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            https://www.pewresearch.org/fact-tank/2020/12/21/black-latino-and-asian-americans-have-been-key-
            to-georgias-registered-voter-growth-since-2016/, accessed December 21, 2022.
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           Chris Cillizza, “A Majority of Republicans are Living in a Fantasy World Built Around the Big Lie,”
            CNN, May 25, 2021, https://www.cnn.com/2021/05/25/politics/big-lie-election-2020-poll/index.html,
            accessed July 6, 2021; Calvin Woodward, “Trump’s ‘Big Lie’ imperils Republicans who don’t embrace
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            “Liz     Cheney     vs.    MAGA,”      New     York     Times     Magazine,    June    20,    2021,
            https://www.nytimes.com/2021/04/22/magazine/liz-cheney-vs-maga.html?searchResultPosition=3,
            accessed July 14, 2021; Phillip Bump, “There’s no meaningful line between the conspiratorial and the
            establishment      wings     of    the    GOP,”      Washington      Post,    July    20,     2021,
            https://www.washingtonpost.com/politics/2021/07/20/theres-no-meaningful-line-between-
            conspiratorial-establishment-wings-gop/, accessed July 20, 2021; Jim Rutenberg, Nick Corasaniti, and
            Alan Feuer, “Trump’s Fraud Claims Died in Court, but the Myth of Stolen Elections Lives On,” New
            York Times, December 26, 2020, https://www.nytimes.com/2020/12/26/us/politics/republicans-voter-
            fraud.html, accessed July 6, 2021.
       295
           Duncan, GOP 2.0, 42.
                                                          96
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1603   congressman Newt Gingrich, who is white, concurred and intimated that there were some

1604   Americans who were illegitimate and whose votes should not count. Not surprisingly those

1605   “illegitimate” Americans lived in cities where white people were the minority.296 On a Fox News

1606   segment shortly after the election, Newt Gingrich identified those locales that purportedly

1607   hijacked the presidency from Donald Trump: “Steal the election in Philadelphia,” he said. “Steal

1608   the election in Atlanta,” he continued. “Steal the election in Milwaukee,” he added. 297

1609           Despite being informed that there was no evidence to support his allegations and that the

1610   Department of Justice “can’t + won’t snap its fingers + change the outcome of an election,” the

1611   president still wanted the acting U.S. Attorney General, Jeffrey Rosen, to “Just say that the

1612   election was corrupt + leave the rest to me” and to Republican “congressional allies.” 298 But

1613   using the authority of the Department of Justice to conjure up the specter of a stolen election,

1614   was not the only front in this effort. “Stop the counting,” Trump’s attorney Rudy Giuliani

1615   ordered election officials in Arizona. 299 “Find 11,780 votes,” Trump demanded of Georgia




       296
           U.S.        Census,        Atlanta,        Philadelphia,        Milwaukee        Quick          Facts,
            https://www.census.gov/quickfacts/fact/table/philadelphiacitypennsylvania,milwaukeecitywisconsin,a
            tlantacitygeorgia/PST045219, accessed July 6, 2021.
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           Newt Gingrich on Fox News, “Day of Rage: An In-depth Look at How a Mob Stormed the Capitol,”
            New York Times, July 3, 2021, https://www.nytimes.com/video/us/politics/100000007606996/capitol-
            riot-trump-supporters.html, accessed July 4, 2021.
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           Katie Benner, “Trump Pressed Justice Dept. to Declare Election Results Corrupt, Notes Show,” New
            York Times, July 30, 2021, https://www.nytimes.com/2021/07/30/us/politics/trump-justice-
            department-election.html, accessed July 30, 2021; “Mystal: Who are the GOP congressman Trump
            reportedly said were going to help him steal the election?” The Reid Out, July 30, 2021,
            https://www.msnbc.com/msnbc/amp-video/mmvo117689413720?__twitter_impression=true&s=03,
            accessed July 31, 2021.
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           Yvonne Wingett Sanchez, “‘We need you to stop the counting’: Records detail intense efforts by Trump
            allies to pressure Maricopa County supervisors,” Arizona Republic, July 2, 2021,
            https://www.azcentral.com/story/news/politics/elections/2021/07/02/records-show-trump-allies-kelli-
            ward-rudy-giuliani-pressured-county-officials-over-election-results/7813304002/, accessed July 4,
            2021.
                                                          97
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1616   Secretary of State Brad Raffensperger while peppering the state official with a slew of fictional

1617   tales about nearly 5,000 dead people voting, hundreds of thousands of ballots illegally dumped

1618   into the tally in predominately Black, Latino, and Asian American and Democratic Fulton

1619   County, and a “couple of hundred thousand” forged signatures on absentee ballots in Atlanta.300

1620   South Carolina Senator and Trump ally Lindsey Graham also called Raffensperger asking if it

1621   were possible to throw out all the absentee ballots (not just the suspect ones) in counties that had

1622   a high level of ballot rejection because signatures did not match. 301 In that conversation, Graham

1623   made clear that his focus was Fulton County. 302 That is, the county where the majority of the

1624   population is African American, Latino, and Asian American. Raffensperger understood that in

1625   the post-election period, Fulton County had become the focus of “most of the allegations” of

1626   wrongdoing that “were levied at Georgia.”303 Trump himself had told Raffensperger’s

1627   investigator “if you can get to Fulton, you’re going to find things that gonna be unbelievable, the

1628   dishonesty that we’ve heard from them . . . Fulton is the mother lode.”304 Raffensperger told

1629   Congressional investigators that he was uncomfortable because Graham’s scheme would




       300
           “Donald Trump: ‘I just want to find 11,780 votes,’” BBC, January 3, 2021,
            https://www.bbc.com/news/av/world-us-canada-55524676, accessed July 4, 2021; Hope Yen, Jeff
            Amy and Michael Balsamo, “AP FACT CHECK: Trump’s made-up claims of fake Georgia votes,”
            AP, January 3, 2021, https://apnews.com/article/ap-fact-check-donald-trump-georgia-elections-
            atlanta-c23d10e5299e14daee6109885f7dafa9?, accessed July 15, 2021.
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            Andrew Prokop, “Lindsey Graham’s controversial call with Georgia’s secretary of state, explained,”
            Vox, November 18, 2020, https://www.vox.com/2020/11/18/21571684/lindsey-graham-brad-
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            Representatives, Interview of: Brad Raffensperger, 42-43.
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            Select Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of
            Representatives, Interview of: Brad Raffensperger, 45.
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            Select Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of
            Representatives, Interview of: Brad Raffensperger, 97-98.
                                                         98
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1630   “disenfranchise” voters whose “ballots [had] already been accepted by the county process.” 305

1631   The assault on absentee ballots cast by racial and ethnic minorities was in the works.

1632           At the time of the passage of no-excuse absentee voting in 2005, which was

1633   overwhelmingly supported by white Republicans in the state legislature, “the new Georgia law

1634   loosen[ed] restrictions on absentee ballots, in part to allow residents with no ID to vote away

1635   from the polling place.” 306 From the enactment of the law in 2005 until 2018, the citizens who

1636   “used absentee ballots skewed older, whiter, and more Republican.” 307 In 2018, however,

1637   Democratic candidate for governor, Stacey Abrams, garnered 50,000-55,000 more absentee

1638   votes than her Republican opponent.308 But that margin had not proven decisive. Yet, in 2020,

1639   for the first time since the advent of no-excuse absentee ballots in Georgia in 2005, more

1640   Democrats than Republicans in the state used this method to cast a winning ballot for their

1641   preferred candidate.309 In fact, “According to the secretary of state’s office, President-elect Joe

1642   Biden had almost double the absentee-by-mail votes as President Donald Trump—almost

1643   850,000 for Biden compared with about 450,000 for Trump.”310 Unlike 2018, however, absentee




       305
            Select Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of
            Representatives, Interview of: Brad Raffensperger, 44.
       306
           Patrik Jonsson, “Struggle over voter IDs evokes a bitter past; In Georgia and other states, legislative
            brawls break out over whether ID rule will prevent fraud or deter voters,” The Christian Science
            Monitor, May 9, 2005.
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           Stephen Fowler and David Armstrong, “16 Years Later, Georgia Lawmakers Flip Views On Absentee
            Voting,” GPB News, March 7, 2021, https://www.gpb.org/news/2021/03/07/16-years-later-georgia-
            lawmakers-flip-views-on-absentee-voting, accessed December 22, 2022.
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            Select Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of
            Representatives, Interview of: Brad Raffensperger, 13.
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           Christopher Alston, “Georgia’s Absentee Voting Policies That Benefited Democrats Were Created By
            Republicans,” WABE, November 9, 2020, https://www.wabe.org/absentee-voting-policies-in-georgia-
            that-benefited-democrats-were-originally-created-by-republicans/, accessed October 25, 2021.
       310
           Christopher Alston, “Georgia’s Absentee Voting Policies That Benefited Democrats Were Created By
            Republicans.”
                                                           99
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1644   balloting made the difference in the election outcome in 2020. 311 Indeed, “Two-thirds of AAPI

1645   [Asian American/Pacific Islander] voters used mail-in voting and ballot boxes during the 2020

1646   presidential election, more than any other nonwhite voting demographic, according to the Pew

1647   Research Center.” 312

1648           Georgia legislator Barry Fleming, an architect of SB 202, like Lindsey Graham, saw

1649   something nefarious in who used absentee ballots in 2020 and wrote in The Augusta Chronicle

1650   that “Democrats are relying on the always-suspect absentee balloting process to inch ahead in

1651   Georgia and other close states. If elections were like coastal cities,” he continued, “absentee

1652   balloting would be the shady part of town down near the docks you do not want to wander into

1653   because the chance of being shanghaied is significant. Expect the Georgia Legislature to address

1654   that in our next session in January.”313

1655           Meanwhile, Trump phoned in to a meeting of Pennsylvania lawmakers where he

1656   “repeated his familiar claims of poll-watcher affidavits ‘piled up to the ceiling’ and dead people

1657   voting. ‘This election was rigged and we can’t let that happen!’ he said.” 314 In Wisconsin, the

1658   Trump campaign demanded and then paid $3 million for a recount to be held only in Milwaukee



       311
           David Wickert and Greg Bluestein, “Inside the campaign to undermine Georgia’s election,” Atlanta
            Journal-Constitution, https://www.ajc.com/politics/election/georgia-2020-election-what-happened/,
            accessed December 28, 2022.
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           Rhonda Sonnenberg, “Vote Your Voice: In Georgia, grant will mobilize and educate Asian Americans
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            https://www.splcenter.org/news/2022/09/12/georgia-grant-educates-asian-americans-about-voter-
            suppression, accessed December 23, 2022.
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           Barry Fleming, “Republican Party wins on Election Day, and future is bright,” The Augusta Chronicle,
            November                                           15,                                       2020,
            https://www.augustachronicle.com/story/opinion/columns/guest/2020/11/15/guest-column-
            republican-party-wins-on-election-day-and-future-is-bright/43155971/, accessed September 11, 2021.
       314
           Eliza Griswold, “Trump’s Battle to Undermine the Vote in Pennsylvania,” The New Yorker, November
            27, 2020, https://www.newyorker.com/news/us-journal/trumps-battle-to-undermine-the-vote-in-
            pennsylvania, accessed July 6, 2021.
                                                        100
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1659   and Dane Counties, where, not coincidentally, 74 percent of Wisconsin’s Black population lives.

1660   The president’s forces argued that they singled out those two counties “because they are the

1661   locations of the worst irregularities.” 315 Arizona, in particular Maricopa County, which

1662   accounted for 60 percent of the vote in the state, also drew the ire of the Trump loyalists as the

1663   sizeable turnout of Latinos and Native Americans was instrumental in Joseph Biden winning that

1664   state. 316 When Fox News called the state for Biden, Trump was angry. 317 The only way this

1665   could have happened, he and his supporters were sure, was through voter fraud. Trump and his

1666   personal attorney, Rudy Giuliani, put pressure on the Maricopa County Board of Supervisors to

1667   overturn the will of the voters and declare Trump the winner. 318 They actively supported a

1668   “forensic audit” of Maricopa County’s ballots by a group, Cyber Ninjas, that was hyper-partisan

1669   and had no expertise in election audits. The costs spiraled and the inexperience was evident as

1670   ballots were mishandled and scoured with UV light to purportedly demonstrate Chinese

1671   interference, while voting machines were physically removed to a cabin in the Montana woods,




       315
           Riley Vetterkind, “Trump Campaign Files for Recount in Dane, Milwaukee Counties,” Wisconsin State
            Journal, November 20, 2021, https://madison.com/wsj/news/local/govt-and-politics/trump-campaign-
            files-for-recount-in-dane-milwaukee-counties/article_532c2d7e-319a-5406-bd9d-f22759d8442b.html,
            accessed July 24, 2021.
       316
           Felicia Fonseca and Angeliki Kastanis, “Native American votes helped secure Biden’s win in Arizona,”
            AP, November 19, 2020, https://apnews.com/article/election-2020-joe-biden-flagstaff-arizona-voting-
            rights-fa452fbd546fa00535679d78ac40b890, accessed April 19, 2022; Dianna M. Náñez, “How did
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            Republic,                         November                            22,                      2020,
            https://www.azcentral.com/story/news/politics/elections/2020/11/22/much-has-been-said-national-
            pundits-and-partisans-latino-vote-and-latino-voter-but-little-has-been-s/6319351002/, accessed April
            19, 2022.
       317
           Leonnig and Rucker, I Alone Can Fix It, 343.
       318
           Rachel Janfaza, “Arizona Republic: Trump allies pressured Maricopa County election supervisors,”
            CNN, July 3, 2021, https://www.cnn.com/2021/07/02/politics/donald-trump-rudy-giuliani-calls-
            maricopa-county-election-supervisors/index.html, accessed April 19, 2022;
                                                         101
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1672   breaking the chain of custody.319 Despite the obvious folly of this audit, it spurred Republican

1673   calls around the nation to do something similar in other states. 320 Trump said of the Arizona

1674   audit, “I think it’s going to be incredible. I think it’s going to be eye-opening,” he told Dan

1675   Bongino in a podcast interview. “Because I have no question we won Arizona. We had rallies,

1676   we had such enthusiasm like nobody’s ever seen anything like it. And then all of a sudden, we

1677   lose. People couldn’t believe it.” 321 The high-profile onslaught of voter fraud accusations

1678   buttressed bills by the Republican-dominated Arizona legislature to tighten access to the ballot

1679   box for Latinos and Native Americans whose high turnout rates doomed Trump’s re-election. 322

1680   One report noted, “Few elections in history have been so thoroughly fly-specked after the fact

1681   with so little evidence of fraud or of miscounted ballots.” 323



       319
           States United Democracy Center, “Report on the Cyber Ninjas Review of the 2020 Presidential and U.S.
            Senatorial       Elections     in      Maricopa    County,       Arizona,”      June     22,    2021,
            https://statesuniteddemocracy.org/wp-content/uploads/2021/06/6.22.21-SUDC-Report-re-Cyber-
            Ninjas-Review-FINAL.pdf, accessed April 19, 2022; Cheryl Teh, “A GOP-backed auditing group in
            Maricopa County is burrowing through ballots in search of bamboo fibers and Chinese paper to prove
            a     far-fetched    theory     votes   were    flown     in    from     Asia,”    May     6,   2021,
            https://www.businessinsider.com/maricopa-county-election-auditors-searching-for-bamboo-in-the-
            ballots-2021-5, accessed January 12, 2023.
       320
           Charles P. Pierce, “Another State Is Lighting the Cyber Ninja Signal. Hold Onto Your Wallets. In
            Pennsylvania, Republicans want to give the last four of your Social Security number to some contractor
            to be named later,” Esquire, September 17, 2021, https://www.esquire.com/news-
            politics/politics/a37626122/pennsylvania-election-audit-voter-information/, accessed April 19, 2022;
            States United Democracy Center, “Wisconsin Poised to Become Cyber Ninjas 2.0,” September 8, 2021,
            https://statesuniteddemocracy.org/resources/wisconsin-poised-to-become-cyber-ninjas-2-0/, accessed
            April 19, 2022.
       321
            Jonathan Chait, “Trump Obsessively Monitoring Election Recount by Cyber Ninjas,” New York
            Magazine, April 30, 2021, https://nymag.com/intelligencer/2021/04/trump-obsessively-monitoring-
            cyber-ninjas-election-recount.html, accessed April 19, 2022.
       322
           Steven J. Harper, “Every day now is Jan. 6: How Trump is using Arizona to control future elections,”
            Arizona Republic, March 5, 2022, https://www.azcentral.com/story/opinion/op-ed/2022/03/05/how-
            trump-using-arizona-control-future-elections/9261296002/, accessed April 19, 2022; Nicquel Terry
            Ellis, “Native Americans fear Supreme Court ruling on Arizona voting law will create barriers,” CNN,
            July 2, 2021, https://www.cnn.com/2021/07/02/politics/native-americans-arizona-voting-law-
            scotus/index.html, accessed April 19, 2022.
       323
           Danforth, et al., “Lost, not Stolen,” 8.
                                                          102
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1682             During a Congressional hearing held months later, Chair of the U.S. House Oversight

1683   Committee Rep. Carolyn Maloney (D-NY) said:

1684             “. . . rather than accept his loss, Donald Trump tried everything he could to overturn the

1685             will of American voters. He and his allies filed more than 60 lawsuits with false claims of

1686             election fraud and lost all 60 of them. He waged a pressure campaign at every level of

1687             government – from county election officials to secretaries of state, to the Department of

1688             Justice, to his own Vice President – to try to prevent the certification of the election

1689             results. At each stage, Donald Trump and his allies were asked to bring forward evidence

1690             that the election was tainted by widespread voter fraud. But whether in Michigan or

1691             Pennsylvania or, as we will hear today, Arizona, the purveyors of the big lie repeatedly

1692             failed to produce one scintilla of credible evidence of widespread fraud. Yet today, more

1693             than 11 months after the election, the attacks on our election system have only

1694             intensified, and the latest weapon of choice is the partisan audit. Let me be clear. The

1695             hyperpartisan audits pushed by President Trump and his allies are not about fairness,

1696             election security, or the truth. They are instead designed to promote conspiracy theories

1697             and to raise doubts about our elections. And the ultimate aim of these audits is even

1698             worse – to lay the groundwork for new laws that make it harder for Americans to cast

1699             their ballots, but easier for dishonest officials to overturn the results of elections they

1700             don’t like.” 324

1701             The “Lost, Not Stolen” report looked at this cascade of claims about a stolen election and




       324
             U.S. House Committee on Oversight and Reform, “Assessing the Election ‘Audit’ in Arizona and
             Threats to American Democracy,” 117th Cong., 1st sess., 2021, 1-2.
                                                           103
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1702   asserted that “such false charges corrode our democracy and leave a significant share of the

1703   population doubting the legitimacy of our system, seriously weakening the country.” Moreover,

1704   the report continued, to “have 30 percent of the country lack faith in election results based on

1705   unsubstantiated claims of a ‘stolen’ election is not sustainable in a democracy, and it discredits

1706   the political party making those charges.” 325

1707           S.     Efforts to Overturn the Election Results in Georgia by Alleging Voter Fraud

1708           The attack on the results escalated after the election. Because of the statistical

1709   closeness of Biden’s victory and the fraud accusations from Republicans, 326 Secretary of State

1710   Brad Raffensperger announced on November 6, 2020 that there would be a recount.

1711           Trump’s point person in Georgia was former U.S. Representative Doug Collins, a white

1712   man, who laid out the parameters of the recount that would supposedly satisfy the Trump

1713   campaign. There must be, he conveyed on November 10, 2020, “a full comparison of absentee

1714   ballots cast and in-person provisional ballots cast throughout the state,” a “check for felons and

1715   other ineligible persons who may have cast a ballot,” and “a full hand-count of every ballot cast

1716   in each and every county due to the widespread allegations of voter irregularities, issues with

1717   voting machines, and poll watcher access.” The next day, November 11, 2020, Raffensperger

1718   “announced that Georgia would conduct a hand-count audit of its presidential results,” which

1719   was completed on November 19, 2020. 327 By November 20, 2020, the Secretary of State’s office




       325
           Danforth, et al., “Lost, Not Stolen,” 3, 6.
       326
              “Allegations of voter fraud in Georgia scant,” 11Alive, November 9, 2020,
            https://www.bing.com/videos/search?q=voter+fraud+accusations+Georgia&docid=60799495236288
            6852&mid=980293811DB287A74348980293811DB287A74348&view=detail&FORM=VIRE,
            accessed August 1, 2022.
       327
           Ballotpedia,           “Presidential           Election         in          Georgia,      2020,”
            https://ballotpedia.org/Presidential_election_in_Georgia,_2020, accessed August 1, 2022.
                                                        104
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1720   had certified a hand recount of nearly five million votes, which showed that Joseph Biden had,

1721   indeed, won the election in Georgia. 328 On November 21, 2020, the Trump campaign demanded

1722   that there be another recount. This one would be by machine. 329

1723           Meanwhile, on November 17, 2020, eight Republican Georgia state senators, all of whom

1724   are white men, called for a signature audit of one Atlanta county’s (Cobb) absentee ballots, citing

1725   the lack of confidence their constituency had in the election as the rationale for this move. A

1726   little over a month later, by December 29, 2020, “An audit of absentee ballot signatures found no

1727   fraud among 15,000 Cobb County ballot envelopes examined by the GBI [Georgia Bureau of

1728   Investigation] and state election investigators, according to a report released by the secretary of

1729   state’s office. Ten ballot envelopes had mismatched or missing signatures, but investigators

1730   contacted those voters and confirmed they had submitted the ballots.”330

1731           On November 25, 2020, before the machine recount that the Trump campaign demanded

1732   was even completed, “four state senators . . . Greg Dolezal of Cumming, William Ligon of

1733   Brunswick, Brandon Beach of Alpharetta, and Burt Jones of Jackson,” all white Republicans,

1734   called for a “special session of the state legislature to address ‘structural issues’ with the state’s

1735   voting system prior to the Jan. 5 [U.S.] Senate runoff election.”331 The runoff held enormous




       328
            Michael King, “Georgia Secretary of State’s office says hand audit of election complete,” 11Alive,
            November 19, 2020, https://www.11alive.com/article/news/politics/elections/georgia-secretary-of-
            states-office-releases-results-of-hand-audit/85-6c3e9686-95e4-48d5-8725-a3f755e945af,        accessed
            August 1, 2022.
       329
           Ballotpedia,           “Presidential           Election         in          Georgia,            2020,”
            https://ballotpedia.org/Presidential_election_in_Georgia,_2020, accessed August 1, 2022.
       330
           Wickert, Sabetai, Niesse, Mitchell, Prabhu, and Bluestein, “How the campaign to undermine Georgia’s
            election unfolded.”
       331
           Thom Chandler, “Four Republican state senators call for special session on Georgia elections,” Georgia
            Sun, November 25, 2020, https://thegeorgiasun.com/2020/11/25/four-republican-state-senators-call-
            for-special-session-on-georgia-elections/, accessed August 1, 2022.
                                                         105
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1736   ramifications. The outcome would determine which party controlled the U.S. Senate. 332

1737   Moreover, the Democratic candidates, if they were successful, would be the first African

1738   American (Reverend Raphael Warnock) and Jewish (Jon Ossoff) U.S. Senators from Georgia in

1739   the state’s history. The four Georgia state senators, with their attention on the importance of the

1740   runoff, raised the specter of rampant voter fraud, especially the use of absentee ballots and drop

1741   boxes in the 2020 general election, as the justification for the special session and stressed the

1742   urgency of completing the review and installing new rules, for example photo IDs for absentee

1743   ballots, prior to the January 5, 2021 runoff. 333

1744           Recounts, calls from Republican state senators for a special session to rewrite election

1745   laws prior to the historic January 5, 2021 runoff, and a cascade of dubious charges about rampant

1746   voter fraud saturated the post-election period.

1747           T.      Giuliani Hearings in Georgia and GOP Efforts to Overturn the Election

1748           As stated previously, four days after Biden won in Georgia, “Eight Georgia Republican

1749   senators [held] a press conference at the state Capitol, calling for . . . the Senate Government

1750   Oversight Committee to convene a hearing” to uncover the voter fraud that supposedly caused

1751   Trump’s loss. 334 Two days later, on November 19, 2020, State Sen. Jesse Stone, a white




       332
           Patricia Murphy and Tia Mitchell, “What’s at stake in the Senate runoffs,” Atlanta Journal-Constitution,
            December           11,        2020,         https://www.ajc.com/politics/whats-at-stake-in-the-senate-
            runoffs/IVXMDK25PVGQXILXV6OL2C4F3U/, accessed August 1, 2022.
       333
           Thom Chandler, “Four Republican state senators call for special session on Georgia elections,” Georgia
            Sun, November 25, 2020, https://thegeorgiasun.com/2020/11/25/four-republican-state-senators-call-
            for-special-session-on-georgia-elections/, accessed August 1, 2022; Corinne Murdock, “Georgia GOP
            Senators Introduce Special Session Petition,” The Tennessee Star, December 7, 2020,
            https://tennesseestar.com/2020/12/07/georgia-gop-senators-introduce-special-session-petition/,
            accessed August 1, 2022.
       334
           Wickert, Sabetai, Niesse, Mitchell, Prabhu, and Bluestein, “How the campaign to undermine Georgia’s
            election unfolded.”
                                                           106
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1752   Republican and chairman of the Judiciary Committee, authorized state Sen. William Ligon, who

1753   is white, to chair an election law study subcommittee to “examine the recent election cycle,

1754   recount, audit, investigations and litigation as well as the upcoming runoffs.”335

1755           The first part of the hearing on December 3, 2020, revealed that despite the alleged

1756   vulnerability of drop boxes to fraud, they were in fact highly secure. Ryan Germany, who is

1757   white and the general counsel for Georgia’s Secretary of State Office, testified that there was

1758   nothing “untoward” surrounding drop boxes, that they were under constant surveillance, and that

1759   no ballots were put in the drop boxes after 7:00 p.m. on November 3, 2020, as some had

1760   alleged. 336 When then asked by Republican Senator Steve Gooch (R-51), who is white, about

1761   ballots being scanned multiple times through the machines, thus inflating the vote totals for

1762   certain candidates, Germany explained that the hand count audit of nearly five million ballots

1763   proves that that did not happen.337 The general counsel then said, “we have not seen . . . anything

1764   that would suggest widespread fraud.”338

1765            Nonetheless, Rudy Giuliani, Trump’s personal attorney, raised disproved allegations of

1766   massive voter fraud during three Republican-sponsored hearings in the state legislature. 339 His

1767   testimony was so “demonstrably false and misleading” that it eventually led the New York State




       335
           Wickert, Sabetai, Niesse, Mitchell, Prabhu, and Bluestein, “How the campaign to undermine Georgia’s
            election unfolded.”
       336
           Georgia Senate Government Oversight Committee, hearing, December 3, 2020, 41-43.
       337
           Georgia Senate Government Oversight Committee, hearing, December 3, 2020, 51-52.
       338
           Georgia Senate Government Oversight Committee, hearing, December 3, 2020, 54.
       339
           “Georgia Senate panel hosts Giuliani as election officials dispute fraud claims,” Capitol Beat, December
            3, 2020, http://capitol-beat.org/2020/12/georgia-senate-panel-hosts-giuliani-as-election-officials-
            dispute-fraud-claims/, accessed April 21, 2022. Giuliani testified in Georgia legislative hearings held
            on December 3, 2020, December 10, 2020, and December 30, 2020; Wickert, Sabetai, Niesse, Mitchell,
            Prabhu, and Bluestein, “How the campaign to undermine Georgia’s election unfolded.”
                                                          107
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1768   Appellate Court to suspend his license to practice law in New York. 340 The lies about voter fraud

1769   in Georgia also led to Giuliani’s law license being suspended in Washington, D.C.341

1770           Part of the team that Giuliani brought in to testify before the Georgia legislature was a

1771   purported cybersecurity expert, Russell Ramsland Jr., who said that the voting machines were

1772   rigged to flip votes to Biden. “Matt Masterson, a former senior U.S. cybersecurity official who

1773   led a team tracking the integrity of the 2020 election for DHS [the Department Homeland

1774   Security],” said that Ramsland’s company “was the source of morsels of inaccurate information

1775   that shaped public perception . . . ‘It wasn’t just that the president would tweet about their stuff.

1776   It was all these little nuggets and grist that . . . provided the appearance of substance and fact to

1777   something that had no substance or fact,’ said Masterson . . . ‘They gave those who wanted to

1778   push and believe in the lie something to hold on to.’” 342

1779           One of the most explosive allegations in the hearings came from another member of

1780   Giuliani’s team, an attorney Jacki Pick, a white woman who had in her possession a recently

1781   obtained surveillance video from State Farm Arena, where ballots from Fulton County had been

1782   counted. As the video played, Pick narrated the scenes for the legislators. It was a tale of poll

1783   workers and observers leaving the arena because they were commanded to do so. But, she



       340
           Greg Bluestein, “Court suspends Giuliani’s law license, citing his lies about Georgia election fraud,”
            Atlanta Journal-Constitution, June 24, 2021, https://www.ajc.com/politics/politics-blog/court-
            suspends-giulianis-law-license-citing-lies-about-georgia-election-
            fraud/KEIRAIRJYNBYTGFPKJB4ARSZ5Q/, accessed April 20, 2022.
       341
           Christina Wilkie and Dan Mangan, “Rudy Giuliani’s DC law license is suspended,” CNBC, July 7, 2021,
            https://www.cnbc.com/2021/07/07/rudy-giulianis-dc-law-license-is-suspended-.html, accessed August
            1, 2022.
       342
           Emma Brown, Aaron C. Davis, Jon Swaine, and Josh Dawsey, “The making of a myth: Russell J.
            Ramsland Jr. sold everything from Tex-Mex food to light-therapy technology. Then he sold the story
            that the 2020 election was stolen from Trump,” Washington Post, May 9, 2021,
            https://www.washingtonpost.com/investigations/interactive/2021/trump-election-fraud-texas-
            businessman-ramsland-asog/, accessed April 22, 2022.
                                                         108
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1784   pointed out, four poll workers hung back, doing nothing until everyone had left, then they sprang

1785   “into action,”343 pulled suitcases of ballots out from underneath skirted tables and began

1786   scanning and counting the ballots “unsupervised” and “unobserved.” 344 This went on for hours,

1787   she claimed, with up to 18,000 votes counted with no “witnesses.” 345

1788           Pick’s narrative of suitcases of ballots in Atlanta’s Fulton County was repeated by

1789   Giuliani and President Trump, even as it was debunked almost immediately by Gabriel Sterling

1790   of the Secretary of State’s office346 and questioned intensely by State Senator Elena Parent (D-

1791   42), who immediately spotted an inconsistency in Pick’s testimony about the presence of Fulton

1792   County Chairman Robb Pitts at the arena. 347 But as Parent continued to probe, she was shut

1793   down by Chairman of the Senate Judiciary Committee William Ligon with a “No, ma’am. We

1794   need to move on.” 348 As the Atlanta Journal-Constitution reported, “Ligon [had] turn[ed] his

1795   committee over to Trump’s attorneys, who [made] hours of unchallenged fraud allegations.”349

1796   Pick’s accusations were so inflammatory, however, that the Black poll workers she identified as

1797   culprits in that 90-second video clip, described in more detail below, would come under a

1798   barrage of right-wing death threats and harassment of such intensity that, for safety’s sake, the

1799   FBI advised one woman to leave her home. The women, a mother and daughter, won a




       343
           Jacki Pick testimony, Second Session Georgia General Assembly, December 3, 2020, 15.
       344
           Jacki Pick testimony, Second Session Georgia General Assembly, December 3, 2020, 13.
       345
           Jacki Pick testimony, Second Session Georgia General Assembly, December 3, 2020, 12-18.
       346
           Stephen Fowler, “Fact Checking Rudy Giuliani’s Grandiose Georgia Election Fraud Claim,” GPB News,
            December 4, 2020, https://www.gpb.org/news/2020/12/04/fact-checking-rudy-giulianis-grandiose-
            georgia-election-fraud-claim, accessed April 23, 2022.
       347
           Second Session Georgia General Assembly, December 3, 2020, 33.
       348
           Second Session Georgia General Assembly, December 3, 2020, 33.
       349
           Wickert, Sabetai, Niesse, Mitchell, Prabhu, and Bluestein, “How the campaign to undermine Georgia’s
            election unfolded.”
                                                        109
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1800   settlement for defamation of character from one of the right-wing media outlets that ran with the

1801   story. 350

1802            During his testimony before the Georgia legislature, Giuliani, who would face disbarment

1803   for making “demonstrably false and misleading statements” about the 2020 election,351 insisted

1804   that he and his team were “presenting . . . facts. Fact that 2,506 felons voted illegally in Georgia.

1805   66,248 underage and, therefore, ineligible people to illegally register to vote before their 17th

1806   birthday when the law requires 17 and a half years old. At least 2,423 individuals to vote who

1807   were not listed as registered. 1,043 individuals to cast ballots who had illegally registered to vote

1808   using a post office box. 4,926 individuals voted in Georgia who had registered to vote after their

1809   Georgia voter registration date, thereby canceling their Georgia voter registration. 10,315 or

1810   more individuals to vote who were deceased by the time of the election. 395 individuals to vote

1811   in Georgia who had cast ballots in another state, which is illegal in both states. 15,700

1812   individuals to vote in Georgia who had filed a national change of address with the United States

1813   Postal Service prior to November 3rd, 2020. 40,279 individuals to vote who had moved across




       350
           Fowler, “Fact Checking Rudy Giuliani’s Grandiose Georgia Election Fraud Claim”; Mary Papenfuss,
            “Names of Election Worker Witnesses Found on Oath Keeper Suspect’s ‘Death List’: Court Filing,”
            Huffington Post, July 31, 2022, https://www.huffpost.com/entry/ruby-freeman-shaye-moss-georgia-
            election-workers-oath-keeper-death-list_n_62e613b2e4b0d0ea9b77b127, accessed July 31, 2022;
            “House Jan. 6 committee hearings: Here’s every word from the fourth Jan. 6 committee hearing on its
            investigation,” NPR, June 21, 2022, https://www.npr.org/2022/06/21/1105848096/jan-6-committee-
            hearing-transcript, accessed August 2, 2022; Jonathan Allen, “Two Atlanta Poll Workers Settle
            Defamation       Lawsuit     Against     One     America,”      Reuters,    April     21,     2022,
            https://www.reuters.com/world/us/two-atlanta-poll-workers-settle-defamation-lawsuit-against-one-
            america-2022-04-21/, accessed April 22, 2022.
       351
           Aaron Katersky, “DC Bar’s disciplinary counsel recommends Rudy Giuliani be disbarred,” ABC News,
            December 15, 2022, https://abcnews.go.com/US/dc-bars-disciplinary-counsel-recommends-giuliani-
            disbarred/story?id=95370350, accessed December 22, 2022.
                                                        110
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1814   county lines at least 30 days prior to Election Day and who had failed to properly re-register to

1815   vote in their new county after moving, also in violation of Georgia law.”352

1816           These were the lies that jeopardized Giuliani’s license to practice law in New York and

1817   Washington, D.C. The New York State appellate court, pointing to the suitcases of ballots story,

1818   where Giuliani maligned two African American poll workers as drug dealers, ruled “If, as

1819   respondent claims, he reviewed the entire video, he could not have reasonably reached a

1820   conclusion that illegal votes were being counted[.]” 353 Similarly, Raffensperger told

1821   Congressional investigators that after investigating the claims, the FBI, the Secretary of State’s

1822   investigators, and the GBI “said that there was nothing that happened [at State Farm Arena] that

1823   was illegal, that there was no ballot stuffing, no illegality, no double counting of ballots.”

1824   Instead, Raffensperger continued, Giuliani had shown a “sliced and diced” video to give the

1825   impression that ballots were hidden and then, surreptitiously recovered from beneath the table,

1826   when, in fact, the sequence of events was much more benign. Yet, it was this “sliced and diced”

1827   video that Giuliani played before the Georgia legislators stoking the flames of misinformation

1828   and disinformation.354 The lies, of course, extended beyond the suitcases of ballots narrative. For

1829   example, Ryan Germany told the Georgia legislature on December 23, 2020 that “‘The total

1830   number of underage people who voted is zero. We were able to look at everyone who voted and

1831   look at their birthdate in the voter registration system, and I think there was [sic] four people who

1832   requested a ballot before they turned 18, and they all turned 18 prior to November 3rd, which




       352
           Second Session Georgia General Assembly, December 3, 2020, 8-10.
       353
           Select Committee to Investigate the January 6th Attack on the United States Capitol, 117th Congress,
            2d sess., Final Report House Report 117-000, December 22, 2022, 226.
       354
            Select Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of
            Representatives, Interview of: Brad Raffensperger, 51-52.
                                                        111
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1833   means they’re allowed to vote.’”355 Another one of Giuliani’s allegations that “tens of thousands

1834   of illegal ballots were cast by out-of-State voters or with invalid signature matches” led a

1835   Georgia supreme court justice to find that “‘the Complaint’s factual allegations . . . rest on

1836   speculation rather than duly pled facts’ and ‘do not support . . . a conclusion that sufficient illegal

1837   votes were cast to change or place in doubt the result of the election.’” 356 Giuliani also

1838   apparently recognized that his assertions before the Georgia legislature were fabrications. Under

1839   oath, in a deposition before the Select Committee to Investigate the January 6th Attack on the

1840   United States Capitol, “Giuliani testified that he did not believe that voting machines stole the

1841   election. He also acknowledged that he had seen no evidence that foreign countries had

1842   interfered in the election or manipulated votes.” 357

1843           But given the hurricane of lies about an overwhelming number of illegally cast votes that

1844   totaled significantly more than Biden’s margin of victory, all Giuliani and his client President

1845   Donald Trump wanted was for the Georgia legislature to declare the election null and void and

1846   select a slate of electors to cast their Electoral College votes for Trump. 358

1847           Although there had already been three audits of Georgia’s ballots, each showing that

1848   Joseph Biden won the presidential election, Republican legislators were not assuaged. They

1849   remained unconvinced even after the Secretary of State’s office debunked the most damning

1850   elements of the Fulton County State Farm Arena video story: (a) those weren’t suitcases, those

1851   were the standard containers to hold ballots; (b) there was an inspector from the Secretary of




       355
           Select Committee to Investigate the January 6thAttack on the United States Capitol, Final Report, 257,
            fn 290.
       356
           Select Committee to Investigate the January 6th Attack on the United States Capitol, Final Report, 211.
       357
           Select Committee to Investigate the January 6th Attack on the United States Capitol, Final Report, 223.
       358
           Second Session Georgia General Assembly, December 3, 2020, 8-10.
                                                          112
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1852   State’s office and a monitor from the State Election Board there for most of the time that Pick

1853   had said the four poll workers were left “unsupervised” and “unobserved”; and (c) no-one was

1854   ordered to leave the building; instead, poll workers responsible for opening and flattening the

1855   mail-in ballots finished their work and exited State Farm Arena, while others took that as the

1856   signal that they were to leave as well. But they were ordered to return to the task at hand and

1857   keep counting.359 All that debunking and explicating, however, failed to persuade many who

1858   continued to insist that Trump’s victory in Georgia was stolen in Fulton County, where African

1859   Americans, Asians, and Hispanics were the majority population.360

1860            In fact, then-Speaker of the House David Ralston, who was white, called for the House

1861   Governmental Affairs Committee to hold a hearing on December 10, 2020 to “discuss the

1862   ‘security and efficiency’ of the [U.S. senate] runoff and future elections.” However, absentee

1863   voting for the runoff had already started – an election where not only control of the U.S. senate

1864   would be decided, but whether Georgia would finally have its first-elected African American and

1865   Jewish U.S. senators. Nonetheless, Ralston said, “Ahead of the critical Jan. 5 U.S. Senate runoff,

1866   it is imperative that we ensure free and fair elections that inspire confidence and certainty in the

1867   result.” 361

1868            Yet, by early December 2020, it was clear to most that none of the Trump campaign’s

1869   claims of massive, rampant voter fraud could withstand scrutiny. As Rick Hasen, an election law

1870   professor at the University of California-Irvine, noted, by December 9, 2020, Trump had lost 53



       359
           Fowler, “Fact Checking Rudy Giuliani’s Grandiose Georgia Election Fraud Claim.”
       360
                   U.S.        Census,      “Quick        Facts:        Fulton        County,       Georgia,”
            https://www.census.gov/quickfacts/fultoncountygeorgia, accessed April 25, 2022.
       361
           David Wickert, “Georgia House committee to take up election security,” Atlanta Journal-Constitution,
            December 4, 2020, https://www.ajc.com/politics/election/georgia-house-committee-to-take-up-
            election-security/AK3FGBZK4VFD5IJSEGGBBIY6XI/, accessed December 25, 2022.
                                                        113
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1871   lawsuits to overturn the election results: “This election was not particularly close between Biden

1872   and Trump in any state — 10,000 ballots [are] far too many to make a difference in a recount. So

1873   the lawsuits either made unsubstantiated claims of fraud, alleged other irregularities that could

1874   not be backed up with evidence, or advanced wild legal theories that have never been used to

1875   overturn an election before. Unsurprisingly, both strategies failed.”362 The machine recount

1876   requested by the Trump campaign was completed by December 4, 2020 and certified by

1877   December 7, 2020. The results still showed Joseph Biden won the state of Georgia and its sixteen

1878   Electoral College votes. 363

1879           Neither the machine recount, 53 failed lawsuits, nor the debunking of Giuliani’s team’s

1880   claims chastened the Republican legislators in Georgia, who plowed ahead with another hearing

1881   on December 10, 2020 where the president’s personal attorney’s false allegations could once

1882   again be given the aura of the legitimacy of a government hearing. Indeed, Giuliani confirmed

1883   before the January 6th Committee that “They look like very official hearings.” 364 Chairman

1884   Shaw Blackmon (R-146), who is a white Republican, set the perfect framing for the lie to be

1885   treated as the truth. He said that at the urging of Speaker of the House David Ralston the

1886   “purpose today is to gather information on what went wrong and how to fix it. That’s the




       362
           Louis Jacobson and Amy Sherman, “Donald Trump has lost dozens of election lawsuits. Here’s why,”
            Politifact, December 10, 2020, https://www.politifact.com/article/2020/dec/10/donald-trump-has-lost-
            dozens-election-lawsuits-her/, accessed April 23, 2022.
       363
           Chandelis Duster, “Georgia reaffirms Biden’s victory for 3rd time after recount, dealing major blow to
            Trump’s       attempt    to     overturn    the     results,”    CNN,      December      7,     2020,
            https://www.cnn.com/2020/12/07/politics/georgia-recount-recertification-biden/index.html, accessed
            August 2, 2022.
       364
            Select Committee to Investigate The January 6th Attack on the U.S. Capitol, U.S. House of
            Representatives, Washington, D.C., Deposition of: Rudolph Giuliani, May 20, 2022, 62,
            https://www.govinfo.gov/content/pkg/GPO-J6-TRANSCRIPT-CTRL0000083774/pdf/GPO-J6-
            TRANSCRIPT-CTRL0000083774.pdf, accessed January 7, 2023.
                                                         114
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1887   problem of the legislative branch here, to look into evidence of problems that warrant changes to

1888   the law . . . [because] it’s clear something went wrong. Numerous reports of potential problems

1889   and failures in the general election in November have been alleged, some of them quite

1890   serious.” 365

1891           The sustained lack of evidence of fraud suggests that what went wrong from the

1892   perspective of the Republican legislators in Georgia, virtually all of whom are white, was that

1893   African Americans, Hispanics, and Asian Americans had an incredible turnout, legally voted,

1894   and were instrumental in the defeat of Donald Trump (only 30% of white voters in Georgia cast

1895   their ballots for Biden).366 The grassroots organizing, referred to (and discussed above) in the

1896   “Lost, Not Stolen” report, led to significant growth of voter registration among Asian Americans,

1897   Hispanics, and African Americans in the Atlanta metropolitan area. The metro area “added

1898   301,000 registered voters from 2016 to 2020 and accounted for a majority of the state’s increase

1899   (58%) during this time.” The “number of Hispanic and Asian registered voters also increased

1900   significantly . . . There were 60% more Hispanic registered voters in 2020 compared with 2016 .

1901   . . The number of Asian registered voters in the Atlanta area grew by 55% over the same

1902   period.” 367 Equally important, in Georgia, African Americans, Asians, Hispanics, and those who




       365
           Georgia House Governmental Affairs Committee, hearing, December 10, 2020, 4-6.
       366
             “Exit poll results and analysis from Georgia,” Washington Post, November 9, 2020,
            https://www.washingtonpost.com/elections/interactive/2020/exit-polls/georgia-exit-polls/, accessed
            December 25, 2022.
       367
           Noe-Bustamante and Budiman, “Black, Latino and Asian Americans have been key to Georgia’s
            registered voter growth since 2016.”
                                                        115
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1903   were identified as “other/mixed” accounted for 65 percent of Democratic voters but only 17

1904   percent of Republican voters.368 In Atlanta, therefore, Biden garnered 73 percent of the vote. 369

1905           Thus, convinced that “the fraudulent activity in Atlanta . . . was quite substantial,” 370 at

1906   the hearing on December 10, Giuliani referenced the 90-second video that he thought would be

1907   the “smoking gun.”371 “How can they say there’s no fraud. Look at that woman,” Giuliani said,

1908   about the African American woman, whom Pick had earlier identified at State Farm Arena.

1909   “Look at her taking those ballots out. Look at them scurrying around with the ballots, nobody in

1910   the room, hiding around. They look like they’re – they look like they're passing out dope, not just

1911   ballots. It is quite clear they’re stealing votes.” 372

1912           The president’s personal lawyer testifying before Georgia legislators had leaned into the

1913   centuries-long tactic of wrongly connecting race, criminality, and voter fraud—detailed above—

1914   to advance an agenda of racial political power.

1915           He asked the legislators to “just take a look, quickly, at that tape so we’re reminded of it,

1916   we can do away with [the notion that] this fraud has been debunked.” 373 Giuliani continued,

1917   “Democratic officials made sure that they, first, got rid of all the reporters, all the observers,

1918   anyone that couldn’t be trusted . . . [They] cleared out the voting area and then went about their



       368
           Pew Research Center, “Racial and ethnic composition among adults in Georgia by political party,”
            https://www.pewresearch.org/religion/religious-landscape-study/compare/racial-and-ethnic-
            composition/by/party-affiliation/among/state/georgia/, accessed November 23, 2021.
       369
           Suzette Hackney, “Black voters steer America toward moral clarity in presidential race,” USA Today,
            November 12, 2020, https://www.usatoday.com/story/opinion/voices/2020/11/12/americans-didnt-
            repudiate-donald-trump-but-black-voters-did-column/6222692002/, accessed December 20, 2022.
       370
            Select Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of
            Representatives, Deposition of: Rudolph Giuliani, 70.
       371
           Wickert, Sabetai, Niesse, Mitchell, Prabhu, and Bluestein, “How the campaign to undermine Georgia’s
            election unfolded.”
       372
           Georgia House Governmental Affairs Committee, hearing, December 10, 2020, 92.
       373
           Georgia House Governmental Affairs Committee, hearing, December 10, 2020, 96.
                                                           116
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1919   dirty, crooked business. And I should tell you similar things were happening in four other places

1920   in Democratic strongholds throughout the country, which only goes to prove how concerted this

1921   fraud was, very similar things in Philadelphia, very similar things in Detroit, very similar things

1922   in Maricopa County.”374 After describing to the legislators the supposed electoral chicanery in

1923   these cities/locales with sizeable minority populations, Giuliani then returned to Georgia.

1924           “I’ve prosecuted I think some of the worst criminals of the last century,” the former U.S.

1925   attorney for the Southern District of New York said. “I think the woman in charge here [at Fulton

1926   County State Farm Arena, whom Jacki Pick accused of pulling out suitcases of ballots] is named

1927   Ruby Freeman, and I think her daughter, Shaye Freeman Moss . . . earlier in the day these two

1928   were engaged in another apparent voter fraud in which they were passing out USB ports, which

1929   were being used, apparently, to infiltrate the crooked Dominion voting machines and getting data

1930   added or change data in it . . . Ruby Freeman and Shaye Freeman Moss and one other

1931   gentleman,” were, Giuliani concluded, “quite obviously surreptitiously passing around USB

1932   ports as if they’re vials of heroin or cocaine.” 375

1933           Again, the president’s counsel, without any pushback from Republican legislators in

1934   Georgia, nearly all of whom are white, linked Black people with criminality and voter fraud. In

1935   his deposition before the January 6th Committee, Giuliani said that Freeman and Moss were at

1936   State Farm Arena “casing the joint, because it reminded [him] of major bank robberies that [he

1937   had] prosecuted . . .”376 This foundation of supposed Black criminality – although gussied up in




       374
           Georgia House Governmental Affairs Committee, hearing, December 10, 2020, 95-96.
       375
           Georgia House Governmental Affairs Committee, hearing, December 10, 2020, 107-108.
       376
           Select Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of
            Representatives, Deposition of: Rudolph Giuliani, 153.
                                                         117
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1938   election integrity language – was used overwhelmingly by white Republicans to support

1939   sweeping changes to the election laws.

1940           The lies and misrepresentations were continued by another of Giuliani’s associates, Matt

1941   Braynard, a “designated expert[] . . . in the president’s case of Trump versus Raffensperger et

1942   al.” 377 He focused on Georgia’s voter rolls that he claimed were bloated by more than 20,000

1943   people who had moved out of the state, who voted in multiple states, or who registered using an

1944   address that was not residential. He gave the air of an expert, skilled in algorithms and

1945   methodologies to arrive at that conclusion. 378 Then Democratic Representative Bee Nguyen (D-

1946   89), who is Asian American, dismantled his supposedly rock-solid list by checking readily

1947   available public records – property tax lists, etc. – and found that Braynard’s exhibits of illegal

1948   voters were rife with errors. For example, she found with respect to residents in a condo building

1949   with a Fed-Ex center on the ground floor, that “every single person that owns a condo in that

1950   building that voted in this election has been accused of disguising their residency as a P.O.

1951   box.” 379

1952           After the Giuliani hearing, which was filled with easily disproven facts and scurrilous

1953   allegations, State representative Josh McLaurin (D-51), a white Democrat, said simply, “This is

1954   an embarrassing day in Georgia House of Representatives history.” 380 House Minority Leader

1955   Robert (Bob) Trammel (D-132), also a white Democrat, after hearing witness after witness seek




       377
           Georgia House Governmental Affairs Committee, hearing, December 10, 2020, 14.
       378
           Georgia House Governmental Affairs Committee, hearing, December 10, 2020, 56-64.
       379
           Georgia House Governmental Affairs Committee, hearing, December 10, 2020, 75-83, quote on 79.
       380
           Beau Evans, “Rudy Giuliani again lobs election fraud claims in Georgia House hearing,” Jackson
            Progress-Argus, December 10, 2020, https://www.jacksonprogress-argus.com/local/politics/rudy-
            giuliani-again-lobs-election-fraud-claims-in-georgia-house-hearing/article_c589b70a-e9a6-534e-
            af65-5d1ad4676e75.html, accessed December 25, 2022.
                                                       118
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1956   to throw out the votes from racially and ethnically diverse Fulton County based on disproven

1957   claims of fraud, said, during the legislative session:

1958             “You know, this is the 37th day after the election, and there have been court challenges

1959             filed in 8 states, and 55 – to date 55 court cases have been dismissed because there’s no

1960             there there. This is Georgia, we had an initial count. Joe Biden was the president elected

1961             in Georgia. We had a hand count audit, a risk-limiting audit for a second count of 5

1962             million ballots. Joe Biden was the president elected in Georgia. We had a machine

1963             recount pursuant to statute, and for a third time, Joe Biden was elected in Georgia.

1964             Multiple cases have been dismissed here in Georgia, dismissing some of the very

1965             allegations that have been raised in this committee.” 381

1966             Trammel further declared that the committee had been subjected to testimony that was

1967   “absolutely insane and absurd. And giving more fuel to this fire will do no one any good.” He

1968   concluded, “I would say this, that changing the rules simply because you lose an election is not

1969   good policy . . . ”382

1970             Nevertheless, a few days later, on December 17, 2020, the effort to dismiss the more than

1971   2.47 million Georgians’ votes for Biden, the candidate for whom the vast majority of African

1972   American, Asian American, and Hispanic voters had cast their ballots, continued. “State Sen.

1973   William Ligon release[d] a report based on testimony from the Dec. 3 hearing at which Trump

1974   attorney Rudy Giuliani and others made unsubstantiated allegations. Ligon’s report restate[d] the

1975   various fraud claims without rebuttal from election officials. It call[ed] for a special legislative




       381
             Georgia House Governmental Affairs Committee, hearing, December 10, 2020, 293-294.
       382
             Georgia House Governmental Affairs Committee, hearing, December 10, 2020, 295.
                                                         119
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1976   session and says the General Assembly should ‘determine the proper electors’ if a majority of

1977   lawmakers concur with his findings.”383

1978           U.     Georgia Republicans, the Fake Elector Scheme, and Other Efforts to
1979                  Overturn the Election
1980
1981           On December 7, 2020, treating the lies in the initial December 3 Giuliani hearing as truth,

1982   a petition spearheaded by Republican Georgia state senators Greg Dolezal, Brandon Beach,

1983   William Ligon, and Burt Jones, all of whom are white men, called for the Republican-controlled

1984   legislature to erase the votes of 2,473,633 Georgians who voted for Biden, and, instead, award

1985   the state’s sixteen electors to Trump.384 The “gang of four senators” 385 parroted the same

1986   Giuliani allegations of massive, rampant voter fraud to justify overturning the results of an

1987   election where 90% of Black voters, 386 69% of Latino voters, 387 and more than 60% of Asian

1988   American voters in Georgia had cast their ballots for Biden.388 The state senators’ communique,

1989   replete with already disproven allegations, stated:

1990           “People voted who were not listed in the state’s records as having been registered to vote.

1991           Voters who moved to a different county more than 30 days prior to the election and failed




       383
            Wickert, Sabetai, Niesse, Mitchell, Prabhu, and Bluestein, “How the campaign to undermine Georgia’s
             election unfolded.”
       384
            Corinne Murdock, “Georgia GOP Senators Introduce Special Session Petition”; “Joe Biden won in
             Georgia, flipping a state Donald Trump won in 2016,” Politico, January 6, 2021,
             https://www.politico.com/2020-election/results/georgia/, accessed January 12, 2023.
       385
            Corinne Murdock, “Georgia GOP Senators Introduce Special Session Petition.”
       386
           2020      American      Election   Eve    Poll    2020      Georgia    African    American   Voters,
             https://latinodecisions.com/wp-content/uploads/2020/11/Latino-Georgia-Crosstab.pdf,       accessed
             January 10, 2023.
       387
           American Election Eve Poll 2020 Georgia Latino Voters, https://latinodecisions.com/wp-
             content/uploads/2020/11/Latino-Georgia-Crosstab.pdf, accessed January 10, 2023.
       388
           Amy B. Wang, “Record Asian American turnout helped Biden win Georgia. Can it help flip the Senate?
             Washington Post, November 28, 2020, https://www.washingtonpost.com/politics/asian-americans-
             georgia-senate/2020/11/28/28521068-2ad2-11eb-9b14-ad872157ebc9_story.html, accessed August 1,
             2022.
                                                        120
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1992           to re-register were allowed to cast votes. Voters registered using bogus addresses such as

1993           UPS facilities and other stores, yet their votes were counted. Ballots of individuals who

1994           were deceased prior to Election Day counted. Over and over again, ballots were counted

1995           outside the view of poll watchers or designated monitors, defying the law. Even the law

1996           itself was modified by an unconstitutional agreement which weakened signature

1997           verification requirements for absentee ballot applications and absentee ballots as set out

1998           in Code Sections 21-2-381 and 21-2-386.” 389

1999           The four state senators also claimed that “about 143,000 Georgia mail-in ballots are

2000   fraudulent and shouldn’t be counted.” 390 State Senator Burt Jones, a white Republican, added,

2001   “‘We believe we have reached the point that the results of this election are untrustworthy, . . .

2002   Such pervasive disregard for election laws by our election officials requires a decisive response.

2003   It is time for our legislative body to do its job.’” 391 Governor Brian Kemp quashed the initial

2004   scheme to call a special session to have the Republican-controlled legislature choose its own

2005   slate of electors in defiance of the state’s popular vote, and, thereby, overthrow the election.

2006   Kemp asserted, “‘This is not an option under state or federal law.’”392

2007           Undeterred by Kemp’s refusal, on December 8, 2020, the Georgia Senate Republican

2008   Caucus, the members of which are all white, issued a statement giving credence to the debunked

2009   irregularities that Giuliani and his team claimed happened, noting the concerns of “millions of




       389
           Corinne Murdock, “Georgia GOP Senators Introduce Special Session Petition.”
       390
           Corinne Murdock, “Georgia GOP Senators Introduce Special Session Petition.”
       391
           Corinne Murdock, “Georgia GOP Senators Introduce Special Session Petition.”
       392
           Greg Bluestein and James Salzer, “Kemp tells lawmakers they can’t overturn results of Georgia’s
            election,” Atlanta Journal-Constitution, December 6, 2020, https://www.ajc.com/politics/politics-
            blog/why-kemp-wont-call-an-illegal-special-session-to-overturn-georgias-
            election/6L6KT2NZEZCU7MYXADEBLIO6S4, accessed July 18, 2022.
                                                       121
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2010   Georgians . . . that state law has been violated and our elections process abused.” The Caucus

2011   vowed that “We will fix this.” 393

2012             That same day, nearly half of Georgia’s Republican state senators signed an amicus

2013   curiae brief to accompany a lawsuit filed by the Attorney General of Texas, Ken Paxton, to

2014   overturn the election results in four key swing states that Biden won, including Georgia.

2015             “16 of Georgia's 34 GOP state senators lauded Texas for bringing the lawsuit. ‘We

2016             applaud the State of Texas for recognizing that the failure of the State of Georgia to

2017             follow its own election laws has violated the Equal Protection Act of the U.S.

2018             Constitution,’ they said in a statement. ‘This systemic failure to follow the law has

2019             allowed misconduct, fraud, and irregularities throughout the voting process of this state.’

2020             The Republican lawmakers went on to ‘urge’ the Supreme Court to take up the case.” 394

2021             According to the Atlanta Journal-Constitution, the sixteen Republican Georgia state

2022   senators, all of whom are white, worked with Texas to overturn their state’s own election. The

2023   legislators were Greg Dolezal; William Ligon; Brandon Beach; Burt Jones; Jeff Mullis; Tyler

2024   Harper; Blake Tillery; Marty Harbin; Renee Unterman; Matt Brass; Bruce Thompson; Steve

2025   Gooch; Lindsey Tippins; Randy Robertson; Lee Anderson; and Senator-elect Sheila McNeill. 395

2026   Many of these state senators, who were churning up the dangerous, false narrative of massive



       393
              Georgia Senate Republican Caucus, “Majority Statement on Elections,” December 8, 2020,
              https://www.georgiapol.com/2020/12/08/ga-senate-republican-caucus-issues-majority-statement-on-
              elections/, accessed October 25, 2021.
       394
             Jason Lemon, “Georgia GOP Senators Back Texas AG’s Lawsuit to Overturn Their Own State’s
              Election,” Newsweek, December 8, 2020, https://www.newsweek.com/georgia-gop-senators-back-
              texas-ags-lawsuit-overturn-their-own-states-election-1553321, accessed July 18, 2022.
       395
             Maya T. Prabhu and Tia Mitchell, “Georgia Republican lawmakers say they were right to back Texas
             lawsuit       against    state,”    Atlanta     Journal-Constitution,    December      21,   2020,
             https://www.ajc.com/politics/georgia-republican-lawmakers-say-they-were-right-to-back-texas-
             lawsuit-against-state/KNYRTPJUAJHMBGWXQKVE43AQMY/, accessed August 2, 2022.
                                                          122
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2027   voter fraud and a stolen election and wanted to erase the votes of millions of Georgians,

2028   including 90% of the African American vote, 396 69% of the Latino vote, 397 and more than 60%

2029   of the AAPI vote, 398 would also be the sponsors of a series of voter suppression bills, including

2030   SB 202, that emerged in the first session of the Georgia state legislature in 2021.399 The amicus

2031   curiae brief supporting Texas’s attempt to overthrow the election was also signed by twelve

2032   members of the Georgia House of Representatives 400 and four of them, all of whom are white

2033   Republicans, sponsored legislation en route to SB 202. 401




       396
              2020 American Election Eve Poll 2020 Georgia African American Voters,
            https://latinodecisions.com/wp-content/uploads/2020/11/Latino-Georgia-Crosstab.pdf,        accessed
            January 10, 2023.
       397
             American Election Eve Poll 2020 Georgia Latino Voters, https://latinodecisions.com/wp-
            content/uploads/2020/11/Latino-Georgia-Crosstab.pdf, accessed January 10, 2023.
       398
           Amy B. Wang, “Record Asian American turnout helped Biden win Georgia. Can it help flip the Senate?
            Washington Post, November 28, 2020, https://www.washingtonpost.com/politics/asian-americans-
            georgia-senate/2020/11/28/28521068-2ad2-11eb-9b14-ad872157ebc9_story.html, accessed August 1,
            2022.
       399
           SB 67’s co-sponsors include election deniers Lindsey Tippins, Steve Gooch, Jeff Mullis, Tyler Harper,
            Marty Harbin, Sheila McNeill, and Randy Robertson; One of SB 184’s co-sponsors is election denier
            Steve Gooch; SB 70’s co-sponsors include election deniers Jeff Mullis, Steve Gooch, Sheila McNeill,
            Brandon Beach, and Tyler Harper; SB 241’s co-sponsors include election deniers Steve Gooch, Lee
            Anderson, Jeff Mullis, Tyler Harper, Brandon Beach, Marty Harbin, Sheila McNeill, Bruce Thompson,
            Blake Tillery, Randy Robertson, and Matt Brass; and SB 202’s co-sponsors include election deniers
            Lee Anderson, Randy Robertson, Matt Brass, Jeff Mullis, Sheila McNeill, Brandon Beach, Bruce
            Thompson, Tyler Harper, and Blake Tillery.
       400
           Maya T. Prabhu and Tia Mitchell, “Georgia Republican lawmakers say they were right to back Texas
            lawsuit       against    state,”  Atlanta      Journal-Constitution,    December       21,    2020,
            https://www.ajc.com/politics/georgia-republican-lawmakers-say-they-were-right-to-back-texas-
            lawsuit-against-state/KNYRTPJUAJHMBGWXQKVE43AQMY/, accessed August 2, 2022.
       401
           Election denier Jason Ridley was a co-sponsor of HB 365, HB 406, and HB 512; election denier Don
            Hogan was one of the co-sponsors of HR 56; election denier Wes Cantrell was one of the co-sponsors
            of HB 284; and election denier Sheri Gilligan was one of the co-sponsors of HB 227.
                                                         123
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2034           When the U.S. Supreme Court declined to consider the Texas lawsuit, 402 sixteen Georgia

2035   Republicans, including State Senator Burt Jones, a white man, assembled at noon on December

2036   14, 2020, “in the state Capitol and falsely certified that Donald Trump had won the state’s

2037   electoral votes.” 403 The point was “to supplant President Joe Biden’s authentic electors with fake

2038   Republican electors in seven key states [including Georgia], who could’ve theoretically thrown

2039   the entire election to Trump.”404 According to the Atlanta Journal-Constitution, “An email sent

2040   by Trump’s Georgia election day operations staffer shortly before the group of alternate electors

2041   gathered at the [Georgia] state Capitol asked participants to use discretion and not disclose why

2042   they had gathered. The electors were also told to tell Capitol security guards they were attending

2043   a meeting with Jones and state Sen. Brandon Beach, an Alpharetta Republican.” 405 Despite all

2044   the subterfuge, their document, which was sent to the President of the U.S. Senate, the Archivist

2045   of the United States, Georgia’s Secretary of State, and the Chief Judge of the U.S. District Court,

2046   Northern District of Georgia, gave the aura of legitimacy around a totally illegitimate enterprise.

2047   The fake elector slate certification began: “WE, THE UNDERSIGNED, being the duly elected

2048   and qualified Electors for President and Vice President of the United States of America from the



       402
           David Wickert, “Supreme Court rejects Texas lawsuit aiming to overturn election in Georgia,” Atlanta
            Journal-Constitution, December 11, 2020, https://www.ajc.com/politics/election/supreme-court-
            rejects-texas-lawsuit-against-georgia/HFUEPSAYVBCDTJL6QXWQHG5MM4/, accessed August 2,
            2022.
       403
           Melanie Conklin, “Will false Trump electors’ attempt to hijack the Georgia vote be punished?” GPB
            News, January 18, 2022, https://www.gpb.org/news/2022/01/18/will-false-trump-electors-attempt-
            hijack-the-georgia-vote-be-punished, accessed January 10, 2023.
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           Marshall Cohen, “What to know about the Trump ‘fake electors’ scheme,” CNN, January 27, 2022,
            https://www.cnn.com/2022/01/27/politics/fake-electors-explainer/index.html, accessed August 2,
            2022.
       405
           Maya T. Prabhu, “LG candidate’s involvement in ‘fake’ GOP electors draws scrutiny,” Atlanta Journal-
            Constitution, July 8, 2022, https://www.ajc.com/politics/lg-candidates-involvement-in-fake-gop-
            electors-draws-republican-scrutiny/PUOCCJE4NZEG5FBQKWLQZD23SI/, accessed August 2,
            2022.
                                                        124
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2049   State of Georgia, do hereby certify the following: (A) That we convened and organized at the

2050   State Capitol, in the City of Atlanta, County of Fulton, Georgia, at 12:00 noon on the 14th day of

2051   December, 2020, to perform the duties enjoined upon us; . . .(C) That the undersigned 2020

2052   Electors from the State of Georgia cast each of their respective ballots for the President of the

2053   United States of America, as follows: FOR DONALD J. TRUMP – 16 VOTES.”406

2054           There was a maelstrom of public drama407 generated by Republicans about alleged

2055   massive, rampant voter fraud, buttressed by their numerous attempts – from Giuliani’s hearings,

2056   to calls for unconstitutional special legislative sessions, to fake electors, to untenable lawsuits –

2057   to lean into that lie and overturn the results of the presidential election. Georgia Lt. Governor

2058   Duncan noted, however, that, “Behind closed doors, exasperated Republicans . . . confess[ed]

2059   they didn’t believe the allegations. But then they’d shake their heads and tell me, ‘My voters are

2060   calling me nonstop about this, they’re just convinced it happened. How can I contradict the

2061   president?’” 408




       406
           David J. Shafer, Chairperson, Electoral College of Georgia to President of the U.S. Senate, Archivist of
            the United States, Secretary of State of Georgia, and Chief Judge, U.S. District Court Northern District
            of Georgia, memorandum, December 14, 2020, https://www.archives.gov/files/foia/ga-full.pdf,
            accessed August 2, 2022. Emphasis in the original.
       407
           Jeremy W. Peters, “In Testimony, Hannity and Other Fox Employees Said They Doubted Trump’s Fraud
            Claims,”           New            York          Times,          December             21,         2022,
            https://www.nytimes.com/2022/12/21/business/media/sean-hannity-fox-trump-election.html, accessed
            December 31, 2022.
       408
           Duncan, GOP 2.0, 44.
                                                           125
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2062           V.      The Runoff and the Insurrection

2063           Trump knew he lost409 and he knew that “the claims being made in court about dead or

2064   ineligible voters in Georgia were inaccurate”, 410 but those lies, stoked by far too many

2065   Republicans like those in the Georgia legislature, who ignored voluminous evidence and court

2066   cases, cast a distinct cloud over the January 5, 2021 runoff election for the U.S. Senate.

2067   Incumbent U.S. Senators David Perdue (R-GA) and Kelly Loeffler (R-GA), both of whom are

2068   white, demanded that Secretary of State Brad Raffensperger resign for botching the general

2069   election, although they were vague about what exactly was mismanaged. 411 The day before the

2070   runoff, on January 4, 2021, Trump held a rally in Dalton, Georgia for Perdue and Loeffler where

2071   he focused the bulk of his attention on the consequences of the November 20th presidential

2072   election. “There’s no way we lost Georgia. There’s no way,” he railed. 412

2073           Yet, in fact, there was a way and it had been mapped out years earlier. The way to a

2074   Democrat’s victory in a presidential election was voiced by Lindsey Graham in 2012 who noted

2075   that the Republicans did not have “enough angry white guys” to stay in power for long. 413 It was




       409
           Ashley Parker, “Jan. 6 hearing shows Trump knew he lost – even while claiming otherwise,” Washington
            Post, October 14, 2022, https://www.washingtonpost.com/national-security/2022/10/14/trump-knew-
            he-lost-jan-6/, accessed December 26, 2022.
       410
           Select Committee to Investigate the January 6th Attack on the United States Capitol, Final Report, 230-
            231.
       411
           Rick Rojas and Richard Fausset, “Georgia Senators Ask Election Official to Resign in G.O.P. Squabble,”
            New       York      Times,     November       9,    2020,      updated      January       4,    2021,
            https://www.nytimes.com/2020/11/09/us/kelly-loeffler-david-perdue-raffensperger.html,        accessed
            December 26, 2022.
       412
             “Donald Trump Rally Speech Transcript Dalton, Georgia: Senate Runoff Election,”
            https://www.rev.com/blog/transcripts/donald-trump-rally-speech-transcript-dalton-georgia-senate-
            runoff-election, accessed August 5, 2022.
       413
           Catherine Boyle, “Secret to Romney’s Defeat: Not Enough ‘Angry White Guys’?” CNBC, November
            7, 2012, updated September 13, 2013, https://www.cnbc.com/2012/11/07/secret-to-romneys-defeat-
            not-enough-angry-white-guys.html, accessed December 26, 2022.
                                                          126
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2076   the same concern that confronted Republican strategists after Mitt Romney’s loss in the 2012

2077   presidential campaign. They feared that if the GOP did not address a broader array of issues,

2078   such as immigration reform, the party will continue “to shrink to its [overwhelmingly white] core

2079   constituenc[y].” 414 In short, the Republicans knew the importance of the race and ethnicity of

2080   voters to the party’s fortunes. They knew the importance of expanding their constituency

2081   significantly beyond non-college-educated whites. 415 Yet, instead of responding with policies

2082   that resonated with the growing demographic change in America, the GOP treated African

2083   American, Latino, Asian American, and Native American voters as targets,416 by taking

2084   advantage of the Shelby County v. Holder decision, implementing voter suppression laws, and

2085   working to elect a man who trafficked in racism. 417 Trump built his political career on

2086   birtherism, which denied the American citizenship and, thus, the legitimacy of African American




       414
           Rubin, “GOP autopsy report goes bold.”
       415
           Jeffrey M Jones, “Non-College Whites Had Affinity for GOP Before Trump,” Gallup, April 12, 2019,
            https://news.gallup.com/poll/248525/non-college-whites-affinity-gop-trump.aspx, accessed December
            31, 2022.
       416
           Robert Barnes and Ann E. Marimow, “Appeals court strikes down North Carolina’s voter-ID law,”
            Washington Post, July 29, 2016, https://www.washingtonpost.com/local/public-safety/appeals-court-
            strikes-down-north-car’olinas-voter-id-law/2016/07/29/810b5844-4f72-11e6-aa14-
            e0c1087f7583_story.html, accessed December 26, 2022; Meagan Flynn, “Texas secretary of state
            resigns after leading botched voter purge that questioned the citizenship of almost 100,000 people,”
            Washington Post, May 28, 2019, https://www.washingtonpost.com/nation/2019/05/28/texas-secretary-
            state-resigns-after-leading-botched-voter-purge-that-questioned-citizenship-almost-people/, accessed
            December 26, 2022; Anjali Enjeti, “Reckoning With Georgia’s Increasing Suppression of Asian
            American Voters,” Longreads, December 19, 2018, https://longreads.com/2018/12/19/reckoning-with-
            georgias-increasing-suppression-of-asian-american-voters/, accessed December 26, 2022; “No street
            address, no vote? ND, Native Americans settle voter ID lawsuit,” American Bar Association, February
            15, 2020, https://www.americanbar.org/news/abanews/aba-news-archives/2020/02/no-street-address--
            no-vote--nd--native-americans-settle-voter-id/, accessed December 26, 2022.
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           Gregory Krieg, “Eventually Trump? The GOP’s most vocal critics are falling in line,” CNN, May 27,
            2016,               https://www.cnn.com/2016/05/25/politics/donald-trump-republican-party-flip-flop-
            opposition/index.html, accessed December 26, 2022.
                                                         127
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2087   Barack Obama’s presidency. 418 Trump launched his own presidential bid deriding Latinos as

2088   “rapists” and criminals and promising to “build a great wall” along the U.S./Mexico border. 419

2089   He repeatedly derided a U.S. Senator as “Pocahontas.” 420 He labeled COVID-19 “Kung flu” and

2090   the “Chinese virus.” 421 As a result of this and more, such as the embrace of white nationalists, 422

2091   89% of African American women and 82% of African American men described Trump as a

2092   president who either was hostile to or didn’t care about Black people. 423 One columnist, thus,

2093   noted that while the majority of white voters did not repudiate Trump, African Americans did so

2094   decisively. 424

2095             And, Black voters did so again to Trump-endorsed senators, Loeffler and Perdue.

2096   Defying the historical pattern of a significant drop in voter turnout during the runoffs, Black




       418
             Gregory Krieg, “14 of Trump’s most outrageous ‘birther’ claims – half from after 2011,” CNN,
              September 16, 2016, https://www.cnn.com/2016/09/09/politics/donald-trump-birther/index.html,
              accessed December 26, 2022.
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             Amber Phillips, “‘They’re rapists.’ President Trump’s campaign launch speech two years later,
              annotated,” Washington Post, June 16, 2017, https://www.washingtonpost.com/news/the-
              fix/wp/2017/06/16/theyre-rapists-presidents-trump-campaign-launch-speech-two-years-later-
              annotated/, accessed December 26, 2022.
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             Ali Vitali, “Trump calls Warren ‘Pocahontas’ at event honoring Native Americans,” NBC News,
              November 27, 2017, https://www.nbcnews.com/politics/white-house/trump-calls-warren-pocahontas-
              event-honoring-native-americans-n824266, accessed December 26, 2022.
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              “Donald Trump calls Covid-19 ‘kung flu’ at Tulsa rally,” The Guardian, June 20, 2020,
              https://www.theguardian.com/us-news/2020/jun/20/trump-covid-19-kung-flu-racist-language,
              accessed December 26, 2022.
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             John Haltiwanger, “Trump has repeatedly been endorsed by white supremacist groups and other far-
              right extremists, and they’ve looked to him as a source of encouragement,” Business Insider, September
              30, 2020, https://www.businessinsider.com/trumps-history-of-support-from-white-supremacist-far-
              right-groups-2020-9, accessed December 26, 2022; Kathleen Belew, “Insurrection,” in Myth America:
              Historians Take on the Biggest Legends and Lies About our Past, ed. Kevin M. Kruse and Julian E.
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             NAACP, et al, “The Impact of the Black Vote: Findings of the 2020 American Election Eve Poll,” p.
              24, https://naacp.org/resources/2020-american-election-eve-poll, accessed December 26, 2022.
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             Suzette Hackney, "Black voters steer America toward moral clarity in presidential race," USA Today,
              November 12, 2020, https://www.usatoday.com/story/opinion/voices/2020/11/12/americans-didnt-
              repudiate-donald-trump-but-black-voters-did-column/6222692002/, accessed December 20, 2022.
                                                            128
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2097   voter turnout actually exceeded white voter turnout in this election.425 The January 5, 2021

2098   Senate runoff contest led to the victory of two Democrats, which flipped the U.S. Senate to

2099   Democratic-control. “Black voters increased from 29% of the electorate [during the General

2100   Election] to 32%. This relatively high turnout propelled Democrat Raphael Warnock to become

2101   Georgia’s first ever elected Black senator; 94% of Black voters cast their ballot for Warnock,

2102   identical to the percentage who voted for [Jon] Ossoff.”426

2103           The next day, however, fueled by months of far too many Republicans claiming that

2104   people in Atlanta, Philadelphia, Detroit, Milwaukee, and Maricopa County stole the election, a

2105   bloody insurrection erupted at the U.S. Capitol on January 6, 2021. The goal was to stop the

2106   counting of the Electoral College votes and the certification of the results of the presidential

2107   election, and then install Trump as the President of the United States. The planning for this

2108   overthrow was in the works for months, but an incendiary speech at the Ellipse on January 6,

2109   2021 was the starter pistol for the uprising.427

2110           “Trump told the crowd to ‘fight like hell,’ said ‘we will not take it anymore’ and repeated

2111           his false claims that the election was stolen from him through widespread voting fraud.

2112           Trump exhorted his followers to go to the Capitol. The ensuing rampage interrupted the




       425
           Bernard L. Fraga, Zachary Peskowitz, and James Szewczyk, “New Georgia runoffs data finds that more
            Black voters than usual came out. Trump voters stayed home,” Washington Post, January 29, 2021,
            https://www.washingtonpost.com/politics/2021/01/29/new-georgia-runoffs-data-finds-that-more-
            black-voters-than-usual-came-out-trump-voters-stayed-home/, accessed December 28, 2022.
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           Craig Helmstetter, “Who Voted in Georgia’s Runoff Elections?” APM Research Lab, January 7, 2021,
            https://www.apmresearchlab.org/blog/who-voted-in-georgias-runoff-elections, accessed April 24,
            2022.
       427
           Select Committee to Investigate the January 6th Attack on the United States Capitol, Final Report, 499-
            540.
                                                          129
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2113           congressional certification of President Joe Biden’s election victory, sent lawmakers into

2114           hiding and left five people dead including a police officer.”428

2115   The mob was chanting “hang Mike Pence” because the vice-president refused to accept the fake

2116   electors and throw the election to Trump.429

2117           It took hours, but once the mob had been driven out of the Capitol and the certification of

2118   the election began in earnest, Trump ally, Lindsey Graham, who had previously asked Giuliani’s

2119   team for evidence to support the allegations of fraud, expressed his frustration on the Senate

2120   floor about the lack of proof:

2121           “They said there’s 66,000 people in Georgia under 18 voted. How many people believe

2122           that? I asked, ‘Give me 10.’ Hadn’t had one. They said 8,000 felons in prison in Arizona

2123           voted. Give me 10. Hadn’t gotten one . . . I don’t buy this. Enough’s enough. We’ve got

2124           to end it.” 430

2125           That should have been the end of it, but it was not. “While they may not have stormed the

2126   U.S. Capitol on Jan. 6, a group of Republican state senators in Georgia took extraordinary

2127   measures of their own to overturn the November presidential results . . . despite no evidence of

2128   widespread fraud or misconduct.” 431 But it is worse than that. They were willing to overturn the




       428
           Jan Wolfe, “‘He invited us’: Accused Capitol rioters blame Trump in novel legal defense,” Reuters,
            February 2, 2021, https://www.reuters.com/article/us-usa-trump-capitol-defense/he-invited-us-
            accused-capitol-rioters-blame-trump-in-novel-legal-defense-idUSKBN2A219E, accessed August 2,
            2022.
       429
           “Here’s every word of the third Jan. 6 committee hearing on its investigation,” NPR, June 16, 2022,
            https://www.npr.org/2022/06/16/1105683634/transcript-jan-6-committee, accessed August 2, 2022.
       430
           Select Committee to Investigate the January 6th Attack on the United States Capitol, Final Report, 230.
       431
           David Armstrong, Stephen Fowler, Isaiah Poritz, and Emily Garcia, “Few Consequences So Far For
            Georgia Senators Who Pushed Election Misinformation,” GPB News, February 12, 2021,
            https://www.gpb.org/news/2021/02/11/few-consequences-so-far-for-georgia-senators-who-pushed-
            election-misinformation, accessed July 18, 2022.
                                                          130
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2129   November presidential results even when confronted with irrefutable evidence in legislative

2130   hearings, 432 court decisions, 433 audits,434 a hand recount, 435 investigations by the GBI and the

2131   FBI that there were no suitcases of ballots in Fulton County, 436 pronouncements by government

2132   officials in the DOJ and Homeland Security that the election was not stolen but instead “the most

2133   secure in American history,”437 that no-one underage voted, 438 that there was no fraud with the

2134   signature verification process for absentee ballots in Cobb County,439 that people who lived

2135   above a Fed-Ex shop were not using P.O. boxes for their address, 440 that there were not

2136   thousands of dead people voting, 441 and that the drop boxes were not dumping grounds for

2137   people in the cities to cast more than one ballot. 442 Instead, the Republican state senators’

2138   willingness to trample on American democracy, to overturn the will of millions of voters,

2139   including the majority of African Americans, Hispanics, and Asian-Americans who voted for

2140   Biden, and to do so on the basis of a well-documented lie, set the stage for the law, SB 202, that




       432
           Second Session Georgia General Assembly, December 3, 2020, 33.
       433
           Rutenberg, Corasaniti, and Feuer.”
       434
           Georgia House Committee on Government Affairs, hearing, December 10, 2020, 293-294.
       435
           Georgia Senate Government Oversight Committee, hearing, December 3, 2020, 51-53.
       436
            Select Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of
            Representatives, Interview of: Brad Raffensperger, 51-52.
       437
           Jonathan D. Karl, “Inside William Barr’s Breakup with Trump”; Joint Statement from Elections
            Infrastructure Government Coordinating Council & The Election Infrastructure Sector Coordinating
            Executive Committees, press release, November 12,            2020,
            https://www.cisa.gov/news/2020/11/12/joint-statement-elections-infrastructure-government-
            coordinating-council-election, accessed November 27, 2021.
       438
           Select Committee to Investigate the January 6th Attack on the United States Capitol, Final Report, 257,
            fn. 290.
       439
           Wickert, Sabetai, Niesse, Mitchell, Prabhu, and Bluestein, “How the campaign to undermine Georgia’s
            election unfolded.”
       440
           Georgia House Governmental Affairs Committee, hearing, December 10, 2020, 75-83.
       441
           Select Committee to Investigate the January 6th Attack on the United States Capitol, Final Report, 230-
            231.
       442
           Georgia Senate Government Oversight Committee, hearing December 3, 2020, 41, 43.
                                                          131
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2141   the nearly all-white Republican-supermajority state legislature passed under the guise of

2142   “election integrity.”

2143           Indeed, after the bloody insurrection at the Capitol on January 6, 2021, Georgia Lt.

2144   Governor Geoff Duncan, who is a white Republican, wrote “surely, GOP leaders would end their

2145   preoccupation with fraud and falsehood, stop damaging the party’s brand, and start helping real

2146   people solve real problems. So what did Republican leaders do in early 2021? . . . They reached

2147   for an easier lever to pull: election reform . . . Because they got scared, GOP leaders became too

2148   focused on making voting more difficult.”443 In Georgia, he noted, they would couch their

2149   legislative efforts as a way to “boost voter confidence . . . but,” he asked, “didn’t voter

2150   confidence in elections fall because of the misinformation they themselves spread? Come on,”

2151   Duncan added, “nobody should get credit for purposely creating a crisis then swooping in with a

2152   solution. And in this case, my fellow Republicans were swooping in with a solution in search of

2153   a problem. Georgia does not have a fraud issue.” 444

2154           This conclusion was buttressed by federal and state judges and politicians who examined

2155   the array of claims about Georgia’s election in “Lost, Not Stolen.” They asserted, “There was no

2156   widespread voter fraud in Georgia.” 445

2157           W.       The Legislative Path to SB 202

2158           Despite the jarring, violent attempt to overthrow the U.S. government on the basis of a

2159   well-documented lie, the very next day, January 7, 2021, David Ralston, then-Speaker of the

2160   Georgia House of Representatives, announced that “he would form a standalone, special




       443
           Duncan, GOP 2.0, 106-107.
       444
           Duncan, GOP 2.0, 110.
       445
           Danforth, et al., “Lost, Not Stolen,” 32.
                                                        132
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2161   committee on election integrity to look at the state’s election laws.” The Special Committee on

2162   Election Integrity had thirteen members,446 ten of whom were white Republicans. The four

2163   Democrats on the committee were African American. 447 Ralston, a white Republican, said that

2164   this new committee would not look back but forward. 448 That, of course, was not the case.

2165           In the first few months of 2021, as Lieutenant Governor Duncan noted, Georgia’s white

2166   Republican legislators proposed and backed nearly 50 bills that overwhelmingly went after the

2167   methods that African Americans, Latinos, and Asian Americans used to vote in both 2020 and

2168   the 2021 runoff. Those bills treated as valid the debunked myths about voting machines,

2169   ineligible voters flooding the polls, fraudulent absentee ballots, corruption in Fulton County,

2170   vulnerable drop boxes, and a stolen election. All those bills, the white Republicans declared,

2171   would reinstall confidence in the election system. 449 Exactly whose confidence was shaken was

2172   never addressed. All of this legislative chaos as one bill supplanted the next, some provisions

2173   deleted, others enhanced, a section grafted onto another, and finally merged into SB 202, which

2174   began as a two-page proposal, exploded into 93-pages, and ended up as a 98-page piece of

2175   legislation targeted at a voting problem that did not exist. The series of audits, recounts, and

2176   investigations had – despite Trump’s and Giuliani’s charges – demonstrated that there was no



       446
           Election Integrity Special Committee members were: Stan Gunter, chair, (R-8), Alan Powell, vice chair,
            (R-32), Kimberly Alexander (D-66), Shaw Blackmon (R-146), Rhonda Burnough (D-77), Buddy
            DeLoach (R-167), Demetrius Douglas (D-78), Houston Gaines (R-117), Jan Jones (R-47), Chuck
            Martin (R-49), Bonnie Rich (R-97), Lynn Smith (R-70), Rick Williams (R-145).
       447
           Georgia House Special Committee on Election Integrity, meeting notice and agenda, February 19, 2021
            for February 22, 2021 at 3:00 pm.
       448
           Emil Moffatt, “Speaker Ralston Announces Election Integrity Committee That Will Focus on ‘Moving
            Forward,’” WABE, January 7, 2021, https://www.wabe.org/speaker-ralston-announces-election-
            integrity-special-committee-that-will-focus-on-moving-forward/, accessed June 25, 2022.
       449
           Georgia Senate Committee on Ethics, Multi-SB, February 18, 2021, 33, 51; Georgia House Special
            Committee on Election Integrity, HB 531, February 19, 2021, 12, 39, 210; Georgia House Special
            Committee on Election Integrity, HB 531, February 22, 2021, 18, 48, 49, 50.
                                                         133
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2177   massive, widespread voter fraud. There were not thousands of dead people voting, or a slew of

2178   Georgians voting in multiple states, or nearly 20,000 ballots scanned numerous times or

2179   surreptitiously, nor malfeasance in the handling and counting of ballots to inflate Biden’s

2180   tally. 450 There was no evidence of drop boxes being tampered with or used as a dump site for

2181   fake absentee ballots. 451 In short, the high voter turnout and the exponential use of absentee

2182   ballots by African American, Asian American, and Latino voters, did not result in a stolen

2183   election. Just the opposite. It demonstrated a commitment of American citizens to vote in the

2184   midst of a deadly pandemic.

2185           So much of the path to SB 202 and the law itself focused on treating the allegations of the

2186   Big Lie of voter fraud and a stolen election as legitimate. The elements of the Big Lie, which

2187   would funnel into SB 202, continued to, as discussed below, dominate the legislative

2188   proceedings – attacks on Fulton County and its racially-diverse voters; unwarranted suspicions

2189   about the security of drop boxes and absentee ballots that were now used successfully by African

2190   Americans, Asian Americans, and Latinos; leeriness about early voting times and days;

2191   suspicions over the efforts of civic organizations and their African American, Latino, and Asian

2192   American constituents – with white Republican legislators claiming that the primary concern was

2193   election integrity and increasing the confidence of voters in the security of the election process.

2194           The following summary of the hearings distills those discussions and reflects the caliber

2195   of the legislative session.




       450
            David Wickert, “Five Fraud Claims: What Investigators Found,” Atlanta Journal-Constitution,
            December 30, 2021, https://www.ajc.com/politics/election/five-fraud-claims-what-investigators-
            found/ISF2NV2RKBF2TIEI4ULXWJFZNA/, accessed April 23, 2022.
       451
           Izaguirre and Cassidy, “No major problems with ballot drop boxes in 2020, AP finds.”
                                                       134
             Case 1:21-mi-55555-JPB Document 566-49 Filed 05/30/23 Page 136 of 217




2196           X.      The Big Lie and the Assumption of Racial Criminality in Atlanta and Fulton
2197                   County
2198
2199           The February 22, 2021 hearing of the Election Integrity Special Committee was replete

2200   with the conspiracy theories and racialized allegations of voter fraud that drove the Big Lie.

2201   Chairman Barry Fleming recapped how HB 531, proposed by seven white Republicans – Barry

2202   Fleming, Jan Jones, Alan Powell, Shaw Blackmon, Lynn Smith, Ricky Williams, and Michael

2203   Dugan – would alter Georgia election law. The Republican-sponsored bill proposed, among

2204   other items, special security paper for ballots (ostensibly to counteract the reams of fake ballots

2205   that flooded into Fulton County);452 required only a 14-day notice to close or change early voting

2206   precincts; provided public notice of testing of voting machines (feeding into the narrative about

2207   Dominion voting machines being controlled by Venezuelans and flipping votes from Trump to

2208   Biden); 453 and mandated that government officials could no longer send out unsolicited absentee

2209   ballot applications. 454

2210           HB 531 also tried to make real the other allegations in the Big Lie – thousands of

2211   fraudulent absentee ballots, NGOs’ buying votes by providing water and food to those waiting in

2212   long lines to vote, insecure drop boxes subject to ballot stuffing, the nine weeks between the

2213   general election and the runoff for federal offices wrongly padding the voter rolls, and more.




       452
           Caleb Parke, “Georgia county voting tech alleges ‘disturbing’ mishandling of ballots,” Fox News,
            December 8, 2020, https://www.foxnews.com/politics/georgia-election-fulton-county-bridget-thorne-
            unsecure-ballots-friends, accessed August 7, 2022.
       453
           Reuters Staff, “Fact check: Dominion is not linked to Antifa or Venezuela, did not switch U.S. 2020
            election votes in Virginia and was not subject to U.S. army raid in Germany,” Reuters, November 26,
            2020, https://www.reuters.com/article/uk-factcheck-dominion-idUSKBN2861TB, accessed August 8,
            2022.
       454
           Georgia House Special Committee on Election Integrity, HB 531, February 22, 2021, 9, 10, 14.
                                                        135
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2214           Representative Zulma Lopez (D-86), a Latina Democrat, succinctly summarized the

2215   Republicans’ efforts: “The false narrative of election fraud is behind this bill.”455 Liz Throop, a

2216   voter in DeKalb County, testified that “this Committee on Election Integrity is considering HB

2217   531, and it’s an everything but the kitchen sink bill that doesn’t do a lot to further election

2218   integrity.”456

2219           Nor was the committee designed to actually strengthen election integrity. As April

2220   England-Albright, Legal Director of Black Voters Matter Fund, observed, the drafting of the new

2221   law did not attempt, “to resolve issues with Georgia’s underresourced voting infrastructure [such

2222   as] proposing bills that deal with shortage of polling locations, polling staff, ending intimidation

2223   of poll workers, and investing in more ballot drop boxes and more technology to expand access

2224   to voters in the state.”457 And, notwithstanding the prevalence of Republican state senators who

2225   signed off on an amicus curiae brief to override the majority of African American, Hispanic, and

2226   Asian American votes in Georgia that led to Biden’s victory, the legislature did not hold one

2227   hearing on the role played by elected officials who, in denying the results of an election—

2228   conduct that is akin to falsely yelling fire in a crowded theater—helped to fuel an insurrection. 458

2229   The authors of “Lost, Not Stolen” wrote, “Persons who claim that a democratic election has been

2230   tainted by fraud bear a burden, both in court and in public discourse, to rely on provable facts

2231   and actual evidence. It is poisonous to our system for people . . . to lodge allegations of voting




       455
           Georgia House Floor, SB 202, March 25, 2021, 44.
       456
           Georgia House Special Committee on Election Integrity, HB 531, February 22, 2021, 19.
       457
           Georgia House Special Committee on Election Integrity, HB 531, February 23, 2021, 4.
       458
           Chris Joyner, “Georgia’s Jan. 6 defendants: Where are they now?” Atlanta Journal-Constitution, January
            5,            2022,              https://www.ajc.com/news/georgias-jan-6-defendants-where-are-they-
            now/IV7B3ZVLY5BSXNQNMIDDGMYUUU/, accessed August 8, 2022.
                                                         136
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2232   fraud without being able to back them up.”459 State Senator Jen Jordan (D-6), a white Democrat,

2233   thus, “drew a straight line between the stories told by many of her Republican colleagues, that

2234   Trump’s second term was stolen – and the violence that shook the nation last week [on January

2235   6, 2021] . . . ‘Members of this body aided and abetted the spread of information. They gave

2236   oxygen to a lie . . . Words are powerful,’” Jordan continued, “‘especially when they come from

2237   those elected to represent the people. Those with official titles, those with power – and lies have

2238   consequences.’” 460

2239           SB 202 is a consequence of those lies. 461 Lies rooted in an age-old tale of racial

2240   minorities stealing elections, as detailed above. Lies designed to justify disfranchising racial

2241   minorities under the guise of election integrity, as detailed above. Newt Gingrich asserted that

2242   those in Atlanta, Philadelphia, and Milwaukee – cities with sizeable African American

2243   populations – stole the presidential election. Trump and Giuliani stoked that lie by pointing to

2244   racially diverse Atlanta and Fulton County as the source of Georgia’s woes, as the site where

2245   Trump’s supposed victory was stolen. Giuliani said that African American poll workers in Fulton

2246   County were passing around ballots and USB ports like heroin and cocaine. In a Dalton, Georgia

2247   speech the day before the January 5, 2021 senate runoff, Trump claimed that he didn’t want

2248   Cobb County’s absentee ballots audited, he wanted the signatures checked in Fulton County. 462




       459
           Danforth, et al., “Lost, Not Stolen,” 42.
       460
           Jim Galloway, “Opinion: A letter that wasn’t delivered, and a lie that won’t go away,” Atlanta Journal-
            Constitution, January 12, 2021, https://www.ajc.com/politics/politics-blog/opinion-a-letter-that-wasnt-
            delivered-and-a-lie-that-wont-go-away/BUA3XRJR2BCMBF4GOOVSEQ7KO4/, accessed August 5,
            2022.
       461
           Georgia House Floor, SB 202, March 25, 2021, 65.
       462
           “Donald Trump Rally Speech Transcript Dalton, Georgia: Senate Runoff Election,” January 4, 2021,
            https://www.rev.com/blog/transcripts/donald-trump-rally-speech-transcript-dalton-georgia-senate-
            runoff-election, accessed August 5, 2022.
                                                          137
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2249   The implication was clear. Whereas more than 61% of Cobb County’s population is white,

2250   Fulton County is almost the reverse where more than 55% of its residents are African American,

2251   Native American, Asian American, and Hispanic. 463 Or, as Raffensperger explained to the

2252   January 6th Committee, “It was just part of the whole narrative that we had heard post-election . .

2253   . [t]hat Fulton County, you know, had done something wrong, and that was just their focus about

2254   Fulton County.”464

2255           Those lies about an election stolen by minority voters, combined with the near record-

2256   setting turnout in November 2020 and the senate runoff in January 2021, the diverse

2257   demographic make-up of voters, and the decisive impact they had on the outcome of the

2258   elections, led to nearly 50 Republican-sponsored bills, including HB 531, SB 67, SB 184, SB 70,

2259   SB 241, and eventually SB 202. 465

2260           State Senator David Lucas (D-26), an African American Democrat, told the Republican

2261   senators during a hearing on February 23, 2021, that “Every last one of the election bills is about

2262   the election didn’t turn out the way y’all want and you want to perpetuate the lie that Trump

2263   told.” 466 Representative Angelika Kausche (D-50), a white Democrat, was equally explicit

2264   during a March 1, 2021 hearing on HB 531 about the motivations behind the Republicans’ push




       463
           U.S. Census, “Quick Facts: Cobb County, Georgia; Forsyth County, Georgia; Gwinnett County,
            Georgia;          DeKalb        County,        Georgia;      Fulton         County,      Georgia,
            https://www.census.gov/quickfacts/fact/table/cobbcountygeorgia,forsythcountygeorgia,gwinnettcount
            ygeorgia,dekalbcountygeorgia,fultoncountygeorgia/PST045221, accessed July 31, 2022.
       464
           Select Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of
            Representatives, Interview: of Brad Raffensperger, 98.
       465
            Georgia               General               Assembly,              Legislation            Search,
            https://www.legis.ga.gov/search?k=election&s=1029&p=1, accessed April 6, 2022; “Georgia
            Legislative               Search              About             Elections,”             LegiScan,
            https://legiscan.com/gaits/search?state=GA&keyword=Election, accessed April 6, 2022.
       466
           Georgia Senate Floor, SB 67, February 23, 2021, 24.
                                                       138
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2265   to rewrite Georgia’s election laws. The “challenges of the pandemic forced election officials to

2266   lead in how to provide access to the polls,” she said.

2267             “Dropboxes, mobile boxes, voting in giant stadiums, they went the extra mile to ensure

2268             that democracy was served and that everyone who wanted to vote could do so. And it

2269             worked because voters were able to use the choices they had to vote by mail, to vote early

2270             or to vote on Election Day . . . But it was a close election. And as Republicans were

2271             disappointed in their loss, the false narrative was born, and the lines between truth and

2272             fiction became more and more blurred. Months of relentless propaganda perfected

2273             through effective and officious use of social media strategies fueled the rise of conspiracy

2274             theories, consistently repeating lies over and over again until these lies were and still are

2275             perceived as truth by many . . . And, as a result, this bill, House Bill 531, has nothing to

2276             do with reality. It’s all about perception, and that is the problem . . . And beyond any

2277             ballot, the proposed legislative changes would work to the advantage of those voters for

2278             whom voting is already more accessible and disadvantage those for whom it’s not;

2279             mostly black, brown and poor voters.”467

2280             Y.      Reducing Time between General Elections and Runoff Elections

2281             A major concern of white Republican legislators after the January 5, 2021 runoff was the

2282   length of time between the general and runoff elections, and the ability to vote on the weekend

2283   during the runoff’s early voting period. Consequently, they sought to reduce the length of time

2284   between general and runoff elections from nine weeks to four weeks, and to eliminate guaranteed

2285   weekend voting during a runoff’s early voting period. As an initial matter, it is important to first



       467
             Georgia House Floor, HB 531 (Part 2), March 1, 2021, 35-37.
                                                          139
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2286   understand Georgia’s majority runoff requirement is an artifact of Jim Crow – as discussed

2287   above, the legislature implemented it to supplant the unconstitutional County Unit System and to

2288   make it more difficult for African American candidates to win elections.

2289             As discussed above, during the runoff, Black voter turnout was record-breaking and

2290   registration of new voters was in the tens of thousands, both of which were instrumental in the

2291   victory of Georgia’s first elected African American and Jewish U.S. senators. The hearing of the

2292   Special Committee on Election Integrity on February 17, 2021 on HB 531 focused on shortening

2293   the length of time between the general election and the runoff election. Representative Wes

2294   Cantrell (R-22), a white Republican, said that the nine-week period between the general election

2295   and the runoffs for federal office was “onerous” and it made Georgia an outlier. Other states, he

2296   noted, were able to hold their runoffs within three to four weeks after the general election. The

2297   nine weeks, he said, was because of the turnaround time to get absentee ballots for the runoff to

2298   military personnel and Georgians overseas. He proposed that the legislature reduce the time to

2299   four weeks by simultaneously providing the standard general election and ranked choice voting

2300   runoff ballots to military personnel stationed outside the United States and Georgians who are

2301   abroad. Pre-runoff ranked choice voting ballots, he extolled, obviated the need for nine weeks.

2302   Georgia, Cantrell noted, would then be in line with the practices of other states. He particularly

2303   pointed out that five states, which have sizeable military populations – Arkansas, Alabama,

2304   Louisiana, Mississippi and South Carolina – handle their runoffs in this way. 468 Scholars have




       468
             Georgia House Special Committee on Election Integrity, HB 531, February 17, 2021, 2-3.
                                                          140
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2305   ranked four of those states in the bottom 40 in the nation in terms of ease of voting, and

2306   Louisiana, the highest ranked in Cantrell’s group, is 31st out of the 50 states. 469

2307           But the context surrounding this proposal cannot be detached from its timing. Instead, the

2308   proposal to reduce the time between the general election and the runoff must be evaluated in the

2309   context of the historic electoral wins by Senators Warnock and Ossoff. Not only was the turnout

2310   substantial, but the number of new, first-time, African American voters was instrumental in that

2311   election. NBC News reported that between the general election in November and the last day to

2312   register before the runoff, almost 70,000 Georgians registered to vote, the majority of whom

2313   identified as Democrats. The “top four counties with the highest number of voters who registered

2314   after Nov. 3 [were] Fulton, Gwinnett, Cobb, and DeKalb,” all counties that Biden won by

2315   double-digit margins. Moreover, in Fulton County, “Fifty percent of newly registered voters

2316   [were] Black and 35 percent [were] white.” For DeKalb, “47 percent of newly registered voters

2317   [were] Black and 34 percent [were] white.” More than 67,000 of those registered appeared to be

2318   new voters who had no prior history of voting.470 The proposal to reduce the time between the

2319   general election and the runoff, thus, targets one of the mechanisms that African Americans used

2320   to vote and successfully elect their preferred candidate.

2321           Representative Demetrius Douglas (D-78), an African American Democrat, asked

2322   whether the reduced time would affect the ability of those who turned 18 after the general




       469
           Scot Schraufnagel, Michal J. Pomante II, and Quan Li, “Cost of Voting in the American States; 2022,”
            Election Law Journal 21, no. 3, (2022), DOI: 10.1089/elj.2022.0041, accessed January 1, 2023, p. 224.
            Mississippi is ranked 49th, Arkansas 48th, Alabama 45th, and South Carolina 43rd in the nation.
       470
           Rezwana Uddin, Stephanie Perry, and John Lapinski, “Thousands of voters registered for the Georgia
            Senate      races.     Who        benefits?”     NBC       News,       December       21,      2020,
            https://www.nbcnews.com/politics/2020-election/thousands-voters-registered-georgia-senate-races-
            who-benefits-n1251866, accessed August 5, 2022.
                                                         141
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2323   election to register and vote. Representative Cantrell said that they would still be able to register

2324   to vote. But that is not accurate. In the 2020 election, those who weren’t registered to vote by the

2325   general election on November 3, had until December 7 to register – more than a month.471 But

2326   the proposed four-week span between election and runoff would severely truncate the time new

2327   voters would have to register. Indeed, after the passage of SB 202, those who wanted to vote in

2328   the runoff elections for federal offices in 2022 had to register the day before the general election,

2329   that is, before they even knew there was a runoff.472 So, Representative Cantrell’s affirmative

2330   response was wrong.

2331           In addition, shortening the early voting period and eliminating the requirement that it

2332   include a weekend day targeted Black voters and other voters of color. Of course, the reduced

2333   early voting period means fewer days available to vote for all voters. However, early voting

2334   opportunities, especially weekend voting opportunities, are of particular importance in ensuring

2335   access to the ballot box for Black voters and other voters of color who disproportionately rely on

2336   weekend days to vote. In a study analyzing early voting patterns in Georgia’s primary, general,

2337   and runoff elections since 2016, scholars Michael C. Herron and Daniel A. Smith found that “the

2338   only days on which Black EIP [Early In-Person] voting rates are greater than White EIP voting

2339   rates are weekend days, and these are the only days that have been up for discussion” in the




       471
           “Georgia January 2021 runoff election voter guide,” 13WMAZ, November 18, 2020,
             https://www.13wmaz.com/article/news/local/georgia-january-2021-runoff-election-voter-guide/93-
             bd04ed66-acb4-45af-b371-becc71207967, accessed August 5, 2022.
       472
            Office of the Secretary of State of Georgia, Elections Division, “2022 Scheduled Elections Calendar of
             Events.”
                                                          142
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2340   legislative hearings. Yet, the scholars continued “there is no evidence . . . that weekend early

2341   voting is any more vulnerable to threats to election integrity than weekday early voting.”473

2342           Z.      Absentee Ballot ID

2343           On February 23, 2021, in the Senate Ethics Committee, Senator Larry Walker (R-20), a

2344   white Republican, brought up SB 67, a bill which dealt with scrapping the signature match

2345   protocol that was enacted by a settlement agreement between the Secretary of State’s office and

2346   the Democratic Party of Georgia and other parties, after the 2018 election that disproportionately

2347   rejected absentee ballots in the most diverse county in Georgia, Gwinnett. 474 The signature

2348   match program borne of this settlement agreement, which was in place for the 2020 election and

2349   the 2021 runoff, required that if upon an initial review the signature on the absentee ballot

2350   envelope did not match the voter’s signature in the database, two additional election workers had

2351   to review and compare the signature. Having three people, instead of one, review the signature,

2352   as well as training provided by the GBI for election workers, improved the accuracy of the

2353   decisions and reduced the rejection rates – as detailed below. The settlement agreement also

2354   established a protocol and timeframe for contacting the voter if something was awry or missing,

2355   to give the voter time to correct the error.475 SB 67 replaced this signature verification protocol




       473
           Michael C. Herron and Daniel A. Smith, “The Racial Politics of Early In-Person Voting in Georgia,”
            Journal of Election Administration Research & Practice (forthcoming 2022): 16. Emphasis in original.
       474
           Vasilogambros and National Journal, “The Most Diverse County in the Southeast Is Run Almost Entirely
            by White Politicians”; Mark Niesse and Tyler Estep, “High rate of absentee ballots thrown out in
            Gwinnett,” Atlanta Journal-Constitution, October 15, 2018, https://www.ajc.com/news/state--regional-
            govt--politics/high-rate-absentee-ballots-thrown-out-gwinnett/azdOsCxX2X6mT8PTrgZlJI/, accessed
            July 28, 2021.
       475
           Compromise Settlement Agreement and Release, Democratic Party of Georgia, Inc., DSCC, and DCCC
            vs. Raffensberger, et al.,, Case 1:19-cv-05028-WMR (N.D. Ga.) Document 56-1 Filed 03/06/20;
            Complaint for Injunctive and Declaratory Relief, Democratic Party of Georgia, Inc. v. Raffensperger,
            Case 1:19-mi-99999-UNA (N.D. Ga.) Document 3569 Filed 11/06/19.
                                                         143
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2356   with the requirement that a voter provide ID to request an absentee ballot. Walker argued that

2357   this was “an attempt to provide an easily verified way to confirm that the person requesting the

2358   ballot is indeed who they say they are and that live ballots are only issued to legal voters.”

2359   Walker asserted that 97% of voter-eligible Georgians had either a driver’s license or state-issued

2360   ID. If someone did not have one, they were available for “free.” He, therefore, offered assurances

2361   that there “is nothing in here that is an attempt to make it harder to vote or to obstruct people

2362   from being able to vote by absentee.” 476 “It’s not about disenfranchising voters.”477 This was,

2363   Walker made clear, an election integrity, security measure.

2364           As discussed above, in December 2020, nearly half of Republican state senators had

2365   signed onto a Texas lawsuit alleging – once again without any proof – that there were “80,000

2366   forged signatures on absentee ballots in Georgia.”478 Walker said, the “only people I can think of

2367   that would oppose this [bill] are people that are trying to fraudulently request an absentee

2368   ballot.” 479

2369           The Democratic state senators, including Black Democrats, dismissed the false binary,

2370   and challenged SB 67 and Walker’s assertions. Senator Kim Jackson (D-41), a Black legislator,

2371   rose in opposition, in part, because, despite Walker’s claim, the IDs were not “free.” She said,

2372   “according to the code . . . Article 1 of Chapter 5 of Title 40, of our official code, in fact, if you




       476
           Georgia Senate Committee on Ethics, Multi-SB, February 18, 2021, 21.
       477
           Georgia Senate Floor, SB 67, February 23, 2021, 26.
       478
           Emma Platoff, “In new lawsuit, Texas contests election results in Georgia, Wisconsin, Michigan,
            Pennsylvania,” Texas Tribune, December 9, 2020, https://www.texastribune.org/2020/12/08/texas-
            ken-paxton-election-georgia/, accessed July 18, 2022.
       479
           Georgia Senate Committee on Ethics, Multi-SB, February 18, 2021, 28.
                                                         144
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2373   are a pauper, if you are poor, an ID costs you $5. So it is not free in order to get an ID.” 480 In

2374   short, this looked like a poll tax.

2375           Senator Emmanuel Jones (D-10), a Black legislator, explored the disfranchising

2376   component of SB 67 from another angle. Noting that this bill privileges those who already have

2377   ID, the “author of this legislation [Walker] has already said that 3 percent would be

2378   disenfranchised[.]” Well, Jones continued, “I know in the black and Latino community, that

2379   percent is much higher than 3 percent. It could be as high at 15 percent . . . isn’t this bill directed

2380   toward black and Latino voters, and the effect of this bill would suppress their vote and not allow

2381   them the opportunity to vote or to request that absentee ballot, which is very effective.”481

2382           Senator Jen Jordan, a white Democrat, questioned jettisoning the signature match

2383   verification for a process that was significantly less secure. “If the purpose of this bill is to

2384   increase security, why not leave it in? Indeed, the states that have moved to complete vote-by-

2385   mail programs use signature match systems themselves . . . strengthened [with] . . . technology to

2386   make them more accurate. So I’m not sure why we’re saying that we want security and” are

2387   moving away from it. She then took aim at proposals to require that voters put ID information on

2388   the absentee ballot envelopes, and have photocopies of IDs sent in from those who did not

2389   request an absentee ballot through the secretary of state’s web portal. The possibility of identity




       480
           Georgia Senate Floor, SB 67, February 23, 2021, 16; see, 2010 Georgia Code: Title 40 – Motor Vehicles
            and Traffic, Chapter 5 – Drivers’ Licenses, Article 5 –Identification Cards for Persons Without Drivers’
            Licenses, §40-5-103 – Fee; issuance period; application for renewal of an identification card,
            https://law.justia.com/codes/georgia/2010/title-40/chapter-5/article-5/40-5-103/, accessed August 11,
            2022.
       481
           Georgia Senate Floor, SB 67, February 23, 2021, 28-29.
                                                           145
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2390   theft was rife in this kind of system. Senator Jordan was convinced that nothing in this bill

2391   strengthened security. 482

2392           Senator Walker’s insistence that voter IDs for absentee ballots ensured security ignored

2393   that security was not breached in the 2020 election, as the number of investigations proved and

2394   as the audits affirmed and reaffirmed. Georgia Secretary of State Brad Raffensperger testified

2395   under oath before the U.S. House of Representatives January 6th Committee that “We counted

2396   the ballots with — the first tabulation would be scanned. Then when we did our 100 percent

2397   hand audit of the entire — all five million ballots in the state of Georgia, all cast in place, all

2398   absentee ballots, they were all hand recounted, and they came remarkably close to the first

2399   count.” 483 In fact, the audit in Cobb County for absentee ballots initially found that out of more

2400   than 15,000 absentee ballots, there were “two cases of problematic scenarios.” Kevin Sinha, a

2401   precinct manager in Cobb County, testified before the Special Committee on Election Integrity

2402   on February 19, 2021. “Let me confirm for you what those were . . . In both cases, the identified

2403   voters filled out the ballots themselves. Those were two cases out of 15,118 ballots that were

2404   audited that found issues. It’s not even fraud . . . There was – I think technically zero percent

2405   fraud.”484

2406           What apparently made absentee ballots insecure, therefore, was not the method to verify

2407   identity but rather the racial identity of those who used them. Absentee ballots, which had been

2408   in widespread use largely by white voters in Georgia since 2005, did not garner this level of




       482
           Georgia Senate Floor, SB 67, February 23, 2021, 18-20.
       483
           “House Jan. 6 committee hearings: Here’s every word from the fourth Jan. 6 committee hearing on its
            investigation.”
       484
           Georgia House Special Committee on Election Integrity, HB 531, February 19, 2021, 62-63.
                                                         146
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2409   scrutiny until African Americans and other minorities used them en route to electoral victories.

2410   The first indication of this in Georgia was in 2010 when then-Secretary of State Brian Kemp

2411   launched an investigation aided by the Georgia Bureau of Investigation of twelve African

2412   Americans in Quitman, Georgia, who had learned the rules of absentee ballots, encouraged their

2413   previously non-voting neighbors to use this accessible method of casting a ballot, and “flipped

2414   the majority-white school board in the small town of Quitman.” Kemp had them arrested and the

2415   local district attorney charged twelve African Americans “with 120 separate felony counts of

2416   voter fraud.” 485 After four years, no-one was convicted and all the charges were dropped but the

2417   message was clear: absentee ballots were a “whites only” affair.486

2418           Similarly, in 2020, after African Americans used absentee ballots more than white voters

2419   in Georgia and decided the presidential election, security, once again, became an issue. As the

2420   U.S. Department of Justice noted: “In November 2020, 29.27 percent of Black voters cast an

2421   absentee ballot, compared to 23.88 percent of white voters. In the January 2021 general election

2422   runoff, 27.65 percent of Black voters cast an absentee ballot, compared to 21.72 percent of white

2423   voters.” 487 The GBI investigated. Trump wanted Fulton County’s absentee ballots audited. And

2424   now, Republicans in the Georgia legislature were using the language of security to alter the way

2425   the identity of voters was verified.




       485
           Equal Justice Initiative, “A Georgia Voter Fraud Prosecution and Voter Suppression,” August 16, 2019,
            https://eji.org/news/georgia-voter-fraud-prosecution-ploy-suppress-black-votes/, accessed August 12,
            2022.
       486
           Charles P. Pierce, “This Is What Brian Kemp Was Up to Before He Became Governor of Georgia,”
            Esquire, August 6, 2019, https://www.esquire.com/news-politics/politics/a28626189/brian-kemp-
            georgia-voter-suppression-intimidation/, accessed January 2, 2023.
       487
           United States of America v. The State of Georgia, et al, Case 1:21-cv-02575-JPB Document 1 Filed
            06/25/21, https://www.justice.gov/crt/case-document/file/1445166/download, accessed August 12,
            2022.
                                                         147
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2426           Similar to the cavalier manner in which the Republicans in the Georgia legislature

2427   implemented a voter ID law in 2005 without ascertaining the racial impact on access to the ballot

2428   box for African Americans, in this latest iteration, no real work was done to assess the impact on

2429   voting for Latinos, Asian Americans, and African Americans. Instead, when Democratic state

2430   senators and NGO representatives, such as Reverend Major Woodall, then-State President of the

2431   Georgia NAACP, raised the point, the Republican legislators were dismissive. For example,

2432   when Representative Barry Fleming, who had asked Woodall to explain why requiring an ID

2433   blocked access to the ballot box, was told about the difficulty of those without a Social Security

2434   Number or driver’s license getting an ID number from the registrar that, as prior litigation has

2435   revealed, does not easily translate into the state’s voter database, Fleming interjected, “You

2436   explained. . . .I disagree.”488

2437           Senator Lawrence Walker III (R-20), a white legislator, said that he did not think that

2438   getting an ID was an undue burden; people were just going to have to make a little effort if they

2439   wanted to get a government issued ID, and that if a citizen had some concerns about turning over

2440   their private information to the government, then their option is simple. “Don’t vote.”489

2441           Despite the concerns raised by the head of the Georgia NAACP, Black and white

2442   Democrats, and evidence that there were no security issues with signature verification to justify

2443   the change, white Republicans voted to require an ID to request an absentee ballot application, a

2444   measure that became law as incorporated in SB 202.




       488
           Georgia House Special Committee on Election Integrity, HB 531, February 22, 2021, 29-31. Woodall
            then went on to explain about pre-detention detainees, who are disproportionately African American
            and innocent before proven guilty, don’t have access to their driver’s license while in jail, or if they do,
            it is at a cost, which is a poll tax.
       489
           Georgia Senate Committee on Ethics, Multi-SB, February 18, 2021, 33, 37.
                                                             148
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2445             AA.     Poll Closures and Reduced Early Voting

2446             SB 241, a precursor to SB 202, is an exemplar of the legislative attack on the right to

2447   vote. Lt. Governor Geoff Duncan wrote, “It [SB 241] had only Republican support and would,

2448   among other things, eliminate no-excuse absentee voting (mail-in voting) for people under age

2449   65 and limit weekend voting. State House Republicans introduced their version of the bill at the

2450   same time. It included several provisions with which I was uncomfortable, including severely

2451   limiting Sunday voting . . . I felt the new bills made it harder for my constituents to vote—not

2452   just harder to cheat … It was a vehicle to let senators and representatives pander to the right

2453   fringe by including restrictive measures. Some members who supported these elements quietly

2454   told me, ‘We’re just getting it on record for our base. It’ll never make the final version of the

2455   bill.’”490

2456             Speaking about SB 241 and its House companion HB 531, Representative Bee Nguyen

2457   (D-89), an Asian American legislator, said, “Here’s the truth. Hundreds of thousands of voters on

2458   both sides of the aisle took advantage of expanded weekend voting in ’20 and 2021. We know

2459   that forcing counties to choose between Saturday and Sunday voting is targeting black voters

2460   who have used souls to the polls to cast their votes. Over 71,000 Georgians use Sunday voting,

2461   and 37 percent of those were black voters.”491

2462             Alex Wan, chair of the Board of Registrations and Elections in Fulton County, gave the

2463   legislators a sense of the impact of the bill. He called “reducing weekend voting – for Fulton”

2464   County an “onerous restriction[].” He noted that for the general election there were “44,000




       490
             Duncan, GOP 2.0, 109-110.
       491
             Georgia House Floor, HB 531 (Part 2), March 1, 2021, 107.
                                                          149
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2465   votes in November [2020], which is more than 146 counties in Georgia during the entire voting

2466   period.” 492

2467           Woodall, then-President of the Georgia NAACP, had also laid out how troubling the

2468   proposed reduction in days and hours for early voting and the further closing and consolidating

2469   of early voting precincts were under SB 241. Both of these, he explained, would wreak havoc on

2470   the right to vote. He noted how, during the last election, African Americans’ voter turnout rate

2471   surpassed that of white Georgians in 107 of the state’s 159 counties. He also said that voters “in

2472   predominantly black neighborhoods wait on average 29 percent longer than those in non-black

2473   neighborhoods. They’re also 74 percent more likely to wait for more than half an hour to

2474   vote.” 493 Indeed, research studies and reporting demonstrate these disparities. 494 The proposed

2475   changes would only exacerbate those differences in access to the ballot box. Poll closures in

2476   Georgia, Woodall observed, “always disproportionately come and show up in African American

2477   communities. And we saw that again during the last election cycle. The precincts that were most

2478   at risk of closure before election day would have affected nearly 5 – I mean 50,000 Georgian

2479   voters, which constituted about 6 percent of all voters that showed up in the last election.”495

2480           This was a twin-pincer motion, a vise grip on African American, Asian American, and

2481   Latino voters. After Shelby County v. Holder, more than 200 polling places closed in Georgia, 496

2482   mostly in minority and poor communities. Pushing voters into fewer and fewer polling spaces




       492
           Georgia Senate Committee on Ethics, HB 531, March 16, 2021, 45.
       493
           Georgia House Special Committee on Election Integrity, HB 531, February 22, 2021, 32.
       494
           Fowler, “Why Do Nonwhite Georgia Voters Have To Wait In Line For Hours?”
       495
           Georgia House Special Committee on Election Integrity, HB 531, February 22, 2021, 33-34.
       496
           Leadership Conference on Civil and Human Rights, “Democracy Diverted: Polling Place Closures and
            the Right to Vote,” September 2019, http://civilrightsdocs.info/pdf/reports/Democracy-Diverted.pdf,
            accessed January 2, 2023.
                                                        150
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2483   and, via the proposal of SB 241/HB 531, with truncated time to vote, was designed to wreak

2484   havoc and create long lines at the ballot box, particularly for African American, Latino and

2485   Asian American voters who were driving the increase in voter registrations. Scholars have found

2486   that “moving a polling place can affect”—and not for the better—“the decision to vote.”497

2487             Despite the concerns raised and data provided by the NAACP representative and

2488   Democratic legislators, white Republicans, who treated election law as catnip for their right-wing

2489   base, included in SB 202 a readjustment of the allowable time to vote. After the political theater

2490   threat to ban it, optional Sunday voting remains available. Weekend voting hours, however as

2491   described above, are curtailed during runoffs. And, as the Atlanta Journal-Constitution noted,

2492   “The voting law requires a second Saturday of early voting statewide before general and primary

2493   elections, which expands early voting hours for rural, Republican-leaning counties that didn’t

2494   previously offer two Saturdays.” 498

2495             BB.     Line Warming

2496             In December 2020, Secretary of State Brad Raffensperger’s office said it would “crack

2497   down on groups that give stuff to people in voting lines, such as food or bottles of water, calling

2498   the practice a ‘loophole to conduct political activity in violation of state law.’” Known as “line

2499   warming” Raffensperger said that “the practice can be used to ‘inappropriately influence voters

2500   in the crucial final moments before they cast their ballots’ and that voting line giveaways ‘violate

2501   the protections Georgia law has placed on campaigning near a polling location or voting line and



       497
             Moshe Haspel and H. Gibbs Knotts, “Location, Location, Location: Precinct Placement and the Costs
             of Voting,” Journal of Politics 67, no. 2 (May 2005), 560–61, 565. Excerpt from Anderson, One
             Person, No Vote, 118.
       498
             Mark Niesse, “How Georgia’s voting law works,” Atlanta Journal-Constitution, May 6, 2021,
             https://www.ajc.com/politics/how-georgias-new-voting-law-
             works/GF6PLR44PNESPKR5FXCBE7VEOY/, accessed January 1, 2023.
                                                          151
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2502   the prohibitions on providing rewards to voters that were enacted to stop pay-for-vote

2503   schemes.’” 499 Yet, like with so many of the charges and allegations of fraud targeted at Black

2504   voters, because it is their precincts where the long lines are located, Raffensperger “did not cite

2505   any recent complaints about the practice.”500 Nor did he identify any instance of an organization

2506   or someone handing out water while politicking for a particular candidate. Nonetheless, the

2507   Republicans in the Georgia legislature set out to make line warming illegal.

2508           During one of the hearings on HB 531, Woodall made clear his displeasure at the ban on

2509   line warming because it was “a direct assault on the NAACP” and similar organizations. HB 531

2510   would “criminalize volunteer activity instead of promoting . . . civic engagement,” he said. For

2511   the state to threaten to throw “NAACP members in jail for simply trying to make sure that voters

2512   have water during the heat of the summer,” or provide something warm during the winter, or

2513   “ponchos” if it is raining, was just callous.501

2514           More than that, though, it also laid the groundwork for voter suppression. The formula is

2515   pernicious. The longer wait times in minority communities are already documented. 502 HB 531’s

2516   proposal to shorten the hours and days of early voting, as well as to close polling places (which

2517   happens disproportionately in Black precincts), was a recipe for funneling more and more

2518   African American voters into fewer polling places and thereby guaranteeing even longer lines.

2519   Banning the basics of water, warmth, and snacks would make that wait even more intolerable.



       499
           Jonathan Raymond, “Georgia election officials say they will crack down on giving stuff to people in
            voting            lines,”          11Alive,               December               30,            2020,
            https://www.11alive.com/article/news/politics/elections/georgia-elections-officials-line-warming-
            crackdown/85-afb28fc8-f0aa-4cab-800d-443bc58ddca8, accessed November 10, 2021.
       500
           Jonathan Raymond, “Georgia election officials say they will crack down on giving stuff to people in
            voting lines.”
       501
           Georgia House Special Committee on Election Integrity, HB 531, February 22, 2021, 34.
       502
           Fowler, “Why Do Nonwhite Georgia Voters Have To Wait In Line For Hours?”
                                                          152
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2520   Those long, uncomfortable wait times – that have stretched to more than 10 hours – can lead

2521   voters to abandon the lines and not cast their ballots. Studies are clear that long lines “discourage

2522   voting, lower confidence” that a ballot will actually be counted, “and impose economic costs on

2523   voters.” 503 Just like the poll tax during the Jim Crow era, discussed above, creating long wait

2524   times while banning line warming, is a way to create a tangible level of discomfort by deploying

2525   a racially-targeted tactic, couched as a race neutral law. Or, as Senator Walter George had

2526   remarked back during the Jim Crow 20th century, “‘Why apologize or evade?’ he asked. ‘We

2527   have been very careful to obey the letter of the Federal Constitution—but we have been very

2528   diligent in violating the spirit of such amendments and such statutes as would have a Negro to

2529   believe himself the equal of a white man.’” 504

2530           White Republican legislators applied that formula of voter suppression in SB 202. They

2531   increased the difficulty of voting and, then, prevented civic organizations from effectively

2532   providing water and food to those herded into hours-long lines. Indeed, the Republicans

2533   criminalized a civil rights tradition of providing sustenance to those engaged in exercising their

2534   citizenship rights. 505 As the Atlanta Journal-Constitution noted, “Handing out water is now

2535   considered the same kind of offense as other money or gifts that could influence a voter’s choice.

2536   It’s punishable as a misdemeanor, which comes with up to a year in jail and a $1,000 fine.”506

2537   SB 202 did provide the subterfuge that poll workers could provide water but, in reality, if the line



       503
           Charles Stewart III and Stephen Ansolabehere, “Waiting to Vote,” Election Law Journal 14, no. 1
            (2015): 47–53; Justin Levitt, “‘Fixing That’: Lines at the Polling Place,” Journal of Law and Politics
            28, no. 465 (2013): 465–94. Excerpt from Anderson, One Person, No Vote, 116-117.
       504
           William Wiecek, “Emancipation and Civic Status: The American Experience, 1865–1915,” 89-90.
       505
           Nancy Shute, “Cooking Up Change: How Food Helped Fuel the Civil Rights Movement,” NPR, January
            16, 2012, https://www.npr.org/sections/thesalt/2012/01/16/145179885/cooking-up-change-how-food-
            helped-fuel-the-civil-rights-movement, accessed January 2, 2022.
       506
           Niesse, “How Georgia’s voting law works.”
                                                          153
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2538   is extremely long, poll workers are inundated in trying to get voters through it. The idea that

2539   there are extra poll workers available, under those conditions, to set up portable water stations,

2540   defies logic.

2541             CC.     Out-of-Precinct Voting

2542             Chris Bruce, political director for the ACLU-Georgia, and an African American, honed in

2543   on HB 531’s effort to ban out-of-precinct voting, which allows voters to cast a provisional ballot

2544   outside of their assigned precinct and to have the votes count for those candidates whose offices,

2545   like governor, U.S. senator, attorney general, are not precinct-bound. Bruce said that HB 531

2546   “unjustifiably restricts Election Day voting by invalidating out of precinct provisional ballots.”

2547   He laid out that “Georgia voters legally cast tens of thousands of these ballots during the general

2548   election. That’s 11,120 for presidential, and during the runoff we had 10,034.”507 Bruce provided

2549   a key example during the senate runoff. “On January 5th, for example, the North Annex and C.T.

2550   Martin Recreational Center polling locations that were in Fulton County, which had served as

2551   both consolidated polling locations and early voting locations earlier in the cycle together served

2552   more provisional voters than regular voters on January 5th.”508

2553             In subsequent hearings of the Special Committee on Election Integrity, held March 1,

2554   2021 and March 15, 2021, Representative Fleming cast the Republican proposal to ban out-of-

2555   precinct ballots as a move to prevent disfranchisement. He argued that the ban would compel

2556   voters to go to their correct precinct so that their down ballot votes would count as much as their




       507
             Georgia House Special Committee on Election Integrity, HB 531, February 22, 2021, 38.
       508
             Georgia House Special Committee on Election Integrity, HB 531, February 22, 2021, 39.
                                                          154
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2557   top of the ticket ones would. “This bill assures that those Georgia voters’ votes will count if,”

2558   and only if, “they vote in the right precinct.” 509

2559           Phi Nguyen, the litigation director at Asian Americans Advancing Justice—Atlanta,

2560   called Fleming’s reasoning “disingenuous” because the “solution to protecting a voter from

2561   partial disenfranchisement cannot possibly be to disenfranchise them totally.”510 Proposing to

2562   invalidate all votes on out-of-precinct voting ignores the impact on Asian Americans, she

2563   expressed. Precinct changes, limited English proficiency for 44% of Asian American voters, and

2564   poll worker confusion has led to Asian American voters being directed to the wrong precinct.

2565   This would be the perfect storm for disfranchisement. 511 Nguyen provided another example— on

2566   Election Day, snarled Atlanta traffic, constrained time during the workday, a 25-minute wait in

2567   the line to vote only to discover that the polling place has changed, which (given that there were

2568   91 polling place changes in Fulton County for the November 2020 election) is highly likely,

2569   leaves the voter disfranchised if out-of-precinct voting is disallowed. 512

2570           During the March 16, 2021 hearing, Sara Tindall Ghazal, a Cobb County attorney, who is

2571   now a State Election Board member, explained that “This measure [HB 531] would have a

2572   hugely disparate impact on Black voters. In 2018, for example, approximately 72 percent of the

2573   provisional ballots that were counted were Democratic voters with Black voters overrepresented

2574   within those Democratic votes by more than 20 percent.” 513 Given redistricting and poll closures

2575   and the information chaos that ensues, a “provision[al] ballot,” she concluded, “is a voter’s last



       509
           Georgia House Floor, HB 531 (Part 2), March 1, 2021, 14, 15; Georgia Senate Committee on Ethics,
            HB 531, March 15, 2021, 34.
       510
           Georgia Senate Committee on Ethics, HB 531, March 16, 2021, 22
       511
           Georgia House Special Committee on Election Integrity, HB 531, February 23, 2021, 7-11.
       512
           Georgia Senate Committee on Ethics, HB 531, March 16, 2021, 20.
       513
           Georgia Senate Committee on Ethics, HB 531, March 16, 2021, 61.
                                                         155
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2576   opportunity to have their vote counted and their voice heard. A voter cannot find another day or

2577   another method to cast their ballot if they can’t make it to their precinct. They have no recourse

2578   to this utter and complete disenfranchisement.” 514

2579           Representative Jan Jones (R-47), a white legislator, did not respond to the data about

2580   where poll closures happen and the impact on voters’ access to the ballot box, and simply

2581   repeated Fleming’s line that out-of-precinct voting “disenfranchises every out-of-precinct voter

2582   for the down ballot elections.” 515

2583           As before, white Republican legislators incorporated another provision from a

2584   predecessor bill into SB 202 even though data were clear that the provision would negatively

2585   impact Asian Americans’ and African Americans’ ability to vote.

2586           DD.    Drop boxes

2587           The debate over drop boxes had a similar arc. White Republicans asserted that the

2588   proposed changes were designed to strengthen the election process while members of NGO

2589   communities, who work with and for African Americans, Latinos, and Asian Americans, laid out

2590   the substantial impact on their constituents, only to be ignored. In the Republican scenario, drop

2591   boxes were supposedly the site of massive voter fraud. One witness, Barbara Hartmann, for

2592   example, said “as far as drop boxes go, there were two attorneys that staked out and watched a

2593   drop box in Fulton County, and they said that they saw people coming in, you see people coming

2594   in and they have masks or they have a hoodie on, then you don’t know who they are. I mean you

2595   can’t identify them even if you have a camera, and they were dropping in stacks of ballots.”516




       514
           Georgia Senate Committee on Ethics, HB 531, March 16, 2021, 63.
       515
           Georgia House Floor, SB 202, March 25, 2021, 81.
       516
           Georgia House Special Committee on Election Integrity, HB 531, February 22, 2021, 87-88.
                                                        156
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2596   The dog-whistles – hoodies, Fulton County, and masks (notorious even in a pandemic) –

2597   permeated her testimony and called into question the validity of drop boxes because they were

2598   supposedly mechanisms for African Americans to steal the election. Her testimony played into

2599   the age-old stereotype of associating Black people with criminality. Consequently, innocuous

2600   behavior, wearing a hoodie in November, donning a mask during a pandemic, can mean only one

2601   thing: African Americans in Fulton County are fully engaged in stealing the election. Indeed,

2602   “Starting months before the 2020 presidential election, Trump and his allies have made a series

2603   of unfounded claims suggesting that drop boxes open the door to voter fraud. Republican state

2604   lawmakers, as part of their push to add new voting restrictions, have in turn placed rules around

2605   when and where the boxes could be accessed.” 517

2606             Republican-crafted HB 531 went after the successful deployment of drop boxes. As a

2607   study by Georgia Public Broadcasting revealed, “Ballot drop boxes saw heavy usage in mostly

2608   Democratic metro Atlanta counties during their rollout last year [2020], far more than in rural

2609   Republican areas of Georgia, election records show . . . bout 56% of absentee voters in Cobb,

2610   DeKalb, Fulton and Gwinnett counties returned their ballots in drop boxes before November’s

2611   [2020] election . . . In metro Atlanta’s four most populated counties, more than 305,000 out of

2612   547,000 absentee voters deposited their ballots in drop boxes. By comparison, a sample of 11

2613   smaller counties across Georgia found 32% of absentee voters used drop boxes, with the rest

2614   delivered by the U.S. Postal Service.”518




       517
             Izaguirre and Cassidy, “No major problems with ballot drop boxes in 2020, AP finds.”
       518
             Stephen Fowler, Mark Niesse, Sarah Kallis, and Isaiah Poritz, “Absentee Drop Box Use Soared In
              Democratic Areas Before Voting Law Change,” GPB News, July 12, 2021,
              https://www.gpb.org/news/2021/07/12/absentee-drop-box-use-soared-in-democratic-areas-voting-
              law-change, accessed August 9, 2022.
                                                        157
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2615           Not surprisingly, the white Republican majority of the General Assembly sought to limit

2616   “the availability of the boxes in future elections, especially in Democratic areas where voters

2617   relied on drop boxes.”519 Using a formula that masks the inequity of the plan, a drop box was

2618   added in rural counties that previously did not have one – to give the aura of expanding access –

2619   while stripping 88 drop boxes from the Atlanta metropolitan area. The result is that the “changes

2620   . . . restrict[ed] access to drop boxes in counties that used them the most, which also have the

2621   highest number of voters of color and Democrats.”520 More than that, though, as white

2622   Republican legislators incorporated this provision from HB 531 into SB 202, the new law

2623   required all drop boxes to be inside an early voting site and only accessible during working hours

2624   and limited to the early voting period. In short, the law went from drop boxes being outside,

2625   available 24/7, under video surveillance, for early voting, the general election, and the runoff 521

2626   to the equivalent of old-fashioned banker’s hours. With the number of drop boxes severely

2627   diminished, “[m]ore than 90% of voters who saw an increase in the travel time to a drop box live

2628   in cities or suburbs, which are home to most of the state’s minority voters and vote heavily

2629   Democratic.” 522 By severely curtailing both their number and accessibility, drop boxes “‘are no

2630   longer useful,’ Cobb Elections Director Janine Eveler said. ‘The limited numbers mean you

2631   cannot deploy them in significant numbers to reach the voting population.’” 523



       519
           Fowler, Niesse, Kallis, and Poritz, “Absentee Drop Box Use Soared In Democratic Areas Before Voting
            Law Change.”
       520
           Fowler, Gringlas, and Jingnan, “A new Georgia voting law reduced ballot drop box access in places that
            used them most.”
       521
           Fowler, Niesse, Kallis, and Poritz, “Absentee Drop Box Use Soared In Democratic Areas Before Voting
            Law Change.”
       522
           Fowler, Gringlas, and Jingnan, “A new Georgia voting law reduced ballot drop box access in places that
            used them most.”
       523
           Fowler, Niesse, Kallis, and Poritz, “Absentee Drop Box Use Soared In Democratic Areas Before Voting
            Law Change.”
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2632           This outcome was predicted during the hearings. At the February 22, 2021 hearing of the

2633   Special Committee on Election Integrity, Chris Bruce of the ACLU asserted, “The bill would

2634   make absentee ballot drop boxes functionally useless by allowing them to be placed only inside

2635   early voting locations.”524 Representative Zulma Lopez (D-86), a Latina legislator, went even

2636   further. She noted that in her county, DeKalb, drop boxes worked splendidly in the November

2637   2020 election. They gave confidence to voters, who were worried about the U.S. Mail’s

2638   slowdown. The drop box meant their ballot would actually be received on time and count. She

2639   noted that DeKalb had more than 30 drop boxes in November 2020 but under the proposed bill

2640   that number would drop to nine. 525 Actually it was five. 526 “For something that worked so well

2641   for voters, why,” she asked, “are we now taking it away? . . . The truth,” Representative Lopez

2642   said answering her own question, “is that this bill targets a county like mine and minority voters

2643   because we have the votes to change elections in the State of Georgia.”527

2644           At the February 24, 2021 hearing of the Special Committee on Election Integrity,

2645   Representative Jan Jones (R-47) had signaled that the drop boxes were not necessary. “[W]ell,

2646   first of all,” she said, “I want to recognize that every voter does have a drop box. It’s located at

2647   the end of their driveway, at the bottom of their apartment complex or condo, nursing home, or

2648   even shelter. It’s called your mailbox.”528 That observation ignored, however, the documented




       524
           Georgia House Special Committee on Election Integrity, HB 531, February 22, 2021, 39-40.
       525
           Georgia House Floor, SB 202, March 25, 2021, 44-45.
       526
           Fowler, Niesse, Kallis, and Poritz, “Absentee Drop Box Use Soared In Democratic Areas Before Voting
            Law Change.”
       527
           Georgia House Floor, SB 202, March 25, 2021, 44-45.
       528
           Georgia House Special Committee on Election Integrity, HB 531, February 24, 2021, 8.
                                                        159
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2649   decline in the U.S. Postal Service’s ability to deliver first-class mail in a timely fashion. 529

2650   Representative Jones, nonetheless, dismissed the concerns raised by drop box proponents. Drop

2651   boxes, she said, during a March 25, 2021 hearing on the House floor, were put in place as an

2652   emergency measure but their advocates act like this “absentee ballot delivery model . . . had been

2653   here for many decades, [instead of for just] one election cycle.” Republicans, she implied, should

2654   be praised for codifying the existence of drop boxes rather than letting them just disappear

2655   entirely from the election system because the emergency order that created them had now

2656   “expired.” She then extolled the benefits, as she and the Republicans saw them, of the new

2657   proposed law. “The bill establishes a secure chain of custody and a uniform manner for their use.

2658   They will be even more secure by placing them inside voting sites.” She also trumpeted the sense

2659   of equity by ensuring that every county had at least one drop box. “Additionally, remember,”

2660   Jones said, “there were 38 counties that did not offer a single drop box. They count, too. And

2661   they will be required to offer one.” 530

2662           Representative Alan Powell (R-32), a white legislator, also spoke the language of equity.

2663   The bill was to ensure that “the system should work the same for every voter.”531 Thus, he

2664   demanded, “Show me where there is suppression. There is no suppression in this bill.” 532 What

2665   there was, Powell insisted, was security. On the topic of drop boxes he launched into a “little

2666   history” about “ballot harvesting” where someone gathers absentee ballots from a group of




       529
           Jory Heckman, “USPS operational changes had ‘significant impact’ on mail delays, watchdog finds,”
            Federal    News Network, October 21, 2020, https://federalnewsnetwork.com/agency-
            oversight/2020/10/usps-operational-changes-had-significant-impact-on-mail-delays-watchdog-finds/,
            accessed August 8, 2022.
       530
           Georgia House Floor, SB 202, March 25, 2021, 84-85.
       531
           Georgia House Floor, SB 202, March 25, 2021, 61.
       532
           Georgia House Floor, SB 202, March 25, 2021, 62.
                                                         160
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2667   people and “[s]omehow those absentees all got marked by one person.” That’s “not right.

2668   Because if you believe that everybody has a right to vote, then that person has . . . got the right to

2669   vote their ballot and not just pass it over to somebody else. But that was the gist to the drop

2670   boxes, so the drop boxes could be secured to eliminate or to put another obstacle in the way of

2671   ballot harvesting.”533 Opponents of the bill, he continued, were sending the same message as

2672   those who opposed the Voting Rights Act of the ‘60’s because now they want to be “the new

2673   boss man.” 534

2674           The equity that the Republicans touted, however, was actually inequitable. Similar to

2675   devising an algorithm that ends up limiting every county to a two-lane highway, regardless of the

2676   population size or needs, the drop box formula plays out the same way. On the surface, one can

2677   rave about how every county now has a two-lane highway, when, in fact, the need for additional

2678   lanes is significantly greater in the state’s metropolitan areas, where traffic is now backed up and

2679   the highway is unusable. Indeed, after the passage of SB 202, fewer than “1% of Fulton County

2680   voters used a drop box” in the 2022 primary “compared to 6.3% in the 2020 primary, according

2681   to county election officials.”535 The faux equity also means, for example, that in rural Heard

2682   County with roughly 8,000 voters, the “one drop box [the county] is required to keep is pointless

2683   . . . ‘We basically have a useless drop box,’” elections director Tonnie Adams said, “adding that

2684   no one used the drop box in the May [2022] primary.”536




       533
           Georgia House Floor, SB 202, March 25, 2021, 59-60.
       534
           Georgia House Floor, SB 202, March 25, 2021, 60-61.
       535
           Fowler, Gringlas, and Jingnan, “A new Georgia voting law reduced ballot drop box access in places that
            used them most.”
       536
           Fowler, Gringlas, and Jingnan, “A new Georgia voting law reduced ballot drop box access in places that
            used them most.”
                                                         161
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2685           White Republican legislators touted faux equity, the need for security, and the wide

2686   availability of mailboxes to justify eliminating a vast number of drop boxes, and severely

2687   limiting the accessibility of the remaining drop boxes, where they were used and needed most.

2688   Indeed, as noted above, 56% of those using absentee ballots in the Atlanta metropolitan area in

2689   the 2020 election used drop boxes. Republicans, however, offered paper-thin rationales for

2690   including in SB 202 a provision constricting the number and accessibility of drop boxes. Thus,

2691   while Representative Jones (R-47) talked about how the change would provide a secure chain of

2692   custody for absentee ballots, the reality, as Ryan Germany testified during the December

2693   Giuliani hearings, was that there was nothing “untoward” surrounding drop boxes. 537 And, as

2694   Representative Powell raised the specter of ballot harvesting, which is illegal in Georgia, Brad

2695   Raffensperger told the January 6th committee that “We have no record of widespread ballot

2696   harvesting in the State of Georgia.”538 Nonetheless, based on the chimera of security issues and

2697   ballot harvesting, white Republican legislators incorporated into SB 202 the constriction of

2698   access to and elimination of dozens of drop boxes in the Atlanta Metropolitan area – Fulton

2699   County, Cobb County, DeKalb County, and Gwinnett County – where, except for Cobb, African

2700   Americans, Asian Americans, Native Americans, and Latinos are the majority of the

2701   population. 539




       537
           Georgia Senate Government Oversight Committee, hearing December 3, 2020, 41, 43.
       538
           Select Committee to Investigate the January 6th Attack on the U.S. Capitol, U.S. House of
            Representatives, Interview of: Brad Raffensperger, 13.
       539
           U.S. Census, “Cobb County Georgia, Forsyth County Georgia, Gwinnett County Georgia DeKalb
            County                 Georgia,               Fulton               County               Georgia,”
            https://www.census.gov/quickfacts/fact/table/cobbcountygeorgia,forsythcountygeorgia,gwinnettcount
            ygeorgia,dekalbcountygeorgia,fultoncountygeorgia/PST045221, accessed July 31, 2022.
                                                       162
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2702             EE.     Mobile Voting

2703             The pandemic had led Fulton County to shut down more than 90 polling places. To

2704   forestall the long, untenable lines from the primary, in the fall of 2020 the local county board of

2705   elections purchased and put into place mobile voting units where more than 11,000 voters cast

2706   their votes during the general election in November 2020. 540 It was one of the methods that

2707   Fulton County, with its very sizeable, diverse population, used to reduce the long lines that had

2708   plagued voter access during the June 2020 primary. As a result, white Republicans in the

2709   Georgia legislature, as they had with absentee ballots, drop boxes, early voting, out-of-precinct

2710   voting, line warming, and the time between the general election and the runoff, struck back at the

2711   electoral success and access of minority voters.

2712             Recycling a version of the rationale laid out in the amicus curiae brief, which twenty-

2713   eight Georgia Republican state legislators attached to the Texas lawsuit to overturn the 2020

2714   presidential election results, lawmakers argued that mobile units, at least the way Fulton County

2715   did it, violated the law. The amicus curiae brief, signed by twenty-eight legislators, ten of whom

2716   – State Senators Brandon Beach, Bruce Thompson, Matt Brass, Blake Tillery, Marty Harbin,

2717   Tyler Harper, Randy Robertson, Jeff Mullis, Lee Anderson, and Sheila McNeill – co-sponsored

2718   SB 202, declared that “election officials in heavily Democratic Fulton County . . . equip[ped] at

2719   least two ‘buses’ with voting machines and…[drove] to locations around the area as a ‘mobile

2720   voting’ location. ‘Mobile voting locations’ are not authorized under Georgia law and are not




       540
             Kelly Mena and Pamela Kirkland, “Fulton County passes resolution that would explore legal challenges
              to Georgia voting law,” CNN, April 14, 2021, https://www.wral.com/fulton-county-passes-resolution-
              that-would-explore-legal-challenges-to-georgia-voting-law/19627354/?version=amp, accessed August
              12, 2022.
                                                           163
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2721   ‘consistent with law.’” Moreover, “providing mobile voting locations to ease the voting for one

2722   county with a large population voting heavily for one party deprives other counties favoring the

2723   other party equal protection of the law.”541

2724           The Republicans in Georgia’s state legislature took up a version of the illegality

2725   argument. While acknowledging that “some of the concerns that we may have heard about the

2726   legality of those mobile facilities are unfounded,” Senator Mike Dugan (R-30), a white legislator,

2727   said, “the ‘98 [law’s] intent of those facilities was not how they were most recently used.” Fulton

2728   County had stepped into the breach of that law and had used the mobile facilities as a stopgap

2729   measure for closed polling places. But, Dugan explained, the “mobile facilities were intended to

2730   serve as a backup for existing polling locations should there be issue with those existing facilities

2731   or those facilities were inadequate in size to meet the population demands.” 542

2732           Representative Jan Jones delivered both of the arguments from the amicus curiae brief.

2733   “Mobile voting units . . . are not permitted in current law and,” she added, “were utilized by only

2734   one county in November . . . Fulton County.”543

2735           In a subsequent hearing on March 8, 2021, Senator Mike Dugan (R-30), a white

2736   legislator, asserted that he would identify “what problem [the bill SB 241 is] trying to solve . . .

2737   and why we think it’s important for us to have it done.” 544 He then reiterated that “Mobile voting




       541
           State of Texas v. Commonwealth Pennsylvania, State of Georgia, State of Michigan, and State of
            Wisconsin, motion for leave to file Amici Curiae brief, of William Ligon, Greg Dolezal, Brandon
            Beach,                    Burt                   Jones,                  et                  al.,
            https://www.supremecourt.gov/DocketPDF/22/22O155/163469/20201210202722129_22O155%20A
            mici%20Brief%20GA%20State%20Sem%20%20Willian%20Ligon%20et%20al.pdf,                     accessed
            August 12, 2022, p. iii.
       542
           Georgia Senate Committee on Ethics, SR 62 and SB 241, February 25, 2021, 6.
       543
           Georgia House Floor, HB 531 (Part 2), March 1, 2021, 69.
       544
           Georgia Senate Floor, Multi-SB, March 8, 2021, 87.
                                                        164
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2738   facilities have been legal under Georgia law since 1998 . . . But the intent for their use in 1998

2739   was not how they were most recently used.” They were supposed to be like a pressure valve to

2740   take the stress off an overflowing existing polling place. Yet, that’s not what happened in the

2741   2020 election, so the 1998 law was updated “to provide clarity and prevent further confusion.”545

2742           Yet, there was a pandemic, there was a presidential election, and the question was how to

2743   meet those challenges. But the false narrative of fraud that undergirds the Big Lie, and

2744   specifically fraud perpetrated by minorities in Fulton County, was all pervasive in the

2745   Republicans’ structure of these election bills. The Democrats, who included Black, Asian, and

2746   Latino legislators, and Fulton County election officials, therefore, pushed back. Representative

2747   Bee Nguyen noted that “of the handful of voters that were referred to the attorney general, zero

2748   of them are related to voters misusing mobile voting or misusing secured dropboxes. Zero cases

2749   related to weekend voting. Zero cases related to the use of provisional ballots.” 546 In other words,

2750   enhancing security at the ballot box was not driving the Republicans’ efforts.

2751           At a hearing on March 8, 2021, Senator Gail Davenport (D-44), an African American

2752   legislator, echoed Nguyen’s point. “Senate Bill 241 . . . restricts voting access for many

2753   Georgians, especially Black people. This bill will ban mobile voting locations except in

2754   emergencies. Mobile voting helps people, and there’s no proof of security issues. So why stop it?

2755   This is a valuable tool. It costs a lot of money to create, and it’s working, and now we want to get

2756   rid of it. Why? Why would the state stop any county from offering this mobile voting unit when

2757   it works[?]”547




       545
           Georgia Senate Floor, Multi-SB, March 8, 2021, 89-90.
       546
           Georgia House Floor, HB 531 (Part 2), March 1, 2021, 106-107.
       547
           Georgia Senate Floor, Multi-SB, March 8, 2021, 194.
                                                        165
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2758           During the Senate Ethics Committee meeting on March 16, 2021, Alex Wan had the

2759   answer. “I have to talk about mobile voting units which were only utilized in Fulton, which

2760   means this provision is directed clearly at us. This is a non-issue. We utilize this very successful

2761   strategy to enhance our elections and meet the needs of 20,000 Fulton voters in two elections.

2762   The end result is simply going to be longer lines on election day across the State.” 548

2763           A couple of days later, Representative Rhonda Burnough (D-77), a Black legislator,

2764   during the March 18, 2021 hearing of the Special Committee on Election Integrity, also took

2765   umbrage at the singling out of Fulton County as a “hot mess. Because in the previous election,

2766   Fulton County did an excellent job, and then when they did get the buses and all those things,

2767   mobile voting, then they were criticized. So Fulton County is not going to ever win.” 549

2768           The effective methods that Fulton County used to reduce long lines at the polls in

2769   November – mobile units, thirty-six surveilled drop boxes available 24/7, State Farm Arena as a

2770   polling site 550 – however, are now banned under SB 202, while the threat of a state takeover for

2771   long lines would place the county election board – for a county that is majority African

2772   American, Hispanic, Asian American, and Native American – under, for all intents and purposes,

2773   the control of the nearly all-white Republican legislature.

2774           FF.    The Passage and Implications of SB 202

2775           SB 202, after approval in the Georgia House on a 100-75-1-4 (in support – in opposition

2776   – in abstention – absent) strictly partisan vote, was passed in the Georgia Senate on March 25,

2777   2021 by a 34-20-2 vote with every Republican voting for the measure, every Democrat (white,




       548
           Georgia Senate Committee on Ethics, HB 531, March 16, 2021, 45.
       549
           Georgia House Special Committee on Election Integrity, SB 202, March 18, 2021, 49.
       550
           Georgia House Floor, HB 531 (Part 2), March 1, 2021, 35.
                                                        166
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2778   Asian American, Latino, and African American) present against it, and with two Democrats

2779   absent. 551 Governor Kemp signed the bill into law on the very same day. 552

2780             SB 202’s passage was not inevitable. It was part of an effort to orchestrate and

2781   manufacture a phantom that did not exist but would be used as justification to pass provisions

2782   that disproportionately harm Black, Asian American, and Latino voters. 553 The purported fraud

2783   on a scale large enough to steal a presidency was not what went wrong in November. The

2784   investigations, audits, and recounts make that clear. Instead, apparently, what the evidence shows

2785   is that what went “wrong” was who voted: African Americans, Latinos, Native Americans, and

2786   Asian Americans. 554

2787             SB 202 is designed to address that. The law requires voter ID for absentee ballots because

2788   Democratic constituencies, for the first time since 2005, when the initial no-excuse absentee

2789   voting law was passed, successfully used this method of voting significantly more than the

2790   Republicans’ base – a base significantly supported by white voters. Republican legislators

2791   ignored that an audit of more than 15,000 absentee ballots in Cobb County conducted by the

2792   Secretary of State’s office and Georgia Bureau of Investigation found no fraud. They further

2793   ignored that signature match, when done properly, has been sufficient in states that have



       551
                   Roll        Call:            GA         SB202,        2021-2022,        Regular       Session,
             https://legiscan.com/GA/rollcall/SB202/id/1037918, accessed November 23, 2021.
       552
             Stephen Fowler, “Kemp Signs 98-Page Omnibus Election Bill,” GPB News, March 26, 2021,
             https://www.gpb.org/news/2021/03/25/kemp-signs-98-page-omnibus-elections-bill, accessed August
             16, 2022.
       553
             Ari Berman and Nick Surgey, “Leaked Video: Dark Money Group Brags About Writing GOP Voter
             Suppression       Bills   Across    the     Country,”    Mother       Jones,   May      13,   2021,
             https://www.motherjones.com/politics/2021/05/heritage-foundation-dark-money-voter-suppression-
             laws/, accessed July 31, 2022.
       554
              Elaine Godfrey, “‘Stop the Steal’ is a Metaphor,” The Atlantic, August, 12, 2022,
             https://www.theatlantic.com/politics/archive/2022/08/stop-the-steal-trumpism-tea-party-
             connection/671115/, accessed August 16, 2022.
                                                           167
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2794   universal mail-in ballot voting, they ignored testimony that requiring ID and the last four digits

2795   of Social Security numbers actually increases vulnerability of identity theft and does not improve

2796   election security, 555 and they ignored that the process put in place after the 2018 election to deal

2797   with signature mismatches had greatly decreased rejection rates in 2020 while not leading to an

2798   uptick in fraudulent ballots. They also ignored the concerns about the racial disparity in access to

2799   IDs. All of these concerns were raised by the leadership of NGOs and a multi-racial array of

2800   Democrats in a series of legislative hearings concerning the various bills – HB 531, SB 241, SB

2801   67, etc. – that merged into SB 202.

2802             Criminalizing providing water to voters waiting in long lines to cast a ballot is a way to

2803   make voting untenable, especially for those in the African American precincts whose wait times

2804   are significantly higher than white voters. What SB 202 does is create obstacles to the pathways

2805   of voting used in 2020 – curing process for signature match absentee ballots; 24/7 surveilled and

2806   widely available drop boxes; mobile units; large facilities, such as State Farm Arena, that can

2807   accommodate a sizeable voting population – that spurred the high voter turnout rates among

2808   Hispanics, Asian Americans, and African Americans. SB 202 now places them in harm’s way of

2809   poll closures, precinct changes, reduced polling places, long lines, and no water or food for the

2810   hours upon hours that some had to wait, like during the June 2020 primary, to cast their ballot.

2811   White Republican legislators justified this policy by making numerous aspersions about groups

2812   providing water as a subterfuge for buying votes for a particular candidate. But there were never

2813   any specifics given about when and where this happened and by whom. Just innuendo.




       555
             Georgia House Special Committee on Election Integrity, HB 531, February 19, 2021, 88, 91, 103.
                                                           168
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2814           GG.     A Rushed and Non-Transparent Legislative Process

2815           The way in which this hurricane of bills – HB 531, SB 241, SB 67 – culminating in SB

2816   202 occurred was also problematic. The speed with which bills were produced, changed, added

2817   on to, and discarded, with little warning or time to review created a sense of frustration that this

2818   was not a legislative process, but rule by fiat. The process was rushed (in fact, several of the

2819   hearings set for 7 a.m or 8 a.m. were only announced the day before and two were announced on

2820   the same day).556 Cindy Battles, of the Georgia Coalition for the People’s Agenda, was

2821   unequivocal, “This does not inspire confidence in our elections process.” 557 Battles then pointed

2822   to how HB 531 was “filed and given a hearing on the same day. It was not even available on the

2823   Georgia assembly website before it was on the agenda for the special committee for election

2824   integrity meeting.” 558 She concluded, “with little less than two hours, there is no way legislators

2825   can properly prepare for a hearing on this bill.” 559 Chris Bruce, Political Director, ACLU-

2826   Georgia, had also pleaded with the Georgia legislators to slow down. The “substantial changes to

2827   Georgia election code,” he said, “should only come about after a careful, considered, evidence-




       556
           Georgia Senate Committee on Ethics, meeting notice and agenda, February 23, 2021 for February 23,
            2020 [sic] at 4:45 pm; Georgia Senate Committee on Ethics, meeting notice and agenda, February 17,
            2021 for February 18, 2020 [sic] at 7:00 am; Georgia Senate Committee on Ethics, meeting notice and
            agenda, February 24, 2021 for February 25, 2020 [sic] at 7:30 am; Georgia Senate Committee on Ethics,
            meeting notice and agenda, February 25, 2021 for February 26, 2020 [sic] at 3:00 pm; Georgia Senate
            Committee on Ethics, meeting notice and agenda, March 2, 2021 for March 3, 2021 at 7:00 am; Georgia
            Senate Committee on Ethics, meeting notice and agenda, March 15, 2021 for March 15, 2021 at 3:30
            pm; Georgia Senate Committee on Ethics, meeting notice and agenda, March 15, 2021 for March 16 at
            4:45 pm; Georgia Senate Committee on Ethics, meeting notice and agenda, March 16, 2021 for March
            17, 2021 at 8:00 am; Georgia Senate Committee on Ethics, meeting notice and agenda, March 17, 2021
            for March 18, 2021 at 8:00 am; Georgia Senate Committee on Ethics, meeting notice and agenda,
            March 21, 2021 for March 22, 2021 at 9:15 am; and Georgia Senate Committee on Ethics, meeting
            notice and agenda, March 22, 2021 for March 23, 2021 at 8:00 am.
       557
           Georgia House Special Committee on Election Integrity, HB 531, February 19, 2021, 12.
       558
           Georgia House Special Committee on Election Integrity, HB 531, February 19, 2021, 12.
       559
           Georgia House Special Committee on Election Integrity, HB 531, February 19, 2021, 11, 12.
                                                         169
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2828   based process . . .” but that was not happening.560 Pichaya Winichakul, an attorney with SPLC,

2829   noted during the hearing that HB 531 was only made available to the public just a few hours

2830   before the previous hearing and less than 24 hours before the current version on February 19,

2831   2021. 561 Linda Bridges, executive director of the League of Women Voters-Georgia, remarked

2832   that the original 48-page bill for HB 531 was only available hours before a 3 p.m. hearing on

2833   February 17, 2021, and then a substitute for HB 531 was introduced on Friday, February 19,

2834   2021, which was 59 pages but was not available over the weekend to review. Her organization

2835   only learned of the existence of a revised bill through social media. 562 As if to underline the

2836   legislative chaos of this process, Bridges remarked, as well, on the faulty information they

2837   received. This “committee indicated public testimony via remote means, including Zoom, would

2838   not be available. Yet, Chair Fleming invited witnesses to testify via Zoom during that

2839   meeting.” 563 She explained that rushing this bill through without adequate time for “review,

2840   reflection, or input was a disservice to Georgia voters.” 564 Kevin Joachin, a community organizer

2841   with the Georgia Latino Alliance for Human Rights, testified that on March 17, 2021, he was

2842   prepared to talk about SB 241, yet, as they tracked the legislative changes on the General

2843   Assembly website, they found out that “the broadcast in the Senate went from two pages to a

2844   substitute that is a proposal of 93 pages for SB 202. So I’m not going to be speaking about SB

2845   241 anymore,” he said, “because I think it’s only important to talk about how we need to provide

2846   space and time for organizations and community members to investigate this substitute and see




       560
           Georgia House Special Committee on Election Integrity, HB 531, February 22, 2021, 41.
       561
           Georgia House Special Committee on Election Integrity, HB 531, February 19, 2021, 16.
       562
           Georgia House Special Committee on Election Integrity, HB 531, February 23, 2021, 14-16.
       563
           Georgia House Special Committee on Election Integrity, HB 531, February 23, 2021, 15.
       564
           Georgia House Special Committee on Election Integrity, HB 531, February 23, 2021, 14-16.
                                                        170
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2847   how it impacts communities of color, voters of color.” He concluded, “I think it’s important to be

2848   transparent in this process, to not have this process done behind closed doors. Let people be

2849   privy of such drastic changes to legislative proposals so that we can dissect the information and

2850   see how it impacts voters of color.” 565

2851             HH.     SB 202’s Historical Patterns

2852             SB 202, the law passed by Georgia’s Republican legislators – whose members are nearly

2853   all-white and whose constituency is comprised overwhelmingly of white voters 566 – and signed

2854   into law by Republican governor Brian Kemp, follows a series of historical patterns of voter

2855   suppression targeted first at African Americans, and, as Georgia’s demographics changed in the

2856   21st century, at Latinos and Asian Americans, as well.

2857                     1.      Historical Pattern: Disfranchising in Response to Demographic Changes in
2858                             the Electorate
2859
2860             The first historical pattern that aligns with SB 202 is the perceived threat posed to the

2861   political party without a sizeable racially-diverse constituency by increased voter registration of

2862   African Americans, Asian Americans, and Latinos, and their concomitant turnout and

2863   participation. The response is to craft legislation to lessen African Americans’ and other persons

2864   of color’s political power. Mississippi politicians voiced this in 1890 when the number of Black

2865   registered voters exceeded that of white voters. The result was the Mississippi Plan, which was

2866   an array of laws designed to make it decidedly harder for Black citizens to vote. Mississippi

2867   legislators, like those in Georgia who sponsored and supported SB 202, crafted an array of




       565
             Georgia House Special Committee on Election Integrity, SB 202, March 17, 2021, 24-25.
       566
                  Roll       Call:   GA         SB202,     2021-2022,      Regular     Session,      LegisScan,
              https://legiscan.com/GA/rollcall/SB202/id/1037918, accessed November 23, 2021.
                                                          171
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2868   obstacles – the poll tax, the literacy test, the understanding clause, all of which were eventually

2869   joined by the white primary and the grandfather clause – to provide a series of hurdles that

2870   African American voters had to overcome in order to vote.

2871             This disfranchising response to a demographic shift in the electorate also occurred in

2872   1946 when Eugene and Herman Talmadge reacted to the increase in Black voter registration

2873   after the white primary was ruled unconstitutional in 1944 by proposing, and in Herman

2874   Talmadge’s case, passing new laws in 1949 to neutralize the voting potential and power of

2875   African Americans in the electorate.

2876             Similarly, after the Supreme Court’s banning of the County Unit System in 1963 and the

2877   resulting fear of what that would mean for increased Black political power, Georgia devised the

2878   runoff system to dilute African Americans’ votes.

2879             SB 202, thus, fits into a historical pattern. The 2020 election had a record turnout,567

2880   including by racial and ethnic minority voters who proved decisive in flipping Georgia to the

2881   Democrats for the presidency and the U.S. Senate. 568 That record turnout was driven, in part, by

2882   the increase in voter registration in Georgia of African Americans, Asian Americans, and

2883   Latinos, while simultaneously the share of the white electorate dropped from 63% in 2008 to




       567
             “Voter turnout increased in every U.S. state during the 2020 general election,” Pew Research Center,
              January 28, 2021, https://www.pewresearch.org/fact-tank/2021/01/28/turnout-soared-in-2020-as-
              nearly-two-thirds-of-eligible-u-s-voters-cast-ballots-for-president/ft_21-01-19_2020turnout_2a/,
              accessed November 17, 2021.
       568
             Michelle Ye Hee Lee, Reis Thebault, Haistert Willis and Lenny Bronner, “Black voters powered
              Democrats to victory in the Georgia Senate runoff,” Washington Post, January 6, 2021,
              https://www.washingtonpost.com/politics/black-voters-powered-democrats-to-victory-in-the-georgia-
              senate-runoff/2021/01/06/7068411a-502a-11eb-b96e-0e54447b23a1_story.html, accessed November
              17, 2021.
                                                           172
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2884   53% in 2020. 569 In fact, as the Pew Research Center detailed “Between 2000 and 2019,

2885   Georgia’s eligible voter population grew by 1.9 million, with nearly half of this increase

2886   attributed to growth in the state’s Black voting population.” 570 Meanwhile, according to the Pew

2887   Research Center, in 2014, only 9% of African American voters, 4% of Latinos, and 1% of Asian

2888   Americans in the state were affiliated with Georgia’s Republican Party. 571

2889           Republicans saw a threat. Brian Kemp, in 2014, when he was Secretary of State,

2890   complained, the way Herman Talmadge did in 1949, about the Democrats “registering all these

2891   minority voters that are out there and others that are sitting on the sidelines, if they can do that

2892   they can win this November.”572 In 2020, David Ralston, Speaker of the House, voiced concerns

2893   that with Secretary of State Raffensperger providing absentee ballot applications to all registered

2894   voters, turnout would increase, which would be disastrous for the Republicans. African

2895   American, Asian American, and Hispanic voter registrations had accounted for 58% of the

2896   growth in registered voters in Georgia. For the Republicans, who are over-reliant on white

2897   voters, this was a threat. “Every registered voter is going to get one of these,” he said in an

2898   interview, “Now I ask you . . . what was turnout in the primary back in 2018 or 2016. Was it

2899   100%? No. No. It’s way, way, way lower. This will certainly drive up turnout.” He then

2900   referenced Trump, who had said the reason to not support laws that would ease access to voting,



       569
           Noe-Bustamante and Budiman, “Black, Latino and Asian Americans have been key to Georgia’s
            registered voter growth since 2016.”
       570
           Abby Budiman and Luis Noe-Bustamante, “Black eligible voters have accounted for nearly half of
            Georgia electorate’s growth since 2000,” Pew Research Center, December 15, 2020,
            https://www.pewresearch.org/fact-tank/2020/12/15/black-eligible-voters-have-accounted-for-nearly-
            half-of-georgia-electorates-growth-since-2000/, accessed November 12, 2021.
       571
           “Racial and ethnic composition among adults in Georgia by political party (2014),” Pew Research
            Center,              https://www.pewforum.org/religious-landscape-study/compare/racial-and-ethnic-
            composition/by/party-affiliation/among/state/georgia/, accessed November 23, 2021.
       572
           “Georgia Gov. Brian Kemp ordered to answer questions in election lawsuit.”
                                                        173
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2901   such as increased availability of absentee voting, was because “‘if you ever agreed to it, you’d

2902   never have a Republican elected in this country again.’” 573

2903           The 2021 Senate runoff sent that signal. Black voter turnout was an unprecedently high

2904   91.8% of what it was for the November 2020 election. 574 Moreover, between the 2020 general

2905   election and the cutoff date for the 2021 Senate runoff, 67,135 new voters registered. 575 As NBC

2906   News reported, looking at the counties that comprise most of Atlanta metropolitan area, “In

2907   Fulton County, 72 percent of newly registered voters are affiliated with the Democratic Party,

2908   while 17 percent are affiliated with the Republican Party. Fifty percent of newly registered voters

2909   are Black and 35 percent are white. In DeKalb County, 47 percent of newly registered voters are

2910   Black and 34 percent are white.”576 Gwinnett County saw “51 percent of newly registered voters

2911   are affiliated with Democrats and 28 percent are affiliated with Republicans.” 577 Cobb County

2912   also showed the vast disparity between Democrats and Republicans in new voter registration

2913   with 46 percent of new registrants affiliated with the former and 36 percent the latter. 578 African

2914   Americans, who are overwhelmingly Democrats, used the time between the general election and

2915   the runoff to register to vote and their turnout was the difference in the January 5, 2021 election.




       573
           Amanda Terkel, “Georgia GOP Leader: More Absentee Voting Will Help Turnout, Be ‘Devastating to
            Republicans,’”    Huffington     Post,    April     2,     2020,     Updated      April   3,    2020,
            https://www.huffpost.com/entry/georgia-absentee-voting-republicans-david-
            ralston_n_5e85f736c5b692780508d69f, accessed August 28, 2021; Aaron Blake, “Trump just comes
            out and says it: The GOP is hurt when it’s easier to vote,” Washington Post, March 30, 2020,
            https://www.washingtonpost.com/politics/2020/03/30/trump-voting-republicans/, accessed November
            17, 2021.
       574
           Fraga, Peskowitz and Szewczyk, “New Georgia runoffs data finds that more Black voters than usual
            came out, Trump voters stayed home.”
       575
           Uddin, Perry and Lapinski, “Thousands of voters registered for the Georgia Senate races. Who benefits?”
       576
           Uddin, Perry and Lapinski, “Thousands of voters registered for the Georgia Senate races. Who benefits?”
       577
           Uddin, Perry and Lapinski, “Thousands of voters registered for the Georgia Senate races. Who benefits?”
       578
           Uddin, Perry and Lapinski, “Thousands of voters registered for the Georgia Senate races. Who benefits?”
                                                          174
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2916   State Representative Wes Cantrell (R-22), who is a white legislator, looked at what transpired

2917   during the nine-week runoff election period and said, “I think we create a false, a false majority

2918   when you, when you have to wait nine weeks to vote again.” 579 In short, when the time between

2919   the general election and the critical senate runoff led to more African Americans than whites

2920   registering and then turning out to vote, Black voters became a false majority.

2921                  2.      The Role of Absentee Ballots in the Demographic Threat that Leads to
2922                          Disfranchisement
2923
2924           Voters, in the midst of the COVID-19 pandemic, seized on the opportunities to vote.

2925   Although no-excuse absentee voting via signature match had been available in Georgia since

2926   2005, 2020 was the first election year that more Democrats, African Americans, Hispanics, and

2927   Asian Americans overwhelmingly used it to cast their ballots to select a winning candidate. 580

2928   Indeed, “in Georgia, more than six times as many people cast an absentee vote by mail in the

2929   2020 presidential election than in 2016. According to the secretary of state’s office, President-

2930   elect Joe Biden had almost double the absentee-by-mail votes as President Donald Trump –

2931   almost 850,000 for Biden compared with about 450,000 for Trump.” 581 Equally important, the

2932   changes put in place for curing the ballots (voters being notified in a timely fashion of an error

2933   and having the opportunity to correct it) and additional modifications after the 2018 election




       579
           Georgia House Special Committee on Election Integrity, HB 531, February 17, 2021, 16.
       580
           Kevin Morris, “Who’s Requesting Mail Ballots in Georgia’s Upcoming Primary?” Brennan Center, June
            10, 2020, https://www.brennancenter.org/our-work/research-reports/whos-requesting-mail-ballots-
            georgias-upcoming-primary, accessed April 27, 2022.
       581
           Christopher Alston, “Georgia’s Absentee Voting Policies That Benefited Democrats Were Created By
            Republicans.”
                                                       175
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2934   because of lawsuits and a settlement agreement 582 significantly decreased the percentage of

2935   rejected absentee ballots. As the Atlanta Journal-Constitution reported: “ballot rejections

2936   plummeted as a record number of voters, over 1.3 million, cast absentee ballots. … Georgia’s

2937   overall absentee ballot rejection rate fell to just 0.6%, in large part because of declines in late-

2938   returned ballots and ballots rejected because of minor mistakes. A simplified ballot envelope for

2939   2020 no longer required address and birth year information.”583 Moreover, the widespread

2940   availability of drop boxes to mitigate the deliberate slowing down of the mail 584 gave voters a

2941   viable option and a way to get their absentee ballots in on time. The Atlanta Journal-Constitution

2942   noted that the array of changes made a significant difference. Whereas the ballot rejection rate

2943   for 2020 was 0.6%, by “comparison, election officials disqualified about 3% of absentee ballots

2944   in 2016 and 4% in 2018.”585

2945           The increase in absentee ballot acceptance did not, despite the white Republicans in the

2946   Georgia legislature’s concern about “security,” translate into rampant fraud at the ballot box. Nor

2947   did it mean weakened security. There were claims that Secretary of State Raffensperger had

2948   exceeded his authority when, because of the settlement agreements, he had



       582
           Complaint for Injunctive and Declaratory Relief, Democratic Party of Georgia, Inc., DSCC and DSCC
            v. Raffensperger, Case 1:19-mi-99999-UNA (N.D. Ga.) Document 3569 Filed 11/06/19; “2020 Georgia
            Code Title 21 – Elections Chapter 2 – Elections and Primaries Generally Article 10 - Absentee Voting
            § 21-2-384. Preparation and Delivery of Supplies; Mailing of Ballots; Oath of Absentee Electors and
            Persons Assisting Absentee Electors; Master List of Ballots Sent; Challenges; Electronic Transmission
            of Ballots,” GA Code § 21-2-384 (2020).
       583
           Mark Niesse, “Absentee ballot rejections declined after Georgia installed drop boxes: Ballot boxes and
            absentee ‘cure’ process helped prevent rejections,” The Atlanta Journal-Constitution, April 22, 2021,
            https://www.ajc.com/politics/absentee-ballot-rejections-declined-after-georgia-installed-drop-
            boxes/PCWPFF5HEJE5HDG3IE642BO55Y/, accessed April 24, 2021.
       584
           Sam Levine and Alvin Chang, “Revealed: evidence shows huge mail slowdown after Trump ally took
            over,” The Guardian, September 21, 2020, https://www.theguardian.com/us-news/2020/sep/21/usps-
            post-office-mail-slowdowns-louis-dejoy, accessed November 13, 2021.
       585
           Mark Niesse, “Absentee ballot rejections declined after Georgia installed drop boxes.”
                                                         176
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2949           “unconstitutionally required three clerks, rather than one, to reject an absentee ballot

2950           based on its signature. The federal court rejected this claim. The judge noted that the

2951           procedures did not impermissibly alter the law, but provided an ‘additional safeguard to

2952           ensure election security,’ and that, if anything, the Secretary’s action in requiring

2953           additional review ‘sought to achieve consistency among the county election officials in

2954           Georgia’ in furtherance of the claimant’s ‘stated goals of conducting free, fair, and

2955           transparent public elections.’ The state court dismissed a similar claim. The judge

2956           explained that the plaintiff’s claims ‘do not support an allegation of impropriety or a

2957           conclusion that sufficient illegal votes were cast to change or place in doubt the result of

2958           the election.’”586

2959           Moreover, as the report “Lost, Not Stolen,” explained, “Courts also dismissed claims . . .

2960   that ballot drop boxes were unlawfully installed. A federal court found claims of fraud to be ‘far

2961   too conclusive and speculative.’” 587

2962           SB 202 undoes the proven successes of curing procedures for absentee ballots. As if

2963   mimicking Lee Atwater’s formula in the 1980s that “saying, ‘We want to cut this,’ is much more

2964   abstract than the busing thing, and a hell of a lot more abstract than ‘Nigger, nigger,’” SB 202

2965   cuts access to the ballot in key, strategic places. 588 The new law limits access to drop boxes and

2966   significantly reduces the number of drop boxes in the Atlanta metropolitan area (Fulton, DeKalb,

2967   Cobb, and Gwinnett Counties). As the Atlanta Journal-Constitution reported, “The number of

2968   drop boxes in each county is capped at one for every 100,000 active registered voters or the




       586
           Danforth, et al, “Lost, Not Stolen,” 30.
       587
           Danforth, et al., “Lost, Not Stolen,” 31.
       588
           Herbert, “Impossible, Ridiculous, Repugnant.”
                                                           177
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2969   number of early voting locations. That means the number of drop box locations in metro

2970   Atlanta’s four core counties will shrink from 111 to 23.”589 SB 202 reduces the time between the

2971   general and runoff election from nine weeks to 28 days, and, thus, curtails and restricts the

2972   eligibility of who can vote in runoff elections.590

2973                   3.      Historical Pattern: Claims of Voter Fraud
2974
2975           The second historical pattern is the false accusation of massive, rampant voter fraud,

2976   often centered on communities of color, to justify new election laws or procedures to protect the

2977   integrity of the ballot box. In 1890, Mississippi politicians justified revising the state’s

2978   constitution to add the poll tax, the literacy test, and other measures by pointing to a corrupted

2979   electoral process that had supposedly lowered confidence in the system because of the presence

2980   of Black voters. Before the new constitution took effect, more than 190,000 African Americans

2981   were registered to vote in Mississippi, yet, within two short years after the constitution was

2982   revised only 8,600 remained on the rolls.591 Although the U.S. Supreme Court ruled that the poll

2983   tax and literacy test did not violate the Fifteenth Amendment, 592 Mississippi’s racially-targeted-

2984   race-neutral law was designed to disfranchise. Mississippi state legislator James “Big Chief”

2985   Vardaman acknowledged that the new state constitution had been created for “no other purpose

2986   than to eliminate the nigger from politics.” 593




       589
           Niesse, “How Georgia’s voting law works.”
       590
           Georgia House Special Committee on Election Integrity, HB 531, February 17, 2021, 9; State of Georgia,
            Election Integrity Act of 2021, SB 202/AP, 87.
       591
            Leonard      W.      Levy,     “Williams     v.   Mississippi     170     U.S.      213      (1898),”
            https://www.encyclopedia.com/politics/encyclopedias-almanacs-transcripts-and-maps/williams-v-
            mississippi-170-us-213-1898, accessed July 3, 2020.
       592
           Williams v. Mississippi, 170 U.S. 213 (1898).
       593
           Jason Morgan Ward, Hanging Bridge: Racial Violence and America’s Civil Rights Century (New York:
            Oxford University Press, 2016), 62.
                                                          178
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2987           Georgia followed this disfranchising tradition by also employing the pretext of protecting

2988   white voters from the effects of the corrupting influences of “purchaseable negroes.” 594 The

2989   result was disfranchising legislation in 1907, followed by amending the state’s constitution in

2990   1908, to create additional qualifications for voters. The new language did not specifically

2991   identify race as the condition to access the ballot box but the qualifications – a literacy test, poll

2992   tax, property requirements – were actually racially-targeted.

2993           More than 40 years later, Herman Talmadge also identified a racially-discriminatory

2994   election policy as necessary to mitigate supposed corruption. He framed the benefits of the

2995   County Unit System as an effective way to curtail the influence of the “gangster-ridden city

2996   political machine operating from Atlanta.”595 Similarly, the Citizens’ Council in Louisiana

2997   touted the state’s registration process as the way to “purify” the rolls and eliminate “great

2998   numbers of unqualified voters who have been illegally registered . . . and invariably vote in blocs

2999   and constitute a serious menace to the community.” 596

3000           The language of fraud became the rationale the Republicans used in Operation Eagle Eye

3001   to justify a mass voter intimidation scheme targeted at minorities in a number of cities. The

3002   RNC’s post-Voting Rights Act program of the Ballot Security Task Force was a racially-targeted

3003   program of voter intimidation in minority precincts similarly cloaked in the language of

3004   preventing voter fraud and ensuring election integrity.




       594
           “Text of the Platform Adopted by the Democratic Convention,” The Atlanta Constitution, September 5,
            1906, p. 6; “Hon. Thomas W. Hardwick Addresses Convention,” The Atlanta Constitution, September
            5, 1906, p. 2.
       595
           Talmadge, “Georgia’s County Unit System,” 421.
       596
           The Association of Citizens Councils of Louisiana, Inc., “Voter Qualification Laws in Louisiana: The
            Key To Victory In The Segregation Struggle,” (1956), pp. 6, 8, Box 41, File 8, Herman E. Talmadge
            Collection.
                                                        179
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3005           In 1977, when newly-elected President Jimmy Carter proposed a series of election

3006   reforms, including same-day registration, and other measures because he was troubled that the

3007   United States was not even in the top twenty of the world’s democracies when it came to voter

3008   turnout, the response from the invigorated right wing of the Republican Party was to reject that

3009   attempt to have greater participation in American elections. Ronald Reagan, former governor of

3010   California and 1976 Republican candidate for president, declared that Carter’s proposals would

3011   bring the wrong people into the voting booth. Reagan surmised that what the Democrats planned

3012   to do was flood the ballot box with votes from “the bloc comprised of those who get a whole lot

3013   more from the federal government in various kinds of income distribution than they contribute to

3014   it . . . Don’t be surprised if an army of election workers—much of it supplied by labor

3015   organizations which have managed to exempt themselves from election law restrictions—sweep

3016   through metropolitan areas scooping up otherwise apathetic voters and rushing them to the polls

3017   to keep the benefit-dispensers in power.”597 Given the supposed lazy urban constituency targeted

3018   by the president’s proposals, the RNC repeatedly warned against “Fraud and Carter’s Voter

3019   Registration Scheme.” 598 The chairman of the Republican National Committee according to

3020   Reagan, similarly labeled President Carter’s proposals “the Universal Voter Fraud Bill.”599

3021   Carter had initially tried to short-circuit the ongoing fears but fell right into the linguistic trap by

3022   agreeing to language that, as the New York Times reported, made “fraudulent or multiple voting a

3023   felony punishable by five years in prison, a $10,000 fine or both. Second and subsequent




       597
           Quoted in Rick Perlstein, “Jimmy Carter Tried to Make It Easier to Vote in 1977. The Right Stopped
           Him with the Same Arguments It’s Using Today,” Time, August 20, 2020,
           https://time.com/5881305/president-carter-election-reform.
       598
           Waldman, The Fight to Vote, 185.
       599
           Perlstein, “Jimmy Carter Tried to Make It Easier to Vote in 1977.”
                                                         180
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3024    convictions could carry up to 10 years’ imprisonment and a $25,000 fine.” Carter’s capitulation

3025    made the possibility of massive, rampant voter fraud seem real. However, the bill never made it

3026    out of Congress.600

3027           In 1981, the RNC teamed up with the state Republican Party and deployed a million-

3028    dollar “National Ballot Security Task Force” during the hotly contested governor’s race in New

3029    Jersey. The program was designed, as one official described the effort, “to combat a tradition of

3030    urban vote fraud in the state.”601 Like Mississippi in 1890, the party conflated a history of

3031    election fraud, where politicians or campaigns organize ballot stuffing and/or intimidation to win

3032    election, into a voter-fraud problem and set out to block individual citizens from voting. In a

3033    reprise of the script from 1964’s Operation Eagle Eye, Republicans used 45,000 pieces of

3034    returned/undeliverable mail and outdated voter-roll lists to “cage” voters. There were, once

3035    again, uniformed off-duty police officers with weapons, four-foot-high printed warnings about

3036    the strong possibility of arrests for voting, and a $1,000 reward for turning in those who were

3037    voting illegally. The voter surveillance and intimidation forces flooded nearly seventy-five Black

3038    and Latino neighborhoods and badgered poll workers, volunteers, and voters. Word spread from

3039    Newark to Vineland of the armed officers, whose uniforms, guns, and two-way walkie-talkies

3040    gave the aura of law enforcement. Many stayed away from the polls, and those who dared vote in




       600
           Warren Weaver Jr., “Carter Proposes End of Electoral College in Presidential Votes,” New York Times,
            March 23, 1977, www.nytimes.com/1977/03/23/archives/carter-proposes-end-of-electoral-college-in-
            presidential-votes.html.
       601
           Quoted in Joffee, “Democrats Accuse GOP of Intimidating Minorities in N.J. Voting.”
                                                         181
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3041   these minority precincts faced harassment and having their legitimacy as registered voters

3042   challenged. 602

3043           The passage of SB 202 follows this historical pattern. Despite the record turnout and the

3044   overwhelming use of absentee ballots and drop boxes, with no evidence whatsoever of massive

3045   voter fraud,603 it has become a Republican article of faith that the election was stolen from

3046   Trump and that election integrity was compromised and, therefore, voters’ confidence in the

3047   system had to be restored.604 Those allegations of fraud in Georgia centered on African

3048   Americans in Fulton County, who, as Giuliani said, were surreptitiously handling ballots and

3049   USB ports like they were cocaine and heroin. The hearings on the series of bills that would

3050   culminate in SB 202 are, therefore, divorced from the reality that the Secretary of State’s office,

3051   as Ryan Germany, general counsel in Georgia’s Secretary of State’s office noted, “did not see



       602
           Matt Katz, “Armed Men Once Patrolled the Polls. Will They Reappear in November?,” WNYC,
           September 1, 2016, www.wnyc.org/story/armed-men-once-patrolled-polls-will-they-reappear-
           november; Ari Berman, Give Us the Ballot: The Modern Struggle for Voting Rights in America (New
           York: Picador, 2015), 219; Joffee, “Democrats Accuse GOP of Intimidating Minorities in N.J. Voting”;
           Michael Wines, “Freed by Court Ruling, Republicans Step Up Effort to Patrol Voting,” New York Times,
           May 18, 2020, www.nytimes.com/2020/05/18/us/Voting-republicans-trump.html.
       603
           Maggie Astor, “A Georgia election official debunked Trump’s claims of voter fraud, point by point,”
            New York Times, January 4, 2021, https://www.nytimes.com/2021/01/04/us/politics/trump-georgia-
            election-fraud.html, accessed November 18, 2021; Allison Durkee, “Georgia Election Official: No
            Voter Fraud in Runoffs Except in Trump’s ‘Fertile Mind,’” Forbes, January 6, 2021,
            https://www.forbes.com/sites/alisondurkee/2021/01/06/georgia-election-official-no-voter-fraud-in-
            runoffs-except-in-trump-fertile-mind/?sh=24411d17424a, accessed November 18, 2021.
       604
           Katie Benner, “Former U.S. attorney in Atlanta says Trump wanted to fire him for not backing election
           fraud         claims,”        New         York         Times,        August         11,         2021,
           https://www.nytimes.com/2021/08/11/us/politics/byung-pak-trump-atlanta-election-fraud.html,
           accessed August 11, 2021; Benner, “Meadows Pressed Justice Dept. to Investigate Election Fraud
           Claims”; Greg Bluestein, “Georgia Republicans center campaigns on false claims of election fraud,”
           Atlanta Journal-Constitution, July 14, 2021, https://www.ajc.com/politics/georgia-republicans-center-
           campaigns-on-false-claims-of-election-fraud/JNRJYNAG6BD5JC5BB2TQG3LYGA/,                     accessed
           November 18, 2021; Bill Barrow, “In Trump’s shadow, Ga’s. Kemp draws boos from GOP faithful,”
           Associated Press, June 5, 2021, https://apnews.com/article/donald-trump-election-2020-government-
           and-politics-b0d037e6179d7205acefbd56ee70e2dc, accessed June 5, 2021; State of Georgia, Election
           Integrity Act of 2021, SB 202/AP, p. 4.
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3052   any widespread systematic fraud or any reason to think that end results were not accurate. And –

3053   and we certainly stand by that.”605

3054           Regardless of the lack of fraud, there was a steady drumbeat about chicanery. Lt.

3055   Governor Geoff Duncan bemoaned what had happened to the Republicans. “They took a bizarre

3056   turn and created an alternative universe where facts, truth, conservative principles, and

3057   institutional respect didn’t matter. They followed a demagogue [Trump] with a magical grip over

3058   their voters like rats followed the Pied Piper . . . Republican leaders let the truth be trampled or

3059   trampled it themselves. They intentionally misled their constituents and spread misinformation

3060   for personal gain on a scale never seen in American elections . . . The election-reform fights of

3061   Georgia’s 2021 legislative session confirmed our party is becoming even more lost …”606 The

3062   way the Republicans doubled-down on the lie of voter fraud and were resistant to contrary

3063   evidence made that clear. Senator Larry Walker III, a white legislator, for example, asserted that

3064   requiring voter ID on absentee ballots “provides stronger election security so that we don’t have

3065   somebody—or try to tighten down somebody’s ability to fraudulently request an absentee

3066   ballot.” 607 He added, using a binary as false as the one uttered by the RNC chair in 1981, “the

3067   only people I can think of that would oppose this are people that are trying to fraudulently

3068   request an absentee ballot.” 608 Walker continued, “If you don’t want to register to vote, if you

3069   don’t want to turn over your private information, what you consider private information, don’t

3070   register to vote. Don’t vote. Don’t request a ballot. But if you want to – if you want to vote and




       605
           Georgia House Special Committee on Election Integrity, HB 531, February 19, 2021, 194.
       606
           Duncan, GOP 2.0, 120-121.
       607
           Georgia Senate Committee on Ethics, Multi-SB, February 18, 2021, 23.
       608
           Georgia Senate Committee on Ethics, Multi-SB, February 18, 2021, 28.
                                                        183
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3071   you want a secure election system which I think we all want, I hope we all want that, then this is

3072   a, a common sense measure to ensure that.”609 Walker also noted, “we don’t want to put

3073   obstacles in, in the way of legitimate people voting. But, you know, I think that it’s so important

3074   that we have security in the vote and confidence from the public in the voter security that yes,

3075   there are instances in the very small minority of the people that they’re going to have to make a

3076   little effort if they do not have a government issued ID to provide some other form of

3077   identification.”610

3078           Republican Barry Fleming, who is white, and chair of the House Special Committee on

3079   Election Integrity and lead sponsor of SB 202, compared Democrats’ use of absentee ballots to

3080   wandering into the bad part of town where one is likely to get robbed.611 Senator Bill Cowsert

3081   (R-46), a white legislator, informed his colleagues that “This most recent election cycle [2020

3082   and 2021 runoff] really rocked, I think, public confidence in the integrity of our elections system

3083   . . . I just don’t remember us having this type of outcry.” 612 Cowsert failed to note that the outcry

3084   was the result of a deliberate misinformation campaign. As then U.S. Attorney General William

3085   Barr noted, there was

3086           “an ‘avalanche’ of false claims, as President Trump’s supporters attempted to justify his

3087           ‘Big Lie.’ The post-election allegations of fraud or other malfeasance were ‘completely

3088           bogus,’ ‘silly’ and ‘usually based on complete misinformation,’ Barr explained.

3089           Nonetheless, many of President Trump’s supporters wanted to believe them. The stolen




       609
           Georgia Senate Committee on Ethics, Multi-SB, February 18, 2021, 36-37.
       610
           Georgia Senate Committee on Ethics, Multi-SB, February 18, 2021, 33.
       611
           Fleming, “Republican Party wins on Election Day, and future is bright.”
       612
           Georgia Senate Committee on Ethics, Multi-SB, February 18, 2021, 51, 53.
                                                        184
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3090           election narrative has proven to be remarkably durable precisely because it is a matter of

3091           belief—not evidence, or reason.”613

3092   Representative Alan Powell (R-32) said, “I’m not getting into the part about you know, the

3093   widespread voter fraud. You’re correct. It wasn’t found. It’s just in a lot of people’s mind that

3094   there was.” 614

3095                     4.    Influence of the Lie of Massive Rampant Voter Fraud on SB 202
3096
3097           The Republicans’ eagerness to indulge and spread the debunked conspiracy theories

3098   about a stolen election in 2020 led to a bill, SB 202, that identified the ways that minorities

3099   accessed the ballot box and then erected additional barriers under the guise of election security.

3100   SB 202 banned the Secretary of State from sending absentee ballot applications to all registered

3101   or active voters. 615 SB 202 curtailed the time to request an absentee ballot. 616 By one account, in

3102   the November 2021 election, that change led to a 4% rejection rate of absentee ballots (up from

3103   0.6% in 2020). 617 SB 202 replaced signatures with voter ID numbers on absentee ballots. 618 That

3104   change accounted for the second highest reason why an absentee ballot was rejected in

3105   November 2021. 619

3106           Ostensibly for security purposes, SB 202 also moved drop boxes indoors,

3107   notwithstanding that in 2020 drop boxes were subject to 24/7 video surveillance, and made them



       613
           Select Committee to Investigate the January 6th Attack on the United States Capitol, Final Report, 213.
       614
           Georgia House Special Committee on Election Integrity, HB 531, February 19, 2021, 25.
       615
           State of Georgia, Election Integrity Act of 2021, SB 202/AP, 37.
       616
           State of Georgia, Election Integrity Act of 2021, SB 202/AP, 38.
       617
           Mark Niesse, “Georgia voting law drives rejections of absentee requests made too late,” Atlanta Journal-
           Constitution, November 26, 2021, https://www.ajc.com/politics/georgia-voting-law-drives-rejections-
           of-absentee-requests-made-too-late/HEZUYZA3RZBEVKZSDLEOBXLQ3E/?s=03,                            accessed
           November 26, 2021.
       618
           State of Georgia, Election Integrity Act of 2021, SB 202/AP, 42-43, 58.
       619
           Neisse, “Georgia voting law drives rejections of absentee requests made too late.”
                                                          185
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3108   available only during business hours and early voting. 620 In hearings, while this move was being

3109   discussed, Representative Kimberly Alexander (D-66), who is Black, asked Ryan Germany,

3110   “Does the Secretary of State know of any issues, fraud that may have occurred [during the 2020

3111   election] as it relates to drop boxes?” 621 His response is telling. There was no evidence of fraud

3112   or tampering with the drop boxes. There was, however, a perception that ballots that had been

3113   legally cast were actually illegitimate because they were being brought in by election officials

3114   after 7 p.m. on Election Day to count. Germany’s exact words were, “The complaints that we

3115   heard on drop boxes . . . Is that by allowing the drop boxes to stay open until 7 p.m., that

3116   required county election officials to have to be bringing in ballots sometimes many hours later

3117   than that. And that didn’t look good from people who were saying, hey, these are late ballots,

3118   you know, you shouldn’t count them.” 622 In essence, the manufactured perception of a stolen

3119   election, stolen by minorities, is honored in the law while the evidence that the 2020 election

3120   “was the most secure in American history”623 is not.

3121           By curtailing access to absentee voting, voters of color will be shunted back to in-person

3122   voting, which created the long lines that have plagued precincts in neighborhoods resided in by

3123   communities of color. A study by Georgia Public Radio and ProPublica found that the rash of

3124   post-Shelby County v. Holder poll closures in the state, coupled with the sizeable increase in

3125   voter registration by minority voters, has led to extended wait times to cast a ballot that are




       620
           State of Georgia, Election Integrity Act of 2021, SB 202/AP, 47.
       621
           Georgia House Special Committee on Election Integrity, HB 531, February 19, 2021, 212.
       622
           Georgia House Special Committee on Election Integrity, HB 531, February 19, 2021, 212, 213.
       623
           Joint Statement from Elections Infrastructure Government Coordinating Council & The Election
            Infrastructure Sector Coordinating Executive Committees, press release, November 12, 2020,
            https://www.cisa.gov/news/2020/11/12/joint-statement-elections-infrastructure-government-
            coordinating-council-election, accessed November 27, 2021.
                                                       186
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3126   almost 9 times longer in precincts that serve 90% of minority voters versus those that serve 90%

3127   of white voters. 624 The report explained that “The metro Atlanta area has been hit particularly

3128   hard. The nine counties — Fulton, Gwinnett, Forsyth, DeKalb, Cobb, Hall, Cherokee, Henry and

3129   Clayton — have nearly half of the state’s active voters but only 38% of the polling places.” 625

3130   SB 202 actually acknowledges the reality of long lines, by punishing county election boards

3131   where those queues occur, 626 yet fails to provide any support to lessen those lines. Instead, SB

3132   202 doubles down on the narrative of corruption and treats those forced to wait as if they were

3133   “purchaseable negroes,” as it prohibits providing water, food, and other support for those waiting

3134   to vote, sometimes for hours, in the queues.627

3135             The specter of corruption is also a justification for SB 202’s provision that allows voters’

3136   eligibility to be challenged by private citizens. Although the method is more refined than in the

3137   way Eugene Talmadge deployed challengers during the 1946 election, or the Republican

3138   National Committee “caged” voters in the 1960s and 1980s and used off-duty police officers, SB

3139   202 emerges from the same swamp. SB 202 amplifies how, in December 2020, “A Texas-based

3140   organization [True the Vote] . . . working with Georgia Republican Party members . . .

3141   challenge[d] the eligibility of over 364,000 Georgia voters who might have moved, an attempt to




       624
             Fowler, “Why Do Nonwhite Georgia Voters Have To Wait In Line For Hours?”
       625
             Fowler, “Why Do Nonwhite Georgia Voters Have To Wait In Line For Hours?”

        Sam Levine, “More than 10-hour wait and long lines as early voting starts in Georgia,” The Guardian,
           October 12, 2020, https://www.theguardian.com/us-news/2020/oct/13/more-than-10-hour-wait-and-
           long-lines-as-early-voting-starts-in-georgia, accessed November 27, 2021; State of Georgia, Election
           Integrity Act of 2021, SB 202/AP, 29.
       627
           State of Georgia, Election Integrity Act of 2021, SB 202/AP, 73.
                                                         187
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3142   disqualify their ballots in the U.S. Senate runoffs.” 628 SB 202 not only allows someone to

3143   challenge voters’ eligibility, but it also grants the leeway for an unlimited number of voters to

3144   have their eligibility challenged. It also requires, despite the volume, the county election board to

3145   respond to each challenge within a limited amount of time. 629 True the Vote defines its mission

3146   as stopping voter fraud by challenging registered voters’ eligibility. Their methods “identify

3147   those whose names or addresses don’t match up perfectly with their own records, and then set

3148   out to challenge those marked on their list as frauds to cast a ballot. They often target the

3149   multigenerational households that are more common in African American, Hispanic, and Asian

3150   families, arguing that an address with a number of adults who have registered to vote has to be

3151   bogus.” 630

3152           Teresa Sharp, an African American woman, whom True the Vote had flagged as a

3153   fraudulent voter in Ohio because she lived in a multigenerational household, was unconvinced by

3154   True the Vote’s claims that their work is not based on political or racial bias. “Right,” she said.

3155   “Just the poor black neighborhoods, right? Everybody else is clean . . . So we’re the dirty ones,

3156   we’re the fraudulent folks.” 631 True the Vote has targeted people “who did not appear to be from

3157   this country.” They have created the specter of busloads of voters sent into precincts “from an

3158   Indian reservation; in others it is full of voters from Chicago or Detroit.” “Pick your minority




       628
           Mark Niesse, “Eligibility of 364,000 Georgia voters challenged before Senate runoff,” Atlanta Journal-
           Constitution, December 22, 2020, https://www.ajc.com/politics/eligibility-of-364000-georgia-voters-
           challenged-before-senate-runoff/3UIMDOVRFVERXOJ3IBHYWZBWYI/, accessed November 28,
           2021.
       629
           State of Georgia, Election Integrity Act of 2021, SB 202/AP, 23, 25.
       630
           Anderson, White Rage: The Unspoken Truth of Our Racial Divide, 148.
       631
           Dan Harris and Melia Patria, “Is True the Vote Intimidating Minority Voters From Going to the Polls?”
           ABC News, November 1, 2012, https://abcnews.go.com/Politics/true-vote-intimidating-minority-
           voters-polls/story?id=17618823, accessed April 27, 2022.
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3159    group,” one voting rights advocate said.632 These challenges require the voter to prove to the

3160    election board that they are, in fact, legitimate voters. The time that it takes to respond, to hold

3161    onto the right to vote, given the challengers’ propensity to target minority communities, is a

3162    target on the minority community.

3163                     5.      Historical Pattern: Countering Laws that Increase Access to the Ballot Box
3164
3165              The third historical pattern is the legislative backlash to laws or court decisions designed

3166    to dismantle discriminatory policies or increase access to the ballot box for African American

3167    and other minority voters. After the 1944 Smith v. Allwright decision, when the U.S. Supreme

3168    Court ruled that the white primary was unconstitutional, and African Americans’ voter

3169    registration numbers increased dramatically, gubernatorial candidate Eugene Talmadge ran on a

3170    platform in 1946 to institute the white primary again in Georgia. Later, his son, Governor

3171    Herman Talmadge, advocated for and signed a re-registration bill that would eliminate Black

3172    voters and filled the voter rolls with as many white voters as possible.

3173              After the 1957 Civil Rights Act, which elevated the Civil Rights unit to a division in the

3174    U.S. Department of Justice and allowed for federal lawsuits against those states that violated the

3175    Fifteenth Amendment, Georgia passed the 1958 re-registration act that increased the number and

3176    difficulty of questions a prospective voter had to answer to be put on the rolls.

3177              In 1963, after the U.S. Supreme Court ruled in Gray v. Sanders that the County Unit

3178    System violated the standard of one person, one vote, the Georgia legislature passed a bill to

3179    dilute the Black vote by requiring runoff elections for those who received less than 50% of the




       632
             Stephanie Saul, “Looking, Very Closely, for Voter Fraud,” New York Times, September 17, 2012,
             https://www.nytimes.com/2012/09/17/us/politics/groups-like-true-the-vote-are-looking-very-closely-
             for-voter-fraud.html, accessed April 27, 2022
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3180   vote. As the Civil Rights Movement gained momentum, Georgia also scrapped its literacy test

3181   and rewrote the law so that the ballot itself would become the new literacy test.

3182             Similarly, when the Court ruled that the Exact Match program was racially

3183   discriminatory, the Georgia legislature responded by passing a bill turning that discredited

3184   program into electoral law.633 As the Campaign Legal Center noted, “Of the more than 34,000

3185   voter registrations cancelled as a result of a similar ‘exact match’ system from July 2013 to July

3186   2015, approximately 76.3 percent of those registrations were submitted by minority registrants.

3187   Since the enactment of HB 268, the ‘exact match process’ has continued to have a discriminatory

3188   impact on minority voter registrants and produce high and erroneous no-match rates. Based on

3189   data produced by the Georgia Secretary of State’s office, of the approximately 51,111 voter

3190   registrations that were ‘pending’ on July 4, 2018 as a result of a no-match, approximately 80.15

3191   percent were submitted by Black, Latino, and Asian-American registrants.” 634 Unwilling to

3192   dismantle entirely this program, with its long history of discrimination, the Georgia legislature,

3193   instead, modified it in HB 316 – as discussed above.

3194             SB 202 is in this same vein. The lawsuits and settlement agreements on absentee ballots

3195   that reduced the rejection rate from 4% in 2018 to 0.6% in 2020 and provided a means for

3196   African Americans, Asian Americans, and Hispanics to vote safely in the midst of the COVID-

3197   19 pandemic are scrapped or severely curtailed in the new law. The mechanisms and training

3198   devised to assess signatures is irrelevant now that ID numbers are used and drop boxes are no




       633
             Mock, “How Dismantling the Voting Rights Act Helped Georgia Discriminate Again.”
       634
              CLC, “Georgia Coalition for the People’s Agenda v. Raffensperger,” April 12, 2021,
             https://campaignlegal.org/cases-actions/georgia-coalition-peoples-agenda-v-raffensperger, accessed
             November 28, 2021.
                                                          190
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3199       longer readily available, especially in the Atlanta metropolitan area. In fact, SB 202 requires that

3200       the legislature now have input on any consent decrees.

3201 VI.           Conclusion

3202               Based on my examination of the evidence that I have provided above, SB 202 is just the

3203       latest iteration of a historical pattern where the political party that is not only white-led but also

3204       has an overwhelming white voter base without a strong racial/ethnic minority voter constituency

3205       becomes concerned about the voting power of that constituency and advocates for a series of

3206       measures to curtail the electoral strength of voters of color. This was true of Democrats during

3207       the Jim Crow era, and it is consistent with Republicans after the Southern Strategy. In each of

3208       these cases, the parties, who were determined to limit the number of minorities voting, used the

3209       pretext of election integrity, curtailing voter fraud, and restoring confidence in the election

3210       system. The multiple recounts after the 2020 election, the documented debunking of the tales

3211       about rampant voter fraud particularly coming out of Fulton County and the Atlanta metropolitan

3212       area indicate that election integrity is not the driving reason behind SB 202. Like Mississippi in

3213       1890, it was who voted – significant populations of minority voters – and curbing the means by

3214       which they do so.

3215

3216               I reserved the right to supplement this report in light of additional facts, testimony, and/or

3217       materials that may come to light.




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3218          Pursuant to 28 U.S.C. 1746, I declare under penalty of perjury that the foregoing is true

3219   and correct.

3220          Executed this 13th day of January, 2023 in Fulton County, Georgia.

3221




        Carol Anderson, Ph.D.

3222




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                                          Appendix A

                                 CAROL ANDERSON, Ph.D.

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                                           Education

Ph.D. in History, The Ohio State University, Columbus, Ohio, 1995. Major areas: 20th Century
       U.S. International Relations; 20th Century African American; 20th Century American; 20th
       Century European International.

M.A. in Political Science, Miami University, Oxford, Ohio. Concentration in International
       Relations, American and Soviet Foreign Policy.

B.A. in History, Miami University, Oxford, Ohio. Concentration in Soviet and European
        Foreign Policy. cum laude, Phi Beta Kappa.

B.A. in Political Science, Miami University, Oxford, Ohio. Concentration in
        International Relations, American and Soviet Foreign Policy.

                                    Professional Experience

EMORY UNIVERSITY. Charles Howard Candler Professor of African American Studies, 2016
    to present. Samuel Candler Dobbs Professor of African American Studies, 2015 to 2016.
    Professor of African American Studies, 2015. Associate Professor of African American
    Studies, 2009 to 2015. Department Chair, 2015 to 2018, 2019 to 2022.

      Teach courses covering 20th Century African American History; Human Rights; War
       Crimes and Genocide; U.S. Cold War Foreign Policy; The Black Athlete in American
       Society; the Civil Rights Movement, and Voting Rights & Voter Suppression.

      Serve on six doctoral and dissertation committees for students in History, Ethics & Society,
       Sociology, and the Institute of Liberal Arts. Serve as the outside committee member on
       dissertation committees for students in History at Columbia University, Yale University,
       the University of Wisconsin-Madison, and Arizona State University.

      Co-coordinator, Mellon Mays Undergraduate Fellowship Program. 2011 to 2018.

      Interim Director, James Weldon Johnson Visiting Fellows Program. 2011 to 2012.
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UNIVERSITY OF MISSOURI. Associate Professor of History. 2003-2008; Assistant Professor
     of History. 1996 to 2003.

       Taught undergraduate and graduate level courses in 20th Century American History; 20th
        Century African-American History; 20th Century U.S. Foreign Policy; Human Rights
        Policy; War Crimes and Genocide; and the Civil Rights Movement.

       Served on master’s, doctoral, three theses, and seven dissertation committees. Advisor for
        two theses and four dissertations in U.S. foreign policy and in African American history.

       Director of Undergraduate Studies. 2004/2005.

                                          Publications
Books

The Second: Race and Guns in a Fatally Unequal America. (Bloomsbury, 2021).

              New York Times Editor’s Pick.

              Library Journal, Best Social Science Books of 2021.

              BookAuthority, Best Books on Racism of 2021.

              Center for Public Integrity, Books that Tackled Inequality in 2021.

              Writer’s Bone, Best Books of 2021.

              Georgia Writers, Best Book, History, finalist, 2022.

One Person, No Vote: How Voter Suppression is Destroying our Democracy
      (Bloomsbury, 2018).

              National Book Award Longlist, Non-Fiction.

              PEN America, PEN/Galbraith Award Finalist, Non-Fiction.

              Washington Post Ten Best Books of 2018.

              Boston Globe Best Books of 2018.

              New York Public Library Ten Best Books for Adults of 2018.

              African American Intellectual History Society Best Black History Books of
               2018.
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             Bustle, Top 25 Books of 2018.

             Reviewed in: New York Times, Washington Post, Los Angeles Times, Minnesota
              Star Tribune

We Are Not Yet Equal: Understanding Our Racial Divide (Bloomsbury, 2018). Young
      Adult Version of White Rage, co-author Tonya Bolden

             NAACP Image Award, nominee, Outstanding Literary Work: Youth/Teens

             Kirkus, Best Young Adult Books of 2018.

             New Jersey Library Association, 2021 Garden State Teen Book Award for Non-
              Fiction Grades 6 -12.

White Rage: The Unspoken Truth of Our Racial Divide (Bloomsbury, 2016).

             National Book Critics Circle, Winner, Criticism.

             New York Times Bestseller, Paperback.

             New York Times Bestseller, Race and Civil Rights.

             New York Times Editor’s Pick.

             New York Times Book Review's 100 Notable Books of 2016.

             Washington Post Notable Books of 2016.

             Globe and Mail Best 100 Books of 2016.

             Chicago Review of Books Best Non-Fiction Books of 2016.

             St. Louis Post-Dispatch Best Books of 2016.

             Zora Best 100 Books by Black Women Authors since 1850.

             National Organization of Women NOW’s Holiday Reading List for 2021.

             Reviewed in: New York Times Review of Books, Washington Post, New Yorker,
              Boston Globe, Financial Times, and The Globe and Mail.


Bourgeois Radicals: The NAACP and the Struggle for Colonial Liberation, 1941-1960
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       (Cambridge University Press, 2014).

Eyes Off the Prize: The United Nations and the African American Struggle for Human
       Rights: 1944-1955 (Cambridge University Press, 2003).

             Myrna Bernath Book Award, Society for Historians of American Foreign
              Relations, March 2004.

             Gustavus Myers Outstanding Book Award, Gustavus Myers Center for the Study
              of Bigotry and Human Rights, December 2003.

             Truman Book Award, finalist, Harry S. Truman Library Institute, April 2004.

             W.E.B. Du Bois Book Award, finalist, National Conference of Black Political
              Scientists, April 2004.

Refereed Articles

“Rethinking Radicalism: African Americans and the Liberation Struggles in Somalia, Libya,
       and Eritrea, 1945-1949,” Journal of the Historical Society 11, no. 4 (December 2011):
       385-423. Reprinted in Black Power Beyond Borders, ed., Nico Slate (Palgrave Macmillan,
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“International Conscience, the Cold War, and Apartheid: The NAACP’s Alliance with the
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      Diplomatic History 20, no. 4 (Fall 1996): 531-63. Reprinted in The
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      (Garland Publishing, 1998).

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      Third World, ed. Robert McMahon, in Reinterpreting American History, series ed. Wm.
      Roger Louis (Oxford University Press, 2013), 178-191.

“The Cold War in the Atlantic World: African Decolonization & U.S. Foreign Policy,” in The
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       in Martha F. Davis, Johanna Kalb, & Risa E. Kaufman, Human Rights Advocacy in the
       United States (West, 2015).

             Gustavus Myers Outstanding Book Award, Gustavus Myers Center for the
              Study of Bigotry and Human Rights, December 2008.

“Clutching at Civil Rights Straws: A Reappraisal of the Truman Years and the Struggle for
       African American Citizenship, 1945-1953,” in Harry’s Farewell: Interpreting and
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      Justice in International Law,” Commentary for Special Forum on War Crimes and
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                                       Works in Progress

“‘Hang your conscience on a peg’: The African National Congress and the NAACP’s Efforts to
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      Book Review, September 2016.

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      Policies in the United States, 1941-1960 in Peace and Change, April 2002.


                                Honors, Awards, and Grants

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       2021.

Library Journal, Best Social Science Book of 2021, for The Second, December 2021.

Book Authority, Best Books on Racism, for The Second, December 2021.

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       2021.

New York Times Editor’s Pick, for The Second, June 2021.

New York Times Bestseller, Paperback, for White Rage, September 2017, June 2020.

Zora Best 100 Books by Black Women Authors since 1850, for White Rage, January 2020.

NAACP Image Award, nominee, Outstanding Literary Work: Youth/Teen, for
     We Are Not Yet Equal, February 2019.

PEN America, PEN/Galbraith Award Finalist, Non-Fiction, for One Person, No Vote, January
     2019.

Boston Globe Best Books of 2018, for One Person, No Vote, December 2018.


African American Intellectual History Society Best Black History Books of 2018, for One
        Person, No Vote, December 2018.

Kirkus Best Young Adult Books of 2018, for We Are Not Yet Equal, December 2018.
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                                                                         Carol Anderson/Page 8
Washington Post Ten Best Books of 2018, for One Person, No Vote, November 2018.

New York Public Library Ten Best Books for Adults of 2018, for One Person, No Vote,
      November 2018.

Bustle, Top 25 Books of 2018, for One Person, No Vote, November 2018.

National Book Award Longlist Non-Fiction, for One Person, No Vote, September 2018.

National Book Critics Circle, Winner, Criticism, for White Rage, March 2017.

Globe and Mail Best 100 Books of 2016 for White Rage, December 2016.

Boston Globe Best Books of 2016 for White Rage, December 2016.

St. Louis Post-Dispatch Best Books of 2016 for White Rage, December 2016.

Washington Post Notable Non-fiction Books for 2016 for White Rage, November 2016.

New York Times Book Review 100 Notable Books for 2016 for White Rage, November 2016.

New York Times Bestseller for White Rage, August 2016.

New York Times Editor’s Pick for White Rage, July 2016.

Myrna Bernath Book Award for Eyes Off the Prize, Society for Historians of American Foreign
      Relations, March 2004.

Gustavus Myers Outstanding Book Award for Eyes Off the Prize, Gustavus Myers Center for the
      Study of Bigotry and Human Rights, December 2003.

Truman Book Award, finalist, for Eyes Off the Prize, Harry S. Truman Library Institute, April
      2004.

W.E.B. Du Bois Book Award, finalist, for Eyes Off the Prize, National Conference of Black
       Political Scientists, April 2004.




Research:

       National:

Mellon Foundation, Imagining Democracy Lab, January 2023 – December 31, 2025.
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James W.C. Pennington Award, Heidelberg Center for American Studies and the Department of
      Theology, Heidelberg University, 2022.

Joseph B. and Toby Gittler Prize, Brandeis University, 2022.

American Academy of Arts and Sciences, April 2021.

American Academy of Political and Social Science, W.E.B. Du Bois Fellow, March 2021.

Mellon Foundation, Just Futures Grant, January 2021 – December 2023.

Society of American Historians, May 2020.

Guggenheim Fellowship in Constitutional Studies, John Simon Guggenheim Memorial
      Foundation, August 2018 to August 2019.

Pozen Chair in Human Rights, University of Chicago, 2019.

Gladstein Visiting Professor of Human Rights, University of Connecticut, January to May 2013.

Charles Warren Center for Studies in American History Fellowship, Harvard University, August
       2005 to June 2006.

National Humanities Center Fellowship, Research Triangle, NC, August 2005 to May 2006.
       (Declined).

Gilder Lehrman Fellowship at the Schomburg Center for Research in Black Culture, Gilder
       Lehrman Institute of American History, January 2004.

Lubin-Winant Research Fellowship, Franklin and Eleanor Roosevelt Institute, December 2003.

Eisenhower Foundation, May 2003.

Ford Foundation Postdoctoral Fellowship, August 1999 - August 2000.

American Council of Learned Societies Fellowship, June - December 1998.

Eisenhower World Affairs Institute Research Grant, November 1997.

       System:

Research Board Fellowship, University of Missouri System, July 2003 to June 2004.

Research Board Fellowship, University of Missouri System, June 1997 to August 1998.
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CIC Dissertation Year Fellowship, Big Ten and the University of Chicago Consortium, 1994.

       University:

Scholarly Writing and Support Fund, Center for Faculty Excellence and Development, Emory
       University, November 2013.

Subvention Grant, College of Arts and Science/Laney Graduate School, Emory University,
      August 2013.

Conference Subvention Grant for SHAFR’s Summer Research Institute, Emory University, June
      2010.

Faculty International Travel Award, University of Missouri, October 2007.

Summer Research Fellowship, University of Missouri, June - August 2005.

Center for Research in Arts & Humanities, University of Missouri, May to August 2005.

Research Council Small Grant, University of Missouri, May to August 2004.

Research Council Grant, University of Missouri, August 2003 - July 2004.

Summer Research Fellowship, University of Missouri, June - August 1999.

Research Council Grant, University of Missouri, June 1997 - May 1998.

Summer Research Fellowship, University of Missouri, June - August 1997.

Eugene Roseboom Prize (for best paper in a graduate-level seminar), Department of History, The
      Ohio State University, 1993.

Graduate Student Alumni Research Award, The Ohio State University, 1992.




Teaching:

Recognition for Teaching Excellence (Bryn Walker), Phi Beta Kappa, Emory University,
      April 2021.

University Scholar-Teacher Award, Emory University, May 2017.
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                                                                       Carol Anderson/Page 11
Faculty for Elizabeth Long Atwood Undergraduate Research Award Winner, Andrew Sullins,
       “Covert Killings: Civilian Casualties and the Use of Covert Drone Strikes in the War on
       Terror,” May 2017.

Recognition for Teaching Excellence, (Samantha Keng), Phi Beta Kappa, Emory University,
      November 2016.

Williams Award for Excellence in Teaching, College of Arts & Science, Emory University,
       May 2016.

Faculty for Woodruff Library Undergraduate Research Award Winner, Hannah Conway,
       “Behind the Lens of the Civil Rights Movement: The Power of Photography for Both
       Revealing and Concealing History,” Emory University, April 2016.

Faculty for Woodruff Library Undergraduate Research Award Winner, Samantha Keng,
       “Model Minority Awakenings: Vincent Chin, Asian America’s Emmett Till—
       Understanding the Hate Crime that Ignited a New Civil Rights Movement,” Emory
       University, Apri1 2016.

Crystal Apple Award for Excellence in Undergraduate Teaching, Emory University, February
       2016.

Recognition for Teaching Excellence, (Alyssa Weinstein), Phi Beta Kappa, Emory University,
      November 2015.

Faculty for Woodruff Library Undergraduate Research Award Winner, Dominique Hayward,
       “Innocents’ Death,” Emory University, April 2015.

Faculty for Woodruff Library Undergraduate Research Award Winner, Alyssa Weinstein,
       “Forgetting our History: American Failure to Protect Human Rights in Rwanda and Syria,”
       Emory University, April 2015.

Faculty for Woodruff Library Undergraduate Research Honorable Mention, Jacob Teich,
       “Overcoming the Ghost of Leo Frank: Atlanta Jews and the Civil Rights Movement,”
       Emory University, April 2015.

Faculty for Woodruff Library Undergraduate Research Award Winner, Laurabeth Goldsmith,
       “Theresienstadt: A Concentration Camp Camouflaged as The ‘Model Jewish Settlement,’”
       Emory University, April 2014.

John Emory Award (for being a leading difference maker in the lives of students through
      advising and guiding), Paladin Society, Emory University, April 2014.

Williams Award for Excellence in Teaching, nominated, Emory University, January 2014.
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                                                                     Carol Anderson/Page 12
Recognition for Teaching Excellence, (Kathryn Kruse), Phi Beta Kappa, Emory University,
      April 2013.

Faculty for Woodruff Library Undergraduate Research Award Winner, Elizabeth Graham,
       “Cultural Relativism versus Human Rights: US Foreign Policy on Female Genital
        Circumcision,” Emory University, April 2013.

Faculty for Woodruff Library Undergraduate Research Honorable Mention, Sweta Maturu,
       “United States Involvement in International Conflicts and Civil Uprisings: American
        Human Rights Policy towards Egypt during the Arab Spring,” Emory University, April
        2013.

Recognition for Teaching Excellence, (Mia Ozegovic), Phi Beta Kappa, Emory University,
      November 2012.

Recognition for Teaching Excellence, (Delia Solomon), Phi Beta Kappa, Emory University,
      April 2012.

Faculty for Woodruff Library Undergraduate Research Award Winner, Hannah Coleman,
       (Freshman Award) “Clinton’s Strategic ‘G’ Word: The United States’ Failure in
       Preventing the Rwandan Genocide,” Emory University, April 2012.

Recognition for Teaching Excellence, (Katherine Kimura), Phi Beta Kappa, Emory University,
      November 2011.

Recognition for Teaching Excellence, (Laura Withers), Phi Beta Kappa, Emory University,
      November 2011.

Faculty Advisor for Undergraduate International Research, CIPA-IDN, Laura Withers,
        “Social and Governmental Responses to and Support for Female Rape Victims and Their
       Children in Rwanda,” Emory University, Fall 2011.

Faculty for Woodruff Library Undergraduate Research Award Winner, Emily Jastromb, “Facing
       History: Memory and Recovery in the Aftermath of Atrocity,” Emory University, April
       2011.

Faculty for Woodruff Library Undergraduate Research Honorable Mention, Katherine Kimura,
       “The Hidden Casualties of World War II: The Struggle for Remorse, Redress, and
       Recognition in Japan and the United States,” Emory University, April 2011.

Crystal Apple Award for Excellence in Undergraduate Teaching, Emory University, February
       2011.

Faculty Advisor for Undergraduate International Research, CIPA-IDN, Tamara Freilich,
       “Changing Inequitable Gender Norms in South Africa: A Man’s Role in the Feminization
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                                                                       Carol Anderson/Page 13
       of AIDS,” Emory University, Fall 2010.

Recognition for Teaching Excellence, (Teresa Green), Phi Beta Kappa, Emory University,
      December 2009.

Outstanding Mentor and Professor, Honors Convocation, University of Missouri, May 2009.

Mizzou Class of ‘39 Outstanding Faculty, Alumni Association, University of Missouri, February
      2009.

Mentor, Ronald E. McNair Scholars Program, 2007-2008; 2008-2009.

Outstanding Mentor and Professor, Honors Convocation, University of Missouri, May 2008.

Outstanding Mentor and Professor, Honors Convocation, University of Missouri, May 2007.

Mentor, Summer Emerge Undergraduate Research Program, University of Missouri, 2007.

Maxine Christopher Shutz Distinguished Teaching Award, University of Missouri, October
      2006.

Outstanding Mentor and Professor, Honors Convocation, University of Missouri, May 2005.

Mizzou Class of ‘39 Outstanding Faculty, Alumni Association, University of Missouri,
      February 2005.

Outstanding Mentor and Professor, Honors Convocation, University of Missouri, May 2003.

Most Valuable Professor (MVP), Athletic Department, University of Missouri, July 2003.

Most Inspiring Professor, Athletic Department, University of Missouri, April 2003.

Teaching Excellence Spotlighted in “Telling Lessons,” Mizzou: The Magazine of the MU Alumni
       Association, Vol. 91, No. 3 (Spring 2003).

Outstanding Mentor and Professor, Honors Convocation, University of Missouri, May 2002.

William T. Kemper Fellowship for Teaching Excellence, University of Missouri, April 2001.

Provost’s Teaching Award for Outstanding Junior Faculty, University of Missouri, September
       2000.

Gold Chalk Award for Outstanding Graduate Teaching, Graduate and Professional Council,
      University of Missouri, April 2000.
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                                                                       Carol Anderson/Page 14
Outstanding Mentor and Professor, Honors Convocation, University of Missouri, May 1999.

Teaching Excellence Spotlighted in “Assignments in Diplomacy,” Mosaic: Magazine of the
       College of Arts & Science (Winter 1998).

Outstanding Professor at MU, Maneater Student Poll, University of Missouri, 1997.


Scholarship & Service:

       Expertise:
Expert Witness for plaintiffs in Holmes v. Moore (NC Voter ID case).

Expert Testimony on Voter Suppression, U.S. Senate Judiciary Committee, “Jim Crow 2021,”
       April 2021.

The Nation, Progressive Honor Roll of 2021.

Politico 50: Named #11 on the list of thinkers, doers and visionaries transforming American
        politics in 2016, August 2016.

The Women of Emory Excellence Award for Public or Digital Scholarship, Center for Women,
      Emory University, 2016.

OAH Distinguished Lecturer, 2015 - 2018.

Journal of American History, Editorial Board, 2014 - 2017.

PBS: American Experience, Changing State: Black Diplomats, documentary advisor, 2016 –
      2021.

PBS: American Experience, Voter Suppression, documentary advisor, 2017.

PBS: American Experience, Joseph McCarthy, documentary advisor, 2014.

PBS: American Experience, Klansville, documentary advisor, 2014.

American Historical Association/Smithsonian National Museum of African American History
      and Culture, Conference Planning Committee, 2013 - 2015.

Public Voices Fellowship: The Op-Ed Project, Center for Women, Emory University, 2013 –
       2014.

Southern Christian Leadership Conference (SCLC) Exhibition, “And the Struggle Continues,”
       Co-curator, Schatten Gallery, Woodruff Library, Emory University, March 2012 –
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       December 2013.

Society for Historians of American Foreign Relations Summer Research Institute, “Freedom
       and Free Markets: Histories of Globalization and Human Rights,” Co-Director, June 2011.

United Nations, Expert Participant in the Third Session of the Forum on Minority Issues:
       Minorities and Effective Participation in Economic Life, Geneva, Switzerland, December
       2010.

U.S. State Department, Historical Advisory Committee, 2005 - 2010.

U.S. State Department, U.S.-Brazil Joint Action Plan to Eliminate Racism and Promote Equality,
       Area Expert, May 2010.

Center for Applied and Behavioral Sciences, “Color-blind Seminar,” invited expert, Stanford
       University, June 2009.

Aspen Institute, Open Society Institute, “Rethinking Race, Crime, and Punishment in America,”
       invited expert, June 2008.

Diplomatic History, Board of Editors, 2008-2010.

Strickland Distinguished Visiting Scholar, Middle Tennessee State University, October 2008.

Passport, Board of Editors, Society for Historians of American Foreign Relations, 2005 - 2007.


      Fellowship, Grant Proposal, and Manuscript Reviewer
MacArthur Foundation, Stronger Democracy Award, proposal reviewer, 2021.

American Academy in Berlin, fellowship proposal reviewer, 2013 and 2017.

National Endowment for the Humanities/Kluge Fellowship, proposal reviewer, 2016.

Social Sciences and Humanities Research Council of Canada, proposal reviewer, 2008, 2011,
       2013.

PSC/City University of New York Enhanced Grant, proposal reviewer, 2013.

National Endowment for the Humanities, Landmark Review Panel, 2010.

American Council of Learned Societies, proposal reviewer, 2006 - 09.

Manuscript Reader for Cambridge University Press, Oxford University Press, Harvard University
Press, Cornell University Press, University of North Carolina Press, University of Pennsylvania
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Press, Stanford University Press, University of Florida Press, University of Kentucky Press,
University of Tennessee Press, Random House, McGraw-Hill, Houghton Mifflin, Palgrave
Macmillan, Prentice-Hall, Diplomatic History, Journal of American History, International History
Review, Journal of Cold War Studies, and the Journal of Policy History.

      Leadership:
Guggenheim Foundation Educational Advisory Board, 2021-2025.

Fair Fight for Action, Board of Directors, 2021 – present.

Facing History and Ourselves, Advisory Board, 2021.

Gilder Lehrman Institute Scholarly Advisory Board, 2021 - present.

American Historical Association, Nominating Committee, 2009 - 2011, Chair.

The Harry S. Truman Library Institute for National and International Affairs,
      Board of Directors, 2006 - 2015.
      Chair, Committee on Research, Scholarship and Academic Relations, 2008 - 2015.
              Chair, Grants and Fellowship Sub-committee, 2001 - 2008.

The Historical Society, Board of Governors, 2008 - 2013.


                                  Media Presentations (selective)

I, Too: A Documentary from the Mind of Carol Anderson (2022). Premieres in Atlanta, Los
        Angeles, Washington, D.C., Waltham, MA, and Athens, Greece.

“The US supreme court is letting racist discrimination run wild in the election system,” The
      Guardian, February 12, 2022.
“White supremacists declare war on democracy and walk away unscathed,” The Guardian,
      November 10, 2021.

“America’s gun obsession is rooted in slavery,” The Guardian, June 4, 2021.

“Millions of Americans have risen up and said: democracy won't die on our watch,” The
       Guardian, November 7, 2020.

“The Supreme Court’s starring role in democracy’s demise,” The Boston Globe, September 6.
      2020.

“In 1919, the state failed to protect black Americans. A century later, it’s still failing,”
       The Guardian, June 2, 2020.
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                                                                       Carol Anderson/Page 17

“Republicans Could Use the Coronavirus to Suppress Votes Across the Country. This Week We
      Got a Preview,” Time, April 8, 2020.

“The era of ‘whites-only’ elections in America has returned,” The Guardian, February 25, 2020.

“The five ways Republicans will crack down on voting rights in 2020,” The Guardian,
       November 13, 2019.

“Impeachment is the latest chapter in the battle between democracy and white supremacy,”
      The Washington Post, October 9, 2019.

“Republicans’ white supremacist problem is a threat to America,” The Guardian, August 6,
      2019.

“Republicans Want a White Republic. They’ll Destroy America to Get It,” Time, July 17, 2019.

“Our Democracy Is Being Stolen. Guess Who the Thieves Are,” New York Times, March
      14, 2019.

“American democracy is in crisis. A House bill could help it heal,” The Guardian, March 12,
      2019.

“Brett Kavanaugh should never have been allowed on the supreme court,” The Guardian,
       February 9, 2019.

“Trump consistently lied to Americans in the State of the Union address,” The Guardian,
      February 6, 2019.

“Trump’s Oval Office Address Revealed the Nation’s Real Emergency” Huffington Post,
      January 9, 2019.

“What is America going to do about its Trump problem in 2019?” The Guardian, January 8,
       2019.

“The Russians Meddled in Our Democracy, But They Had All-American Help,”
      Huffington Post, December 13, 2018.

“Georgia doesn’t need another voter suppressor running its elections,” The Guardian, December
      3, 2018.

“America Has Survived Illegitimate Regimes Before. Can We Survive Trump’s?”
      Huffington Post, November 28, 2018.

“Why is no one talking about the uncounted, suppressed votes in Florida?” The Guardian,
      November 17, 2018.
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“Stacey Abrams, Brian Kemp and Neo-Jim Crow in Georgia,” New York Times,
       November 7, 2018.

“Brian Kemp’s Lead in Georgia Needs an Asterisk,” The Atlantic, November 7, 2018.

“Welcome to Jim Crow 2.0,” Huffington Post, October 19, 2018.

“The Republican Approach to Voter Fraud: Lie,” New York Times, September 10, 2018.

“Trump Is Turning America Into the United States of Hopelessness,” Huffington Post,
      September 5, 2018.

“If You Want to End Racism, Stop Forgiving Racists,” Huffington Post,
       August 4, 2018.

“Voting while black: the racial injustice that harms our democracy,” The Guardian, June 7,
       2018.

“The Rule of Law in America Has Always Been Selective,” Huffington Post, June 6, 2018.

“The Ruling Named for Linda Brown Died Long Before She Did,” Huffington Post,
      March 31, 2018.

“Why do Republicans Hate America?” Huffington Post, January 18, 2018.

“By ending DACA, Donald Trump has declared war on a diverse America,” The Guardian,
      September 5, 2017.


“America is hooked on the drug of white supremacy. We’re paying for that today,” The
      Guardian, August 13, 2017.

“Respectability Will Not Save Us: On the History of Respectability Politics and their Failure to
      Keep Black Americans Safe,” Literary Hub, August 8, 2017.

“The Policies of White Resentment,” New York Times, August 5, 2017.

“Don't call it the Trump administration. Call it a regime,” The Guardian, July 3, 2017.

“Jeff Sessions now has my book White Rage. Will he read it?” The Guardian, January 6, 2017.

“Donald Trump Is the Result of White Rage, Not Economic Anxiety,” Time, November 16,
      2016.
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“America is more racially divided than it has been in decades: The widening breach predates the
      backlash against Obama by decades,” Financial Times, August 3, 2016.

“America wouldn’t need police reform now if it hadn’t botched education reform decades ago,”
      Quartz, July 20, 2016.

“The Democrats’ demographic firewall is under attack,” Los Angeles Times, July 17, 2016.

“Donald Trump exposes the GOP’s dirty secret: They build everything by nurturing white rage,”
      Salon, May 29, 2016.

“Baltimore, Ferguson won’t bring change: Revelations about racial inequality Spur outrage, but
      not change. Again,” Boston Globe, May 1, 2015.

“Ferguson isn’t about black rage against cops. It’s white rage against progress,” Washington
       Post, August 29, 2014.

       Republished as, “Emory Prof: Ferguson is about White Rage,” Atlanta Journal
       Constitution, November 25, 2014; “White Rage Doesn’t Have to Take to the Streets,”
       Chicago Tribune, November 26, 2014.

      Most widely shared op-ed published by the Washington Post in 2014.

“Selma: The Past Isn’t Even Past, Especially on Twitter,” American Historical Association:
      Perspectives, March 2015.



“What Would the Soviets Say About Michael Brown? From Birmingham to Ferguson, a brief
      history of how racial tensions at home have undermined America abroad,” Foreign
      Policy, August 25, 2014.

“Desegregation in the U.S.: Fifty Years After the Civil Rights Act of 1964,” interviewed,
      German National Public Radio “Deutschlandfunk,” July 2, 2014.

“Breaking Stand Your Ground,” interviewed, In Contact, WPBA-TV, PBS Affiliate, May 11,
       2014.

“The Long Journey of Affirmative Action,” OZY, May 1, 2014.

Historical expert quoted in, Kunbi Tinuoye, “Donald Sterling is the Classic Example of the Slave
       Master Mentality,” The Grio, April 30, 2014.

“Florida Shooter saw Black, Thought ‘threat’,” CNN.com, February 12, 2014.
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The Voting Rights Act in the aftermath of the Supreme Court’s decision, interviewed, Just
      Peace, WRFG-Radio, September 2013.

Historical expert quoted in, Victoria Loe Hicks, “Landmark Decisions: Events Shake up Many,
       but Historical Heft not yet Known,” Atlanta Journal-Constitution, June 30, 2013.

“The Presidency and Civil Rights,” panelist, John F. Kennedy Presidential Library, C-Span,
       February 2012.

Interviews on White Rage, One Person, No Vote, The Second, racial turmoil in the United States,
        and the 2016 Presidential election and subsequent presidency with Rachel Maddow; The
        Daily Show with Trevor Noah; All In with Chris Hayes; Mehdi Hasan Show; BET’s
        Finding Justice: Voter Suppression; PBS NewsHour; CNN Tonight with Don Lemon; Full
        Frontal with Samantha Bee; Chelsea Handler; Tavis Smiley; The Economist; CNN; NPR;
        Radio Italy; TV-One; On Second Thought, Georgia Public Broadcasting; Chicago Review
        of Books; KOMO-Seattle; Atlanta Black Star; Dan Rodricks’s Roughly Speaking,
        Baltimore Sun, WYPR – Baltimore; WNUR – “This is Hell!”; Pacifica Radio; the
        Takeaway; Democracy Now!; C-Span Book-TV; C-Span Washington Journal; Vox; World
        Have Your Say, BBC; and the Canadian Broadcast Company.

The Hidden History of the Quest for Civil Rights:
        The Tulsa Race Riot of 1921
        The Scottsboro Boys
        The Spectacle Lynching of Claude Neal
        The Missouri Sharecroppers Strike of 1939
        Red Tails and WWII-era Race Relations
        The Lynching of Cleo Wright
        The 1946 Columbia, Tennessee Race Riot
        Obtaining Civil Rights, Not Human Rights
Video Series for Emory University, February 2012.
http://news.emory.edu/stories/2012/02/hidden_history_of_civil_rights_movement_tulsa/campus.
        Html

“Eleanor Roosevelt: Another Perspective on the UN Declaration of Human Rights,” interviewed,
       BBC, September 2008.

“Eyes off the Prize,” interviewed, Wake-Up, WBAI, New York, New York, March 2007.

“Truman and Civil Rights,” panelist, Civil Rights in America: The 58th Anniversary of Truman’s
      Desegregation of the Military, C-Span, January 2007.

“Human Rights and the African-American Experience,” interviewed, Making Contact, National
     Radio Project, San Francisco, California, February 2006.

“Eyes Off the Prize,” interviewed, Up Front, KALW, San Francisco, California, January 2006.
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“Human Rights. . .Civil Rights: There is a Difference,” interviewed, Black Nouveau, PBS
     Affiliate Milwaukee Public Television, August 2005.

“The Push for Human Rights,” interviewed, Africa Today, KPFA, Berkeley, California, June
       2004.

                                         Committees
      National:
2022 National Book Award, Non-fiction Committee, 2022.

2021 Pulitzer Prize, History Committee, 2020.

2019 Annual Conference Program Committee, Organization of American Historians, 2017 –
      2019.

2018 OAH Liberty Legacy Foundation Award Committee, Organization of American Historians,
      2017 – 2018.

Ways and Means Committee, Society for Historians of American Foreign Relations, 2014 –
      2016.

Myrna Bernath Committee, Society for Historian of American Foreign Relations, 2012 - 2014,
      Chair, 2014.

Nominating Committee, American Historical Association, 2009 - 2011, Chair, 2011.
Historical Advisory Committee, U.S. State Department, 2005 - 2010.

Annual Conference Program Committee, Society for Historians of American Foreign Relations,
      2008 - 2009; 2009 - 2010.

Diversity Committee, Society for Historians of American Foreign Relations, Co-Chair, 2007 -
       2011.

Myrna Bernath Committee, Society for Historians of American Foreign Relations, 2005 - 2007.

Holt Dissertation Grants Committee, Society for Historians of American Foreign Relations, 1998
       - 2000, Chair, 2000.

Minority Access Committee, Society for Historians of American Foreign Relations, 1993 - 2000.

Minority Faculty Development, Midwest Higher Education Consortium, 1993 - 1996.

       University:
Provost & Executive Vice President for Academic Affairs Search Committee, Emory
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       University, 2020-2021.

Provost & Executive Vice President for Academic Affairs Search Committee, Co-Chair, Emory
       University, 2016 – 2017.

Executive Council, Laney Graduate School, Emory University, 2015 - 2018.

Longstreet Chair Search Committee, Department of English, 2015 - 2016.

Executive Board, James Weldon Johnson Institute for the Study of Race and Difference, 2015 –
       2016.

Executive Committee, Fox Center for Humanistic Inquiry, 2014 - 2016.

James Weldon Johnson Institute Fellowship Selection Committee, Emory University, March
      2011; April 2015; March 2016.

McMullan Award Selection Committee, Honors Program, Office of Undergraduate Education,
     March 2015.

Dean’s Advisory Committee for the Senior Associate Dean of Faculty, Spring 2014.

Director of Diversity, Recruitment, and Community Search Committee, Graduate School, Spring
       2014.

Mellon Mays Undergraduate Fellowship Selection Committee, Emory University, Co-
      Coordinator, 2011 - 2018.

Race and Science Search Committee, Race and Difference Initiative, Emory University, 2011.

Martin Luther King Scholarship Committee, Emory University, 2010.

Diversity Committee, University of Missouri, 2007 - 2008.

Campus Writing Program Board, University of Missouri, 2004 - 2005.

Curriculum, Instruction, and Advising Committee, College of Arts & Science, University of
       Missouri, 2004 - 2005.

History of Journalism Search Committee, School of Journalism, University of Missouri, 2005.

Graduate Fellowship Awards Panel, Graduate School, University of Missouri, 2004.

Vice Chancellor for Student Affairs Search Committee, University of Missouri, 2002.
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McNair Scholars Program, Department Liaison, 2001 - 2003; 2006 - 2008.

Graduate Fellowship Awards Committee, Graduate School, University of Missouri, 2001.

       Department:
Race and Education Search Committee, Department of African American Studies, 2021-2022.

Twentieth Century African American History Search Committee, Chair, Department of
      African American Studies, 2019.

African American Literature and Culture Search Committee, Departments of African American
       Studies and English, Emory University, 2017 – 2018.

Social Psychology Search Committee, Chair, Department of African American Studies, Emory
       University, 2016 – 2017.

Self-Study Committee, Department of African American Studies, Chair, Emory University, 2015
       - 2017.

Graduate Admissions Committee, U.S. Caucus, Department of History, Emory University, 2015.

Curriculum Committee, Department of African American Studies, Emory University, 2011-
       present.

Graduate Studies, Department of History, University of Missouri, 2006-2008.

South Asian Search Committee, Department of History, University of Missouri, 2006 - 2007.

Faculty Responsibility, Department of History, University of Missouri, 2004 - 2005.

Graduate Studies, Department of History, University of Missouri, 2002 - 2003.

Graduate Financial Aid, Department of History, University of Missouri, 2002 - 2003.

Faculty Awards, Department of History, University of Missouri, 2001 - 2002.

Seminars and Lectures, Department of History, University of Missouri, 2001 - 2002.

U.S. History from 1877 - 1919 Search Committee, Department of History, University of Missouri,
       2000 - 2001.

Graduate Studies Committee, Department of History, University of Missouri, 1997 - 2000.

Arvarh Strickland Endowed Chair in African-American History & Culture Search Committee,
       Department of History, University of Missouri-Columbia, 1997 - 1999.
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                                        Associations

American Historical Association
Association for the Study of Afro-American Life and History
Association for the Study of the Worldwide African Diaspora
Organization of American Historians
Society for Historians of American Foreign Relations

                                         References

Will be furnished upon request
